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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :         Chapter 11 Case No.
                                                               :
RDA HOLDING CO., et al.,1                                      :         13-22233 (RDD)
                                                               :
Debtors.                                                       :         (Jointly Administered)
                                                               :
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                   DISCLOSURE STATEMENT FOR SECOND AMENDED
                JOINT PLAN OF REORGANIZATION OF CERTAIN DEBTORS
                    UNDER CHAPTER 11 OF THE BANKRUPTCY CODE



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Attorneys for Debtors
and Debtors in Possession

Dated: May 7, 2013




1
  The Debtors in these cases, along with the last four digits of their respective federal tax identification numbers, are
RDA Holding Co. (7045); The Reader’s Digest Association, Inc. (6769); Ardee Music Publishing, Inc. (2291); Direct
Entertainment Media Group, Inc. (2306); Pegasus Sales, Inc. (3259); Pleasantville Music Publishing, Inc. (2289);
R.D. Manufacturing Corporation (0230); Reiman Manufacturing, LLC (8760); RD Publications, Inc. (9115); Home
Service Publications, Inc. (9525); RD Large Edition, Inc. (1489); RDA Sub Co. (f/k/a Books Are Fun, Ltd.) (0501);
Reader’s Digest Children’s Publishing, Inc. (6326); Reader’s Digest Consumer Services, Inc. (8469); Reader’s Digest
Entertainment, Inc. (4742); Reader’s Digest Financial Services, Inc. (7291); Reader’s Digest Latinoamerica S.A.
(5836); WAPLA, LLC (9272); Reader’s Digest Sales and Services, Inc. (2377); Taste of Home Media Group, LLC
(1190); Reiman Media Group, LLC (1192); Taste of Home Productions, Inc. (1193); World Wide Country Tours,
Inc. (1189); W.A. Publications, LLC (0229); WRC Media Inc. (6536); RDCL, Inc. (f/k/a Compass Learning, Inc.)
(6535); RDA Digital, LLC (5603); RDWR, Inc. (f/k/a Weekly Reader Corporation) (3780); Haven Home Media,
LLC (f/k/a Reader’s Digest Sub Nine, Inc.) (2727); Weekly Reader Custom Publishing, Inc. (f/k/a Lifetime Learning
Systems, Inc.) (3276); and World Almanac Education Group, Inc. (3781).




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           THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT
(THE “DISCLOSURE STATEMENT”) IS INCLUDED HEREIN FOR PURPOSES OF
SOLICITING ACCEPTANCES OF THE SECOND AMENDED JOINT PLAN OF
REORGANIZATION OF CERTAIN DEBTORS UNDER CHAPTER 11 OF THE BANKRUPTCY
CODE, DATED MAY 6, 2013, AS MAY BE AMENDED, MODIFIED, OR SUPPLEMENTED
FROM TIME TO TIME (THE “REORGANIZATION PLAN”) AND MAY NOT BE RELIED
UPON FOR ANY PURPOSE OTHER THAN TO DETERMINE HOW TO VOTE ON THE
REORGANIZATION PLAN.2 A COPY OF THE REORGANIZATION PLAN IS ANNEXED
HERETO AS EXHIBIT A. NO SOLICITATION OF VOTES TO ACCEPT THE
REORGANIZATION PLAN MAY BE MADE EXCEPT PURSUANT TO SECTION 1125 OF
THE BANKRUPTCY CODE.

           ALL CREDITORS ARE ADVISED AND ENCOURAGED TO READ THIS
DISCLOSURE STATEMENT AND THE REORGANIZATION PLAN IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE REORGANIZATION PLAN.
ALL HOLDERS OF CLAIMS SHOULD CAREFULLY READ AND CONSIDER FULLY
THE RISK FACTORS SET FORTH IN SECTION VIII (CERTAIN FACTORS AFFECTING
THE REORGANIZATION PLAN DEBTORS) OF THIS DISCLOSURE STATEMENT
BEFORE VOTING TO ACCEPT OR REJECT THE REORGANIZATION PLAN.
REORGANIZATION PLAN SUMMARIES AND STATEMENTS MADE IN THIS
DISCLOSURE STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE
TO THE REORGANIZATION PLAN AND THE EXHIBITS ANNEXED TO THE
REORGANIZATION PLAN AND THIS DISCLOSURE STATEMENT. THE STATEMENTS
CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE
HEREOF, AND THERE CAN BE NO ASSURANCE THAT THE STATEMENTS
CONTAINED HEREIN WILL BE CORRECT AT ANY TIME AFTER THE DATE HEREOF.
IN THE EVENT OF ANY CONFLICT BETWEEN THE DESCRIPTIONS SET FORTH
IN THIS DISCLOSURE STATEMENT AND THE TERMS OF THE
REORGANIZATION PLAN, THE TERMS OF THE REORGANIZATION PLAN WILL
GOVERN.

          THE DISCLOSURE STATEMENT HAS BEEN PREPARED IN
ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND
BANKRUPTCY RULE 3016(b) AND NOT NECESSARILY IN ACCORDANCE WITH
OTHER NON-BANKRUPTCY LAW.




2
 Capitalized terms used but not otherwise defined herein, shall have the same meanings ascribed to them in the
Reorganization Plan.




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           CERTAIN STATEMENTS CONTAINED IN THIS DISCLOSURE
STATEMENT, INCLUDING WITH RESPECT TO PROJECTED CREDITOR RECOVERIES
AND OTHER FORWARD-LOOKING STATEMENTS, ARE BASED ON ESTIMATES AND
ASSUMPTIONS. THERE CAN BE NO ASSURANCE THAT SUCH STATEMENTS WILL
BE REFLECTIVE OF ACTUAL OUTCOMES. FORWARD-LOOKING STATEMENTS ARE
PROVIDED IN THIS DISCLOSURE STATEMENT PURSUANT TO THE SAFE HARBOR
ESTABLISHED UNDER THE PRIVATE SECURITIES LITIGATION REFORM ACT OF
1995 AND SHOULD BE EVALUATED IN THE CONTEXT OF THE ESTIMATES,
ASSUMPTIONS, UNCERTAINTIES, AND RISKS DESCRIBED HEREIN.

            AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS AND
OTHER ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT
WILL NOT CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR
LIABILITY, STIPULATION OR WAIVER, BUT RATHER AS A STATEMENT MADE IN
SETTLEMENT NEGOTIATIONS. THIS DISCLOSURE STATEMENT WILL NOT BE
ADMISSIBLE IN ANY NON-BANKRUPTCY PROCEEDING INVOLVING THE
REORGANIZATION PLAN DEBTORS OR ANY OTHER PARTY, NOR WILL IT BE
CONSTRUED TO BE CONCLUSIVE ADVICE ON THE TAX, SECURITIES, OR OTHER
LEGAL EFFECTS OF THE REORGANIZATION PLAN AS TO HOLDERS OF CLAIMS
AGAINST, OR INTERESTS IN, THE DEBTORS AND DEBTORS IN POSSESSION IN
THESE CHAPTER 11 CASES.

           THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT
ARE MADE AS OF THE DATE HEREOF UNLESS ANOTHER TIME IS SPECIFIED
HEREIN, AND THE DELIVERY OF THIS DISCLOSURE STATEMENT WILL NOT
CREATE AN IMPLICATION THAT THERE HAS BEEN NO CHANGE IN THE
INFORMATION STATED SINCE THE DATE HEREOF. HOLDERS OF CLAIMS SHOULD
CAREFULLY READ THIS DISCLOSURE STATEMENT IN ITS ENTIRETY, INCLUDING
THE REORGANIZATION PLAN, PRIOR TO VOTING ON THE REORGANIZATION
PLAN.

            SUMMARIES OF CERTAIN PROVISIONS OF AGREEMENTS REFERRED
TO IN THIS DISCLOSURE STATEMENT DO NOT PURPORT TO BE COMPLETE AND
ARE SUBJECT TO, AND ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO,
THE FULL TEXT OF THE APPLICABLE AGREEMENT, INCLUDING THE DEFINITIONS
OF TERMS CONTAINED IN SUCH AGREEMENT.

THE REORGANIZATION PLAN DEBTORS AND THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS (THE “CREDITORS COMMITTEE”) URGE THE
CREDITORS OF THE REORGANIZATION PLAN DEBTORS TO VOTE TO ACCEPT
THE REORGANIZATION PLAN. THE REORGANIZATION PLAN DEBTORS AND
THE CREDITORS COMMITTEE BELIEVE THAT THE REORGANIZATION PLAN
PROVIDES THE HIGHEST AND BEST RECOVERY FOR THE REORGANIZATION
PLAN DEBTORS’ CREDITORS.




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IRS CIRCULAR 230 NOTICE: TO ENSURE COMPLIANCE WITH IRS
CIRCULAR 230, HOLDERS OF CLAIMS AND INTERESTS ARE HEREBY NOTIFIED
THAT: (1) ANY DISCUSSION OF FEDERAL TAX ISSUES CONTAINED OR
REFERRED TO IN THIS DISCLOSURE STATEMENT IS NOT INTENDED OR
WRITTEN TO BE USED, AND CANNOT BE USED, BY HOLDERS OF CLAIMS OR
INTERESTS FOR THE PURPOSE OF AVOIDING PENALTIES THAT MAY BE
IMPOSED ON THEM UNDER THE INTERNAL REVENUE CODE; (2) SUCH
DISCUSSION IS WRITTEN IN CONNECTION WITH THE PROMOTION OR
MARKETING BY THE REORGANIZATION PLAN DEBTORS OF THE
TRANSACTIONS OR MATTERS ADDRESSED HEREIN; AND (3) HOLDERS OF
CLAIMS AND INTERESTS SHOULD SEEK ADVICE BASED ON THEIR
PARTICULAR CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.




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                                                    I.

                                       EXECUTIVE SUMMARY

               On February 17, 2013 (the “Commencement Date”), and continuing
immediately thereafter, RDA Holding Co. (“RDA Holding”), The Reader’s Digest Association,
Inc. (“Reader’s Digest”), and their affiliated debtors and debtors in possession (collectively, the
“Debtors” and, together with their non-debtor affiliates, “RDA”), each commenced with the
United States Bankruptcy Court for the Southern District of the United States (the “Bankruptcy
Court”) a voluntary case pursuant to chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”). The Debtors’ chapter 11 cases are being jointly administered for
procedural purposes only under the case In re RDA Holding Co., et al., Ch. 11 Case No. 13-
22233 (RDD) (the “Chapter 11 Cases”). The Reorganization Plan is being proposed by all of
the Debtors other than Direct Entertainment Media Group, Inc. (“DEMG,” and all of the Debtors
other than DEMG, collectively, the “Reorganization Plan Debtors”). The Reorganization Plan
Debtors anticipate that DEMG will file, in the near term, a separate plan to implement a wind
down of its estate.

               The Reorganization Plan implements a consensual settlement and restructuring
agreement negotiated among the Reorganization Plan Debtors, the Creditors Committee and the
Reorganization Plan Debtors’ major stakeholders, including Wells Fargo Principal Lending, LLC
(together with one of its affiliates, “Wells Fargo”) and an ad hoc committee (the “Ad Hoc
Committee”) comprised of holders of more than two-thirds of the Debtors’ Floating Rate Senior
Secured Notes due 2017 (the “Senior Notes”). The anticipated benefits of the settlement and
restructuring agreement include (without limitation):

         ●         Consensual conversion of approximately $475 million of debt to equity;
         ●         $105 million in debtor-in-possession financing, including $45 million in new
                   money provided by certain holders of the Senior Notes, to facilitate operations in
                   chapter 11;
         ●         Conversion of the $105 million of debtor in possession financing to exit financing
                   that will provide ongoing liquidity post-emergence;
         ●         Prompt emergence from chapter 11;
         ●         80% reduction of prepetition debt burden post-emergence;
         ●         Continued execution of key transformational initiatives including a sharpened
                   focus on strong core publishing brands, building on RDA’s digital transformation;
                   and
         ●         As a result of a global settlement and compromise reached among the
                   Reorganization Plan Debtors, the Creditors Committee and the Ad Hoc
                   Committee: (i) a Pro Rata distribution of $3,875,000 to holders of Allowed
                   General Unsecured Claims against Reader’s Digest, subject to certain conditions
                   below; and (ii) a Pro Rata distribution of $500,000 to holders of Allowed General
                   Unsecured Claims, subject to certain conditions set forth below.




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                 The Reorganization Plan provides for a comprehensive restructuring of the
Reorganization Plan Debtors’ prepetition obligations, preserves the going-concern value of the
Reorganization Plan Debtors’ businesses, maximizes creditor recoveries, provides for an
equitable distribution to the Reorganization Plan Debtors’ stakeholders and protects the jobs of
employees.
                 In developing the Reorganization Plan, the Reorganization Plan Debtors gave due
consideration to various exit alternatives and engaged in significant discussions and negotiations
with representatives of and/or professionals for the 2012 Credit Agreement Lenders, the Senior
Noteholders, and the Creditors Committee. The Reorganization Plan Debtors also conducted a
careful review of their current operations, prospects as an ongoing business and financial
projections developed by management and estimated recoveries in a liquidation scenario, and
concluded that recoveries to the Reorganization Plan Debtors’ stakeholders will be maximized
by the Reorganization Plan Debtors’ continued operation as a going concern. The
Reorganization Plan Debtors, the Ad Hoc Committee and the Creditors Committee believe that
the Reorganization Plan Debtors’ businesses and assets have significant value that would not be
realized in a liquidation, either in whole or in substantial part. Consistent with the valuation,
liquidation and other analyses prepared by the Reorganization Plan Debtors with the assistance
of their advisors, the value of the Reorganization Plan Debtors is substantially greater as a going
concern than in a liquidation.

               Substantially all of the Reorganization Plan Debtors’ assets are subject to valid
and perfected liens held by the DIP Lenders, 2012 Senior Credit Agreement Lenders and the
Senior Noteholders, which require payment in full prior to distributions to holders of unsecured
claims against the Reorganization Plan Debtors. Thus, on a going-concern basis, because the
obligations owed by the Reorganization Plan Debtors to the DIP Lenders and the Senior
Noteholders greatly exceed the value of the Reorganization Plan Debtors, the Reorganization
Plan Debtors, Senior Noteholders and the Ad Hoc Committee believe minimal (if any)
distributions would be made to any holders of Claims against the Reorganization Plan Debtors
other than the DIP Lenders and the Senior Noteholders absent consummation of the proposed
Reorganization Plan. Further, as set forth in the attached Liquidation Analysis, outside of the
proposed Reorganization Plan, holders of non-priority unsecured Claims junior to the Claims of
the DIP Lenders and the Senior Noteholders would receive no distribution in a liquidation of the
Reorganization Plan Debtors’ Estates.

                 The Reorganization Plan Debtors recognize that general unsecured creditors are
entitled to receive a distribution from the value of any unencumbered assets after the satisfaction
of priority claims and administrative expenses of the Chapter 11 Cases. Here, the unencumbered
assets consist almost entirely of Reader’s Digest’s one-third (1/3) equity interests in the
Reorganization Plan Debtors’ first-tier foreign subsidiaries.3 The Reorganization Plan Debtors
believe there is little realizable value associated with the unencumbered one-third (1/3) equity
interest in their direct and indirect international subsidiaries that would be available for general
unsecured creditors for several reasons. First, certain of the international subsidiaries owe
significant intercompany loans to the Reorganization Plan Debtors, obligations that are subject to

3
 For tax purposes, the Debtors pledged only 65% of the voting stock of their first-tier foreign subsidiaries to secure
obligations under the DIP Credit Agreement, the 2012 Senior Credit Agreement and the Indenture.




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liens held by the DIP Lenders and Prepetition Secured Creditors. Further, the international
subsidiaries have limited (if any) market value to third-parties as a going-concern. Prior to the
Commencement Date, the Reorganization Plan Debtors conducted a lengthy and comprehensive
sale process to market the international subsidiaries and were unable to identify any parties
willing to ascribe significant value for the Reorganization Plan Debtors’ entire international
operations as a going-concern.4 This was, in significant part, due to (a) the lack of any
meaningful management or personnel infrastructure for the international operations without the
resources and governance of the Reorganization Plan Debtors, (b) the complexities and
significant costs associated with the central services infrastructure for the international
operations, and (c) the declining performance in many of the Reorganization Plan Debtors’
international markets. Additionally, the Reorganization Plan Debtors believe that any
unencumbered value must first be applied to satisfy the administrative costs of these Chapter 11
Cases and that the Senior Noteholders may have substantial administrative claims due to the
alleged diminution of their collateral during the Chapter 11 Cases that was caused in part by the
incurrence of the New Money Loans and that would also take priority in any payment waterfall.
Moreover, after taking into account the substantial amount of any unencumbered value allocable
to the Senior Noteholders on account of their unsecured deficiency claims (estimated at
approximately 65% of the aggregate dollar amount of General Unsecured Claims against
Reader’s Digest, the owner of the equity), the Reorganization Plan Debtors believe the
distributable value remaining for other General Unsecured Claims from the one-third (1/3) equity
interest in the international subsidiaries, is negligible at best. The Creditors Committee disagrees
with certain of the foregoing assertions and the Reorganization Plan Debtors’ valuation of their
businesses, including their international subsidiaries. The Creditors Committee believes that
some distributable value exists in the unencumbered portion of Reader’s Digest’s equity interest
in its foreign subsidiaries that would provide a recovery to creditors.

                Since the appointment of the Creditors Committee, the Reorganization Plan
Debtors and the Ad Hoc Committee have engaged in discussions with the Creditors Committee
regarding the terms of the Reorganization Plan and the allocation of recoveries. One of the key
disagreements between the parties involves the valuation of the one-third (1/3) equity interest in
the international subsidiaries that are held directly by Reader’s Digest. The parties recognize the
difficulties inherent with a contested valuation hearing given the nature of the international
subsidiaries and the significant legal costs of such a fight. The Reorganization Plan Debtors and
the Creditors Committee have also explored the possibility of receiving additional distributable
value from potential Causes of Action but the Reorganization Plan Debtors do not believe at this
juncture that any such receivables would be meaningful. The Creditors Committee believes that
there may be significant factual and legal impediments to realizing value from such Causes of
Action. The parties, therefore, support the retention of the Causes of Action by the Reorganized
Debtors as well as the releases provided for in the Reorganization Plan. Accordingly, pursuant
to good faith and extensive arm’s-length negotiations, the Reorganization Plan Debtors, the Ad
Hoc Committee and the Creditors Committee have reached a global settlement and compromise
to resolve all disputes among the parties that provides for an enhanced recovery for holders of
Allowed General Unsecured Claims against Reader’s Digest primarily to settle and avoid

4
  For a discussion of the limited number of stand-alone transactions the Reorganization Plan Debtors have entered
into during the Chapter 11 Cases for the sale of certain of their international operations see Section V.E. below.




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litigating disputes regarding the value of Reader’s Digest’s one-third (1/3) equity interest in its
international subsidiaries as well as to support the releases provided for in the Reorganization
Plan. Specifically, the Reorganization Plan provides (i) the original $500,000 Cash distribution
(the “GUC Distribution”) to be allocated Pro Rata among all sub-classes of General Unsecured
Claims at each Reorganization Plan Debtor that votes to accept the Reorganization Plan and
(ii) an additional Cash distribution of $3,875,000 (the “RDA GUC Distribution”) to holders of
Allowed General Unsecured Claims against Reader’s Digest (the vast majority of the creditors in
these cases) if that sub-class votes to accept the Reorganization Plan. The GUC Distribution and
RDA GUC Distribution will be held in a segregated non-interest bearing account(s) maintained
by the Reorganized Debtors. Expenses, if any, of maintaining the account will be borne by the
Reorganized Debtors.

               Accordingly, the Reorganization Plan provides the following treatment with
respect to each sub-class of Allowed General Unsecured Claims that votes to accept the
Reorganization Plan of any Reorganization Plan Debtor:

                        •     holders of Allowed General Unsecured Claims in such sub-class will
                              receive their Pro Rata share of the GUC Distribution;

                        •     holders of Allowed General Unsecured Claim of Reader’s Digest will also
                              receive their Pro Rata share of the RDA GUC Distribution; and

                        •     the Senior Noteholder Deficiency Claims in such sub-class shall be
                              deemed waived solely for purposes of participating in the GUC
                              Distribution and the RDA GUC Distribution.

          IN THE EVENT THAT ANY SUB-CLASS OF GENERAL UNSECURED
CLAIMS VOTES TO REJECT THE REORGANIZATION PLAN WITH RESPECT TO
ANY REORGANIZATION PLAN DEBTOR, THE HOLDERS OF ALLOWED
GENERAL UNSECURED CLAIMS IN SUCH REJECTING SUB-CLASS WILL NOT
RECEIVE OR RETAIN ANY PROPERTY UNDER THE REORGANIZATION PLAN.

                For the avoidance of doubt, to the extent any sub-class of General Unsecured
Claims votes to reject the Reorganization Plan and, therefore, is not entitled to receive any
portion of the GUC Distribution, such Pro Rata portion attributable to the rejecting sub-class
shall be reallocated to the holders of Allowed General Unsecured Claims in other sub-classes
that have voted to accept the Reorganization Plan.

             Further, as a part of the global settlement, a portion of the GUC Distribution and
the RDA GUC Distribution will be used to fund a claims oversight committee (the “Claims
Oversight Committee”) that will ensure that distributions to the holders of General Unsecured
Claims are made on a fair and equitable basis.5



5
    See Section VI.G below.




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                The settlement is in no way an admission or indicative of any party’s view as to
the value of the one-third (1/3) equity interest in Reader’s Digest’s international subsidiaries or
value allocation related thereto, but instead, is a good faith settlement and compromise calculated
primarily to avoid litigation costs and delays that could otherwise consume any recovery for
holders of Allowed General Unsecured Claims.

                 In connection with the global settlement and compromise, the Reorganization
Plan Debtors and the Creditors Committee sought a resolution of certain claims filed by Luxor
Capital Group, LP (“Luxor”), in its capacity as administrative agent under each of the
Unsecured Term Loan and the 2011 Secured Term Loan, respectively. Luxor, as Unsecured
Administrative Agent, has asserted claims against each of the Reorganization Plan Debtors in
amount not less than $10,143,611 on account of, among other things, outstanding prepetition
principal and accrued but unpaid interest owed by the Reorganization Plan Debtors under the
Unsecured Term Loan. Significantly, Luxor, as Unsecured Administrative Agent, has asserted
that it has claims against each of the Reorganization Plan Debtors for the full amount of
outstanding principal and interest on account of guarantees granted in connection with the
Unsecured Term Loan.6 As discussed in Section V.F of this Disclosure Statement, the
Reorganization Plan Debtors have reviewed and analyzed the Unsecured Term Loan and the
2011 Secured Term Loan and believe that each of the Claims are valid, that there is no basis to
subordinate or recharacterize and that there are no viable Causes of Action with respect to the
Transactions with Luxor. The Creditors Committee does not necessarily agree with the
Reorganization Plan Debtors in this regard and disagrees with a number of assertions made by
the Unsecured Administrative Agent including, but not limited to, the Unsecured Administrative
Agent’s assertion that it is entitled to claims for the full claim amount against each of the
Reorganization Plan Debtors. However, rather than incurring the cost and expense of litigating
issues with respect to Unsecured Term Loan and claims arising thereunder, the parties have
agreed to a resolution of their claims (the “2011 Financing Settlement”) pursuant to which: (i)
Luxor, as Unsecured Administrative Agent, will receive (a) an Allowed Class 4 General
Unsecured Claim of $16,939,830.55 against Reader’s Digest (which amount represents 1.67
times the amount of the outstanding principal and accrued but unpaid interest under the
Unsecured Term Loan), for distribution purposes only, and shall waive any right to seek any
further or additional distribution under the Reorganization Plan and (b) Allowed Class 4 General
Unsecured Claims in the total aggregate amount of $1.00 against each of the other
Reorganization Plan Debtors for voting purposes only; and (ii) the Unsecured Administrative
Agent, the Unsecured Lenders, the 2011 Secured Administrative Agent and the 2011 Secured
Lenders shall receive general releases by the Reorganization Plan Debtors, the other Released
Parties and, to the extent authorized by the Bankruptcy Court, the holders of Claims against, and
Interests in, the Reorganization Plan Debtors.

               The Reorganization Debtors and the Creditors Committee submit that the global
settlement and compromise contemplated under the Reorganization Plan, including the 2011
Financing Settlement, is fair and equitable, will maximize the Reorganization Debtors’ value and
provides the best recovery to creditors.

6
 Luxor has also filed a Claim, in its capacity as 2011 Secured Administrative Agent, for an unliquidated amount on
account of certain fees and continuing indemnity obligations arising under the 2011 Secured Term Loan.




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THE CREDITORS COMMITTEE URGES ALL HOLDERS OF GENERAL
UNSECURED CLAIMS IN EVERY SUB-CLASS TO VOTE IN FAVOR OF THE
REORGANIZATION PLAN.   THE REORGANIZATION PLAN SETTLEMENT
REFLECTS  THE   CREDITORS    COMMITTEE’S    BELIEF THAT  THE
REORGANIZATION PLAN PROVIDES GREATER RECOVERIES THAN HOLDERS
OF GENERAL UNSECURED CLAIMS WOULD OTHERWISE BE ENTITLED TO
UNDER A STRICT WATERFALL ANALYSIS OR THAT COULD BE OBTAINED
THROUGH ANY OTHER MEANS, INCLUDING LITIGATION.

                The Reorganization Plan Debtors and the Creditors Committee believe that any
alternative to Confirmation of the Reorganization Plan, such as an attempt by another party to
file a competing plan of reorganization, would result in significant delays, litigation and
additional costs, and could negatively affect value by causing unnecessary uncertainty with the
Reorganization Plan Debtors’ key customer and supplier constituencies, which could ultimately
lower the recoveries for all holders of Allowed Claims. Additionally, any resulting breach of the
milestones set forth in the Restructuring Support Agreement for confirmation of the
Reorganization Plan could jeopardize the Ad Hoc Committee’s willingness to fund the GUC
Distribution and the RDA GUC Distribution.

               The purpose of this Disclosure Statement is to provide holders of Claims entitled
to vote to accept or reject the Reorganization Plan with adequate information about (1) the
Reorganization Plan Debtors’ businesses and certain historical events, (2) the Chapter 11 Cases,
(3) the Reorganization Plan, (4) the rights of holders of Claims and Interests under the
Reorganization Plan, and (5) other information necessary to enable each holder of a Claim to
make an informed judgment as to whether to vote to accept the Reorganization Plan.

        THE REORGANIZATION PLAN DEBTORS AND THE CREDITORS
COMMITTEE URGE YOU TO VOTE IN FAVOR OF THE REORGANIZATION PLAN.




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                                                      II.

                                             INTRODUCTION

               Pursuant to section 1125 of the Bankruptcy Code, the Reorganization Plan
Debtors submit this Disclosure Statement to all holders of Claims against and Interests in the
Estates to provide information in connection with the solicitation of acceptances of the
Reorganization Plan. The Disclosure Statement is organized as follows:

                   ●         Section I contains an executive summary.
                   ●         Section II includes certain general information.
                   ●         Section III provides an overview of the Reorganization Plan Debtors’
                             businesses.
                   ●         Section IV sets forth key events leading to the Reorganization Plan
                             Debtors’ chapter 11 filings.
                   ●         Section V discusses the Chapter 11 Cases.
                   ●         Section VI contains a summary of the Reorganization Plan.
                   ●         Section VII discusses the valuation of the Reorganization Plan Debtors.
                   ●         Section VIII describes certain factors affecting the Reorganization Plan
                             Debtors.
                   ●         Section IX discusses certain U.S. federal income tax consequences.
                   ●         Section X addresses confirmation of the Reorganization Plan.
                   ●         Section XI concludes this Disclosure Statement and recommends that
                             eligible creditors vote to accept the Reorganization Plan.

A.       DISCLOSURE STATEMENT EXHIBITS

                   The following exhibits are attached to this Disclosure Statement:

                   ●         EXHIBIT A – The Reorganization Plan
                   ●         EXHIBIT B – Debtors’ Prepetition Organizational Structure
                   ●         EXHIBIT C – Projected Financial Information
                   ●         EXHIBIT D – Liquidation Analysis for the Reorganization Plan Debtors
                   ●         EXHIBIT E – Proposed Stockholders Agreement Term Sheet




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B.       THE REORGANIZATION PLAN DEBTORS’ PROFESSIONALS

                Pursuant to separate orders of the Bankruptcy Court, the Reorganization Plan
Debtors have retained, in addition to certain other professionals, (1) Weil, Gotshal & Manges
LLP, as their legal advisors; (2) Evercore Group L.L.C. (“Evercore”), as their investment
bankers; (3) FTI Capital Advisors, LLC (“FTI”), as their international financial advisor and
investment bankers; (4) Duff & Phelps, LLC (“Duff & Phelps”), as their valuation services
provider; and (5) Epiq Bankruptcy Solutions, LLC (“Epiq,” or the “Voting Agent”), as claims
agent and administrative adviser. Contact information for these advisors is set forth below:

          Weil, Gotshal & Manges LLP                     Evercore Group L.L.C.
          767 Fifth Avenue                               55 East 52nd Street
          New York, New York 10153                       New York, New York 10055
          (212) 310-8000                                 (212) 857-3100
          Attn: Marcia L. Goldstein, Esq.                Attn: Qazi Fazal
                Joseph H. Smolinsky, Esq.
          FTI Capital Advisors, LLC                      Duff & Phelps, LLC
          Three Times Square                             55 East 52nd Street
          11th Floor                                     New York, New York 10055
          New York, New York 10036                       (212) 871-2000
          (212) 247-1010                                 Attn: Michael H. Dolan
          Attn: Christopher T. Nicholls
          Epiq Bankruptcy Solutions, LLC
          757 Third Avenue
          3rd Floor
          New York, New York 10017
          (646) 282-2500
          Attn: James Katchadurian

C.       IMPORTANT DATES

                   Please take note of the following important dates:

          Deadline to file and serve any objection       June 14, 2013 at 4:00 p.m.
          or response to the Reorganization Plan         (Eastern Time)
          (the “Objection Deadline”)
          Deadline for completed ballots to be           June 14, 2013 at 4:00 p.m.
          received by the Voting Agent (the              (Eastern Time)
          “Voting Deadline”)
          Scheduled date and time for the                June 28, 2013 at 10:00 a.m.
          commencement of the hearing to                 (Eastern Time)
          consider confirmation of the
          Reorganization Plan (the
          “Confirmation Hearing”)



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D.       BRIEF OVERVIEW OF THE REORGANIZATION PLAN7

              The Reorganization Plan described in this Disclosure Statement provides for the
Reorganization Plan Debtors’ prompt emergence from these Chapter 11 Cases, which the
Reorganization Plan Debtors anticipate will occur on or before July 31, 2013.

               The Reorganization Plan implements the consensual settlement and restructuring
agreement negotiated among the Reorganization Plan Debtors, Wells Fargo, the Ad Hoc
Committee, the Creditors Committee and their respective professionals. The principal terms of
the negotiated agreement are embodied in that certain Restructuring Support Agreement, dated
February 17, 2013 (as may be amended, supplemented or modified from time to time in
accordance with the terms thereof, the “Restructuring Support Agreement”), by and among
the Reorganization Plan Debtors, DEMG, Wells Fargo, and certain holders of Senior Notes. A
copy of the Restructuring Support Agreement is annexed to the Reorganization Plan as
Exhibit A.

               Pursuant to the Reorganization Support Agreement, the Reorganization Plan
Debtors will restructure their debt obligations and implement a recapitalization with $45 million
of new capital being provided pursuant to the DIP Facility that will convert to exit financing.

                 Under the Reorganization Plan, Senior Noteholders will receive on account of
their secured claims all of the equity of the Reorganized Debtors, subject to certain agreed-upon
dilutions (as described herein). The Restructuring Support Agreement contemplated that
distributions to holders of General Unsecured Claims would be negotiated at a later date. As a
result of the global settlement and compromise reached with the Creditors Committee, holders of
Allowed General Unsecured Claims will receive a Pro Rata share of the GUC Distribution and,
if applicable, the RDA GUC Distribution, if their applicable sub-class votes to accept the
Reorganization Plan. Existing holders of interests in the Reorganization Plan Debtors (other than
each Debtor’s interests in another Debtor) will not receive any distribution on account thereof.
Section VI of this Disclosure Statement provides a more detailed description of the
Reorganization Plan.




7
  This summary is qualified in its entirety by reference to the Reorganization Plan. Statements as to the
rationale underlying the treatment of Claims and Interests under the Reorganization Plan are not intended to, and
will not, waive, compromise or limit any rights, claims or causes of action in the event that the Reorganization Plan
is not confirmed. You should read the Reorganization Plan in its entirety before voting to accept or reject the
Reorganization Plan.




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E.       SUMMARY OF DISTRIBUTIONS AND VOTING
         ELIGIBILITY UNDER THE REORGANIZATION PLAN

               The following table briefly summarizes the classification and treatment of Claims
and Interests under the Reorganization Plan, and the voting eligibility of the holders of such
Claims and Interests:
            TYPE OF                        APPROX.                                                                        ELIGIBLE
CLASS                       IMPAIR-                      APPROX. %
           CLAIM OR                       ALLOWED                                    TREATMENT9                              TO
 NO.                         MENT                        RECOVERY
           INTEREST                       AMOUNT8                                                                           VOTE
     1    Other Priority   Unimpaired       $50,000        100%      Each holder of an Allowed Other Priority                 No
             Claims                                                  Claim will receive, in full and final satisfaction   (presumed
                                                                     of such Claim, Cash in an amount equal to            to accept)
                                                                     such Claim, payable on the later of the
                                                                     Effective Date and the date on which such
                                                                     Other Priority Claim becomes an Allowed
                                                                     Other Priority Claim, in each case, or as soon
                                                                     as reasonably practical thereafter.
     2    Other Secured     Impaired10        $0           100%      Each holder of an Allowed Other Secured                 Yes
             Claims                                                  Claim will receive, at the option of the
                                                                     Reorganization Plan Debtors or the
                                                                     Reorganized Debtors, (1) payment in full in
                                                                     Cash in full and final satisfaction of such
                                                                     claim, payable on the later of the Effective
                                                                     Date and the date on which such Other
                                                                     Secured Claim becomes an Allowed Other
                                                                     Secured Claim, or, in each case, as soon as
                                                                     reasonably practical thereafter, (2) delivery of
                                                                     the collateral securing such Allowed Other
                                                                     Secured Claim and payment of any interest
                                                                     required under Section 506(b) of the
                                                                     Bankruptcy Code, or (3) such other recovery
                                                                     necessary to satisfy section 1129 of the
                                                                     Bankruptcy Code.
     3        Senior        Impaired      $231,000,000     100%      On the Effective Date, each holder of an                Yes
                                               11
            Noteholder                                               Allowed Class 3 Senior Noteholder Secured
          Secured Claims                                             Claim will be entitled to receive, in full and
                                                                     final satisfaction of such Allowed Senior
                                                                     Noteholder Secured Claim, its Pro Rata share
                                                                     of 100% of the New Common Stock on a
                                                                     Fully Diluted Basis.




8
 The amounts set forth herein are estimates based upon the Debtors’ books and records. Actual allowed amounts
will depend upon, among other things, final reconciliation and resolution of all Claims, and the negotiation of cure
amounts. Consequently, the actual allowed amounts may vary from the approximate amounts set forth herein.
9
 The approximate percentage recovery for each Class set forth in this Disclosure Statement is based upon certain
assumptions that are subject to change.
10
  The Reorganization Plan Debtors reserve the right to argue at the Confirmation Hearing that Class 2 (Other
Secured Claims) is Unimpaired.
11
  Pursuant to section 506(a) of the Bankruptcy Code, for purposes of the Reorganization Plan, the Senior
Noteholders Claims shall be treated as Class 3 Senior Noteholder Secured Claims in the aggregate amount of
$231,000,000, and as deficiency claims in Class 4 (General Unsecured Claims) in the aggregate amount of
$244,923,799.20.




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            TYPE OF                        APPROX.                                                                        ELIGIBLE
CLASS                       IMPAIR-                      APPROX. %
           CLAIM OR                       ALLOWED                                      TREATMENT9                            TO
 NO.                         MENT                        RECOVERY
           INTEREST                       AMOUNT8                                                                           VOTE
                                                                        For purposes of voting and distributions under
     4      General        Impaired      $135,000,000    Approx. 3%12   the Reorganization Plan, Class 4 General            Yes
           Unsecured                                                    Unsecured Claims against each of the
         Claims Against                                                 Reorganization Plan Debtors shall be deemed
         Reader’s Digest                                                to be in separate sub-classes. On the Effective
                                                                        Date, or as soon thereafter as is reasonably
                                                                        practicable, except to the extent that a holder
                                                                        of an Allowed General Unsecured Claim
                                                                        agrees to less favorable treatment of such
                                                                        Allowed General Unsecured Claim or has been
                                                                        paid before the Effective Date, each holder of
                                                                        an Allowed General Unsecured Claim,
                                                                        including any holder of FTC Claims, the
                                                                        Unsecured Term Loan Claim, any Non-Debtor
                                                                        Intercompany Claims, any DEMG
                                                                        Intercompany Claims or any Senior
                                                                        Noteholder Deficiency Claims, shall receive
                                                                        the following treatment:

                                                                        (i) for any sub-class of General Unsecured
                                                                        Claims that votes to accept the Reorganization
                                                                        Plan of any individual Reorganization Plan
                                                                        Debtor, each holder of an Allowed General
                                                                        Unsecured Claim in such accepting sub-class
                                                                        shall receive its Pro Rata share of the GUC
                                                                        Distribution and any Senior Noteholder
                                                                        Deficiency Claims in such accepting sub-class
                                                                        shall be deemed waived for the purposes of
                                                                        entitling holders of such Senior Noteholder
                                                                        Deficiency Claims to share in any recovery
            General         Impaired      $2,000,00013   Approx. 0.1%   from the GUC Distribution;                          Yes
           Unsecured
         Claims against                                                 (ii) in addition to any Pro Rata share of the
         Reorganization                                                 GUC Distribution, provided that the sub-class
          Plan Debtors                                                  of General Unsecured Claims of Reader’s
           Other than                                                   Digest votes to accept the Reorganization
         Reader’s Digest                                                Plan, each holder of an Allowed General
                                                                        Unsecured Claim of Reader’s Digest shall
                                                                        receive its Pro Rata share of the RDA GUC
                                                                        Distribution and any Senior Noteholder
                                                                        Deficiency Claims in such accepting sub-class
                                                                        shall be deemed waived for the purposes of
                                                                        entitling holders of such Senior Noteholder
                                                                        Deficiency Claims to share in any recovery
                                                                        from the RDA GUC Distribution; and

                                                                        (iii) in the event any sub-class of General
                                                                        Unsecured Claims votes to reject the
                                                                        Reorganization Plan with respect to any
                                                                        individual Reorganization Plan Debtor, the
                                                                        holders of Allowed General Unsecured Claims
                                                                        in such a rejecting sub-class shall not receive
                                                                        or retain any property under the
                                                                        Reorganization Plan on account of such
                                                                        Claims, including, for the avoidance of doubt,
                                                                        any Pro Rata share of the GUC Distribution or

12
  The recovery estimate for Class 4 General Unsecured Claims is calculated with the deemed waiver of the holders
of Senior Noteholder Deficiency Claims solely of any entitlement to share in any recovery from the GUC
Distribution or the RDA GUC Distribution.
13
  This amount assumes the implementation of the 2011 Financing Settlement and reflects the fact that the GUC
Distribution is shared Pro Rata along with holders of Allowed General Unsecured Claims against Reader’s Digest.




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            TYPE OF                        APPROX.                                                                     ELIGIBLE
CLASS                       IMPAIR-                  APPROX. %
           CLAIM OR                       ALLOWED                                 TREATMENT9                              TO
 NO.                         MENT                    RECOVERY
           INTEREST                       AMOUNT8                                                                        VOTE
                                                                   RDA GUC Distribution. For the further
                                                                   avoidance of doubt, to the extent any sub-class
                                                                   of General Unsecured Claims votes to reject
                                                                   the Reorganization Plan and, therefore, is not
                                                                   entitled to receive any portion of the GUC
                                                                   Distribution, such Pro Rata portion
                                                                   attributable to the rejecting sub-class shall be
                                                                   reallocated to the holders of General
                                                                   Unsecured Claims in other sub-classes that
                                                                   have voted to accept the Reorganization Plan.
                                                                   If holders of General Unsecured Claims
                                                                   against Reader’s Digest vote to reject the
                                                                   Reorganization Plan as a sub-class, there will
                                                                   be no RDA GUC Distribution.
     5     Plan Debtor      Impaired        NA           NA        On the Effective Date, RDA Holding will, at            Yes
          Intercompany                                             its discretion, Reinstate or compromise, as the
              Claims                                               case may be, all Plan Debtor Intercompany
                                                                   Claims between and among RDA Holding and
                                                                   its Reorganization Plan Debtor Affiliates
                                                                   consistent with the Acceptable Business Plan
                                                                   and the International Restructuring
                                                                   Transactions (as such term is used in the Plan
                                                                   Term Sheet) contemplated thereby.
     6    Existing RDA      Impaired         $0          0%        On the Effective Date, all Existing RDA                 No
            Holding                                                Holding Interests will be deemed canceled,          (deemed to
            Interests                                              and the holders of Existing RDA Holding               reject)
                                                                   Interests will not receive or retain any property
                                                                   under the Reorganization Plan on account of
                                                                   such Interests.
     7    Intercompany     Unimpaired       NA           NA                              NA                                No
             Interests                                                                                                 (presumed
                                                                                                                       to accept)
     8     Subordinated     Impaired        NA           NA                             NA14                               No
            Securities                                                                                                 (deemed to
             Claims                                                                                                      reject)


               Section VI.B of this Disclosure Statement provides a more detailed description of
the treatment of Claims and Interests under the Reorganization Plan.

                Pursuant to the provisions of the Bankruptcy Code, only holders of claims in
classes of claims or interests that are impaired and that are not deemed to have rejected a
proposed plan are entitled to vote to accept or reject such proposed plan. Classes of claims or
interests in which the holders of claims are unimpaired under a proposed plan are deemed to
have accepted such proposed plan and are not entitled to vote to accept or reject the
Reorganization Plan. Classes of claims or interests in which the holders of claims receive no
distribution under a proposed plan are deemed to have rejected such proposed plan and are not
entitled to vote to accept or reject the Reorganization Plan.




14
  Holders of the Subordinated Securities Claims will not receive or retain any property under the Reorganization
Plan on account of such Claims.




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F.       VOTING PROCEDURES

                As set forth in more detail in Section VI.D of this Disclosure Statement, certain
holders of Claims are entitled to vote to accept or reject the Reorganization Plan. For each
holder of a Claim entitled to vote, the Reorganization Plan Debtors have enclosed with the
Disclosure Statement, among other things, a ballot and voting instructions regarding how to
properly complete the ballot and submit a vote with respect to the Reorganization Plan. Holders
of more than one Claim will receive an individual ballot for each Claim. The individual ballots
must be used to vote each individual Claim. For detailed voting instructions, please refer to the
voting instructions enclosed with this Disclosure Statement and the ballot.

                   Return completed ballots to:

                   Via Regular Mail:

                   Reader’s Digest Ballot Processing Center
                   c/o Epiq Bankruptcy Solutions, LLC
                   FDR Station, P.O. Box 5014
                   New York, New York 10150-5014

                   Via Overnight Courier or Hand Delivery:

                   Reader’s Digest Ballot Processing Center
                   c/o Epiq Bankruptcy Solutions, LLC
                   757 Third Avenue, 3rd Floor
                   New York, New York 10017

               If you are a holder of a Claim entitled to vote on the Reorganization Plan and you
did not receive a ballot, received a damaged ballot, or lost your ballot or if you have any
questions concerning the Disclosure Statement, the Reorganization Plan, or the procedures for
voting with respect to the Reorganization Plan, please contact the Voting Agent at (866) 800-
6639 (or, (503) 597-7673, if calling from outside of the United States).

                       THE VOTING AGENT WILL NOT COUNT
                ANY BALLOTS RECEIVED AFTER THE VOTING DEADLINE.

G.       CONFIRMATION UNDER SECTION 1129(B)

                If a Class of Claims entitled to vote on the Reorganization Plan rejects the
Reorganization Plan, the Reorganization Plan Debtors reserve the right to amend the
Reorganization Plan or request confirmation of the Reorganization Plan pursuant to
section 1129(b) of the Bankruptcy Code or both. In addition, with respect to the Classes that are
deemed to have rejected the Reorganization Plan, the Reorganization Plan Debtors intend to
request confirmation of the Reorganization Plan pursuant to section 1129(b) of the Bankruptcy
Code. Section 1129(b) permits the confirmation of a chapter 11 plan notwithstanding the
rejection of such plan by one or more impaired classes of claims or interests. Under
section 1129(b), a plan may be confirmed by a bankruptcy court if it does not “discriminately
unfairly” and is “fair and reasonable” with respect to each rejecting class. A more detailed


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description of the requirements for confirmation of a nonconsensual plan is set forth in Section X
of this Disclosure Statement.

H.         CONFIRMATION HEARING

                Pursuant to section 1128 of the Bankruptcy Code, the Confirmation Hearing will
be held on June 28, 2013 at 10:00 a.m. (Eastern Time) before the Honorable Robert D. Drain
at the United States Bankruptcy Court for the Southern District of New York, 300 Quarropas
Street, 1st Floor, Room 118, White Plains, New York 10601.

               Objections and responses to confirmation of the Reorganization Plan, if any, must
be served and filed as to be received on or before the Objection Deadline, June 14, 2013 at 4:00
p.m. (Eastern Time), in the manner described in the Disclosure Statement Order and Section
X.B of this Disclosure Statement. The Confirmation Hearing may be adjourned from time to
time without further notice except for the announcement of the adjournment date made at the
Confirmation Hearing or at any subsequent adjourned Confirmation Hearing.

                                                         III.

         OVERVIEW OF THE REORGANIZATION PLAN DEBTORS’ OPERATIONS

A.         CURRENT OPERATIONS

                RDA is a global media and direct marketing company that educates, entertains
and connects consumers around the world with products and services from trusted brands.15 For
more than 90 years, the flagship brand and the world’s most read magazine, Reader’s Digest, has
simplified and enriched consumers’ lives by discovering and expertly selecting the most
interesting ideas, stories, experiences and products in health, home, family, food, finance and
humor. In addition, Taste of Home is the largest circulation food publication and is the leading
multi-platform producer of information on food, cooking and entertaining. Other brands include
The Family Handyman, Birds & Blooms, Country, and many other enthusiast titles in the United
States and internationally. The company provides content in print; online; via digital editions on
iPad, Kindle, Kindle Fire, Nook, Sony Reader, Google Nexus, and Zinio; via mobile apps; in
books; and via social media outlets such as Facebook and Twitter.

                As more fully described below, RDA’s principal operations consist of its multi-
brand and multi-platform media content and its direct marketing business. RDA’s media
businesses generate revenue primarily from magazine-related products (e.g., subscription
revenue, advertising revenue, and newsstand revenue), as well as from certain non-magazine
products, including single and series books, music, and video products. RDA’s media products
are offered in print and digital formats and are delivered through direct mail, retail, and digital
channels.

                RDA’s direct marketing businesses generate revenue primarily through the sale of
print and digital books, home entertainment, and non-published products and services (e.g.,

15
     A summary of the Debtors’ corporate structure, as of the Commencement Date, is attached hereto as Exhibit B.




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third-party vitamins and related health products, jewelry, merchandise, wine, mailing list
rentals), along with magazine subscriptions and advertising. RDA’s promotions to customers in
its direct marketing businesses are focused on a customer-centric affinity-driven marketing
model, which includes both sweepstakes and targeted promotions based on customers’ interests.

               RDA operates its global media and direct marketing businesses in three reportable
business segments: North America, Europe, and Asia Pacific and Latin America (“APLA”). As
more fully described below, the North America segment primarily operates RDA’s media and
publishing businesses, while the Europe and APLA segments primarily operate RDA’s direct
marketing businesses.

           1.       RDA North America

               The North America segment comprises RDA’s businesses operations in the
United States and Canada (collectively, “RDA North America”), which publish and market
various print and digital magazines, books and home entertainment products. The RDA North
America businesses utilize RDA’s content creation, curation, and direct marketing expertise.
RDA North America’s resources are shared across the RDA brands with centralized consumer
marketing and advertising sales efforts.

               RDA North America consists of three business units, managed by New York,
Milwaukee and Montreal divisions. The New York division manages operations for the
“Reader’s Digest,”16 brand across all platforms in the United States. The Milwaukee division
manages operations for the other two largest RDA brands “Taste of Home” and “The Family
Handyman,” as well as RDA’s enthusiast brands, “Birds and Blooms,” “Country,” “Country
Woman,” “Farm & Ranch Living,” and “Reminisce,” across all platforms. The Montreal
division manages operations for all Canadian businesses and brands through its Canadian
subsidiaries, with some corporate functions connected to the U.S. divisions. Each of the brands
is more fully described below.

                    (a)       Reader’s Digest

                The Reader’s Digest brand identifies and selects compelling ideas, stories,
experiences, and products, and presents them in simple, objective, and optimistic ways across the
areas of health, home, family, food, finance, and humor. Reader’s Digest content is available in
print, online, and in books.

                Reader’s Digest print content encompasses the articles, book excerpts, and
features included in Reader’s Digest magazine, and covers a broad range of contemporary issues
around the topics of health, family, money, work, food, and humor. Reader’s Digest magazine is
published in several editions in the United States, including the flagship English-language
edition, Reader’s Digest Large Print for Easier Reading, Braille, and recorded editions. As of
December 31, 2012, total United States magazine paid circulation for Reader’s Digest and
Reader’s Digest Large Print for Easier Reading was approximately 5.9 million. Reader’s Digest
is the second largest paid-subscription magazine in the United States.

16
     The term “Reader’s Digest,” as used in this section, refers only to the Reader’s Digest brand.



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                 Reader’s Digest digital content is available through readersdigest.com, which is a
leading general interest website that curates content by discovering and selecting compelling
ideas, stories, experiences, and products on health, home, family, money, and humor. The
website presents such content in simple, objective, and optimistic ways. Readersdigest.com
serves as a digital extension of Reader’s Digest print and digital magazine editions, allowing
readers to dive deeper into stories and topics that capture their interest, and engage directly with
other Reader’s Digest readers through interactive polls and discussion boards. Reader’s Digest is
consistently among the top downloads on the iPad, Kindle and Nook and has a strong social
media presence.

                Reader’s Digest Books and Home Entertainment publishes books for children and
adults, including Reader’s Digest Select Editions. For adults, it originates and sells books under
the Reader’s Digest imprint in many illustrated categories, such as health, home, gardening,
cooking, humor, history, and reference, including The New York Times bestseller “The Digest
Diet”. These books are sold through traditional retail channels, the internet, catalogs, and book
clubs. Books, games, and other products for children are sold under the Reader’s Digest
Children’s Publishing imprint, many of them in partnership with brands such as Barbie, Disney,
Nickelodeon, Sesame Street, Fisher-Price, Marvel Heroes, and Hasbro.

               Reader’s Digest Select Editions is one of America’s longest running direct to
consumer book programs. This program serves nearly 88,000 subscribers with a new volume six
times a year, containing condensed versions of popular fiction books. The Select Editions
business has been shrinking dramatically as a result of a declining readership and changing
consumer appetites. While the Reorganization Plan Debtors have ceased marketing Select
Editions, the Reorganization Plan Debtors continue to service their long-standing readers.

                   (b)       Taste of Home

                 Taste of Home is an established resource for tried and tested, user-generated
information on food, cooking, and entertaining. Taste of Home, generally published six times a
year, caters to readers who are looking for simple everyday recipes that can be prepared with
affordable, everyday ingredients. Taste of Home has a circulation of 3.2 million — the highest
food and entertaining magazine circulation in the United States — and a readership of
approximately 11.1 million people. Taste of Home content is available in print editions, tablet
and eReader editions, online at Tasteofhome.com, in books, and through social media outlets.

                 Taste of Home magazines, including Simple & Delicious, have an innovative
editorial model that makes extensive use of user-generated content. Taste of Home receives
approximately 50,000 reader recipes, stories and tips every year, of which approximately 2,500
are tested in the Taste of Home test kitchen and approximately 1,900 are published across Taste
of Home print and digital platforms. Taste of Home draws on approximately 500 contributing
field editors from across the United States and Canada. Total paid circulation for Taste of Home,
including Simple & Delicious is approximately 3.7 million, as of December 31, 2012.

               Taste of Home has a strong web presence at Tasteofhome.com. Tasteofhome.com
provides user-generated, tried and tested recipes, video cooking tips, chat groups, and newsletters
focused on preparing home-cooked meals for every day and holidays. The site consistently



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ranks among the top-20 food websites and Tasteofhome.com received on average 4.6 million
unique visitors per month in 2012. Tasteofhome.com also distributes a broad portfolio of email
newsletters to a combined circulation of over 7.2 million readers. More than 500,000 consumers
interact with the Taste of Home brand via social media outlets. In addition, approximately 300
Taste of Home Cooking School events are held across the country each year, providing the brand
an experiential connection with more than 300,000 consumers.

               Additionally, RDA publishes books and special interest newsstand publications
based on editorial content derived from material contributed by readers to the Taste of Home
magazines. The Taste of Home books and special interest newsstand publications are created to
complement the magazines and to leverage the magazines’ brand names, reader loyalty, and
editorial capability, selling over one million books and 5 million special interest newsstand
copies in 2012.

                   (c)       The Family Handyman

                The Family Handyman, which gives consumers how-to solutions for home and
lifestyle projects, is the highest paid circulation U.S. do-it-yourself magazine, with paid
circulation of approximately 1.1 million as of December 31, 2012. Approximately 4.7 million
people read The Family Handyman, and there are approximately 1,100 contributing field editors
that provide user-generated content. The Family Handyman content is available in print editions,
tablet and eReader editions, online at FamilyHandyman.com, in books, and through social media
outlets. The Family Handyman also publishes a line of special-interest premium magazines and
books, which are sold through retail and direct mail.

                 Familyhandyman.com is a standalone branded website that received on average
over 979,000 unique visitors per month in 2012, and more than 50,000 fans are engaged with
The Family Handyman on social media sites. It is also a key component of RDA’s digital
strategy, as a leading national brand anchoring RDA’s Haven Home Media network, a vertical
advertising network that includes approximately 70 independent do-it-yourself, home
improvement, and home design and décor websites that received an average of more than 11.3
million unique visitors per month in 2012.

                   (d)       Other Magazines

            The enthusiast magazines, described below, include Birds & Blooms, Country,
Country Woman, Farm & Ranch Living, and Reminisce.

                   ●         Birds & Blooms is the highest paid-circulation magazine for bird
                             enthusiasts in the United States. Readers share ideas with fellow birding
                             enthusiasts and gain easy-to-understand advice from resident bird and
                             garden experts.
                   ●         Country celebrates the beauty, people, values, and rewarding lifestyle of
                             the American countryside. Country exposes readers to impressive
                             scenery, home-style cuisine, and heartwarming stories.




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                    ●        Country Woman celebrates the diversity, strength and spirit of women
                             who love the country. Country Woman content covers, among other
                             things, recipes, decorating, casual entertaining, crafts, gardening, health,
                             and nostalgia.
                    ●        Farm & Ranch Living features inspiring and entertaining articles and short
                             stories, as well as a wide array of agricultural photos from readers sharing
                             their own experiences with raising livestock, growing crops and gardens,
                             putting up produce for winter consumption, and working to constantly
                             improve their land. Farm and Ranch Living content is available in print
                             and online at FarmandRanchLiving.com.
                    ●        Reminisce content focuses on the 1930s, ‘40s, ‘50s, ‘60s and early ‘70s. A
                             variety of user-generated stories, vintage black and white photographs and
                             early color slides span a unique array of generational topics that include,
                             among others, automobiles, entertainment, and fashion.

                Generally published six times a year, the enthusiast brands magazines have a
circulation of more than 4.9 million people. The magazines also have a substantial online
presence: their websites collectively receive an average of 400,000 unique visitors per month,
and they have over 180,000 fans on social media sites, as of December 31, 2012.

           2.       RDA International

                RDA’s international segments, including Europe and APLA, (collectively, “RDA
International”) operate under a regional structure that includes six primary international
regions: (1) European, (2) German, (3) Western Europe, (4) Central/Eastern Europe,
(5) Russia/Nordic, and (6) APLA.17 The European region is comprised of four sub-regions—the
German, Western Europe, Central/Eastern Europe and Russia/Nordic regions—which
collectively represent the majority of revenues generated by the international segments. The
German region is comprised of Germany, Austria, and Switzerland. The Western Europe region
is comprised of France, Belgium, and the Netherlands. The Central/Eastern Europe region is
principally comprised of the Czech Republic, Poland, Hungary, and Romania.18 The
Russia/Nordic region is principally comprised of Russia, Finland, and Sweden. The APLA
region includes Australia, New Zealand, Malaysia, Singapore, and Brazil. With the exception of
Malaysia and Singapore, where all products are provided in English, all other products and
services are provided in local languages.

                RDA International offers its customers Reader’s Digest-branded products as well
as carefully selected non-branded published products, merchandise, and services that align with
their personal interests and needs through direct marketing. The products and services address
lifestyle needs across multiple communities including seniors, health, cooking, gardening, and
travel. Its customer-centric business model is intended to enable RDA International to match

17
     RDA’s international entities are not debtors in these Chapter 11 Cases.
18
  For a discussion of sales of certain of the Reorganization Plan Debtors’ international subsidiaries that have been
completed during the Chapter 11 Cases see Section V.E below.




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products and promotions to approximately 47 million existing customers and to better serve new
customers. Beyond the flagship Reader’s Digest brand, RDA International has built a series of
companion brands by adapting brands to local geography, customs and customer niches. RDA
International also offers proprietary marketing services to third parties, such as digital marketing,
list rental, promotion design, and database analytical services.

                As described below, RDA International is in the midst of a radical change. An
effort to switch to a licensing model is well underway in order to address operations in several
countries that are not sufficiently profitable or scaled to warrant an ongoing investment in
resources. A few such licensing transactions have been completed and certain other transactions
are in the pipeline.

B.       THE REORGANIZATION PLAN DEBTORS’ SUPPLY CHAIN

                 The Reorganization Plan Debtors’ ability to retain and grow their businesses
including growing their customer base (and attracting corresponding advertising dollars) depends
on their ability to procure goods and services at competitive prices and fulfill, produce, and
distribute their products timely and accurately. This, in turn, necessitates carefully-
choreographed, highly-integrated stages of development, production, and delivery realized
through a synchronization of the numerous third-party suppliers, vendors, and service providers
within the Reorganization Plan Debtors’ global supply chain network.

                To achieve cost structure efficiencies, the Reorganization Plan Debtors outsource
to unaffiliated third parties certain key business processes, including production, fulfillment,
customer care, information technology, and distribution functions. Outsourcing enables the
Reorganization Plan Debtors to capitalize on the relationships, resources, and technological
strengths of high-volume vendors to achieve supply chain efficiencies without capital investment
or budget increases. As a result, in many instances, the Reorganization Plan Debtors are able to
create, produce, and deliver higher-service products at lower cost points relative to the
marketplace, facilitating competitive operations that better position the Reorganization Plan
Debtors to increase margins.

                The Reorganization Plan Debtors’ current management has analyzed RDA’s
organizational overhead and implemented cost reductions throughout the company, including
with respect to the Reorganization Plan Debtors’ distribution and other processes. Specifically,
the Reorganization Plan Debtors have been developing and implementing various operational
initiatives aimed at maximizing supply chain and production efficiencies by eliminating unused
capacities and further consolidation of their supply base. Notwithstanding the benefits of certain
of the Reorganization Plan Debtors’ outsourcing arrangements, outsourcing inevitably limits the
Reorganization Plan Debtors’ ability to exercise direct control over their outsourced operations,
including their finished products, which increases the Reorganization Plan Debtors’ exposure to
supply chain interruptions and other external factors. Additionally, in some instances,
outsourcing relationships historically have constrained the Reorganization Plan Debtors’ ability
to strategically shrink certain markets due to minimum requirements and other contractual
limitations. This, combined with the inherent nature of the media and marketing industry—a
dynamic and time-sensitive global marketplace driven largely by vacillating consumer
preferences and influenced, sometimes significantly, by macroeconomic factors—requires the



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Reorganization Plan Debtors to secure the cooperation of their key vendors, service providers,
and outsourcing partners (or secure alternative sources) to ensure a dependable, accountable yet
flexible supply chain.

C.       PREPETITION CAPITAL STRUCTURE

                As of the Commencement Date, the Reorganization Plan Debtors had outstanding
funded debt obligations in the aggregate amount of approximately $534 million, which amount
consists of (1) approximately $60 million in secured borrowings and outstanding letters of credit
under the 2012 Senior Credit Agreement (as herein defined), (2) approximately $464 million in
principal amount of Senior Notes, and (3) approximately $10 million in principal amount of
borrowing under the Unsecured Term Loan Agreement (as herein defined).

         1.        Senior Credit Agreement

               On March 30, 2012, Reader’s Digest entered into that certain Credit and
Guarantee Agreement with Wells Fargo Bank, N.A., as administrative agent, the Guarantors (as
therein defined), and Wells Fargo, as lender and issuing lender (the “2012 Senior Credit
Agreement”), providing Reader’s Digest with a $50.0 million secured term loan (the “2012
Senior Term Loans”) and an $11.0 million letter of credit facility (the “Letter of Credit
Facility”).

                 The 2012 Senior Term Loans under the 2012 Senior Credit Agreement bear
interest at a variable rate per annum, based upon Reader’s Digest’s election of a prime rate or
LIBOR (subject to a floor of 4.0% and 3.0%, respectively) plus 5.0% in the case of prime rate
borrowings and 6.0% in the case of LIBOR borrowings. The drawn letters of credit under the
Letter of Credit Facility bear an interest rate of 7.0% per annum and the Letter of Credit Facility
includes a utilization fee of 1.0% per annum, which will accrue on the total undrawn amount of
the Letter of Credit Facility. The obligations under the 2012 Senior Credit Agreement are fully
and unconditionally guaranteed on a first-priority secured basis, jointly and severally by
Reader’s Digest, RDA Holding, and by all the other Debtors.

                 As of December 31, 2012, there was approximately $49.8 million, in addition to
letters of credit totaling approximately $9.5 million, outstanding under the 2012 Senior Credit
Agreement.

         2.        Senior Notes

                On February 11, 2010, RD Escrow Corporation entered into an Indenture (the
“Indenture”) with Reader’s Digest, RDA Holding, and substantially all of their then-existing
wholly-owned direct and indirect domestic subsidiaries, Wells Fargo Bank, N.A., as trustee, and
Wilmington Trust, National Association (f/k/a Wilmington Trust FSB), as collateral agent,
pursuant to which RDA issued $525.0 million in principal amount of Senior Notes in a private
offering under the Securities Act of 1933. The Senior Notes mature on February 15, 2017, and
bear interest at a rate per annum equal to LIBOR (as defined, subject to a three-month LIBOR
floor of 3.0%) plus 6.5%. The LIBOR component of the interest rate is reset quarterly and
commenced on May 15, 2010. As of December 31, 2012, there was approximately $464.4
million outstanding in respect of the Senior Notes. The obligations under the Indenture are fully


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and unconditionally guaranteed on a first-priority secured basis, jointly and severally by
Reader’s Digest, RDA Holding, and by all the other Debtors.

                On June 15, 2012, in accordance with the requirements under the Indenture, RDA
completed a cash tender offer to purchase up to $60.7 million of its Senior Notes,19 at a purchase
price of 95% of the principal amount thereof, plus accrued and unpaid interest thereon to the date
of purchase, at a total cost of $58.1 million.

           3.      Collateral for Senior Credit Agreement and Senior Notes

                The Senior Notes and the obligations under the 2012 Senior Credit Agreement are
secured by a first-priority security interest in substantially all the assets of Reader’s Digest and
the Guarantors in addition to holding a pledge of 65% of the equity of the Reorganization Plan
Debtors’ directly-owned first-tier Foreign Subsidiaries, in each case in accordance with and
subject to the terms of that certain Security Agreement dated as of February 19, 2010 (as
amended, restated, supplemented or otherwise modified from time to time, the “Security
Agreement”).

               The obligations under the 2012 Senior Credit Agreement and the Indenture are
secured by a single collateral package and rank pari passu with each other, subject to the
provisions of the Prepetition Security Agreement, including section 5.5 thereof.

           4.      Unsecured Term Loan

                On August 12, 2011, the Reorganization Plan Debtors entered into an unsecured
term loan and guarantee agreement (the “Unsecured Credit Agreement”) with Luxor, as
administrative agent, the Guarantors (as therein defined), and the other lenders thereunder,
consisting of funds affiliated with Luxor and Point Lobos Capital (“Point Lobos”),20 providing
the Reorganization Plan Debtors with a $10.0 million unsecured term loan (the “Unsecured
Term Loan”). The Unsecured Term Loan matures in May 2014 and bears interest at the rate
of 11.0% per annum. As of December 31, 2012, there was $10.0 million outstanding under the
Unsecured Term Loan.

               In connection with the Unsecured Term Loan, the Reorganization Plan Debtors
issued two tranches of warrants to the lenders thereunder. The estimated fair value of these
warrants at December 31, 2012 and at the issuance date was zero and $2.9 million, respectively.

               In addition, certain claimholders in the 2009 Restructuring (as herein defined)
received warrants, pursuant to the terms of a warrant agreement, to acquire, subject to certain
terms and conditions, shares of RDA Holding’s common stock. As of the Commencement Date,
the estimated value of such warrants was zero.

19
  As discussed in Section IV.F below, on February 29, 2012, RDA sold its Allrecipes.com business, pursuant to the
applicable asset sale provision of the Indenture, and used certain of the proceeds from such sale for the tender offer
for the Senior Notes.
20
     Luxor and Point Lobos are also holders of RDA Holding’s common stock.




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                 On August 12, 2011, the Reorganization Plan Debtors also entered into a term
loan and guarantee agreement (the “2011 Secured Credit Agreement”) with Luxor and Point
Lobos, providing the Company with a $45.0 million secured term loan (the “2011 Secured
Term Loan”). The 2011 Secured Term Loan would have matured in November 2013 and bore
interest at the rate of 7.0% per annum. On March 6, 2012, the Reorganization Plan Debtors
repaid the 2011 Secured Term Loan using net proceeds from the sale of the Allrecipes.com
business (in February 2012). The repayment included $45.0 million to satisfy the principal debt,
along with $5.0 million due under the early repayment provisions of the 2011 Secured Credit
Agreement.

                                                        IV.

                             KEY EVENTS LEADING TO THE
                       COMMENCEMENT OF THESE CHAPTER 11 CASES

                While RDA benefited from a balance-sheet restructuring that commenced in
2009, the Reorganization Plan Debtors have faced recurring liquidity challenges due to, among
other things, negative trends in certain international markets, reduced revenue in certain domestic
businesses, and burdensome overhead costs. As more fully described below, RDA’s new
management has implemented an array of transformational initiatives to move the company in
the right direction. In 2012, however, it became clear that, under its current capital structure,
RDA could not continue its transformation efforts outside of a chapter 11 proceeding.

A.       BUSINESS ENVIRONMENT POST 2009 RESTRUCTURING

                 On August 24, 2009, certain of the Reorganization Plan Debtors, and substantially
all of their direct and indirect domestic subsidiaries, filed voluntary petitions for relief under
chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern
District of New York (the “2009 Restructuring”).21 At that time, the principal factors that
necessitated the commencement of the 2009 Restructuring included, among other things,
burdensome debt obligations, reduced advertising and consumer spending, credit shortages, and
increased postal and delivery costs. The 2009 Restructuring implemented a prenegotiated plan
of reorganization that provided for, among other things, a 75% reduction of RDA’s debt burden.

               RDA emerged from chapter 11 in February 2010. In connection with the
emergence, RDA’s former management sought to right-size the company by minimizing
overhead expenses and reducing headcount. Despite these efforts, continued downward trends in
the publishing and direct marketing industry undermined RDA’s ability to stabilize. Although
financial projections anticipated some decline in revenue, the actual declines occurred at rates
higher than anticipated, and against factors that RDA was not able to predict, including
continued challenging economic environments in the international business segments. For
example, RDA’s European segment’s operating profit was approximately $53.9 million for the
year ended December 31, 2010, and approximately $29.0 million for the year ended
December 31, 2011, as restated for subsequent discontinued operations classification. Similarly,
21
  The chapter 11 cases were jointly administered under the caption In re: The Reader’s Digest Association, Inc., et
al., Case No. 09-23529 (RDD) (Bankr. S.D.N.Y.).




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RDA International experienced negative revenue trends due to, among other things, a lower
active customer base and softer response rates.

B.       FTC CLAIM

                During and immediately after the 2009 Restructuring, DEMG, a subsidiary of
Reader’s Digest, generated revenues through sales of the Ab Circle Pro fitness product (the “Ab
Circle Pro”). On April 19, 2010, the Federal Trade Commission (the “FTC”) launched an
investigation into DEMG’s marketing of the Ab Circle Pro.

                In connection with a negotiated settlement among DEMG, Direct Holdings
Americas, Inc. (together, the “DEMG Defendants”),22 the FTC, and Reader’s Digest, on
August 22, 2012, the FTC commenced an action in the Southern District of Florida (Case No.
12-23065 (CMA)) by filing a complaint (the “FTC Complaint”) alleging certain deceptive acts
or practices and false advertisements by DEMG related to the marketing and sale of the Ab Circle
Pro. The FTC Complaint did not allege any wrongdoing by Reader’s Digest.

                The FTC, the DEMG Defendants, and Reader’s Digest memorialized their
negotiated settlement in that certain Stipulated Final Judgment and Order for Permanent
Injunction and Other Equitable Relief Against Defendants Direct Holdings Americas, Inc. and
Direct Entertainment Media Group, Inc., and Relief Defendant The Reader’s Digest Association,
Inc., entered August 28, 2012 (the “Stipulated Judgment”). Although the FTC Complaint did
not allege any wrongdoing by Reader’s Digest, Reader’s Digest, nevertheless, agreed to be
named in the Stipulated Judgment as a relief defendant, thereby making Reader’s Digest jointly
responsible for payment of the settlement amount.

                Pursuant to the Stipulated Judgment, DEMG, as a direct defendant, and Reader’s
Digest, as relief defendant, jointly and severally agreed to a judgment of approximately
$31.2 million. The Stipulated Judgment provided, however, that the aggregate amount to be paid
by Reader’s Digest and the DEMG Defendants would be reduced upon satisfaction of certain
payment milestones and deadlines. By complying with the milestones in the Stipulated
Judgment, the DEMG Defendants and Reader’s Digest would be responsible to make payments
to the FTC in an aggregate amount ranging from approximately $14 million to $24 million based
on the level of consumer redress requested by Ab Circle Pro purchasers.23 In the event that
Reader’s Digest and the DEMG Defendants fail to make a required payment when due, the entire
$31.2 million judgment less any sums already paid by Reader’s Digest and DEMG would
become due. As of the Commencement Date, the FTC has been paid $5 million pursuant to the
Stipulated Judgment.

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   Direct Holdings Americas, Inc., a former subsidiary of the Debtors, was also a party to the Stipulated Judgment
herein defined), however, that entity was sold as a part of a transaction that closed prior to the Commencement Date,
in July of 2012.
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  The Stipulated Judgment further provided that the FTC (or its agents) would use the payments for consumer
redress or other monetary equitable relief. If the “Total Redress Amount,” which is defined as the total amount of
consumer redress plus the costs of administration, is greater than $15 million, Reader’s Digest and the DEMG
Defendants are required to pay up to $10 million in additional funds to the FTC, which would increase the aggregate
amount from $14 million up to a maximum amount of $24 million.



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              The Stipulated Judgment also provides that the facts alleged in the FTC
Complaint (1) will be taken as true in any nondischargeability proceeding, and (2) establish all
elements necessary to sustain an action by the Commission pursuant to section 523(a)(2)(A) of
the Bankruptcy Code. As noted, however, the FTC Complaint does not allege any facts that
would support a nondischargeability proceeding as against the Reorganization Plan Debtors.

               As a result of the commencement of these Chapter 11 Cases, the FTC has a
dischargeable General Unsecured Claim against Reader’s Digest scheduled as contingent and
unliquidated in the minimum amount of $8,753,266 (the “FTC Claim”).

               The FTC disagrees with the Reorganization Plan Debtors' assertions regarding the
amount and dischargeability of the FTC Claim. First, the FTC asserts that, pursuant to Section
V.C of the Stipulated Judgment, because Readers Digest filed its Chapter 11 petition on February
18, 2013 and failed to make a required $5 million judgment payment due on February 24, the
amount of the FTC Claim against Readers Digest is $26,667,200—the difference between the
entire judgment amount, $31,667,200, less the $5 million it previously paid to the FTC.

                Second, in the FTC Complaint, the agency alleged, inter alia, that: (1) the DEMG
Defendants, at a time when both were wholly-owned subsidiaries of Readers Digest, made false
or unsubstantiated advertising claims when marketing and selling the Ab Circle Pro exercise
device, causing substantial harm to consumers; (2) the DEMG Defendants operated as a common
enterprise, with common ownership, employees, business functions, and office locations; and
(3) their common parent company, Readers Digest was unjustly enriched because it received
funds directly or indirectly from the DEMG Defendants derived from these deceptive advertising
practices. As noted above, under Section V.H of the Stipulated Judgment, Readers Digest
specifically agreed that the facts as alleged in the FTC Complaint will be taken as true in a
nondischargeability proceeding in any bankruptcy case, and establish all elements necessary to
sustain an action by the Commission pursuant to section 523(a)(2)(A) of the Bankruptcy Code,
the fraud exception to discharge. Readers Digest further agreed that the Stipulated Judgment
would have collateral estoppel effect for such purposes. Pursuant to section 1141(d)(6)(A) of the
Bankruptcy Code, any debt of a kind specified in section 523(a)(2)(A) owed to a domestic
governmental unit is nondischargeable in a corporate Chapter 11 reorganization. Accordingly,
the FTC asserts that it may bring an action asking the Bankruptcy Court to determine that the
FTC Claim is excepted from discharge.

                The Reorganization Plan Debtors disagree with the FTC’s assertions. As a
threshold matter, the Reorganization Plan Debtors contend that the stipulation contained in
Section V.H. of the Stipulated Judgment is not competent to establish the nondischargeability of
the FTC Claim because the Bankruptcy Court has exclusive jurisdiction to determine
nondischargeability under Section 523(a)(2)(A) of the Bankruptcy Code, and only the
Bankruptcy Court, therefore, has the power to determine whether the criteria for
nondischargeability under Section 523(a)(2)(A) are met. In all events, however, Reader’s Digest
did not agree in Section V.H. (or any other provision) of the Stipulated Judgment that the facts as
alleged in the FTC Complaint establish all elements necessary to sustain a nondischargeability
action under Section 523(a)(2)(A) against Reader’s Digest. Rather, the stipulation contained in
Section V.H. of the Stipulated Judgment constituted an agreement not to challenge any
nondischargeability action brought by the FTC under Section 523(a)(2)(A) against the DEMG



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Defendants. Indeed, the FTC’s contrary interpretation is not consistent with the facts
presented—Reader’s Digest consistently has denied any wrongdoing, and the FTC Complaint is
bereft of any allegations that Reader’s Digest participated in—or was even aware of—any of the
allegedly false or deceptive claims or advertising practices of the DEMG Defendants described
in the FTC Complaint. To the contrary, the FTC included Reader’s Digest in the FTC Complaint
only as a “Relief Defendant,” solely for purposes of facilitating collection of the monetary relief
contemplated in the Stipulated Judgment that was sought from the DEMG Defendants. The
Reorganization Plan Debtors further contend that the treatment of Readers’ Digest as a “Relief
Defendant” is inconsistent with the position taken now by the FTC that is has the ability to
demonstrate that the criteria for nondischargeability under Section 523(a)(2)(A) could be
satisfied in an action against Reader’s Digest. Moreover, given the scant factual allegations in
the FTC Complaint relating to its conduct, the stipulation by Reader’s Digest that the facts as
alleged in the FTC Complaint may be taken as true, falls significantly short of establishing
nondischargeability of the FTC Claim under Section 523(a)(2)(A), at least as against Reader’s
Digest.

                The Reorganization Plan Debtors do not believe that the FTC can now litigate
matters that have been consensually resolved. Moreover, any finding that the FTC Claims are
non-dischargeable as against Reader’s Digest would not result in additional distributions for the
FTC as no financing currently exists sufficient to satisfy the obligations under the Stipulated
Judgment and maintain Reader’s Digest as a going concern. Were Reader’s Digest forced to
liquidate, the FTC would receive no distribution. See Exhibit D (Liquidation Analysis).

C.       TRANSFORMATION EFFORTS

                On September 12, 2011, Robert E. Guth was appointed by the board of directors
as President and Chief Executive Officer. Since the time of Mr. Guth’s appointment, RDA’s
current management has sought to transform RDA. The transformation has been centered
around three areas: (1) reducing corporate overhead and legacy expenses and complexity,
(2) revitalizing the Reorganization Plan Debtors’ core businesses, and (3) selling and/or licensing
the international direct marketing businesses or pursuing alternate solutions.

         1.        Reduction of Corporate Overhead and Organizational Complexity

               In the fall of 2011, RDA’s current management began comprehensive cost
reduction measures and organizational streamlining efforts. Specifically, current management
has implemented significant cost-minimization initiatives, including, without limitation,
workforce reductions, vendor evaluations, product rationalization, and business re-engineering.
To date, these efforts have resulted in combined annualized savings of more than $50 million.

                 In addition, the Reorganization Plan Debtors’ current management has sold
underperforming and non-core businesses in order to develop a leaner, more-efficient
organization. For example, on October 28, 2011, RDA completed the sale of Every Day with
Rachael Ray, a publication within its North America operating segment. In addition, during the
first quarter of 2012, RDA sold its Weekly Reader and its Allrecipes.com businesses, for
approximately $3.6 million and $175 million, respectively, and used the majority of those sale
proceeds to retire certain of the company’s then-existing debt, including, the $45.0 million 2011



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Secured Term Loan and $57.6 million principal amount of the Senior Notes. RDA used the
remaining sale proceeds for certain capital expenditures as permitted under the Indenture.
Similarly, on July 2, 2012, RDA sold its Lifestyle and Entertainment Direct division for
approximately $1.1 million. Moreover, management recently implemented a plan to eliminate
certain unprofitable components of the Reorganization Plan Debtors’ book businesses including
their series book business, and single sales and catalog business.

         2.        Revitalizing the Reorganization Plan Debtors’ Core Businesses

                In addition to cost reductions, the Reorganization Plan Debtors’ current
management is aggressively pursuing increased profitability and refinement of the
Reorganization Plan Debtors’ core businesses in North America. Management has implemented
an array of initiatives to maximize the profitability of their portfolio of brands. Over the past
eighteen months, management also has implemented certain revenue-enhancing initiatives,
including, without limitation, certain strategic partnership and digital initiatives.

                The Reorganization Plan Debtors are pursuing growth opportunities by creating
new revenue streams through innovative partnership agreements, such as its partnership with a
global property-casualty and general insurance organization. RDA and this partner have a long-
standing relationship—over the past eleven years, the companies have worked cooperatively to
market insurance solutions in Europe, Asia and Latin America. In 2012, this relationship was
extended to include new insurance solutions and new distributions around the world.

                In addition, the Reorganization Plan Debtors have executed a comprehensive
digital strategy to make their products available across the spectrum of digital formats. The
Reorganization Plan Debtors have recently achieved substantial growth in the tablet and eReader
digital space through strategic partnerships with Amazon.com, Inc. and Apple Inc. The
Reorganization Plan Debtors’ websites contribute significantly in the areas of advertisement
sales, consumer marketing, and general brand awareness. The Reorganization Plan Debtors are
in the process of developing methods for taking full advantage of traffic on their websites.
Similarly, the Reorganization Plan Debtors also intend to release certain mobile apps that are in
various stages of development.

               While RDA has pursued and in fact achieved growth in advertising revenue, the
corresponding adherence to a rate-base structure has put pressure on its once-highly profitable
consumer revenue streams.24 The Reorganization Plan Debtors are now seeking to achieve a
better balance between these revenue sources.

D.       INTERNATIONAL STRATEGIES

             In addition to the foregoing efforts, RDA’s management has commenced a
comprehensive review of its international operations. RDA International’s direct marketing

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   In the ordinary course of securing advertising revenues, the Debtors typically agree to ensure that their products
attain a base level of general circulation (“Rate Base Commitments”). In the event the Debtors fail to meet the
Rate Base Commitments, the Debtors refund or rebate a portion of their advertising revenues to compensate the
advertiser for any shortfall in product circulation.




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operations have experienced long-term declines attributable to, among other things, a
fundamental shift in international consumers’ purchasing habits, high cost structure, and
continued economic challenges in Europe. While RDA International’s businesses have
generated declining revenues, management believes that certain local or regional strategic third
parties may be better positioned to extract value from the RDA International assets.

                The international businesses and related markets provide growth opportunities for
local and regional buyers. Local or regional purchasers can launch new publishing and
merchandise affinities that have close linkage and synergy with the Reader’s Digest brand and
utilize the very large existing customer databases of these businesses. In addition, purchasers
may be uniquely positioned to expand the breadth of direct marketing partnerships into new
geographies and categories where RDA has been unable to in the past. At least as significantly,
the number and declining size of the international businesses has resulted in organizational and
infrastructure complexity and expense, including many legacy systems and processes, and the
strategy for selling and licensing those businesses will very importantly allow for simplification
and significant cost savings.

               On July 31, 2012, RDA sold the Reader’s Digest Spain and Portugal businesses.
Concurrent with the sale agreement, RDA entered into a license agreement with the purchaser to
publish the Spain and Portugal editions of Reader’s Digest magazine and sell other products
under the Reader’s Digest brand.

               In 2012, RDA engaged FTI to act as financial advisor for the sale of the assets or
stock of one or more of the RDA International entities. RDA further contemplated that the
buyers of such assets would also enter into long-term licensing agreement with RDA for use of
the RDA brands and other intellectual property.

                Since its engagement, FTI has commenced a global marketing process to
sell/license the regional components of RDA International, or the businesses as a whole. As part
of this process, FTI solicited bids for the international companies and contacted approximately
600 parties that FTI and the Reorganization Plan Debtors believed could be interested in
purchasing some portion of the international business. The parties contacted by FTI ranged from
local businesses to financial and strategic purchasers. Despite these and other efforts,
management’s comprehensive effort to identify parties willing to purchase the Reorganization
Plan Debtors’ entire international asset as a going concern was met with very limited interest.
As a consequence, the Reorganization Plan Debtors have entered into certain smaller
transactions described herein in Section V.E to sell their international operations in certain
individual countries. The Reorganization Plan Debtors have sought approval of such
transactions.

E.       THE RESTRUCTURING SUPPORT AGREEMENT

                Beginning in December 2012, the Reorganization Plan Debtors and their major
stakeholders, including Wells Fargo and the Ad Hoc Committee, engaged in extensive
prepetition negotiations. Following such negotiations, the Debtors, Wells Fargo and the Ad Hoc
Committee, and their respective restructuring professionals, reached a consensual agreement,
which is set forth in the Restructuring Support Agreement. The Reorganization Plan Debtors



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believe that the Restructuring Support Agreement, which is embodied in the Reorganization
Plan, not only provides for the Reorganization Plan Debtors’ prompt emergence from chapter 11,
but also will facilitate the ongoing transformation of the Reorganization Plan Debtors’
businesses.

                                                  V.

                                       THE CHAPTER 11 CASES

A.       FIRST DAY PLEADINGS

                On the Commencement Date, or soon thereafter, the Debtors filed certain “first-
day” motions (collectively, the “First Day Pleadings”) seeking certain immediate relief from the
Bankruptcy Court that would allow the Debtors to continue to operate in chapter 11 and avoid
immediate and irreparable harm due to the commencement of the Chapter 11 Cases. A
description of the First Day Pleadings is set forth in the Declaration of Robert E. Guth Pursuant
to Local Bankruptcy Rule 1007-2, dated February 17, 2012 (ECF No. 3). By separate orders, the
Bankruptcy Court granted the relief requested in the First Day Pleadings, on interim and/or final
bases, as applicable.

B.       DIP FACILITY

                 On February 18, 2013, the Debtors filed a motion to approve a consensual,
priming, debtor-in-possession credit facility (the “DIP Facility”) in the aggregate principal
amount of approximately $105 million, comprised of (1) a term loan in the aggregate principal
amount of $45 million (the “New Money Loan”), and (2) a refinancing term loan and letter of
credit facility in the aggregate amount of approximately $60 million (the “Roll-Up Facility” and,
together with the New Money Loan, the “DIP Loans”). The DIP Facility was contemplated in
conjunction with the Restructuring Support Agreement.

                The Reorganization Plan Debtors obtained postpetition financing pursuant to that
certain Credit and Guarantee Agreement (the “DIP Loan Agreement”), dated as of February 22,
2013, by and among Reader’s Digest, as borrower, its affiliated debtors, as guarantors, and
Wilmington Trust, National Association, as administrative agent for the lenders party thereto (the
“DIP Lenders”). The DIP Lenders are comprised of (1) certain Senior Noteholders party to a
certain commitment letter, dated February 17, 2013, in respect of the New Money Loan, and (2)
Wells Fargo, in respect of the Roll-Up Facility.

                By order, dated February 21, 2013, the Bankruptcy Court approved the DIP
Facility on an interim basis, authorizing the Reorganization Plan Debtors to draw $11 million on
account of the New Money Loan. On March 25, 2013, the Bankruptcy Court entered a final
order approving the DIP Facility. Upon entry of the final order, the Reorganization Plan Debtors
drew the remaining $34 million available under the New Money Loan. All amounts available
under the Roll-Up Facility were drawn and used to repay in full all outstanding obligations under
the 2012 Senior Credit Agreement.

              The proceeds of the New Money Loan were applied to working capital and other
general corporate purposes of the Reorganization Plan Debtors, and the proceeds of the Roll-Up


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Facility were applied to amounts outstanding under the 2012 Secured Credit Agreement
(including a roll-over of the letters of credit issued under the Letter of Credit Facility). The DIP
Loans are secured by a perfected first-priority, senior priming lien on all of the Collateral (as
defined in the DIP Loan Agreement) of the Reorganization Plan Debtors’ respective estates in
the Chapter 11 Cases, subject to a limited carve-out for fees pertaining to the cases. Further, the
Restructuring Support Agreement provides, and the Reorganization Plan contemplates, that the
DIP Loans will be converted into exit financing upon consummation of the Reorganization Plan,
in accordance with the terms and conditions set forth in the First Out Exit Term Sheet and the
Second Out Exit Term Sheet.

C.       CREDITORS COMMITTEE

               On February 28, 2013, the United States Trustee for the Southern District of New
York (the “U.S. Trustee”) appointed the Creditors Committee pursuant to section 1102 of the
Bankruptcy Code to represent the interests of unsecured creditors in these Chapter 11 Cases.
The members of the Creditors Committee include: (1) HCL America, Inc., (2) Quad/Graphics,
Inc., and (3) Daniel Meehan. The Creditors Committee is represented by Otterbourg, Steindler,
Houston & Rosen, P.C.

                Since the formation of the Creditors Committee, the Reorganization Plan Debtors
and the Ad Hoc Committee have worked cooperatively with the Creditors Committee and its
professionals to educate the Creditors Committee about the Reorganization Plan Debtors’
businesses and operations, prospects and financial condition. Most importantly, the
Reorganization Plan Debtors, the Ad Hoc Committee and the Creditors Committee, and their
respective professionals, have engaged in arm’s-length discussions and negotiations regarding
valuation, distributable value available for all unsecured creditors and allocation of recoveries
under the Reorganization Plan and reached a global settlement and compromise that led to the
Creditors Committee’s agreement to support the Reorganization Plan.

D.       SCHEDULES AND BAR DATES

                On March 14, 2013, the Reorganization Plan Debtors filed a motion for entry of
an order (1) establishing (a) May 6, 2013 at 5:00 p.m. (Eastern Time) as the deadline for each
person or entity (including, without limitation, individuals, partnerships, corporations, joint
ventures, and trusts, but not including governmental units to file proofs of claim in respect of a
prepetition claims against any of the Reorganization Plan Debtors, and (b) August 16, 2013 at
5:00 p.m. (Eastern Time) as the deadline for governmental units to file proofs of claim in respect
of a prepetition claim against any of the Reorganization Plan Debtors; (2) approving May 28,
2013 at 5:00 p.m. (Eastern Time) as the deadline for all parties, including governmental units, to
file complaints, pursuant to section 523(c), including as may be incorporated under
section 1141(d)(6)(A), of the Bankruptcy Code, to determine or challenge the dischargeability of
any claim against, or debt of, any of the Reorganization Plan Debtors; and (3) approving certain
other related procedures. The Bankruptcy Court approved the relief set forth in the motion by
order dated March 25, 2013 (ECF No. 165) (the “Bar Date Order”)

                On March 18, 2013, the Reorganization Plan Debtors filed their schedules of
assets and liabilities, schedules of current income and expenditures, schedules of executory



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contracts and unexpired leases, and statements of financial affairs (collectively, the
“Schedules”).

E.       OTHER INTERNATIONAL TRANSACTIONS

         1.        SAPE Transaction

                 On March 29, 2013, the Reorganization Plan Debtors filed a motion requesting
entry of an order (1) approving the sale of Reader’s Digest’s indirect interest in the equity
securities of Selection du Reader’s Digest S.A. (“RDA France”) pursuant to that certain
Purchase and Sale Agreement, dated as of March 29, 2013 (the “SAPE Purchase Agreement”),
among Reader’s Digest and Pegasus Netherlands Services CV (“Pegasus”), a non-debtor foreign
affiliate of the Debtors, as sellers, Cil Inversiones, S.L., as purchaser (“Purchaser”), Sociedad
Anońima de Promócion y Ediciones, as purchaser parent (“SAPE”), and Uitgeversmaatschappij
The Reader’s Digest B.V., as licensor, (2) authorizing the private sale of Reader’s Digest’s direct
interest in (a) the equity securities of Oy Valitut Palat—Reader’s Digest ab (“RDA Finland”)
and Reader’s Digest AB (Aktiebolag) (“RDA Sweden,” and together with RDA France and
RDA Finland, collectively, the “Acquired Companies”) pursuant to the terms set forth in the
SAPE Purchase Agreement and (b) actions or remedies, if any, that may be brought by or on
behalf of the Debtors to avoid, recover, or subordinate transfers made to or for the benefit of the
Acquired Companies, including causes of action or defenses arising under chapter 5 of the
Bankruptcy Code or applicable non-bankruptcy law, and (3) authorizing the Debtors, to the
extent applicable, to perform under the SAPE Purchase Agreement and consummate those
transactions contemplated in the SAPE Purchase Agreement (the “SAPE Transaction”).

                 The motion sought court approval of the proposed SAPE Transaction, which
included, among other things, the sale of the Reorganization Plan Debtors’ interests in equity
securities of their businesses in France, Sweden, and Finland. In connection with the sale, the
Reorganization Plan Debtors also sought authority to enter into certain ancillary agreements,
including without limitation, a transition services agreement, a license agreement, and a non-
disturbance agreement whereby Reader’s Digest and Pegasus, a non-debtor affiliate of the
Debtors, agreed not to disturb or interfere with any intellectual property subject to the license
agreement. Additionally, to ensure that Purchaser would receive the uninterrupted use of the
trademarks and other intellectual property licensed in connection with the SAPE Transaction, the
Reorganization Plan Debtors agreed that, so long as Purchaser remains in compliance with, and
performs in all material respects under, the terms of the SAPE Purchase Agreement and related
license agreement, the Reorganization Plan Debtors will either (i) cause the licenses included in
connection with the SAPE Transaction to be excluded from the collateral that secures any of the
Reorganization Plan Debtors’ existing or future financings and continue to be licensed free and
clear of all liens, or (ii) cause any existing or future secured lender or secured noteholder of the
Reorganization Plan Debtors to consent to the terms of the non-disturbance agreement.

               In response to the motion seeking approval of the SAPE Transaction, the
Creditors Committee filed a limited objection requesting that the Bankruptcy Court segregate the
proceeds of the sale into an escrow or restricted account until a proper determination had been
made with respect to the value of certain unencumbered property of Reader’s Digest that was
being sold. At a hearing held before the Bankruptcy Court on April 11, 2013, the Creditors



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Committee withdrew their limited objection based, in part, on an agreement reached with the
Reorganization Plan Debtors to include certain language in the sale order approving the SAPE
Transaction that reserved the Creditors Committee’s rights and claims with respect to the value
of any unencumbered property that was being transferred to Purchaser and the amount of
consideration from the sale that should inure to the benefit of general unsecured creditors. The
Bankruptcy Court approved the SAPE Transaction by order dated April 11, 2013 and the
transaction closed on April 30, 2013.

         2.        Poland Transaction

                On April 2, 2013, the Reorganization Plan Debtors filed a motion seeking
authority to, among other things, enter into, and perform under that certain Purchase and Sale
Agreement, dated as of March 27, 2013 (the “Purchase Agreement”), which provided for the
sale of the equity interests of the Reorganization Plan Debtors’ direct and indirect subsidiary
operations in Poland, Romania, and Hungary to a team led by one of the members of the
Reorganization Plan Debtors’ international management (the “Poland Transaction”). Similar to
the SAPE Transaction, the motion seeks authority to enter into certain ancillary agreements
including a transition services agreement, license agreement, and non-disturbance agreement
related to the Poland Transaction.

                Similar to the SAPE Transaction, the Reorganization Plan Debtors agreed to
include certain language in the order approving the Poland Transaction, which language reserved
the Creditors’ Committee’s rights with respect to the value of any unencumbered property of
Reader’s Digest that is being transferred to the purchaser and the amount of consideration from
the sale that should inure to the benefit of general unsecured creditors. The Bankruptcy Court
approved the Poland Transaction at a hearing held on April 25, 2013 and the transaction closed a
few days later.

         3.        Other International Transactions

                The Reorganization Plan Debtors continue to evaluate proposals with respect to
certain of their other international businesses.

F.       POTENTIAL CAUSES OF ACTION

               In connection with the formulation of the Reorganization Plan as well as in
response to questions from the Creditors Committee, the Reorganized Plan Debtors examined,
among other things, certain transactions that occurred after RDA’s emergence from bankruptcy
in February 2010 and before its filing for bankruptcy in February 2013, and considered potential
Causes of Action arising out of the conduct of RDA’s current and former officers and members
of the Board of Directors (the “Board”) in connection in connection with these transactions.

                In particular, the Reorganization Plan Debtors reviewed (1) RDA’s $50 million
equity tender offer in the first quarter of 2011 (the “Share Repurchase”), (2) the April 2011
replacement of the Board by stockholder written consent, (3) the $45 million 2011 Secured Term
Loan and $10 million Unsecured Term Loan that RDA received in August 2011 from certain of
RDA’s stockholders (collectively, the “Investor Group Loan”), (4) certain of RDA’s asset
sales, and (5) RDA’s cash tender offer to purchase approximately $60 million in Senior Notes


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that was completed in September 2012. Each of these transactions (collectively, the
“Transactions”) is summarized below.

         1.        Share Repurchase

                Commencing approximately six months after RDA’s emergence from bankruptcy
in February 2010, it was suggested by a number of stockholders, both in written and oral
correspondence, that the Board consider returning excess capital to RDA’s stockholders. In
response to these communications, the Board considered various alternatives for possible uses
for any excess cash, including strategic initiatives, dividends, share repurchases, and debt
buyback or repayment, in light of the needs of RDA, the wishes of investors and the terms of
RDA’s debt instruments. In considering the various alternatives, the members of the Board
engaged in discussions with members of RDA’s senior management and reviewed various
presentations and financial materials prepared by management and RDA’s outside advisors,
including materials detailing RDA’s cash forecast. The Board thereafter concluded that, given
RDA’s balance sheet and projected cash flows, a return of $50 million to RDA’s stockholders
would not cause RDA’s assets to fall below its liabilities and stated capital and that there would
be sufficient liquidity for RDA to meet its obligations.

              Following a period of due diligence, and based on advice received both from
management and RDA’s outside advisors, the Board ultimately decided to pursue a stock
repurchase, which was thereafter publicly announced in November 2010.

                Following the announcement of the Share Repurchase, the Board engaged in
further discussions and, ultimately, established an initial price range of $22 to $25 per share for
the Share Repurchase which was later increased, after consultation with management and RDA’s
outside advisors, to a price range of $27 to $29 following the expiration of the initial tender offer
after RDA did not receive any tender offers at the original price range. The Share Repurchase
closed in February 2011. Upon closing, approximately 1.5 million shares were tendered at a
price of $29 per share for a total of approximately $43.3 million. American Stock Transfer &
Trust Company, LLC, acted as depositary in connection with the Share Repurchase.

         2.        April 2011 Removal of Board

              In April 2011, a majority of RDA’s stockholders, acting by written consent,
replaced the members of the Board. The Board’s replacement was spearheaded by a group of
hedge funds, advised by Akin Gump Strauss Hauer & Feld LLP. There were no allegations of
wrongdoing or culpable mismanagement.

              The replacement of the Board constituted a change in control and triggered cash
payments of approximately $15 million, which included certain payments for taxes in connection
with vested equity, severance payments and other related expenses.

         3.        The Investor Group Loan

                With the new Board in place, in mid-2011, RDA engaged outside financial
advisors to solicit potential lenders for a new senior credit facility to address certain liquidity
concerns arising from the unexpected payments described above as well as accelerated business


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declines. RDA’s then-existing debt instruments consisted of a $50 million revolving credit
facility with JPMorgan Chase Bank, N.A. (the “2010 Senior Credit Facility”) and $525 million
in Senior Notes, both secured by a first priority security interest in substantially all of RDA’s
assets.

                After a period of discussion with several potential lenders, RDA, with the
assistance of its legal and financial advisors, eventually narrowed its search to two potential
financing sources by August 2011: (1) a third party financial institution, and (2) a consortium of
stockholders that included Luxor Capital Partners, Point Lobos Capital and Blackwell Partners,
LLC (the “Investor Group”). After consulting with their outside legal and financial advisors, it
was determined that the Investor Group proposal, which consisted of both secured and unsecured
term loans in the total aggregate amount of approximately $55 million, was the superior
proposal. Thereafter, RDA and its advisors approached the third party financing source to
discuss certain aspects of their proposal, however, the third party was ultimately unwilling to
match the terms of the more favorable Investor Group proposal.

               Thereafter, relying on the advice of outside legal and financial advisors in the
form of, among other things, discussions, presentations and a fairness opinion, the Board
determined, in its business judgment, that the Investor Group Loan was the most favorable
financing proposal presented, was in the best interests of the company and approved the
transaction.

         4.        Sale of Certain Assets

               As a part of its examination, the Reorganization Plan Debtors reviewed certain of
RDA’s asset sales, including the sales of (i) Allrecipes.com (“ALR”), (ii) Every Day with
Rachael Ray, (iii) Weekly Reader, (iv) Lifestyle and Entertainment Direct and (v) Reader’s
Digest Spain and Portugal. It was determined that each of these Transactions involved
consultation by the Board with outside financial advisors and legal counsel, and that the form of
purchase consideration received by RDA was reasonable under the circumstances.

         5.        Senior Notes Tender Offer

                Consistent with the terms of the Senior Notes (and a consent obtained by the
majority of the Senior Noteholders), RDA completed a cash tender offer to purchase up to $60.7
million of its Senior Notes, using proceeds from the sale of ALR, at a purchase price of 95% of
the principal amount thereof, plus accrued and unpaid interest thereon to the date of purchase.
RDA received tenders of approximately $509 million aggregate principal amount of Senior
Notes. Under the terms of the tender offer, holders who tendered Senior Notes that were
accepted for payment received approximately 95% principal amount of the Senior Notes.
Consistent with the terms of the Senior Notes, RDA accepted for purchase $60.6 million
aggregate principal amount on a pro rata basis, pursuant to the tender offer, at a total cost of
$58.1 million, including principal of $57.6 million, along with accrued and unpaid interest to the
date of purchase. Wells Fargo Bank, National Association, acted as depositary in connection
with the Senior Notes tender offer.




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         6.        Results of Examination

                Based on the results of the examination of prior Transactions, the Reorganization
Plan Debtors believe that the applicable board of directors, in connection with each of the
foregoing Transactions, with counsel from outside legal and financial advisors, was entitled to
exercise its business judgment in connection with each of the above Transactions and made
decisions that were at all times reasonable and appropriate under the circumstances. Similarly,
the Reorganization Plan Debtors believe that the conduct of the current and former officers of
RDA involved in presenting the information about and executing these transactions was at all
times reasonable and appropriate.

                  The Reorganization Plan Debtors additionally note that both the Share
Repurchase and the repurchase of the Senior Notes transactions were facilitated through an
intermediary financial institution, and recipients of funds are likely shielded from liability under
section 546(e) of the Bankruptcy Code. Moreover, the Senior Noteholders have asserted liens on
all potential litigation recoveries, whether arising out of chapter 5 avoidance actions or non-
bankruptcy litigation.

                The Creditors Committee does not adopt or necessarily agree with the
Reorganization Plan Debtors’ factual and legal conclusions. However, the Creditors Committee
believes that there may be significant factual and legal impediments to pursuing and realizing
value from any Causes of Action relating to the aforementioned Transactions. Accordingly, as
part of the global settlement and compromise imbedded in the Reorganization Plan, the Creditors
Committee has agreed that the Reorganization Plan Debtors will retain all Causes of Action,
including those related to the Transactions.

                                                  VI.

                                    THE REORGANIZATION PLAN

A.       INTRODUCTION

                This section of the Disclosure Statement summarizes the Reorganization Plan, a
copy of which is attached as Exhibit A hereto. This summary is qualified in its entirety by
reference to the provisions of the Reorganization Plan.

                In general, a chapter 11 plan divides claims and equity interests into separate
classes, specifies the property that each class is to receive under the Reorganization Plan, and
contains other provisions necessary to implement the Reorganization Plan.

               Under the Bankruptcy Code, “claims” and “equity interests,” rather than
“creditors” and “equity holders,” are classified because creditors and equity holders may hold
claims and equity interests in more than one class.

                Statements as to the rationale underlying the treatment of Claims and Interests
under the Reorganization Plan are not intended to, and will not, waive, compromise or limit any
rights, claims or causes of action in the event the Reorganization Plan is not confirmed.



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       YOU SHOULD READ THE REORGANIZATION PLAN IN ITS ENTIRETY
     BEFORE VOTING TO ACCEPT OR REJECT THE REORGANIZATION PLAN.

B.       CLASSIFICATION AND TREATMENT OF CLAIMS
         AND INTERESTS UNDER THE CHAPTER 11 PLAN

                 One of the key concepts under the Bankruptcy Code is that only claims and equity
interests that are “allowed” may receive distributions under a chapter 11 plan. This term is used
throughout the Reorganization Plan and the descriptions below. In general, an “allowed” claim
or “allowed” equity interest simply means that the debtor agrees, or in the event of a dispute, that
the Bankruptcy Court determines, that the claim or equity interest, and the amount thereof, is in
fact a valid obligation of the debtor. Section 502(a) of the Bankruptcy Code provides that a
timely filed claim or equity interest is automatically “allowed” unless the debtor or other party in
interest objects. However, section 502(b) of the Bankruptcy Code specifies certain claims that
may not be “allowed” in bankruptcy even if a proof of claim is filed. These include, but are not
limited to, claims that are unenforceable under the governing agreement between a debtor and
the claimant or applicable non-bankruptcy law, claims for unmatured interest, property tax
claims in excess of the debtor’s equity in the property, claims for services that exceed their
reasonable value, real property lease and employment contract rejection damage claims in excess
of specified amounts, late-filed claims, and contingent claims for contribution and
reimbursement. In addition, Rule 3003(c)(2) of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”) prohibits the allowance of any claim or equity interest that either is not
listed on the debtor’s schedules or is listed as disputed, contingent or unliquidated, if the holder
has not filed a proof of claim or equity interest before the established deadline.

                The Bankruptcy Code requires that, for purposes of treatment and voting, a
chapter 11 plan divide the different claims against, and equity interests in, the debtor into
separate classes based upon their legal nature. Claims of a substantially similar legal nature are
not necessarily classified together, nor are equity interests of a substantially similar legal nature
necessarily classified together. Because an entity may hold multiple claims and/or equity
interests which give rise to different legal rights, the “claims” and “equity interests” themselves,
rather than their holders, are classified.

                Under a chapter 11 plan, the separate classes of claims and equity interests must
be designated either as “impaired” (affected by the Reorganization Plan) or “unimpaired”
(unaffected by the Reorganization Plan). If a class of claims is “impaired,” the Bankruptcy Code
affords certain rights to the holders of such claims, such as the right to vote on the
Reorganization Plan, and the right to receive, under the chapter 11 plan, no less value than the
holder would receive if the debtor were liquidated in a case under chapter 7 of the Bankruptcy
Code. Under section 1124 of the Bankruptcy Code, a class of claims or interests is “impaired”
unless the Reorganization Plan (1) does not alter the legal, equitable and contractual rights of the
holders, or (2) irrespective of the holders’ acceleration rights, cures all defaults (other than those
arising from the debtor’s insolvency, the commencement of the case or nonperformance of a
nonmonetary obligation), reinstates the maturity of the claims or interests in the class,
compensates the holders for actual damages incurred as a result of their reasonable reliance upon
any acceleration rights, and does not otherwise alter their legal, equitable, and contractual rights.



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                Pursuant to section 1126(f) of the Bankruptcy Code, holders of unimpaired claims
or interests are “conclusively presumed” to have accepted the Reorganization Plan. Accordingly,
their votes are not solicited. Under the Reorganization Plan, the following classes are
unimpaired, and therefore, the holders of such Claims are “conclusively presumed” to have voted
to accept the Reorganization Plan: Class 1 (Other Priority Claims) and Class 3 (Intercompany
Interests).

                Under certain circumstances, a class of claims or equity interests may be deemed
to reject a plan. For example, a class is deemed to reject a plan under section 1126(g) of the
Bankruptcy Code if the holders of claims or equity interests in such class do not receive or retain
property under the Reorganization Plan on account of their claims or equity interests. Under this
provision of the Bankruptcy Code, Class 6 (Existing RDA Holding Interests) and Class 8
(Subordinated Securities Claims) are deemed to reject the Reorganization Plan because these
Classes will receive no distribution and retain no property interest under the Reorganization Plan.
Since Class 6 and Class 8 are deemed to reject the Reorganization Plan, the Reorganization Plan
Debtors are required to demonstrate that the Reorganization Plan satisfies the requirements of
section 1129(b) of the Bankruptcy Code with respect to those Classes. Among these are the
requirements that the Reorganization Plan be “fair and equitable” with respect to, and not
“discriminate unfairly” against, the Interests in Class 6 and the Claims in Class 8.

              Class 2 (Other Secured Claims), Class 3 (Senior Noteholder Secured Claims),
Class 4 (General Unsecured Claims), and Class 5 (Intercompany Claims) are impaired under the
Reorganization Plan and are entitled to vote to accept or reject the Reorganization Plan.

C.       UNCLASSIFIED CLAIMS

         1.        Administrative Expense Claims

                 Administrative Expense Claims are the actual and necessary costs and expenses
of administration during the Chapter 11 Cases pursuant to sections 328, 330, 363, 364(c)(1), 365,
503(b) or 507(a)(2) of the Bankruptcy Code, including, (1) the actual and necessary costs and
expenses incurred after the Commencement Date and through the Effective Date of preserving
the Estates and operating the businesses of the Reorganization Plan Debtors (such as wages,
salaries or commissions for services and payments for good and other services and leased
premises); (2) Fee Claims; (3) DIP Claims; (4) Restructuring Expenses; and (6) all fees and
charges assessed against the Estates pursuant to section 1911 through 1930 of chapter 123 of
title 28 of the United States Code, 28 U.S.C. §§ 1-1401.

                Except to the extent that a holder of an Allowed Administrative Expense Claim
and the Reorganization Plan Debtors or the Reorganized Debtors agrees to different treatment,
the Reorganization Plan Debtors (or the Reorganized Debtors, as the case may be) will pay to
each holder of an Allowed Administrative Expense Claim Cash in an amount equal to such
Claim on, or as soon thereafter as is reasonably practicable, the later of (1) the Effective Date
and (2) the first Business Day after the date that is thirty (30) calendar days after the date such
Administrative Expense Claim becomes an Allowed Administrative Expense Claim; provided,
that, all DIP Claims will constitute Allowed Administrative Expense Claims; provided, further,
that Allowed Administrative Expense Claims representing liabilities incurred in the ordinary



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course of business by the Reorganization Plan Debtors, as debtors in possession, or liabilities
arising under loans or advances to or other obligations incurred by the Reorganization Plan
Debtors, as debtors in possession, whether or not incurred in the ordinary course of business, will
be paid by the Reorganization Plan Debtors in the ordinary course of business, consistent with
past practice and in accordance with the terms and subject to the conditions of any agreements
governing, instruments evidencing or other documents relating to such transactions.

         2.        Fee Claims

                All entities seeking an award by the Bankruptcy Court of Fee Claims (1) will file
their respective final applications for allowance of compensation for services rendered and
reimbursement of expenses incurred by the date that is forty-five (45) days after the Effective
Date, (2) will be paid in full from the Reorganization Plan Debtors’ or Reorganized Debtors’
Cash on hand in such amounts as are Allowed by the Bankruptcy Court (a) upon the later of
(i) the Effective Date and (ii) the date upon which the order relating to any such Allowed Fee
Claim is entered or (b) upon such other terms as may be mutually agreed upon between the
holder of such an Allowed Fee Claim and the Reorganization Plan Debtors or, on and after the
Effective Date, the Reorganized Debtors. The Reorganized Debtors will be authorized to pay
compensation for services rendered or reimbursement of expenses incurred after the Effective
Date in the ordinary course and without the need for Bankruptcy Court approval, including those
of the Creditors Committee for which the Creditors Committee remains in existence after the
Effective Date as set forth in Section 12.3 of the Reorganization Plan.

         3.        Priority Tax Claims

                 Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a
different treatment, each holder of an Allowed Priority Tax Claim will receive, at the sole option
of the Reorganization Plan Debtors or the Reorganized Debtors, (1) Cash in an amount equal to
such Allowed Priority Tax Claim on, or as soon thereafter as is reasonably practicable, the later
of the Effective Date, the first Business Day after the date that is thirty (30) calendar days after
the date such Priority Tax Claim becomes an Allowed Priority Tax Claim, and the date such
Allowed Priority Tax Claim is due and payable in the ordinary course, or (2) equal annual Cash
payments in an aggregate amount equal to such Allowed Priority Tax Claim, together with
interest at the applicable rate under section 511 of the Bankruptcy Code, over a period not
exceeding five (5) years after the Commencement Date; provided, that the Reorganization Plan
Debtors reserve the right to prepay all or a portion of any such amounts at any time under this
option.

              As of the date hereof, the estimated Allowed amount for Priority Tax Claims is
approximately $600,000.

         4.        DIP Claims

                On the Effective Date, the DIP Facility will convert to (1) the First Out Exit
Facilities in accordance with the terms and conditions set forth in the First Out Exit Term Sheet
and (2) the Second Out Exit Term Loan Agreement in accordance with the terms and conditions
in the Second Out Exit Term Sheet (and otherwise on terms and conditions satisfactory to the



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New Money Lenders), as applicable, or in each case, paid in full in Cash if the terms and
conditions required for conversion under the applicable term sheet are not satisfied; provided,
however, that the obligations under the First Out Exit Facilities will always be paid in full in
Cash by the Reorganization Plan Debtors. All accrued and unpaid interest, fees (including,
without limitation, all fees, charges and disbursements of counsels to the Consenting Lender, the
DIP Agent and the New Money Lenders), letter of credit fees and commissions, premiums,
expenses and indemnification amounts under the DIP Facility as of the Effective Date will be
paid in full in cash on the Effective Date. Upon compliance with the preceding sentence, all
liens and security interests granted to secure the DIP Facility will be deemed cancelled and will
be of no further force and effect and each Allowed DIP Claim will be deemed to be fully
satisfied, settled, released, and compromised.

         5.        2012 Senior Credit Agreement Claims

                Pursuant to the Reorganization Plan, all obligations and claims in respect of the
2012 Senior Credit Agreement will be treated as follows: (1) all amounts owing under the 2012
Senior Credit Agreement on the Commencement Date plus the aggregate amount of any
outstanding and unpaid “Reimbursement Obligations” incurred under (and as defined in) the
2012 Senior Credit Agreement will have become Roll-Up Loans pursuant to the DIP Order and
the DIP Loan Agreement; (2) all outstanding letters of credit under 2012 Senior Credit
Agreement will have become letters of credit deemed issued under the DIP Loan Agreement; and
(3) all accrued and unpaid interest, fees, letter of credit standby fees and commissions, premium,
expenses, indemnification amounts and all other obligations arising under or relating to the 2012
Senior Credit Agreement will have been paid in full in cash on or prior the Second Effective
Date (as defined in the DIP Loan Agreement).

         6.        Roll-Up Loans

                On the Effective Date, all Roll-Up Loans, outstanding letters of credit and any
related obligations will be converted into the First Out Exit Facilities in accordance with the First
Out Exit Term Sheet so long as (and only so long as) the terms and conditions required for such
conversion are satisfied in accordance with the provisions of the First Out Exit Term Sheet and
otherwise such obligations will be paid in full in Cash on the Effective Date; provided, however,
that the Reorganization Plan Debtors may always elect to repay such obligations in full in Cash
at any time prior to or after the Effective Date.

               Notwithstanding that the scheduled final maturity of the Roll-Up Loans under the
DIP Facility extends beyond the date that is 180 days after the Commencement Date, the
commitment of the Consenting Lender under the Restructuring Support Agreement and the First
Out Exit Term Sheet to provide the First Out Exit Term Loan will terminate on the date that is
180 days after the Commencement Date.

         7.        Indenture Trustee Fees

               On the Effective Date, the Reorganized Debtors will pay in Cash the unpaid and
outstanding Indenture Trustee Fees, without the need for the Indenture Trustee to file fee
applications with the Bankruptcy Court; provided, however, that the Indenture Trustee will



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provide the Reorganization Plan Debtors and the Creditors Committee with the invoices for
which it seeks payment at least ten (10) days prior to the Effective Date. Notwithstanding
anything in the Reorganization Plan to the contrary, each Indenture Trustee Charging Lien will
be released and discharged upon (1) payment of any fees and expenses due to any Indenture
Trustee under an applicable Indenture in full and (2) the satisfaction of the Indenture Trustee’s
duties pursuant to the Reorganization Plan (including with respect to Reorganization Plan
distributions).

D.       CLASSIFIED CLAIMS AND INTERESTS

         1.        Class 1 – Other Priority Claims

               Class 1 is Unimpaired by the Reorganization Plan. Each holder of an Allowed
Other Priority Claim is conclusively presumed to have accepted the Reorganization Plan
pursuant to section 1126(f) of the Bankruptcy Code and is not entitled to vote to accept or reject
the Reorganization Plan.

              Except to the extent that a holder of an Allowed Other Priority Claim against any
of the Reorganization Plan Debtors has agreed to less favorable treatment of such Claim, each
such holder will receive, in full and final satisfaction of such Claim, Cash in an amount equal to
such Claim, payable on the later of the Effective Date and the date on which such Other Priority
Claim becomes an Allowed Other Priority Claim, in each case, or as soon as reasonably practical
thereafter.

         2.        Class 2 – Other Secured Claims

                Class 2 is Impaired by the Reorganization Plan. Each holder of an Allowed Other
Secured Claim is entitled to vote to accept or reject the Reorganization Plan; provided, however,
that the Reorganization Plan Debtors reserve the right to argue at the Confirmation Hearing that
any or all of Class 2 (Other Secured Claims) is Unimpaired.

                Except to the extent that a holder of an Allowed Other Secured Claim against any
of the Reorganization Plan Debtors has agreed to less favorable treatment of such Claim, each
holder of an Allowed Other Secured Claim will receive, at the option of the Reorganization Plan
Debtors or the Reorganized Debtors, (1) payment in full in Cash in full and final satisfaction of
such claim, payable on the later of the Effective Date and the date on which such Other Secured
Claim becomes an Allowed Other Secured Claim, or, in each case, as soon as reasonably
practical thereafter, (2) delivery of the collateral securing such Allowed Other Secured Claim
and payment of any interest required under Section 506(b) of the Bankruptcy Code, or (3) such
other recovery necessary to satisfy section 1129 of the Bankruptcy Code.

         3.        Class 3 – Senior Noteholder Secured Claims

              Class 3 is Impaired by the Reorganization Plan. Each holder of an Allowed
Senior Noteholder Secured Claim is entitled to vote to accept or reject the Reorganization Plan.

                On the Effective Date, each holder of an Allowed Class 3 Noteholder Claim will
be entitled to receive, in full and final satisfaction of such Allowed Senior Noteholder Secured


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Claim, its Pro Rata share of 100% of the New Common Stock on a Fully Diluted Basis;
provided, however, that no holder of an Allowed Senior Noteholder Secured Claim will receive
distributions that aggregate to more than the amount of such holder’s Allowed Senior Noteholder
Secured Claim; provided further, that no dividends, recoveries, securities, distributions, or other
form of payments will be made on account of or in connection with the New Common Stock
distributed to the holders of Allowed Senior Noteholder Secured Claims until all amounts owing
in connection with the First Out Exit Term Loan have been paid in full in Cash and all
commitments thereunder have been terminated.

             The Reorganization Plan provides that, pursuant to section 506(a) of the
Bankruptcy Code, the Senior Noteholder Secured Claims are Allowed as a Class 3 Claim in the
amount of $231,000,000.25

           4.       Class 4 – General Unsecured Claims

                Class 4 is Impaired by the Reorganization Plan. Each holder of an Allowed
General Unsecured Claim is entitled to vote to accept or reject the Reorganization Plan. For the
avoidance of doubt, the holders of Senior Noteholder Deficiency Claims are entitled to vote to
accept or reject the Reorganization Plan as holders of General Unsecured Claims in Class 4
regardless of any waiver of recovery from the GUC Distribution or the RDA GUC Distribution.
For purposes of voting and distributions under the Reorganization Plan, Class 4 General
Unsecured Claims against each of the Reorganization Plan Debtors shall be deemed to be in
separate sub-classes.

                On the Effective Date, or as soon thereafter as is reasonably practicable, except to
the extent that a holder of an Allowed General Unsecured Claim agrees to less favorable
treatment of such Allowed General Unsecured Claim or has been paid before the Effective Date,
each holder of an Allowed General Unsecured Claim, including any holder of FTC Claims, the
Unsecured Term Loan Claim, any Non-Debtor Intercompany26 Claims, any DEMG
Intercompany Claims27 or any Senior Noteholder Deficiency Claims, shall receive the following
treatment:

                      (a)    for any sub-class of General Unsecured Claims that votes to accept
the Reorganization Plan of any individual Reorganization Plan Debtor, each holder of an
Allowed General Unsecured Claim in such accepting sub-class shall receive its Pro Rata share of
the GUC Distribution and any Senior Noteholder Deficiency Claims in such accepting sub-class
shall be deemed waived for the purposes of entitling holders of such Senior Noteholder
Deficiency Claims to share in any recovery from the GUC Distribution;

                       (b)     in addition to any Pro Rata share of the GUC Distribution,
provided that the sub-class of General Unsecured Claims of Reader’s Digest votes to accept the
Reorganization Plan, each holder of an Allowed General Unsecured Claim of Reader’s Digest

25
     See Section VII below (Valuation of the Reorganization Plan Debtors).
26
     The Reorganization Plan Debtors estimate that Non-Debtor Intercompany Claims total approximately $39 million.
27
     The Reorganization Plan Debtors estimate that DEMG Intercompany Claims total approximately $7 million.



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shall receive its Pro Rata share of the RDA GUC Distribution and any Senior Noteholder
Deficiency Claims in such accepting sub-class shall be deemed waived for the purposes of
entitling holders of such Senior Noteholder Deficiency Claims to share in any recovery from the
RDA GUC Distribution; and

                       (c)     in the event any sub-class of General Unsecured Claims votes to
reject the Reorganization Plan with respect to any individual Reorganization Plan Debtor, the
holders of Allowed General Unsecured Claims in such a rejecting sub-class shall not receive or
retain any property under the Reorganization Plan on account of such Claims, including, for the
avoidance of doubt, any Pro Rata share of the GUC Distribution or the RDA GUC Distribution.
For the further avoidance of doubt, to the extent any sub-class of General Unsecured Claims
votes to reject the Reorganization Plan and, therefore, is not entitled to receive any portion of the
GUC Distribution, such Pro Rata portion attributable to the rejecting sub-class shall be
reallocated to the holders of General Unsecured Claims in other sub-classes that have voted to
accept the Reorganization Plan. If holders of General Unsecured Claims against Reader’s Digest
vote to reject the Reorganization Plan as a sub-class, there will be no RDA GUC Distribution.

                Notwithstanding anything to the contrary herein, each Allowed Non-Debtor
Intercompany Claim shall be Reinstated or alternatively, at the Reorganization Plan Debtors’
reasonable discretion, on or prior to the Effective Date, and in consultation with the Creditors
Committee or the Claims Oversight Committee as set forth in Section 7.9 of the Reorganization
Plan, as applicable, each holder of an Allowed Non-Debtor Intercompany Claim shall receive
either its Pro Rata share of the GUC Distribution and the RDA GUC Distribution, if any, or such
other treatment as determined by the Reorganization Plan Debtors, which other treatment shall
not include a distribution from the GUC Distribution or RDA GUC Distribution. At this
juncture, the Reorganization Plan Debtors are not aware of any Non-Debtor Intercompany
Claims that they would treat as Class 4 General Unsecured Claims for distribution purposes.
Furthermore, should the Reorganization Plan Debtors elect, in accordance with sections 4.4 and
7.9 of the Reorganization Plan, to treat any Non-Debtor Intercompany Claims as Class 4 General
Unsecured Claims for distribution purposes, the Reorganization Plan Debtors do not believe that
the inclusion of such Non-Debtor Intercompany Claims would result in any decrease to the
projected recoveries for holders of Allowed General Unsecured Claims below those set forth in
this Disclosure Statement. For the avoidance of doubt, in the event the Reorganization Plan
Debtors Reinstate any Allowed Non-Debtor Intercompany Claims, such Allowed Non-Debtor
Intercompany Claims will not receive any Cash distribution under the Reorganization Plan,
including with respect to any Pro Rata shares of the GUC Distribution and RDA GUC
Distribution, if applicable.

                No holder of an Allowed General Unsecured Claim shall receive distributions that
aggregate to more than the amount of such holder’s Allowed General Unsecured Claim. Nothing
herein shall prejudice the ability of any party in interest to argue, for purposes of confirming the
Reorganization Plan under section 1129 of the Bankruptcy Code, that General Unsecured Claims
are not entitled to any value being provided in the Reorganization Plan prior to Confirmation,
including the GUC Distribution or the RDA GUC Distribution.




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         5.        Class 5 – Plan Debtor Intercompany Claims

              Class 5 is Impaired by the Reorganization Plan. Each holder of an Allowed Plan
Debtor Intercompany Claim is entitled to vote to accept or reject the Reorganization Plan.

               On the Effective Date, RDA Holding will, at its discretion, Reinstate or
compromise, as the case may be, all Plan Debtor Intercompany Claims between and among RDA
Holding and its Reorganization Plan Debtor Affiliates consistent with the Acceptable Business
Plan and the International Restructuring Transactions (as such term is used in the Plan Term
Sheet) contemplated thereby.

         6.        Class 6 – Existing RDA Holding Interests

               Class 6 is Impaired by the Reorganization Plan. Each holder of an Allowed
Existing RDA Holding Interest is not entitled to vote to accept or reject the Reorganization Plan
and will be conclusively deemed to have rejected the Reorganization Plan.

               On the Effective Date, all Existing RDA Holding Interests will be deemed
canceled, and the holders of Existing RDA Holding Interests will not receive or retain any
property under the Reorganization Plan on account of such Interests.

         7.        Class 7 – Intercompany Interests

               Class 7 is Unimpaired by the Reorganization Plan. Each holder of an Allowed
Intercompany Interest is conclusively presumed to have accepted the Reorganization Plan
pursuant to section 1126(f) of the Bankruptcy Code and is not entitled to vote to accept or reject
the Reorganization Plan.

         8.        Class 8 – Subordinated Securities Claims

               Class 8 is Impaired by the Reorganization Plan. Each holder of a Subordinated
Securities Claim is not entitled to vote to accept or reject the Reorganization Plan and will be
conclusively deemed to have rejected the Reorganization Plan.

              The holders of the Subordinated Securities Claims will not receive or retain any
property under the Reorganization Plan on account of such Claims.

E.       MEANS OF IMPLEMENTATION

         1.        Compromise and Settlement of Claims, Interests, and Controversies

                Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and Bankruptcy
Rule 9019 and in consideration for the distributions and other benefits provided pursuant to the
Reorganization Plan, the provisions of the Reorganization Plan will constitute a good faith
compromise of all Claims, Interests, and controversies relating to the contractual, legal, and
subordination rights that a holder of a Claim may have with respect to any Allowed Claim or any
distribution to be made on account of such Allowed Claim. The entry of the Confirmation Order
will constitute the Bankruptcy Court’s approval of the compromise or settlement of all such



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Claims, Interests, and controversies, including without limitation, approval of the Restructuring
Support Agreement and the 2011 Financing Settlement, as well as a finding by the Bankruptcy
Court that such compromise or settlement is in the best interests of the Reorganization Plan
Debtors, their Estates, and holders of Claims and Interests and is fair, equitable, and reasonable.
In accordance with the provisions of the Reorganization Plan, pursuant to sections 363 and
1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to
or action, order, or approval of the Bankruptcy Court, prior to the Effective Date, the
Reorganization Plan Debtors and after the Effective Date, the Reorganized Debtors, may
compromise and settle Claims against the Reorganization Plan Debtors or the Reorganized
Debtors, as applicable, and Causes of Action against other Entities.

         2.        First Out Exit Facilities and Second Out Exit Term Loan

               On the Effective Date, subject to Section 2.4 of the Reorganization Plan and the
terms and conditions of the First Out Exit Term Sheet and the Second Out Exit Term Sheet, the
Reorganization Plan Debtors will enter into (1) the First Out Exit Facilities to refinance the Roll-
Up Loans and replace any letters of credit under the DIP Facility and (2) the Second Out Exit
Term Loan to refinance the New Money Loans outstanding under the DIP Facility; provided,
however, that Reorganized RDA Holding will have not more than $106,000,000 in funded debt
under its secured credit facilities immediately following the Effective Date.

                 On the Effective Date, documentation evidencing the First Out Exit Facilities and
the Second Out Exit Term Loan will be executed and delivered, and the Reorganized Debtors
will be authorized to execute, deliver, and enter into and perform under the First Out Exit
Facilities and the Second Out Exit Term Loan Agreement without the need for any further
corporate action and without further action by the holders of Claims or Interests. The definitive
documentation relating to the First Out Exit Facilities and Second Out Exit Term Loan will be
filed as part of the Plan Supplement.

                 All Liens and security interests granted pursuant to the First Out Exit Facilities or
the Second Out Exit Term Loan Agreement, as applicable to (1) in the case of the First Out Exit
Facilities, the Consenting Lender, the Roll-Up Lender and the Issuing Lender, and (2) in the case
of the Second Out Exit Term Loan Agreement, the New Money Lenders, are intended to be, and
will be (A) valid, binding, perfected, enforceable, Liens, and security interests in the personal
and real property described in and subject to such documents, with the priorities established in
respect thereof under applicable non-bankruptcy law and (B) not subject to avoidance,
recharacterization, or subordination under any applicable law.

         3.        Authorization and Issuance of Plan Securities

               The Reorganization Plan Debtors or Reorganized RDA Holding and the other
Reorganized Debtors, as applicable, are authorized under the Reorganization Plan to issue all
plan-related securities and documents, including, without limitation, the New Common Stock
and any options or entitlements to purchase such plan-related securities, without the need for any
further corporate, partnership, or limited liability company action.




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               On or prior to the Effective Date, Reorganized RDA Holding will contribute the
New Common Stock as a capital contribution to Reader’s Digest in an amount equal to the
shares of New Common Stock to be distributed in respect of Allowed Senior Noteholder Secured
Claims pursuant to Section 4.3 of the Reorganization Plan, which shares will then be distributed
pursuant to such section and the provisions of the Reorganization Plan.

         4.        Cancellation of Existing Securities and Agreements

                Except as expressly provided in the Reorganization Plan and in connection with
the First Out Exit Facilities and the Second Out Exit Term Loan, on the Effective Date, all notes,
instruments, certificates evidencing debt to or interests in, the Reorganization Plan Debtors,
including, without limitation, the DIP Loan Agreement (only upon and following the
effectiveness of the First Out Exit Facilities and the Second Out Exit Loan Agreement or
payment in full in cash), the 2012 Senior Credit Agreement, the Security Agreement, the
Indenture, and the Unsecured Term Loan will be cancelled and obligations of the Reorganization
Plan Debtors thereunder will be discharged; provided, however, that any and all indemnification
obligations under the 2012 Senior Credit Agreement (including the indemnities provided in
section 4.05 thereunder) will survive as obligations under the DIP Loan Agreement; provided,
further, that any and all indemnification obligations (and any other obligations surviving per their
express terms) under the DIP Facility will survive as obligations under the First Out Exit Term
Loan or Second Out Exit Term Loan, as applicable, notwithstanding in each case the cancellation
of the predecessor credit agreement(s); provided, further, that nothing in the Reorganization Plan
will be deemed to constitute a cancellation of any rights arising from or in connection with
section 5.5 of the Security Agreement.

                Notwithstanding confirmation of the Reorganization Plan or the occurrence of the
Effective Date, the Indenture will continue in effect solely for purposes of: (1) enabling holders
of Allowed Senior Noteholder Secured Claims to receive distributions under the Reorganization
Plan; and (2) allowing the Indenture Trustee to make distributions under the Reorganization
Plan; provided further, however, that nothing in Section 5.4 of the Reorganization Plan will
affect the discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order or the
Reorganization Plan or result in any liability or expense to the Reorganized Debtors.

         5.        Reorganized RDA Holding

               Pursuant to the Reorganization Plan, upon and following the Effective Date, the
New Board will be a 7-member board comprised of the Chief Executive Officer and six (6)
directors designated by the Required Consenting Secured Noteholders in consultation with the
Chief Executive Officer. The members of the New Board will be identified no later than the
Confirmation Hearing or otherwise in accordance with section 1129(a)(5) of the Bankruptcy
Code. On the Effective Date, the terms of the current members of the boards of directors and the
boards of managing members of the Reorganization Plan Debtors will expire.

                Except as otherwise provided in the Plan Supplement, the officers of the
respective Reorganized Debtors immediately before the Effective Date will serve as the initial
officers of each of the respective Reorganized Debtors on or after the Effective Date and in
accordance with any employment agreement with the Reorganized Debtors and applicable non-



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bankruptcy law. After the Effective Date, the selection of officers of the Reorganized Debtors
will be as provided by their respective organizational documents. The members of the board of
directors and the board of managers for each of the Reorganized Debtor Affiliates will be
determined as set forth in the Amended Organizational Documents to be provided in the Plan
Supplement.

         6.        International Restructuring Transactions

               On or after the Effective Date, the Reorganized Debtors with the concurrence of
the New Board will implement the International Restructuring Transactions and the Reorganized
Debtors are authorized to take all actions as may be necessary or appropriate in connection
therewith.

         7.        Other Transactions

                On or after the Effective Date, the Reorganization Plan Debtors may (1) cause any
or all of the Debtor Affiliates to be liquidated or merged into one or more of the other Debtor
Affiliates or any other subsidiaries of the Reorganization Plan Debtors or dissolved all as more
specifically described in the Plan Supplement, (2) cause the transfer of assets between or among
the Debtor Affiliates, (3) cause any or all of the Amended Organizational Documents of any
Reorganized Debtor Affiliates to be implemented, effected, or executed, (4) use the proceeds of
the First Out Exit Term Loan and Second Out Exit Term Loan, plus Cash on hand, to pay all
Restructuring Expenses, (5) change the name of one or more of the Reorganized Debtors to such
name that may be determined in accordance with applicable law, and (6) engage in any other
transaction in furtherance of the Reorganization Plan. Subject to the prior written consent of the
Required Consenting Secured Parties, any such transactions may be effective as of the Effective
Date pursuant to the Confirmation Order without any further action by the stockholders,
members, general or limited partners, or directors of any of the Reorganization Plan Debtors or
the Reorganization Plan Debtors in Possession.

         8.        Cancellation of Liens

                Except as otherwise specifically provided in the Reorganization Plan with respect
to Class 2, upon the occurrence of the Effective Date, any Lien securing any Secured Claim will
be deemed released, and the holder of such Secured Claim will be authorized and directed to
release any collateral or other property of the Reorganization Plan Debtors (including any Cash
collateral) held by such holder and to take such actions as may be requested by the Reorganized
Debtors, to evidence the release of such Lien, including the execution, delivery and filing or
recording of such releases as may be requested by the Reorganized Debtors.

         9.        Management Incentive Program

              The Reorganization Plan Debtors are not seeking approval of the Management
Incentive Program pursuant to the Reorganization Plan. Rather, in accordance with the
Reorganization Plan, the Management Incentive Program will be implemented by the New
Board and communicated to the participants thereunder promptly following the Effective Date.




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         10.       Employee Matters.

                On or after the Effective Date, the Reorganized Debtors will implement the
following employee incentive programs with the concurrence of the New Board: (1) the Pension
Credit, and (2) the Employee Bonus Pool.

         11.       Withholding and Reporting Requirements.

                In connection with the Reorganization Plan, any party issuing any instrument or
making any distribution described in the Reorganization Plan will comply with all applicable
withholding and reporting requirements imposed by any federal, state, or local taxing authority,
and all distributions pursuant to the Reorganization Plan and all related agreements will be
subject to any such withholding or reporting requirements. In the case that a distribution of New
Common Stock is subject to withholding, the distributing party may withhold an appropriate
portion of such distributed property and sell such withheld property to generate Cash necessary
to pay over the withholding tax. Any amounts withheld pursuant to the preceding sentence will
be deemed to have been distributed to and received by the applicable recipient for all purposes of
the Reorganization Plan. Notwithstanding the foregoing, each holder of an Allowed Claim or
any other Person that receives a distribution pursuant to the Reorganization Plan will have
responsibility for any taxes imposed by any governmental unit, including, without limitation,
income, withholding, and other taxes, on account of such distribution. Any party issuing any
instrument or making any distribution pursuant to the Reorganization Plan will have the right,
but not the obligation, to not make a distribution until such holder has made arrangements
satisfactory to such issuing or disbursing party for payment of any such tax obligations.

                Any party entitled to receive any property as an issuance or distribution under the
Reorganization Plan will, upon request, deliver to the Disbursing Agent or such other Person
designated by the Reorganized Debtors (which entity will subsequently deliver to the Disbursing
Agent any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-9 or (if the
payee is a foreign Person) Form W-8, unless such Person is exempt under the Tax Code and so
notifies the Disbursing Agent. If such request is made by the Reorganized Debtors, the
Disbursing Agent, or such other Person designated by the Reorganized Debtors and the holder
fails to comply before the date that is 180 days after the request is made, the amount of such
distribution will irrevocably revert to the applicable Reorganized Debtor and any Claim in
respect of such distribution will be discharged and forever barred from assertion against such
Reorganized Debtor or its respective property.

         12.       Exemption From Certain Transfer Taxes.

                Pursuant to section 1146 of the Bankruptcy Code, (1) the issuance, transfer or
exchange of any securities, instruments or documents, (2) the creation of any Lien, mortgage,
deed of trust or other security interest, (3) the making or assignment of any lease or sublease or
the making or delivery of any deed or other instrument of transfer under, pursuant to, in
furtherance of, or in connection with the Reorganization Plan, including, without limitation, any
deeds, bills of sale or assignments executed in connection with any of the transactions
contemplated under the Reorganization Plan or the reinvesting, transfer or sale of any real or
personal property of the Reorganization Plan Debtors pursuant to, in implementation of or as



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contemplated in the Reorganization Plan (whether to one or more of the Reorganized Debtors or
otherwise), (4) the grant of collateral under the First Out Exit Term Loan Agreement or the
Second Out Exit Term Loan Agreement and (5) the issuance, renewal, modification or securing
of indebtedness by such means, and the making, delivery or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Reorganization Plan,
including, without limitation, the Confirmation Order, will not be subject to any document
recording tax, stamp tax, conveyance fee or other similar tax, mortgage tax, real estate transfer
tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing
or recording fee, sales tax, use tax or other similar tax or governmental assessment. Consistent
with the foregoing, each recorder of deeds or similar official for any county, city or
governmental unit in which any instrument under the Reorganization Plan is to be recorded will,
pursuant to the Confirmation Order, be ordered and directed to accept such instrument without
requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp tax,
transfer tax, intangible tax or similar tax.

         13.       Effectuating Documents; Further Transactions.

               Pursuant to the Reorganization Plan, on and after the Effective Date, the
Reorganized Debtors and the managers, officers and members of the boards of directors thereof,
are authorized to and may issue, execute, deliver, file or record such contracts, securities,
instruments, releases and other agreements or documents and take such actions as may be
necessary or appropriate to effectuate, implement and further evidence the terms and conditions
of the Reorganization Plan and the securities issued pursuant to the Reorganization Plan in the
name of and on behalf of the Reorganized Debtors, without the need for any approvals,
authorization, or consents except for those expressly required pursuant to the Reorganization
Plan.

         14.       Closing of the Chapter 11 Cases.

              After an Estate has been fully administered, the Reorganized Debtors will
promptly seek authority from the Bankruptcy Court to close each applicable Chapter 11 Case in
accordance with the Bankruptcy Code and Bankruptcy Rules.

F.       DISTRIBUTIONS

         1.        Distribution Record Date

                As of the close of business on the Distribution Record Date, the various transfer
registers for each of the Classes of Claims or Interests as maintained by the Reorganization Plan
Debtors or their respective agents, will be deemed closed, and there will be no further changes in
the record holders of any of the Claims or Interests. The Reorganization Plan Debtors or the
Reorganized Debtors will have no obligation to recognize any transfer of the Claims or Interests
occurring on or after the Distribution Record Date.

         2.        Date of Distributions

             Except as otherwise provided in the Reorganization Plan, the Disbursing Agent
will make the Initial Distribution to holders of Allowed Claims no later than the Initial


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Distribution Date and thereafter, the Disbursing Agent will from time to time determine, in
consultation with the Claims Oversight Committee, the subsequent Distribution Dates, which
will occur no less frequently than semi-annually. In the event that any payment or act under the
Reorganization Plan is required to be made or performed on a date that is not a Business Day,
then the making of such payment or the performance of such act may be completed on or as soon
as reasonably practicable after the next succeeding Business Day, but will be deemed to have
been completed as of the required date.

               The Disbursing Agent will maintain, in consultation with the Claims Oversight
Committee, a reserve of Cash from the GUC Distribution and the RDA GUC Distribution (less
the Claims Oversight Committee Reserve) sufficient to pay holders of Disputed General
Unsecured Claims the amount such holders would be entitled to receive under the
Reorganization Plan if such Claims were to become Allowed General Unsecured Claims. In the
event the holders of Allowed General Unsecured Claims have not received payment in full on
account of their Claims after the resolution of all Disputed Claims, then the Reorganized Debtors
will make a final distribution of all remaining Cash out of the GUC Distribution and the RDA
GUC Distribution in accordance with Section 4.4 of the Reorganization Plan to all holders of
Allowed General Unsecured Claims.

         3.        Disbursing Agent

               All distributions under the Reorganization Plan will be made by Reorganized
RDA Holding (or such other entity designated by Reorganized RDA Holding), as Disbursing
Agent, on or after the Effective Date or as otherwise provided in the Reorganization Plan;
provided, however, that the Senior Notes Indenture Trustee will be the Disbursing Agent for the
Senior Noteholder Secured Claims on behalf of Reader’s Digest and the Administrative Agent
will be the Disbursing Agent for the 2012 Senior Credit Agreement Claims. A Disbursing Agent
will not be required to give any bond or surety or other security for the performance of its duties,
and all reasonable fees and expenses incurred by such Disbursing Agents will be reimbursed by
the Reorganized Debtors.

               Except as otherwise provided in the Reorganization Plan, Reorganized RDA
Holding will serve as Disbursing Agent and authorized representative for, and with respect to,
each of the Reorganization Plan Debtors.

         4.        Powers of Disbursing Agent

                 Pursuant to the Reorganization Plan, a Disbursing Agent will be empowered to
(1) effect all actions and execute all agreements, instruments, and other documents necessary to
perform its duties under the Reorganization Plan, (2) make all distributions contemplated by the
Reorganization Plan and (3) exercise such other powers as may be vested in the Disbursing
Agent by order of the Bankruptcy Court, pursuant to the Reorganization Plan, or as deemed by
the Disbursing Agent to be necessary and proper to implement the provisions of the
Reorganization Plan.




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         5.        Cancelation of Senior Notes

                Pursuant to the Reorganization Plan, each record holder of a Senior Note Claim
will be deemed to have surrendered the certificates or other documentation underlying each such
Claim, and all such surrendered certificates and other documentations will be deemed to be
canceled except to the extent otherwise provided in the Reorganization Plan. The Indenture
Trustee may (but will not be required to) request that registered holders of the Senior Notes
surrender their notes for cancellation. Such surrendered Senior Note will be cancelled solely
with respect to the Debtors, and such cancellation will not alter the obligations or rights of any
non-Reorganization Plan Debtor third parties vis-à-vis one another with respect to such Senior
Note.

         6.        Delivery of Distributions

                Subject to Bankruptcy Rule 9010, all distributions under the Reorganization Plan
to any holder of an Allowed Claim will be made to a Disbursing Agent, who will transmit such
distribution to the applicable holders of Allowed Claims. In the event that any distribution to
any holder is returned as undeliverable, no further distributions will be made to such holder
unless and until such Disbursing Agent is notified in writing of such holder’s then-current
address, at which time all currently-due, missed distributions will be made to such holder as soon
as reasonably practicable thereafter. Undeliverable distributions or unclaimed distributions will
remain in the possession of the Reorganization Plan Debtors until such time as a distribution
becomes deliverable or holder accepts distribution, or such distribution reverts back to the
Reorganization Plan Debtors or Reorganized Debtors, as applicable, and will not be
supplemented with any interest, dividends or other accruals of any kind. Such distributions will
be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of
180 days from the date of distribution. After such date, all unclaimed property or interest in
property will revert to the Reorganized Debtors, and the Claim of any other holder to such
property or interest in property will be discharged and forever barred. Distributions of holders of
General Unsecured Claims that are deemed unclaimed property pursuant to the preceding
sentence shall be redistributed to holders of Allowed General Unsecured Claims in accordance
with Section 4.4 of the Reorganization Plan.

         7.        Manner of Payment Under Plan

               At the option of the Reorganization Plan Debtors, any Cash payment to be made
under the Reorganization Plan may be made by a check or wire transfer or as otherwise required
or provided in applicable agreements.

         8.        Fractional Stock

               If any distributions of New Common Stock pursuant to the Reorganization Plan
would result in the issuance of a fractional share of New Common Stock, then the number of
shares of New Common Stock to be issued in respect of such distribution will be calculated to
one decimal place and rounded up or down to the closest whole share (with a half share rounded
up). The total number of shares of New Common Stock to be distributed in connection with the




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Reorganization Plan will be adjusted as necessary to account for the rounding provided for in
Section 6.8 of the Reorganization Plan.

         9.        Minimum Cash Distributions

                The Disbursing Agent will not be required to make any Initial Distribution or
semi-annual distribution of Cash less than $50 to any holder of an Allowed General Unsecured
Claim; provided, however, that if any distribution is not made pursuant to Section 6.9 of the
Reorganization Plan, such distribution will be added to any subsequent distribution to be made
on behalf of the holder’s Allowed Claim. The Disbursing Agent will not be required to make
any final distributions of Cash less than $25 to any holder of an Allowed Claim. If either (a) all
Allowed General Unsecured Claims (other than those whose distributions are deemed
undeliverable hereunder) have been paid in full or (b) the amount of any final distributions to
holders of Allowed General Unsecured Claims would be $25 or less and the aggregate amount of
cash available for distributions to holders of Allowed General Unsecured Claims is less than
$25,000, then no further distribution will be made by the Disbursing Agent and any surplus Cash
will be donated and distributed to an I.R.C. § 501(c)(3) tax-exempt organization selected by the
Disbursing Agent.

         10.       Setoffs

               Pursuant to the Reorganization Plan, the Reorganization Plan Debtors and the
Reorganized Debtors may, but will not be required to, set off against any Claim, any claims of
any nature whatsoever that the Reorganization Plan Debtors or the Reorganized Debtors may
have against the holder of such Claim; provided, that neither the failure to do so nor the
allowance of any Claim under the Reorganization Plan will constitute a waiver or release by the
Reorganization Plan Debtors or the Reorganized Debtors of any such claim the Reorganization
Plan Debtors or the Reorganized Debtors may have against the holder of such Claim.

         11.       Distributions After Effective Date

               Distributions made after the Effective Date pursuant to the Reorganization Plan to
holders of Disputed Claims that are not Allowed Claims as of the Effective Date but which later
become Allowed Claims will be deemed to have been made on the Effective Date.

         12.       Allocation of Distributions Between Principal and Interest

               Except as otherwise provided in the Reorganization Plan, to the extent that any
Allowed Claim entitled to a distribution under the Reorganization Plan is comprised of
indebtedness and accrued but unpaid interest thereon, such distribution will be allocated to the
principal amount (as determined for U.S. federal income tax purposes) of the Claim first, and
then to accrued but unpaid interest.




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G.       PROCEDURES FOR DISPUTED CLAIMS

         1.        Allowance of Claims

                After the Effective Date, the Reorganized Debtors will have and will retain any
and all rights and defenses that the Debtor had with respect to any Claim, except with respect to
any Claim deemed Allowed under the Reorganization Plan. Except as expressly provided in the
Reorganization Plan or in any order entered in the Chapter 11 Cases prior to the Effective Date
(including, without limitation, the Confirmation Order), no Claim will become an Allowed
Claim unless and until such Claim is deemed Allowed under the Reorganization Plan or the
Bankruptcy Code or the Bankruptcy Court has entered a Final Order, including, without
limitation, the Confirmation Order, in the Chapter 11 Cases allowing such Claim.

         2.        Objections to Claims

                As of the Effective Date, objections to, and requests for estimation of, Claims
against the Reorganization Plan Debtors may be interposed and prosecuted only by the
Reorganized Debtors subject to the conditions and rights of the Claims Oversight Committee set
forth in Section 7.9 of the Reorganization Plan. Such objections and requests for estimation will
be served and filed (1) on or before the ninetieth (90th) day following the later of (a) the
Effective Date and (b) the date that a proof of Claim is filed or amended or a Claim is otherwise
asserted or amended in writing by or on behalf of a holder of such Claim, or (2) such later date as
ordered by the Bankruptcy Court upon motion filed by the Reorganized Debtors.

         3.        Estimation of Claims

                The Reorganization Plan Debtors or Reorganized Debtors, as applicable, may at
any time request that the Bankruptcy Court estimate any contingent, unliquidated, or Disputed
Claim pursuant to section 502(c) of the Bankruptcy Code regardless of whether the
Reorganization Plan Debtors or Reorganized Debtors, as applicable, previously objected to such
Claim or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy
Court will retain jurisdiction to estimate any Claim at any time during litigation concerning any
objection to any Claim, including, without limitation, during the pendency of any appeal relating
to any such objection. In the event that the Bankruptcy Court estimates any contingent,
unliquidated or Disputed Claim, the amount so estimated will constitute either the Allowed
amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy
Court. If the estimated amount constitutes a maximum limitation on the amount of such Claim,
the Reorganization Plan Debtors or Reorganized Debtors, as applicable, may pursue
supplementary proceedings to object to the allowance of such Claim. All of the aforementioned
objection, estimation and resolution procedures are intended to be cumulative and not exclusive
of one another. Claims may be estimated and subsequently compromised, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court.

         4.        No Distributions Pending Allowance

              If an objection to a Claim is filed as set forth in Section 7.2 of the Reorganization
Plan, no payment or distribution provided under the Reorganization Plan will be made on
account of such Claim unless and until such Disputed Claim becomes an Allowed Claim.


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         5.        Distributions After Allowance

                 To the extent that a Disputed Claim ultimately becomes an Allowed Claim,
distributions (if any) will be made to the holder of such Allowed Claim in accordance with the
provisions of the Reorganization Plan. As soon as practicable after the date that the order or
judgment of the Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the
Disbursing Agent will provide to the holder of such Claim the distribution (if any) to which such
holder is entitled under the Reorganization Plan as of the Effective Date, without any interest to
be paid on account of such Claim unless required under applicable bankruptcy law.

         6.        Resolution of Claims

               Subject to the conditions and rights of the Claims Oversight Committee set forth
in Section 7.9 of the Reorganization Plan, on and after the Effective Date, the Reorganized
Debtors shall have the authority to compromise, settle, otherwise resolve or withdraw any
objections to Claims, and to compromise, settle or otherwise resolve any Disputed Claims
without approval of the Bankruptcy Court.
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        7.     Disallowed Claims

               All claims held by persons or entities against whom or which any of the
Reorganization Plan Debtors or Reorganized Debtors has commenced a proceeding asserting a
Cause of Action under sections 542, 543, 544, 545, 547, 548, 549 and/or 550 of the Bankruptcy
Code will be deemed “disallowed” claims pursuant to section 502(d) of the Bankruptcy Code
and holders of such claims will not be entitled to vote to accept or reject the Reorganization Plan.
Claims that are deemed disallowed pursuant to this section will continue to be disallowed for all
purposes until the avoidance action against such party has been settled or resolved by Final
Order and any sums due to the Reorganization Plan Debtors or the Reorganized Debtors from
such party have been paid.

         8.        Debtor Affiliate Claims

                 Notwithstanding anything to the contrary in the Reorganization Plan, all Debtor
Affiliates will file proofs of claim in connection with the Chapter 11 Cases in accordance with
the Reorganization Plan and any order of the Bankruptcy Court establishing a deadline for, or
other procedure regarding, the filing of claims in the Chapter 11 Cases, including the Bar Date
Order.

         9.        Claims Oversight Procedures

                The Reorganized Debtors will retain responsibility for administering, disputing,
objecting to, compromising or otherwise resolving all Claims against the Reorganization Plan
Debtors and shall bear the responsibility for any fees, costs, expenses or other liabilities incurred
by the Reorganized Debtors in connection with the claims administration.

               On the Effective Date, there will be formed a Claims Oversight Committee. As
detailed below, the Claims Oversight Committee shall monitor the Claims Administration
conducted by the Reorganized Debtors, and address the Bankruptcy Court if the Claims


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Oversight Committee disagrees with the Reorganized Debtors’ determinations with respect to
Claims resolution; and monitor distributions to holders of General Unsecured Claims and to
address the Bankruptcy Court with respect to such matters. Specifically, the Reorganized
Debtors shall consult in good faith with the Claims Oversight Committee prior to settling,
compromising or allowing (a) any Claim against any of the Reorganization Plan Debtors in a
liquidated amount in excess of $500,000 (including any Claim originally scheduled or filed in an
unliquidated amount), (b) any Claim filed in the Chapter 11 Cases against any of the
Reorganization Plan Debtors that has a positive variance, if scheduled, of more than $50,000 to
the corresponding Claim as identified on the Reorganization Plan Debtors’ Schedules or (c) any
Non-Debtor Intercompany Claims to the extent such Non-Debtor Intercompany Claims are to be
treated as Class 4 General Unsecured Claims for distribution purposes (collectively, “Oversight
Claims”); provided, however, that any fees, costs and expenses incurred in connection with the
aforementioned consultation right shall be limited solely to the $300,000 Claims Oversight
Resolution Reserve funded by the GUC Distribution and the RDA GUC Distribution, as
applicable or such other amount as agreed upon by the Reorganized Debtors, the Claims
Oversight Committee and the Consenting Secured Noteholders prior to the Initial Distribution
Date.

               The Reorganized Debtors shall notify the Claims Oversight Committee prior to
entering into any settlement or compromise of any Oversight Claims. The Claims Oversight
Committee shall have a period of three (3) business days after receipt of such notice to review
the proposed settlement or compromise and notify the Reorganized Debtors of objections, if any,
to the proposed settlement or compromise of such Oversight Claims. Thereafter, the Claims
Oversight Committee shall have ten (10) business days after providing notice to the Reorganized
Debtors of any objections to file a motion with the Bankruptcy Court objecting to the proposed
settlement or compromise of the Oversight Claims. In the event the Claims Oversight
Committee fails to timely file an objection with the Bankruptcy Court within the proscribed ten
(10) day period, the Reorganized Debtors shall be authorized to enter into the settlement or
compromise without further order of the Bankruptcy Court.

H.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         1.        General Treatment

                In accordance with the Reorganization Plan, all executory contracts and unexpired
leases to which any of the Reorganization Plan Debtors are parties will be rejected, except for an
executory contract or unexpired lease that (1) previously has been assumed or rejected pursuant
to Final Order of the Bankruptcy Court, (2) is specifically designated by the Reorganization Plan
Debtors (with the reasonable consent of the Required Consenting Secured Parties) as a contract
or lease to be assumed on the Schedule of Assumed Contracts to be filed with the Plan
Supplement, (3) is otherwise expressly assumed pursuant to the Reorganization Plan, including
without limitation, pursuant to Sections 8.4, 8.5, 8.6 and 8.7 of the Reorganization Plan, or (4) is
the subject of a separate (a) assumption motion filed by the Reorganization Plan Debtors (with
the reasonable consent of the Required Consenting Secured Parties) or (b) rejection motion filed
by the Reorganization Plan Debtors (with the reasonable consent of the Required Consenting
Secured Parties) under section 365 of the Bankruptcy Code before the Confirmation Date.




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         2.        Payments Related to Assumption of Contracts and Leases

                Any monetary amounts by which any executory contract and unexpired lease to
be assumed under the Reorganization Plan is in default will be satisfied, under section 365(b)(1)
of the Bankruptcy Code, by the Reorganization Plan Debtors upon assumption thereof. Any
objection by a counterparty to a proposed assumption of an executory contract or unexpired lease
or amount of any Cure must be filed, served, and actually received by the Reorganization Plan
Debtors on or before thirty (30) days after the Effective Date of the Reorganization Plan
applicable to the Reorganization Plan Debtor that is the counterparty to the executory contract or
unexpired lease. Any counterparty to an executory contract or unexpired lease that fails to object
timely to the proposed assumption and assignment of such executory contract or unexpired lease
or such Cure amount will be deemed to have assented to such matters and will be forever barred,
stopped and enjoined from asserting such objection against the Reorganization Plan Debtors. If
there is a dispute regarding (1) the nature or amount of any Cure, (2) the ability of the
Reorganization Plan Debtors or any assignee to provide “adequate assurance of future
performance” (within the meaning of section 365 of the Bankruptcy Code) under the contract or
lease to be assumed or (3) any other matter pertaining to assumption, Cure will occur following
the entry of a Final Order of the Bankruptcy Court resolving the dispute and approving the
assumption or assumption and assignment, as the case may be; provided, that before the
Effective Date, the Reorganization Plan Debtors or the Reorganized Debtors, as applicable (with
the reasonable consent of the Required Consenting Secured Parties), may settle any dispute
regarding the nature or amount of Cure without any further notice to any party or any action,
order or approval of the Bankruptcy Court. If there is a dispute as referred to above, the
Reorganization Plan Debtors reserve the right to reject, or nullify the assumption or assignment
of any executory contract or unexpired lease no later than thirty (30) days after a Final Order
determining the Cure, any request for adequate assurance of future performance required to
assume and assign such executory contract or unexpired lease, and any other matter pertaining to
assumption and/or assignment.

               Assumption and assignment of any executory contract or unexpired lease pursuant
to the Reorganization Plan, or otherwise, will result in the full release and satisfaction of any
Claims or defaults, subject to satisfaction of the Cure, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy-related defaults, arising under any assumed executory contract
or unexpired lease at any time before the effective date of assumption and/or assignment. Any
proofs of claim filed with respect to an executory contract or unexpired lease that has been
assumed will be deemed disallowed and expunged, without further notice to or action, order or
approval of the Bankruptcy Court or any other entity.

         3.        Rejection Claims

                Unless a contract or lease is (1) specifically assumed or rejected by order of the
Bankruptcy Court, (2) listed in the Plan Supplement as an executory contract or lease to be
assumed as set forth in Section 8.1, (3) otherwise expressly assumed pursuant to the terms of the
Reorganization Plan, or (4) the subject of a separate assumption or rejection motion filed by the
Reorganization Plan Debtors (with the reasonable consent of the Required Consenting Secured
Parties), the Confirmation Order will constitute the Bankruptcy Court’s approval of the rejection



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of all the leases and contracts, in accordance with Section 8.1 of the Reorganization Plan,
effective as of the Effective Date. In the event that the rejection of an executory contract or
unexpired lease by any of the Reorganization Plan Debtors pursuant to the Reorganization Plan
results in damages to the other party or parties to such contract or lease, a Claim for such
damages (each, a “Rejection Claim”), if not evidenced by a timely filed proof of claim, will be
forever barred and will not be enforceable against the Reorganization Plan Debtors or the
Reorganized Debtors, or their respective properties or interests in property as agents, successors
or assigns, unless a proof of claim is filed with the Bankruptcy Court and served upon counsel
for the Reorganization Plan Debtors and the Reorganized Debtors no later than thirty (30) days
after the later of (a) the Confirmation Date or (b) the effective date of rejection of such executory
contract or unexpired lease.

               The filing of any Rejection Claim may delay distributions to holders of certain
Claims, including, without limitation, General Unsecured Claims in Class 5. To the extent that
any Rejection Claim is Allowed, such Claim will be classified as a General Unsecured Claim in
Class 5.

         4.        Survival of the Reorganization Plan Debtors’ Indemnification Obligations

                Any obligations of the Reorganization Plan Debtors pursuant to their corporate
charters, bylaws, limited liability company agreements, other organizational documents,
employment agreements or other agreements to indemnify current and former officers, directors,
agents, and/or employees with respect to all present and future actions, suits, and proceedings
against the Reorganization Plan Debtors or such directors, officers, agents, and/or employees,
based upon any act or omission for or on behalf of the Reorganization Plan Debtors will not be
discharged or impaired by confirmation of the Reorganization Plan provided that the
Reorganized Debtors will not indemnify directors of the Reorganization Plan Debtors for any
Claims or Causes of Action arising out of or relating to any act or omission that is a criminal act
or constitutes intentional fraud.

                All such obligations will be deemed and treated as executory contracts to be
assumed by the Reorganization Plan Debtors under the Reorganization Plan and will continue as
obligations of the Reorganized Debtors unless any such obligation otherwise is specifically
rejected pursuant to a separate order of the Bankruptcy Court or is the subject of a separate
rejection motion filed by the Reorganization Plan Debtors (with the reasonable consent of the
Required Consenting Secured Parties) in accordance with Section 8.1 of the Reorganization Plan.

               For the avoidance of doubt, (1) any and all indemnities provided under the Senior
Credit Agreement (including the indemnities provided in section 4.05 thereunder) will survive as
obligations under the DIP Loan Agreement, and (2) any and all indemnities (and other
obligations surviving per their express terms thereunder) provided under the DIP Facility will
survive as obligations under the First Out Exit Term Loan or Second Out Exit Term Loan
Agreement, as applicable, notwithstanding in each case the cancellation of the predecessor credit
agreement(s).




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         5.        Compensation and Benefit Plans

               Except as otherwise provided in the Reorganization Plan, all material employee
compensation and Benefit Plans of the Reorganization Plan Debtors in effect as of the Effective
Date will be deemed to be, and will be treated as if they were, executory contracts that are to be
assumed under the Reorganization Plan.

               A detailed description of the Reorganization Plan Debtors’ employee
compensation and benefit programs and policies in effect as of the Commencement Date is set
forth in the Motion of Debtors for Entry of Order Pursuant to 11 U.S.C. 105(a) and 363(b) (I)
Authorizing (A) Payment of Prepetition Wages, Salaries, and Other Compensation and Benefits,
(B) Maintenance of Employee Benefits Programs and Payment of Related Administrative
Obligations, and (C) Applicable Banks and Other Financial Institutions to Receive, Process,
Honor, and Pay All Checks Presented for Payment and to Honor All Fund Transfer Requests,
and (II) Modifying the Automatic Stay with Respect to Workers Compensation Claims, dated
February 17, 2013 (ECF No. 12).

                Pursuant to the Reorganization Plan, Reorganized Reader’s Digest shall assume
the Pension Plan on the Effective Date. The Pension Plan shall be continued in accordance with,
and subject to, its terms, and Reorganized Reader’s Digest shall satisfy the minimum funding
standards pursuant to 26 U.S.C. §§ 412 and 430 and 29 U.S.C. §§ 1082 and 1083, be liable for
the payment of PBGC premiums in accordance with Title IV of ERISA, subject to any and all
applicable rights and defenses of the Reorganized Debtors, and administer the Pension Plan in
accordance with the provisions of ERISA and the Internal Revenue Code. Notwithstanding any
provision of the Reorganization Plan or the Confirmation Order to the contrary, the Pension Plan
shall be continued and administered in accordance with, and subject to, its terms and ERISA and
the Internal Revenue Code. All claims related to the Pension Plan and all proofs of claim filed
on account thereof shall be deemed withdrawn as of the Effective Date without any further
action.

         6.        Insurance Policies

               Pursuant to the Reorganization Plan, all insurance policies pursuant to which the
Reorganization Plan Debtors have any obligations in effect as of the date of the Confirmation
Order will be deemed and treated as executory contracts pursuant to the Reorganization Plan and
will be assumed by the respective Reorganization Plan Debtors and Reorganized Debtors and
will continue in full force and effect. All other insurance policies will revest in the Reorganized
Debtors.

         7.        Intellectual Property Licenses and Agreements

               All intellectual property contracts, licenses, royalties, or other similar agreements
to which the Reorganization Plan Debtors have any rights or obligations in effect as of the date
of the Confirmation Order will be deemed and treated as executory contracts pursuant to the
Reorganization Plan and will be assumed by the respective Reorganization Plan Debtors and
Reorganized Debtors and will continue in full force and effect unless any such intellectual
property contract, license, royalty, or other similar agreement otherwise is specifically rejected



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pursuant to a separate order of the Bankruptcy Court or is the subject of a separate rejection
motion filed by the Reorganization Plan Debtors (with the reasonable consent of the Required
Consenting Secured Parties) in accordance with Section 8.1 of the Reorganization Plan. Unless
otherwise noted in the Reorganization Plan, all other intellectual property contracts, licenses,
royalties, or other similar agreements will revest in the Reorganized Debtors and the
Reorganized Debtors may take all actions as may be necessary or appropriate to ensure such
revesting as contemplated in the Reorganization Plan.

         8.        Reservation of Rights

                Neither the exclusion nor inclusion of any contract or lease by the Reorganization
Plan Debtors on any exhibit, schedule or other annex to the Reorganization Plan or in the Plan
Supplement, nor anything contained in the Reorganization Plan, will constitute an admission by
the Reorganization Plan Debtors that any such contract or lease is or is not in fact an Executory
Contract or Unexpired Lease or that the Reorganization Plan Debtors or the Reorganized Debtors
or their respective affiliates has any liability thereunder.

               Nothing in the Reorganization Plan will waive, excuse, limit, diminish, or
otherwise alter any of the defenses, Claims, Causes of Action, or other rights of the
Reorganization Plan Debtors and the Reorganized Debtors under any executory or non executory
contract or any unexpired or expired lease.

                Nothing in the Reorganization Plan will increase, augment, or add to any of the
duties, obligations, responsibilities, or liabilities of the Reorganization Plan Debtors or the
Reorganized Debtors under any executory or non executory contract or any unexpired or expired
lease.

               If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Reorganization Plan Debtors or
Reorganized Debtors, as applicable, will have thirty (30) days following entry of a Final Order
resolving such dispute to alter their treatment of such contract or lease.

I.       CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

         1.        Conditions Precedent to Confirmation

                   The occurrence of Confirmation is subject to the following conditions precedent:

                             (a)    the entry of the Disclosure Statement Order;

                             (b)    the Plan Supplement and all of the schedules, documents, and
                                    exhibits contained therein shall have been filed in form and
                                    substance satisfactory to the Required Consenting Secured Parties;

                             (c)    the Bankruptcy Court shall have entered the Confirmation Order;

                             (d)    the occurrence of the Confirmation Date;




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                             (e)    an order has been entered (which may be the Confirmation Order)
                                    finding that all Claims against the Reorganization Plan Debtors
                                    have been forever discharged, including without limitation, any
                                    FTC Claims;

                             (f)    the Restructuring Support Agreement shall not have been
                                    terminated, and shall be in full force and effect and no defaults or
                                    event of default thereunder shall have occurred and remain
                                    continuing (to the extent not otherwise cured or waived in
                                    accordance with the terms of the Restructuring Support
                                    Agreement); and

                             (g)    the DIP Loan Agreement shall not have been terminated, shall be
                                    in full force and effect and no default or event of default
                                    thereunder shall have occurred and remain occurring (to the extent
                                    not otherwise cured or waived in accordance with the terms of the
                                    DIP Loan Agreement).

         2.        Conditions Precedent to the Effective Date

              The occurrence of the Effective Date of the Reorganization Plan is subject to the
following conditions precedent:

                             (a)    the Definitive Documents shall contain terms and conditions
                                    consistent in all material respects with this Reorganization Plan
                                    and the Restructuring Support Agreement and shall otherwise be
                                    reasonably satisfactory in all respects to the Reorganization Plan
                                    Debtors and the Required Consenting Secured Parties;

                             (b)    all actions, documents and agreements necessary to implement and
                                    consummate the Reorganization Plan, including, without
                                    limitation, entry into the documents contained in the Plan
                                    Supplement, including the Definitive Documents with respect to
                                    the First Out Exit Term Loan Agreement, the First Out Letter of
                                    Credit Facility, the Second Out Exit Term Loan Agreement, and
                                    the Amended Organizational Documents, each in form and
                                    substance reasonably satisfactory to the Reorganization Plan
                                    Debtors and the Required Consenting Secured Parties, and the
                                    transactions and other matters contemplated thereby, shall have
                                    been effected or executed;

                             (c)    the Bankruptcy Court shall have entered the Confirmation Order,
                                    the Confirmation Date shall have occurred and the Confirmation
                                    Order shall have become a Final Order;

                             (d)    the Restructuring Support Agreement shall not have been
                                    terminated, and shall be in full force and effect;



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                             (e)    no material adverse change shall have occurred regarding the
                                    feasibility of the Reorganization Plan or the consummation of the
                                    Restructuring including with respect to contingent and
                                    unliquidated claims;

                             (f)    all governmental and third party approvals and consents, including
                                    Bankruptcy Court approval, necessary in connection with the
                                    transactions contemplated by the Reorganization Plan shall have
                                    been obtained, not be subject to unfulfilled conditions and be in
                                    full force and effect, and all applicable waiting periods shall have
                                    expired without any action being taken or threatened by any
                                    competent authority that would restrain, prevent or otherwise
                                    impose materially adverse conditions on such transactions;

                             (g)    unless on or prior to the Effective Date, (1) the Roll-Up Loans, the
                                    New Money Loans and the obligations under the DIP Facility shall
                                    have been paid in full in Cash and the letters of credit under the
                                    DIP Loan Agreement shall have been terminated, or (2) the
                                    conditions precedent to the effectiveness of the First Out Exit
                                    Facilities, as set forth in the First Out Exit Term Sheet, shall have
                                    been satisfied or waived by the Consenting Lender and the
                                    conditions precedent to the effectiveness of the Second Out Term
                                    Loan Agreement shall have been satisfied or waived by the New
                                    Money Lenders;

                             (h)    All the conditions precedent to the effectiveness of the Second Out
                                    Exit Loan Agreement shall have been satisfied or waived by the
                                    requisite New Money Lenders;

                             (i)    the Non-Dischargeability Deadline shall have expired and (1) no
                                    nondischargeability complaint shall have been filed or remain
                                    pending, and (2) no Claim in excess of $50,000 shall have been
                                    determined by the Bankruptcy Court to be non-dischargeable under
                                    the Bankruptcy Code; and

                             (j)    the DIP Loan Agreement shall not have been terminated, shall be
                                    in full force and effect and no default or event of default
                                    thereunder shall have occurred.

         3.        Waiver of Conditions Precedent

               Each of the conditions precedent in Sections 9.1 and 9.2 of the Reorganization
Plan may be waived in writing by the Reorganization Plan Debtors together with the prior
written consent of the Required Consenting Secured Parties.




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         4.        Effect of Failure of Conditions to Effective Date

                Unless otherwise extended by the Reorganization Plan Debtors with the consent
of the Required Consenting Secured Parties, if the Effective Date does not occur on or before
July 31, 2013 or if the Confirmation Order is vacated, (1) no distributions under the
Reorganization Plan will be made, (2) the Reorganization Plan Debtors and all holders of Claims
and Interests will be restored to the status quo ante as of the day immediately preceding the
Confirmation Date as though the Confirmation Date never occurred, and (3) all the
Reorganization Plan Debtors’ obligations with respect to the Claims and the Interests will remain
unchanged and nothing contained in the Reorganization Plan will be deemed to constitute a
waiver or release of any claims by or against the Reorganization Plan Debtors or any other entity
or to prejudice in any manner the rights of the Debtors or any other entity in any further
proceedings involving the Reorganization Plan Reorganization Plan Debtors or otherwise.

J.       EFFECT OF CONFIRMATION

         1.        Subordinated Claims

                The allowance, classification, and treatment of all Allowed Claims and Interests
and the respective distributions and treatments under the Reorganization Plan take into account
and conform to the relative priority and rights of the Claims and Interests in each Class in
connection with any contractual, legal and equitable subordination rights relating thereto
(including all rights under the Security Agreement), whether arising under general principles of
equitable subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to
section 510 of the Bankruptcy Code, the Reorganization Plan Debtors reserve the right to re-
classify any Allowed Claim or Interest in accordance with any contractual, legal or equitable
subordination relating thereto.

         2.        Vesting of Assets

               In accordance with the Reorganization Plan, on the Effective Date, pursuant to
sections 1141(b) and (c) of the Bankruptcy Code, all property of the Reorganization Plan
Debtors’ estates, including without limitation, the intellectual property licenses and other
agreements set forth in Section 8.7 of the Reorganization Plan, will vest in the Reorganized
Debtors free and clear of all Claims, liens, encumbrances, charges and other interests, except as
provided pursuant to the Reorganization Plan, the Confirmation Order, the First Out Exit Term
Loan Agreement, or the Second Out Exit Term Loan Agreement. The Reorganized Debtors may
operate their businesses and may use, acquire, and dispose of property free of any restrictions of
the Bankruptcy Code or the Bankruptcy Rules and in all respects as if there were no pending
cases under any chapter or provision of the Bankruptcy Code, except as provided in the
Reorganization Plan.

         3.        Discharge of Claims and Termination of Interests

               Except as otherwise provided in the Reorganization Plan, effective as of the
Effective Date: (1) the rights afforded in the Reorganization Plan and the treatment of all claims
and interests will be in exchange for and in complete satisfaction, discharge, and release of all
claims and interests of any nature whatsoever, including any interest accrued on such claims


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from and after the Commencement Date, against the Reorganization Plan Debtors or any of their
assets, property or estates; (2) the Reorganization Plan will bind all holders of claims and
interests, notwithstanding whether any such holders failed to vote to accept or reject the
Reorganization Plan or voted to reject the Reorganization Plan; (3) all claims and interests will
be satisfied, discharged, and released in full, including without limitation, any FTC Claims, and
the Reorganization Plan Debtors’ liability with respect thereto will be extinguished completely,
including any liability of the kind specified under section 502(g) of the Bankruptcy Code; and
(4) all entities will be precluded from asserting against the Reorganization Plan Debtors, the
Reorganization Plan Debtors’ estates, the Reorganized Debtors, their successors and assigns and
their assets and properties any other claims or interests based upon any documents, instruments
or any act or omission, transaction or other activity of any kind or nature that occurred before the
Effective Date.

         4.        Term of Injunctions or Stays

                 Unless otherwise provided in the Reorganization Plan, all injunctions or stays
arising under or entered during the Chapter 11 Cases under section 105 or 362 of the Bankruptcy
Code, or otherwise, and in existence on the Confirmation Date, will remain in full force and
effect until the later of the Effective Date and the date indicated in the order providing for such
injunction or stay.

         5.        Injunction Against Interference with Plan

                From and after the Effective Date, all entities will be permanently enjoined from
commencing or continuing in any manner, any suit, action or other proceeding, on account of or
respecting any claim, demand, liability, obligation, debt, right, cause of action, interest or remedy
released or to be released pursuant to the Reorganization Plan or the Confirmation Order.

         6.        Releases by the Reorganization Plan Debtors

                As of the Effective Date, except for the right to enforce the Reorganization
Plan and the Definitive Documents that remain in effect after the Effective Date, for good
and valuable consideration, including the service of the Released Parties to facilitate the
reorganization of the Reorganization Plan Debtors and the implementation of the
restructuring contemplated by the Reorganization Plan, on and after the Effective Date,
the Released Parties will be deemed released and discharged by the Reorganization Plan
Debtors, the Reorganized Debtors, and the Estates from any and all Claims, obligations,
rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever, including any
derivative claims, asserted or assertable on behalf of the Reorganization Plan Debtors,
whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law,
equity or otherwise, that the Reorganization Plan Debtors, the Reorganized Debtors, the
Estates or their affiliates would have been legally entitled to assert in their own right
(whether individually or collectively) or on behalf of the holder of any Claim or Interest or
other entity, based on or relating to, or in any manner arising from, in whole or in part, the
Reorganization Plan Debtors, the Chapter 11 Cases, the purchase, sale or rescission of the
purchase or sale of any security of the Reorganization Plan Debtors or the Reorganized
Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or



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Interest that is treated in the Reorganization Plan, the business or contractual
arrangements between any Debtor and any Released Party, the restructuring of Claims
and Interests before or during the Chapter 11 Cases, the negotiation, formulation or
preparation of the Reorganization Plan, or related agreements, instruments or other
documents, the solicitation of votes with respect to the Reorganization Plan, upon any other
act or omission, transaction, agreement, event or other occurrence taking place on or
before the Effective Date, other than Claims or Causes of Action arising out of or relating
to any act or omission of a Released Party that is a criminal act or constitutes intentional
fraud; provided, however, that nothing in the Reorganization Plan shall limit the liability
of professionals to their clients pursuant to N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8
Rule 1.8(h)(1) (2009).

         7.        Releases By Holders of Claims and Interests

                As of the Effective Date, except for the right to enforce the Reorganization
Plan and the Definitive Documents that remain in effect after the Effective Date and the
indemnification obligations that survive the Effective Date, each holder of a Claim or an
Interest will be deemed to have conclusively, absolutely, unconditionally, irrevocably and
forever, released and discharged the Reorganization Plan Debtors, the Reorganized
Debtors and the Released Parties from any and all Claims, Interests, obligations, rights,
suits, damages, Causes of Action, remedies and liabilities whatsoever, including any
derivative Claims asserted on behalf of a Reorganization Plan Debtor, whether known or
unknown, foreseen or unforeseen, existing or hereafter arising, in law, equity or otherwise,
that such entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, the
Reorganization Plan Debtors, the Reorganization Plan Debtors’ restructuring, the
Chapter 11 Cases, the purchase, sale or rescission of the purchase or sale of any security of
the Reorganization Plan Debtors or the Reorganized Debtors, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the
Reorganization Plan, the business or contractual arrangements between any
Reorganization Plan Debtor and any Released Party, the restructuring of Claims and
Interests before or during the Chapter 11 Cases, the negotiation, formulation or
preparation of the Reorganization Plan, or related agreements, instruments or other
documents, the solicitation of votes with respect to the Reorganization Plan, upon any other
act or omission, transaction, agreement, event or other occurrence taking place on or
before the Effective Date, other than Claims or Causes of Action arising out of or relating
to any act or omission of a Released Party that is a criminal act or constitutes intentional
fraud; provided, however, that no provision of the Reorganization Plan will be deemed to
constitute a release or waiver by the Consenting Lender, the Administrative Agent or the
Consenting Secured Noteholders of any rights arising from or in connection with
Section 5.5 of the Security Agreement; provided further, however, that nothing in the
Reorganization Plan shall limit the liability of professionals to their clients pursuant to
N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009). No Person shall be
discharged, released or relieved from any liability arising under ERISA or the Internal
Revenue Code solely with respect to the Pension Plan as a result of the Chapter 11 Cases or
the Reorganization Plan, nor shall the PBGC, the Pension Plan or any other Person be
enjoined or precluded from enforcing any liability arising under ERISA or the Internal


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Revenue Code solely with respect to the Pension Plan as a result of the Chapter 11 Cases,
the Reorganization Plan's provisions or the Reorganization Plan's Confirmation.

         8.        Exculpation

                 No Exculpated Party will have or incur, and each Exculpated Party will be
released and exculpated from any claim, obligation, cause of action or liability for any claim in
connection with or arising out of, the administration of the Chapter 11 Cases, the negotiation and
pursuit of the Reorganization Plan, or the solicitation of votes for, or confirmation of, the
Reorganization Plan, the funding of the Reorganization Plan, the consummation of the
Reorganization Plan, or the administration of the Reorganization Plan or the property to be
distributed under the Reorganization Plan, or any other transaction contemplated by the
foregoing, except for willful misconduct or gross negligence, but in all respects such entities will
be entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the Reorganization Plan. The Reorganization Plan Debtors, the
Reorganized Debtors, the Creditors Committee, the DIP Lenders, the DIP Agent, the
Administrative Agent, the Senior Credit Agreement Lenders, the Consenting Lender, the
Consenting Secured Noteholders, the Indenture Trustee, the Unsecured Administrative Agent,
the 2011 Secured Administrative Agent, the Unsecured Lenders, and the 2011 Secured Lenders
(and each of their respective affiliates, agents, directors, officers, employees, advisors and
attorneys) have participated in compliance with the applicable provisions of the Bankruptcy
Code with regard to the solicitation and distribution of the securities pursuant to the
Reorganization Plan, and, therefore, are not, and on account of such distributions will not be,
liable at any time for the violation of any applicable law, rule or regulation governing the
solicitation of acceptances or rejections of the Reorganization Plan or such distributions made
pursuant to the Reorganization Plan, including the issuance of securities thereunder; provided,
however, that no provision of the Reorganization Plan will be deemed to constitute a release or
waiver by the Consenting Lender, the Administrative Agent or the Consenting Secured
Noteholders of any rights arising from or in connection with Section 5.5 of the Security
Agreement; provided further, however, that nothing in the Reorganization Plan shall limit the
liability of professionals to their clients pursuant to N.Y. Comp. Codes R. & Regs. tit. 22 §
1200.8 Rule 1.8(h)(1) (2009). No Person shall be discharged, released or relieved from any
liability arising under ERISA or the Internal Revenue Code solely with respect to the Pension
Plan as a result of the Chapter 11 Cases or the Reorganization Plan, nor shall the PBGC, the
Pension Plan or any other Person be enjoined or precluded from enforcing any liability arising
under ERISA or the Internal Revenue Code solely with respect to the Pension Plan as a result of
the Chapter 11 Cases, the Reorganization Plan's provisions or the Reorganization Plan's
Confirmation.

         9.        Retention of Causes of Action/Reservation of Rights

                Except as otherwise provided in the Reorganization Plan, including Sections 10.6,
10.7, 10.8 and 10.9 of the Reorganization Plan, pursuant to section 1123(b) of the Bankruptcy
Code, the Reorganized Debtors will retain and may enforce, sue on, settle or compromise (or
decline to do any of the foregoing) all claims, rights, causes of action, suits and proceedings,
whether in law or in equity, whether known or unknown, that the Reorganization Plan Debtors or
their estates may hold against any person or entity without the approval of the Bankruptcy Court,



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including, without limitation, (i) any and all Claims against any person or entity, to the extent
such person or entity asserts a crossclaim, counterclaim and/or Claim for setoff which seeks
affirmative relief against the Reorganization Plan Debtors, the Reorganized Debtors, their
officers, directors or representatives; and (ii) the turnover of any property of the Reorganization
Plan Debtors’ estates; provided, however, that the Reorganized Debtors will not retain (1) any
Claims or Causes of Action against the Released Parties (other than Claims or Causes of Action
arising out of or relating to any act or omission of a Released Party that is a criminal act or
constitutes intentional fraud, which Claims or Causes of Action are preserved pursuant to the
Reorganization Plan); or (2) any Claims or Causes of Action arising under chapter 5 of the
Bankruptcy Code against holders of Allowed General Unsecured Claims (except that such
Claims or Causes of Action may be asserted as a defense to a Claim in connection with the
claims reconciliation and objection procedures). The Reorganized Debtors or their successor(s)
may pursue such retained claims, rights, or causes of action, suits or proceedings, as appropriate,
in accordance with the best interests of the Reorganized Debtors or their successor(s) who hold
such rights.

                Except as otherwise provided in the Reorganization Plan, including Sections 10.6,
10.7, 10.8 and 10.9 of the Reorganization Plan, nothing contained in the Reorganization Plan or
in the Confirmation Order will be deemed to be a waiver or relinquishment of any Claim, Cause
of Action, right of setoff or other legal or equitable defense which the Reorganization Plan
Debtors had immediately before the Commencement Date, against or with respect to any Claim
left Unimpaired by the Reorganization Plan; provided, however, that the Reorganized Debtors
will not retain (1) any Claims or Causes of Action against the Released Parties (other than
Claims or Causes of Action arising out of or relating to any act or omission of a Released Party
that is a criminal act or constitutes intentional fraud, which Claims or Causes of Action will be
preserved by the Reorganization Plan); or (2) any Claims or Causes of Action arising under
chapter 5 of the Bankruptcy Code against holders of Allowed General Unsecured Claims (except
that such Claims or Causes of Action may be asserted as a defense to a Claim in connection with
the claims reconciliation and objection procedures). The Reorganized Debtors will have, retain,
reserve and be entitled to assert all such claims, Causes of Action, rights of setoff and other legal
or equitable defenses which they had immediately before the Commencement Date with respect
to any Claim left Unimpaired by the Reorganization Plan as if the Chapter 11 Cases had not been
commenced, and all of the Reorganized Debtors’ legal and equitable rights respecting any Claim
left Unimpaired by the Reorganization Plan may be asserted after the Confirmation Date to the
same extent as if the Chapter 11 Cases had not been commenced.

         10.       Solicitation of the Reorganization Plan

               As of and subject to the occurrence of the Confirmation Date: (1) the
Reorganization Plan Debtors will be deemed to have solicited acceptances of the Reorganization
Plan in good faith and in compliance with the applicable provisions of the Bankruptcy Code,
including without limitation, sections 1125(a) and (e) of the Bankruptcy Code, and any
applicable non-bankruptcy law, rule or regulation governing the adequacy of disclosure in
connection with such solicitation and (2) the Reorganization Plan Debtors and each of their
respective directors, officers, employees, affiliates, agents, financial advisors, investment
bankers, professionals, accountants, and attorneys will be deemed to have participated in good
faith and in compliance with the applicable provisions of the Bankruptcy Code in the offer and


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issuance of any securities under the Reorganization Plan, and therefore are not, and on account
of such offer, issuance and solicitation will not be, liable at any time for any violation of any
applicable law, rule or regulation governing the solicitation of acceptances or rejections of the
Reorganization Plan or the offer and issuance of any securities under the Reorganization Plan.

         11.       Section 1145 Exemption

               The issuance of and the distribution under the Reorganization Plan of the New
Common Stock to the holders of Senior Noteholder Secured Claims under Section 4.3 of the
Reorganization Plan will be exempt from registration under the Securities Act of 1933 or
applicable securities laws without further act or action by any Person pursuant to section 1145(a)
of the Bankruptcy Code.

                In addition, under section 1145 of the Bankruptcy Code, any securities issued
under the Reorganization Plan which are exempt from such registration pursuant to
section 1145(a) of the Bankruptcy Code will be freely tradable by the recipients thereof, subject
to (1) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an
underwriter in section 2(a)(11) of the Securities Act of 1933; (2) compliance with any rules and
regulations of the Securities and Exchange Commission (the “SEC”), if any, applicable at the
time of any future transfer of such securities or instruments; (3) the restrictions, if any, on the
transferability of such securities and instruments; and (4) applicable regulatory approval.

         12.       Plan Supplement

                The Plan Supplement will be filed with the Clerk of the Bankruptcy Court by no
later than the Plan Supplement Filing Date. Upon its filing with the Bankruptcy Court, the Plan
Supplement may be inspected in the office of the Clerk of the Bankruptcy Court during normal
court hours. Documents to be included in the Plan Supplement will be posted at the website of
the Reorganization Plan Debtors’ notice, claims, and solicitation agent as they become available.
Documents to be filed with the Plan Supplement include, but are not limited to, substantially
final forms of the Amended Organizational Documents (to the extent such Amended
Organizational Documents reflect material changes from the Reorganization Plan Debtors’
existing organizational documents and by laws), the Schedule of Assumed Contracts, the First
Out Exit Term Loan Agreement, the Second Out Exit Term Loan Agreement, the Registration
Rights Agreement, the Stockholders Agreement, and to the extent known, with respect to the
members of the New Board, information required to be disclosed in accordance with section
1129(a)(5) of the Bankruptcy Code; provided, that, through the Effective Date, the
Reorganization Plan Debtors will have the right to amend the First Out Exit Term Loan
Agreement, the Second Out Exit Term Loan Agreement, the Amended Organizational
Documents, the Registration Rights Agreement, the Stockholders Agreement, and any schedules,
exhibits or amendments thereto, and the other documents contained in, and exhibits to, the Plan
Supplement with the consent of the Required Consenting Secured Parties.

               Attached hereto as Exhibit E is a copy of a term sheet for the proposed
Stockholders Agreement received from the Ad Hoc Committee. The final form of the
Stockholders Agreement will be included in the Plan Supplement and will take into
consideration, among other things, the Amended Organizational Documents.



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         13.       Corporate and Limited Liability Company Action

                Upon the Effective Date, all actions contemplated by the Reorganization Plan will
be deemed authorized and approved in all respects, including (1) the assumption of all employee
compensation and Benefit Plans of the Reorganization Plan Debtors as provided in the
Reorganization Plan, (2) the selection of the managers, directors, and officers for the
Reorganized Debtors, (3) the distribution of the New Common Stock, (4) the entry into the First
Out Exit Facilities and the Second Out Exit Term Loan Agreement, (5) the approval of the
Restructuring Support Agreement, and (6) all other actions contemplated by the Reorganization
Plan (whether to occur before, on or after the Effective Date), in each case in accordance with
and subject to the terms of the Reorganization Plan. All matters provided for in the
Reorganization Plan involving the corporate or limited liability company structure of the
Reorganization Plan Debtors or the Reorganized Debtors, and any corporate or limited liability
company action required by the Reorganization Plan Debtors or the Reorganized Debtors in
connection with the Reorganization Plan will be deemed to have occurred and will be in effect,
without any requirement of further action by the security holders, directors, managers or officers
of the Reorganization Plan Debtors or the Reorganized Debtors. On or (as applicable) before the
Effective Date, the appropriate officers of the Reorganization Plan Debtors or the Reorganized
Debtors, as applicable, will be authorized and directed to issue, execute, and deliver the
agreements, documents, securities, and instruments contemplated by the Reorganization Plan (or
necessary or desirable to effect the transactions contemplated by the Reorganization Plan) in the
name of and on behalf of the Reorganized Debtors, including (a) the Amended Organizational
Documents, (b) the First Out Exit Facilities, (c) the Second Out Exit Term Loan Agreement, and
(d) any and all other agreements, documents, securities and instruments relating to the foregoing.
The authorizations and approvals contemplated by Section 10.13 of the Reorganization Plan will
be effective notwithstanding any requirements under non-bankruptcy law.

K.       RETENTION OF JURISDICTION

                On and after the Effective Date, the Bankruptcy Court will retain jurisdiction over
all matters arising in, arising under, and related to the Chapter 11 Cases for, among other things,
the following purposes:

                   (a)       to hear and determine motions and/or applications for the assumption or
                             rejection of executory contracts or unexpired leases and the allowance,
                             classification, priority, compromise, estimation or payment of Claims
                             resulting therefrom;

                   (b)       to determine any motion, adversary proceeding, application, contested
                             matter and other litigated matter pending on or commenced after the
                             Confirmation Date;

                   (c)       to ensure that distributions to holders of Allowed Claims are accomplished
                             as provided in the Reorganization Plan;

                   (d)       to consider Claims or the allowance, classification, priority, compromise,
                             estimation or payment of any Claim;



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                   (e)       to enter, implement or enforce such orders as may be appropriate in the
                             event the Confirmation Order is for any reason stayed, reversed, revoked,
                             modified or vacated;

                   (f)       to issue injunctions, enter and implement other orders, and take such other
                             actions as may be necessary or appropriate to restrain interference by any
                             person with the consummation, implementation or enforcement of the
                             Reorganization Plan, the Confirmation Order, or any other order of the
                             Bankruptcy Court;

                   (g)       to hear and determine any application to modify the Reorganization Plan
                             in accordance with section 1127 of the Bankruptcy Code, to remedy any
                             defect or omission or reconcile any inconsistency in the Reorganization
                             Plan, or any order of the Bankruptcy Court, including the Confirmation
                             Order, in such a manner as may be necessary to carry out the purposes and
                             effects thereof;

                   (h)       to hear and determine all applications under sections 330, 331 and 503(b)
                             of the Bankruptcy Code for awards of compensation for services rendered
                             and reimbursement of expenses incurred before the Confirmation Date;

                   (i)       to hear and determine disputes arising in connection with the
                             interpretation, implementation or enforcement of the Reorganization Plan,
                             the Plan Supplement, or the Confirmation Order or any agreement,
                             instrument or other document governing or relating to any of the
                             foregoing;

                   (j)       to take any action and issue such orders as may be necessary to construe,
                             interpret, enforce, implement, execute and consummate the
                             Reorganization Plan or to maintain the integrity of the Reorganization
                             Plan following consummation;

                   (k)       to hear any disputes arising out of, and to enforce, the order approving
                             alternative dispute resolution procedures to resolve personal injury,
                             employment litigation and similar claims pursuant to section 105(a) of the
                             Bankruptcy Code;

                   (l)       to determine such other matters and for such other purposes as may be
                             provided in the Confirmation Order;

                   (m)       to hear and determine matters concerning state, local and federal taxes in
                             accordance with sections 346, 505 and 1146 of the Bankruptcy Code
                             (including any requests for expedited determinations under section 505(b)
                             of the Bankruptcy Code);

                   (n)       to adjudicate, decide, or resolve any Causes of Actions;




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                   (o)       to adjudicate, decide or resolve any and all matters related to section 1141
                             of the Bankruptcy Code;

                   (p)       to resolve any cases, controversies, suits, disputes or Causes of Action
                             with respect to the repayment or return of distributions and the recovery of
                             additional amounts owed by the holder of a Claim for amounts not timely
                             repaid;

                   (q)       to adjudicate any and all disputes arising from or relating to distributions
                             under the Reorganization Plan;

                   (r)       to hear and determine any other matters related to the Reorganization Plan
                             and not inconsistent with the Bankruptcy Code and title 28 of the United
                             States Code;

                   (s)       to enter a final decree closing the Chapter 11 Cases;

                   (t)       to recover all assets of the Reorganization Plan Debtors and property of
                             the Reorganization Plan Debtors’ estates, wherever located; and

                   (u)       to hear and determine any rights, Claims or causes of action held by or
                             accruing to the Reorganization Plan Debtors pursuant to the Bankruptcy
                             Code or pursuant to any federal statute or legal theory.

               For the avoidance of doubt, the Bankruptcy Court will not retain jurisdiction over
any matters arising in connection with the Exit Financing or any transactions related thereto.

L.       MISCELLANEOUS PROVISIONS

         1.        Payment of Statutory Fees

               On the Effective Date and thereafter as may be required, the Reorganized Plan
Debtors shall pay all fees incurred pursuant to § 1930 of title 28 of the United States Code,
together with interest, if any, pursuant to § 3717 of title 31 of the United States Code for each
Reorganization Plan Debtor’s case, or until such time as a final decree is entered closing a
particular Reorganization Plan Debtor’s case, a Final Order converting such Reorganization Plan
Debtor’s case to a case under chapter 7 of the Bankruptcy Code is entered or a Final Order
dismissing such Reorganization Plan Debtor’s case is entered.

         2.        Substantial Consummation

            On the Effective Date, the Reorganization Plan will be deemed to be substantially
consummated under sections 1101 and 1127(b) of the Bankruptcy Code.

         3.        Dissolution of Creditors Committee

                On the Effective Date, the Creditors Committee shall dissolve, and the members
thereof shall be released and discharged from all rights and duties arising from, or related to, the



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Chapter 11 Cases; provided, however, the Creditors Committee shall exist, and its professionals
shall be retained, after the Effective Date with respect to (a) all applications filed pursuant to
sections 330 and 331 of the Bankruptcy Code and any related hearings; and (b) pending appeals
of the Confirmation Order.


         4.        Request for Expedited Determination of Taxes

                In accordance with the Reorganization Plan, the Reorganized Debtors will have
the right to request an expedited determination under section 505(b) of the Bankruptcy Code
with respect to tax returns filed, or to be filed, for any and all taxable periods ending after the
Commencement Date through the Effective Date.

         5.        Amendments

                   (a)     Plan Modifications. The Reorganization Plan may be amended, modified
                   or supplemented by the Reorganization Plan Debtors in the manner provided for
                   by section 1127 of the Bankruptcy Code or as otherwise permitted by law without
                   additional disclosure pursuant to section 1125 of the Bankruptcy Code; provided,
                   that such amendments, modifications, or supplements will be satisfactory in all
                   respects to the Reorganization Plan Debtors, the Creditors Committee and the
                   Required Consenting Secured Parties. In addition, after the Confirmation Date,
                   the Reorganization Plan Debtors may institute proceedings in the Bankruptcy
                   Court to remedy any defect or omission or reconcile any inconsistencies in the
                   Reorganization Plan or the Confirmation Order, with respect to such matters as
                   may be necessary to carry out the purposes and effects of the Reorganization Plan.

                   (b)     Other Amendments. Before the Effective Date, the Reorganization Plan
                   Debtors may make appropriate technical adjustments and modifications to the
                   Reorganization Plan and the documents contained in the Plan Supplement without
                   further order or approval of the Bankruptcy Court; provided, however, that such
                   technical adjustments and modifications will be satisfactory to the Required
                   Consenting Secured Parties.

         6.        Effectuating Documents and Further Transactions

               Pursuant to the Reorganization Plan, each of the officers of the Reorganized
Debtors will be authorized, in accordance with his or her authority under the resolutions of the
applicable board of directors or managers, to execute, deliver, file or record such contracts,
instruments, releases, indentures and other agreements or documents and take such actions as
may be necessary or appropriate to effectuate and further evidence the terms and conditions of
the Reorganization Plan.

               For the avoidance of doubt, the Bankruptcy Court will not retain jurisdiction over
any matters arising in connection with the Exit Financing or any transactions related thereto.




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         7.        Revocation or Withdrawal of the Reorganization Plan

               The Reorganization Plan Debtors may not revoke or withdraw the Reorganization
Plan before the Effective Date without the consent of the Required Consenting Secured Parties;
provided, however, that the Reorganization Plan Debtors may revoke or withdraw the
Reorganization Plan only if it is in the exercise of the Reorganization Plan Debtors’ fiduciary
duty or as otherwise permitted under the Restructuring Support Agreement. If the
Reorganization Plan Debtors take such action, the Reorganization Plan will be deemed null and
void. In such event, nothing contained in the Reorganization Plan will constitute or be deemed
to be a waiver or release of any Claims by or against the Reorganization Plan Debtors or any
other person or to prejudice in any manner the rights of the Reorganization Plan Debtors or any
person in further proceedings involving the Reorganization Plan Debtors.

         8.        Severability of Plan Provisions upon Confirmation

                 If, before the entry of the Confirmation Order, any term or provision of the
Reorganization Plan is held by the Bankruptcy Court to be invalid, void or unenforceable, the
Bankruptcy Court, at the request of the Reorganization Plan Debtors (to be made only with the
consent of the Required Consenting Secured Noteholders), will have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void
or unenforceable, and such term or provision will then be applicable as altered or interpreted;
provided, however, that any such alteration and interpretation will be acceptable to the Required
Consenting Secured Parties. Notwithstanding any such holding, alteration or interpretation, the
remainder of the terms and provisions of the Reorganization Plan will remain in full force and
effect and will in no way be affected, impaired or invalidated by such holding, alteration or
interpretation. The Confirmation Order will constitute a judicial determination and will provide
that each term and provision of the Reorganization Plan, as it may have been altered or
interpreted in accordance with the foregoing, is (1) valid and enforceable pursuant to its terms;
(2) integral to the Reorganization Plan and may not be deleted or modified without the consent of
the Reorganization Plan Debtors or the Reorganized Debtors (as the case may be); and
(3) nonseverable and mutually dependent.

         9.        Governing Law

                Except to the extent that the Bankruptcy Code or other federal law is applicable,
or to the extent an exhibit to the Reorganization Plan or a schedule in the Plan Supplement
provides otherwise, the rights, duties and obligations arising under the Reorganization Plan will
be governed by, and construed and enforced in accordance with, the laws of the State of New
York, without giving effect to the principles of conflict of laws thereof.

         10.       Time

               In computing any period of time prescribed or allowed by the Reorganization
Plan, unless otherwise set forth in the Reorganization Plan or determined by the Bankruptcy
Court, the provisions of Bankruptcy Rule 9006 will apply.




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         11.       Immediate Binding Effect

                Notwithstanding Bankruptcy Rules 3020(e), 6004(h) or 7062 or otherwise, upon
the occurrence of the Effective Date, the terms of the Reorganization Plan and Plan Supplement
will be immediately effective and enforceable and deemed binding upon and inure to the benefit
of the Reorganization Plan Debtors, the holders of Claims and Interests, the Released Parties, the
Exculpated Parties and each of their respective successors and assigns, including, without
limitation, the Reorganized Debtors.

         12.       Successor and Assigns

               The rights, benefits and obligations of any Entity named or referred to in the
Reorganization Plan will be binding on, and will inure to the benefit of any heir, executor,
administrator, successor or permitted assign, if any, of each Entity.

         13.       Entire Agreement

               On the Effective Date, the Reorganization Plan, the Plan Supplement and the
Confirmation Order will supersede all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings and representations on such subjects, all of which have
become merged and integrated into the Reorganization Plan.

         14.       Notices

               All notices, requests and demands to or upon the Reorganization Plan Debtors to
be effective must be in writing (including by facsimile transmission) and, unless otherwise
expressly provided in the Reorganization Plan, will be deemed to have been duly given or made
when actually delivered or, in the case of notice by facsimile transmission, when received and
telephonically confirmed, addressed as follows:

                   (i) if to the Reorganization Plan Debtors or Reorganized Debtors:

                             RDA Holding Co.
                             750 Third Avenue
                             New York, New York 10017
                             Facsimile: (914) 244-7810
                             Attn: Andrea Newborn, Esq.

                                    - and -

                             Weil, Gotshal & Manges LLP
                             767 Fifth Avenue
                             New York, New York 10153
                             Attn: Joseph H. Smolinsky, Esq.
                                   Marcia L. Goldstein, Esq.
                                   Matthew P. Goren, Esq.
                             Telephone: (212) 310-8000
                             Facsimile: (212) 310-8007


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                   (ii) if to the Creditors Committee:

                             Otterbourg, Steindler, Houston & Rosen, P.C.
                             230 Park Avenue
                             New York, New York 10169
                             Attn: Scott L. Hazan, Esq.
                                   David M. Posner, Esq.
                             Telephone: (212) 661-9100
                             Facsimile: (212) 682-6104

              (iii) if to the Administrative Agent, the Senior Credit Agreement Lenders, the
Issuing Lender, the Consenting Lender, the Roll-Up Lender, or the DIP Lender:

                             Milbank, Tweed, Hadley & McCloy LLP
                             1 Chase Manhattan Plaza
                             New York, New York 10005
                             Attn: Abhilash M. Raval, Esq.
                                    Blair M. Tyson, Esq.
                                    Michael E. Comerford. Esq.
                             Telephone: (212) 530-5000
                             Facsimile: (212) 530-5219

                   (iv) if to the New Money Lenders, the Consenting Secured Noteholders, or the
DIP Agent:

                             Kirkland & Ellis LLP
                             300 North LaSalle
                             Chicago, Illinois 60654
                             Attn: James H.M. Sprayregen, P.C.
                             Telephone: (312) 862-2000
                             Facsimile: (312) 862-2200

                             - and -

                             Kirkland & Ellis LLP
                             601 Lexington Avenue
                             New York, New York 10022
                             Attn: Paul M. Basta, Esq.
                                    Nicole L. Greenblatt, Esq.
                             Telephone: (212) 446-4800
                             Facsimile: (212) 446-4900

                After the Effective Date, the Reorganization Plan Debtors have authority to send a
notice to Entities that to continue to receive documents pursuant to Bankruptcy Rule 2002, they
must file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the
Effective Date, the Reorganization Plan Debtors are authorized to limit the list of Entities


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receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have filed such
renewed requests.
                                            VII.

                  VALUATION OF THE REORGANIZATION PLAN DEBTORS

       THE VALUATIONS SET FORTH HEREIN REPRESENT ESTIMATED
 DISTRIBUTABLE VALUE FOR THE REORGANIZATION PLAN DEBTORS AND DO
 NOT NECESSARILY REFLECT VALUES THAT COULD BE ATTAINABLE IN THE
  PUBLIC OR PRIVATE MARKETS. THE VALUE OF THE NEW COMMON STOCK
  DOES NOT PURPORT TO BE AN ESTIMATE OF THE POST-REORGANIZATION
        MARKET VALUE OF THE REORGANIZATION PLAN DEBTORS.

               In connection with developing the Reorganization Plan, the Reorganization Plan
Debtors directed Evercore to estimate the going-concern value of the Reorganized Debtors. This
analysis has been prepared for the Reorganization Plan Debtors’ sole use and is based on
information provided to Evercore by the Reorganization Plan Debtors.

                In preparing the estimated total enterprise value range for the Reorganized
Debtors, Evercore: (1) reviewed certain historical financial information of the Reorganization
Plan Debtors for recent years and interim periods; (2) met with certain members of the
Reorganization Plan Debtors’ senior management to discuss the Reorganization Plan Debtors’
operations and future prospects; (3) reviewed publicly available financial data and considered the
market values of public companies deemed generally comparable to the operating businesses of
the Reorganization Plan Debtors; (4) considered certain economic and industry information
relevant to the Reorganization Plan Debtors’ operating businesses; (5) reviewed certain analyses
prepared by other firms retained by the Reorganization Plan Debtors; and (6) conducted such
other analyses as Evercore deemed appropriate.

               Although Evercore conducted a review and analysis of the Reorganization Plan
Debtors’ businesses, operating assets and liabilities, and business plans, Evercore relied on the
accuracy and completeness of all financial and other information furnished to it by the
Reorganization Plan Debtors and by other firms retained by the Reorganization Plan Debtors and
publicly available information.

                Evercore has relied on the Reorganization Plan Debtors’ representation and
warranty that financial projections provided by the Reorganization Plan Debtors to Evercore
(1) have been prepared in good faith, (2) are based on fully disclosed assumptions which, in light
of the circumstances under which they were made, are reasonable, (3) reflect the Reorganization
Plan Debtors’ best currently available estimates, and (4) reflect the good faith judgments of the
Reorganization Plan Debtors. Evercore does not offer an opinion as to the attainability of the
Reorganization Plan Debtors’ financial projections. The future results of the Reorganized
Debtors are dependent upon various factors, many of which are beyond the control or knowledge
of the Reorganization Plan Debtors, and consequently are inherently difficult to project. The
Reorganized Debtors’ actual future results may differ materially (positively or negatively) from
their financial projections and as a result, the actual total enterprise value of the Reorganized
Debtors may be significantly higher or lower than the estimated range herein.


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               No independent evaluations or appraisals of the Reorganization Plan Debtors’
assets were sought or were obtained in connection therewith. Evercore did not conduct an
independent investigation into any of the legal, tax, pension or accounting matters affecting the
Reorganization Plan Debtors, and therefore makes no representations as to their impact on the
Reorganization Plan Debtors from a financial point of view.

                The following is a brief summary of certain financial analyses performed by
Evercore to arrive at a range of estimated total enterprise values for the Reorganized Debtors.
The following summary does not purport to be a complete description of all of the analyses and
factors undertaken to support its conclusions. The preparation of a valuation is a complex
process involving various determinations as to the most appropriate analyses and factors to
consider, and the application of those analyses and factors under the particular circumstances.
As a result, the process involved in preparing a valuation is not readily summarized.

               In performing its analysis, Evercore applied the following standard valuation
methodologies as applicable to the operations of the Reorganization Plan Debtors: (1) the
discounted cash flow methodology and (2) the peer group company trading multiples
methodology. In addition, Evercore has separately considered the net cash proceeds the
Reorganization Plan Debtors are projected to receive from businesses the Reorganization Plan
Debtors plan to wind-down after the Effective Date.

               The discounted cash flow methodology involved deriving the unlevered free cash
flows that the Reorganization Plan Debtors’ operations would generate assuming the financial
projections were realized. To determine the enterprise value range, these cash flows and an
estimated enterprise value at the end of the projection period were discounted to an assumed
emergence date of July 31, 2013, using the estimated weighted average cost of capital.

                The peer group company trading multiples methodology involved identifying a
group of publicly-traded companies whose businesses and operating characteristics are generally
similar to the Reorganization Plan Debtors’ North American operations, although no selected
company is either identical or directly comparable to the business of the Reorganized Debtors’
North American operations. Evercore then developed a range of valuation multiples to apply to
the Reorganization Plan Debtors’ North American financial projections to derive a range of
implied enterprise values for the Reorganization Plan Debtors’ North American operations.
Additionally, the Reorganization Plan Debtors’ unallocated corporate overhead expenses were
valued separately and deducted from the remaining total enterprise value.

                Based on the financial projections set forth in Exhibit C hereto (the “Financial
Projections”) and subject to the disclaimers and the descriptions of Evercore’s methodology set
forth herein, and solely for purposes of the Reorganization Plan, Evercore estimates the total
enterprise value of the Reorganized Debtors to be between approximately $245 million and $365
million, with an implied midpoint of $305 million, as of an assumed Effective Date of July 31,
2013. The range of total equity value, which takes into account the total enterprise value less the
estimated average net debt outstanding, based on available cash, for the four quarters following
the assumed Effective Date of July 31, 2013, was estimated by Evercore to be between
approximately $171 million and $291 million, with an implied midpoint of $231 million. These
values do not give effect to the potentially dilutive impact of any New Common Stock, warrants



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or options that may be granted under any contemplated or future management equity plan. The
implied total enterprise value should be considered as a whole, and the underlying analyses
should not be considered indicative of the values of any individual operation.

                In arriving at its valuation estimate, Evercore did not consider any one analysis or
factor to the exclusion of any other analyses or factors. Accordingly, Evercore believes that its
analysis and views must be considered as a whole and that selecting portions of its analysis and
factors could create a misleading or incomplete view of the processes underlying the preparation
of the valuation. Evercore’s analysis includes multiple valuation methodologies. Reliance on
only one of the methodologies used or portions of the analysis performed could create a
misleading or incomplete conclusion as to total enterprise value.

                This valuation is based upon information available to, and analyses undertaken
by, Evercore as of March 15, 2013, and reflects, among other factors discussed below, the
Reorganization Plan Debtors’ North American and on-going International operations’ income
statements and balance sheets, projections regarding future royalty streams, projections regarding
unallocated corporate overhead, projections regarding net proceeds from the anticipated wind-
down of certain businesses, current financial market conditions and the inherent uncertainty
today as to the achievement of the Reorganization Plan Debtors’ financial projections prepared
by the Reorganization Plan Debtors. The value of an operating business is subject to
uncertainties and contingencies that are difficult to predict and will fluctuate with changes in
factors affecting the financial conditions and prospects of such a business. For purposes of this
valuation, Evercore has assumed that no material changes that would affect value will occur
between the date of this Disclosure Statement and the assumed Effective Date. Events and
conditions subsequent to this date, including but not limited to updated projections, as well as
other factors, could have a substantial impact upon the Reorganization Plan Debtors’ value.
Neither Evercore nor the Reorganization Plan Debtors has any obligation to update, revise or
reaffirm the valuation.

                 This valuation also reflects a number of assumptions, including a successful
reorganization of the Reorganization Plan Debtors’ businesses and finances in a timely manner,
achieving the forecasts reflected in the financial projections, the amount of available cash,
market conditions and the Reorganization Plan becoming effective in accordance with its terms
on a basis consistent with the estimates and other assumptions discussed herein. Among other
things, failure to consummate the Reorganization Plan in a timely manner may have a materially
negative impact on the enterprise value of the Reorganized Debtors.

                 Further, the valuation of newly issued securities is subject to additional
uncertainties and contingencies, all of which are difficult to predict. Actual market prices of such
securities at issuance will depend upon, among other things, prevailing interest rates; conditions
in the financial markets; the anticipated initial securities holdings of prepetition creditors, some
of which may prefer to liquidate their investment rather than hold it on a long-term basis; and
other factors that generally influence the prices of securities. Actual market prices of such
securities also may be affected by the Chapter 11 Cases or by other factors not possible to
predict. Accordingly, the total enterprise value ascribed in the analysis does not purport to be an
estimate of the post-reorganization market trading value of the Reorganization Plan Debtors or
their securities. Such trading value may be materially different from the total enterprise value



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ranges associated with Evercore’s valuation analysis. Indeed, there can be no assurance that any
trading market will develop for the New Common Stock. Furthermore, in the event that the
actual distributions in these Chapter 11 Cases differ from those the Reorganization Plan Debtors
assumed in their recovery analysis, impaired classes Claims holders’ actual recoveries could be
significantly higher or lower than estimated by the Reorganization Plan Debtors.

                The estimate of total enterprise value set forth herein is not necessarily indicative
of actual outcomes, which may be significantly more or less favorable than those set forth herein
depending on the results of the Reorganization Plan Debtors’ operations or changes in the
financial markets. Additionally, these estimates of value represent hypothetical enterprise and
equity values of the Reorganized Debtors as the continuing operator of their businesses and
assets, and do not purport to reflect or constitute appraisals, liquidation values or estimates of the
actual market value that may be realized through the sale of any securities to be issued pursuant
to the Reorganization Plan, which may be significantly different than the amounts set forth
herein. Such estimates were developed solely for purposes of formulation and negotiation of the
Reorganization Plan and analysis of implied relative recoveries to creditors thereunder. The
value of an operating business such as the Reorganization Plan Debtors’ businesses is subject to
uncertainties and contingencies that are difficult to predict and will fluctuate with changes in
factors affecting the financial condition and prospects of such businesses.

                Evercore’s estimated valuation range of the Reorganized Debtors does not
constitute a recommendation to any holder of Allowed Claims or Interests as to how such person
should vote or otherwise act with respect to the Reorganization Plan. The estimated value of the
Reorganized Debtors set forth herein does not constitute an opinion as to the fairness from a
financial point of view to any person of the consideration to be received by such person under
the Reorganization Plan or of the terms and provisions of the Reorganization Plan. Because
valuation estimates are inherently subject to uncertainties, neither the Reorganization Plan
Debtors, Evercore nor any other person assumes responsibility for their accuracy or any
differences between the estimated valuation ranges herein and any actual outcome.

                                                 VIII.

     CERTAIN FACTORS AFFECTING THE REORGANIZATION PLAN DEBTORS

A.       CERTAIN BANKRUPTCY LAW CONSIDERATIONS

         1.        Risk of Non-Confirmation of the Reorganization Plan of Reorganization

                 Although the Reorganization Plan Debtors believe that the Reorganization Plan
will satisfy all requirements necessary for confirmation by the Bankruptcy Court, there can be no
assurance that the Bankruptcy Court will reach the same conclusion or that modifications of the
Reorganization Plan will not be required for confirmation or that such modifications would not
necessitate resolicitation of votes.

         2.        Non-Consensual Confirmation

               In the event any impaired class of claims or interests entitled to vote on a plan of
reorganization does not accept a plan of reorganization, a bankruptcy court may nevertheless


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confirm such plan at the proponent’s request if at least one impaired class has accepted the plan
(with such acceptance being determined without including the vote of any “insider” in such
class), and as to each impaired class that has not accepted the plan, the bankruptcy court
determines that the plan “does not discriminate unfairly” and is “fair and equitable” with respect
to the dissenting impaired classes. See Section X.C.2 (“Requirements of Section 1129(b) of the
Bankruptcy Code”). The Reorganization Plan Debtors believe that the Reorganization Plan
satisfies these requirements.

         3.        Risk of Delay in Confirmation of the Reorganization Plan

               Although the Reorganization Plan Debtors believe that the Effective Date will
occur soon after the Confirmation Date, there can be no assurance as to such timing. The
Restructuring Support Agreement contemplates an outside exit date of July 31, 2013.

         4.        Risks Related to the Restructuring Support Agreement and DIP Facility

                In the event of a breach or termination of the Restructuring Support Agreement,
the Reorganization Plan Debtors’ ability to reorganize will be delayed. In addition, in the event
of a default under the DIP Loan Agreement, the DIP Lenders may seek, among other things,
certain remedies with respect to the Collateral (as defined in the DIP Loan Agreement), and take
certain other actions against the Reorganization Plan Debtors.

B.       ADDITIONAL FACTORS TO BE CONSIDERED

         1.        The Reorganization Plan Proponents Have No Duty to Update

                The statements contained in this Disclosure Statement are made by the
Reorganization Plan Debtors as of the date hereof, unless otherwise specified herein, and the
delivery of this Disclosure Statement after that date does not imply that there has been no change
in the information set forth herein since that date. The Reorganization Plan Debtors have no
duty to update this Disclosure Statement unless otherwise ordered to do so by the Bankruptcy
Court.

         2.        No Representations Outside This Disclosure Statement Are Authorized

               No representations concerning or related to the Reorganization Plan Debtors, the
Chapter 11 Cases, or the Reorganization Plan are authorized by the Bankruptcy Court or the
Bankruptcy Code, other than as set forth in this Disclosure Statement. Any representations or
inducements made to secure your acceptance or rejection of the Reorganization Plan that are
other than as contained in, or included with, this Disclosure Statement should not be relied upon
by you in arriving at your decision.

         3.        Financial Projections Are Not Assured, Actual Results May Vary, and
                   Variances from Financial Projections May Occur

              The fundamental premise of the Reorganization Plan is the reduction of the
Reorganization Plan Debtors’ debt levels and the implementation and realization of the
Reorganization Plan Debtors’ business plan, as reflected in the financial projections set forth in


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the Financial Projections. The Financial Projections reflect numerous assumptions concerning
the anticipated future performance of the Reorganization Plan Debtors, some of which may not
materialize. Such assumptions include, among other items, assumptions concerning the
economy, the ability to effectuate management’s business plan, and control future operating
expenses. The Reorganization Plan Debtors believe that the assumptions underlying the
Financial Projections are reasonable. However, unanticipated events and circumstances
occurring subsequent to the preparation of the Financial Projections may affect the actual
financial results of the Reorganization Plan Debtors. Therefore, the actual results achieved
throughout the periods covered by the Financial Projections necessarily will vary from the
projected results, and such variations may be material and adverse.

                Certain of the information contained in this Disclosure Statement is, by nature,
forward looking, and contains estimates and assumptions which might ultimately prove to be
incorrect, and contains projections including, without limitation, the Financial Projections, which
may be materially different from actual future experiences. There are uncertainties associated
with any projections and estimates, including, without limitation, the projections and Financial
Projections and estimates herein should not be considered assurances or guarantees of the
amount of funds or the amount of Claims in the various Classes that might be allowed.

         4.        No Legal or Tax Advice Is Provided to You by This Disclosure Statement

               The contents of this Disclosure Statement should not be construed as legal,
business or tax advice. Each holder of a Claim or Interest should consult his, her, or its own
legal counsel and accountant as to legal, tax and other matters concerning his, her, or its Claim or
Interest.

               This Disclosure Statement is not legal advice to you. This Disclosure Statement
may not be relied upon for any purpose other than to determine how to vote on the
Reorganization Plan or object to confirmation of the Reorganization Plan.

         5.        No Admission Made

              Nothing contained in the Reorganization Plan will constitute an admission of, or
be deemed evidence of, the tax or other legal effects of the Reorganization Plan on the
Reorganization Plan Debtors or on holders of Claims or Interests.

         6.        A Liquid Trading Market for the New Common Stock is Unlikely to Develop

                 A liquid trading market for the New Common Stock is unlikely to develop. As of
the Effective Date, the New Common Stock will not be listed for trading on any stock exchange
or trading system and the Reorganized Debtors will not file any reports with the SEC.
Consequently, the trading liquidity of the New Common Stock will be limited as of the Effective
Date. The future liquidity of the trading markets for New Common Stock will depend, among
other things, upon the number of holders of such securities, whether such securities become
listed for trading on an exchange or trading system at some future time and whether the
Reorganized Debtors begin to file annual and quarterly reports with the SEC.




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         7.        Business Factors and Competitive Conditions

                   (a)       General Economic Environment

                The recent financial crisis and economic downturn has adversely affected
economic activity globally. The Reorganization Plan Debtors’ operations and performance
depend significantly on worldwide economic conditions. Customers across all of the
Reorganization Plan Debtors’ businesses have been delaying and reducing their expenditures in
response to deteriorating macroeconomic and industry conditions and uncertainty, which has had
a significant negative impact on the demand for the Reorganization Plan Debtors’ products and
therefore the cash flows of their businesses, and could continue to have a negative impact on the
Reorganization Plan Debtors’ liquidity and capital resources. Most of the Reorganization Plan
Debtors’ products involve discretionary spending on the part of consumers, which is influenced
by general economic conditions and the availability of discretionary income. In particular,
economic conditions in Europe could adversely affect the Reorganization Plan Debtors’ direct
marketing business. In addition, revenue from advertising has decreased as advertising budgets
have been scaled back and advertisers have shifted their advertising dollars to more directed
platforms, including the Internet. The impact of decreasing print advertising revenue may
impact the Reorganization Plan Debtors’ products that are more heavily dependent on
advertising. In addition, the Reorganization Plan is reliant on the success of strategic
partnerships, which are dependent on the Reorganization Plan Debtors’ ability to offer products
and services that appeal to their customer base. Additionally, a number of risks that the
Reorganization Plan Debtors ordinarily face may increase in likelihood, magnitude and duration.
These risks include, but are not limited to, deferrals or reductions of customer orders, potential
deterioration of the Reorganization Plan Debtors’ customers’ ability to pay, losses or impairment
charges, reduced revenue, deterioration in the Reorganization Plan Debtors’ cash balances,
impaired liquidity due to foreign exchange impacts because the Reorganization Plan Debtors’
functional currency is the applicable local currency, an inability to access the capital markets, a
further reduction in the amount of money that advertisers have available to spend for advertising
in the Reorganization Plan Debtors’ products, increases in gas prices, which affect the
Reorganization Plan Debtors’ costs, increases in postage rates, unfavorable regulations and the
Reorganization Plan Debtors’ continued ability to achieve cost savings. The Reorganization
Plan Debtors expect to continue facing challenges resulting from global economic conditions.

                   (b)       Implementation of Business Plan

                The Reorganization Plan Debtors believe that they will succeed in implementing
and executing their business plan and financial restructuring. However, there are risks that the
goals of the Reorganization Plan Debtors’ going-forward business plan and financial
restructuring strategy will not be achieved. In such event, the Reorganization Plan Debtors may
be unable to refinance maturing term debt or be forced to sell all or parts of their business,
develop and implement further restructuring plans not contemplated herein or become subject to
further insolvency proceedings.

                In the ordinary course of business, the Reorganization Plan Debtors repatriate
excess cash from their international operations as repayment for intercompany debts. However,
there is no certainty that the Reorganization Plan Debtors will be able to repatriate excess cash



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from either the wind down or ongoing operations of international operations, which would affect
the liquidity of the Reorganization Plan Debtors.

                   (c)       Anticipation of Customer Preferences

                The Reorganization Plan Debtors operate in highly competitive markets that are
subject to rapid change, including changes in customer preferences. The Reorganization Plan
Debtors’ success depends on their ability to address the secular shift away from traditional print
media and to provide products that appeal to a large number of existing and new customers.
There are substantial uncertainties associated with the Reorganization Plan Debtors’ efforts to
develop successful products and services for the Reorganization Plan Debtors’ customers, as
well as to adapt their print materials and music and video products to new technologies,
including the Internet and digitization. The Reorganization Plan Debtors cannot be sure that
their new ideas and content will have broad appeal and success, or that they will be able to
respond quickly to changes in the tastes and preferences of consumers. Adapting to changing
consumer preferences has some degree of uncertainty as they test new products and approaches.
In addition, the continuing growth and technological expansion of digital and Internet-based
services has increased existing competitive pressure on the Reorganization Plan Debtors’ media
businesses. As web-based and digital formats attract an increasingly larger share of consumer
readership, the Reorganization Plan Debtors may continue to lose customers or fail to attract new
customers if they are not able to transition their publications and other products to these new
formats. Furthermore, to the extent that advertisers shift advertising expenditures to new media
outlets, the Reorganization Plan Debtors’ advertising revenue will decrease even if the
Reorganization Plan Debtors are able to maintain their current share of print media advertising
dollars.

                   (d)       Development of Digital Channels

                The competitive environment in which the Reorganization Plan Debtors operate
demands, and their future growth strategies incorporate, the development of their digital
channels. The Reorganization Plan Debtors believe there is a trend towards offering
supplemental materials to their published products, as well as the opportunity to renew
subscriptions electronically and consume media in an electronic form. The Reorganization Plan
Debtors believe that this trend will accelerate as younger, technologically savvy customers make
up a greater portion of their potential customer base. In order for the digital channels to succeed,
the Reorganization Plan Debtors must significantly invest time and resources in them, including
to: adapt their organization and operating model to implement their multi-channel distribution
strategy with strong digital elements; continue to develop and upgrade their digital technologies
and supporting processes; sell advertising in significant markets, and be a compelling choice for
advertisers online; successfully digitize new and existing content in their global digital library;
attract and retain a base of frequent, engaged visitors to their websites; build an e-commerce
revenue stream by engaging visitors in product purchasing on their websites; obtain and build
digital subscriptions for their products; build partnerships to advance advertising and distribution
strategies online and leverage other new technologies; attract and retain talent for critical
positions; and continuously advance the Reorganization Plan Debtors’ digital offerings based on
fast-moving trends that may pose opportunities as well as risks (e.g., e-readers and mobile
applications). The Reorganization Plan Debtors cannot provide assurance that they will be



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successful in achieving these and other necessary objectives or that the Reorganization Plan
Debtors’ digital channels will be profitable or successful or be able to effectively compete with
competitive products. The Reorganization Plan Debtors’ failure to adapt to new technology or
delivery methods, or their choice of one technological innovation over another, may have a
material adverse impact on the Reorganization Plan Debtors’ ability to compete for new
customers or to meet the demands of their existing customers. Allocation of advertising dollars
also is shifting rapidly and dramatically from printed materials towards online advertising. If the
Reorganization Plan Debtors’ digital channels are not successful, the Reorganization Plan
Debtors could lose significant opportunities for new advertising revenue from digital sources,
while also losing advertising revenue from traditional sources due to the reallocation from print
to digital advertising. If the Reorganization Plan Debtors are not successful in achieving these
objectives, their business, financial condition and prospects would be adversely affected.

                                                  IX.

            CERTAIN U. S. FEDERAL INCOME TAX CONSEQUENCES OF THE
                             REORGANIZATION PLAN

               The following discussion summarizes certain U.S. federal income tax
consequences of the implementation of the Reorganization Plan to the Debtors and to holders of
Senior Noteholder Secured Claims and General Unsecured Claims. This discussion does not
address the U.S. federal income tax consequences to holders of (1) Claims that are unimpaired,
(2) Other Secured Claims, (3) Existing RDA Holding Interests, or (4) Intercompany Interests.

                The discussion of U.S. federal income tax consequences below is based on the
Internal Revenue Code of 1986, as amended (the “Tax Code”), the Treasury regulations
promulgated thereunder, judicial authorities, published positions of the Internal Revenue Service
(“IRS”) and other applicable authorities, all as in effect on the date of this document and all of
which are subject to change or differing interpretations (possibly with retroactive effect). The
U.S. federal income tax consequences of the contemplated transactions are complex and are
subject to significant uncertainties. The Reorganization Plan Debtors have not requested a ruling
from the IRS or any other tax authority, or an opinion of counsel, with respect to any of the tax
aspects of the contemplated transactions, and the discussion below is not binding upon the IRS or
such other authorities. Thus, no assurance can be given that the IRS or such other authorities
would not assert, or that a court would not sustain, a different position from any discussed
herein.

                This summary does not address foreign, state or local tax consequences of the
contemplated transactions, nor does it purport to address the U.S. federal income tax
consequences of the transactions to special classes of taxpayers (e.g., foreign taxpayers, small
business investment companies, regulated investment companies, real estate investment trusts,
controlled foreign corporations, passive foreign investment companies, banks and certain other
financial institutions, insurance companies, tax-exempt organizations, retirement plans, holders
that are, or hold Claims through, partnerships or other pass-through entities for U.S. federal
income tax purposes, U.S. persons whose functional currency is not the U.S. dollar, dealers in
securities or foreign currency, traders that mark-to-market their securities, expatriates and former
long-term residents of the United States, persons subject to the alternative minimum tax, and



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persons holding Claims that are part of a straddle, hedging, constructive sale or conversion
transaction). In addition, this discussion does not address U.S. federal taxes other than income
taxes, nor does it apply to any person that acquires any New Common Stock in the secondary
market.

               This discussion assumes that the Claims and the New Common Stock are or will
be held as “capital assets” (generally, property held for investment) within the meaning of
section 1221 of the Tax Code. In addition, this discussion assumes that the form of the
transactions contemplated by the Reorganization Plan is respected for U.S. federal income tax
purposes.

                      THE FOLLOWING SUMMARY OF CERTAIN
                U.S. FEDERAL INCOME TAX CONSEQUENCES IS FOR
      INFORMATIONAL PURPOSES ONLY AND IS NOT A SUBSTITUTE FOR CAREFUL
     TAX PLANNING AND ADVICE BASED UPON YOUR INDIVIDUAL CIRCUMSTANCES.

         INTERNAL REVENUE SERVICE CIRCULAR 230 NOTICE:       TO
         ENSURE COMPLIANCE WITH INTERNAL REVENUE SERVICE
         CIRCULAR 230, HOLDERS OF CLAIMS AND EXISTING RDA
         HOLDING INTERESTS ARE HEREBY NOTIFIED THAT: (A) ANY
         DISCUSSION OF FEDERAL TAX ISSUES CONTAINED OR REFERRED
         TO IN THIS DISCLOSURE STATEMENT IS NOT INTENDED OR
         WRITTEN TO BE USED, AND CANNOT BE USED, BY HOLDERS OF
         CLAIMS OR EXISTING RDA HOLDING INTERESTS FOR THE
         PURPOSE OF AVOIDING PENALTIES THAT MAY BE IMPOSED ON
         THEM UNDER THE INTERNAL REVENUE CODE; (B) SUCH
         DISCUSSION IS WRITTEN IN CONNECTION WITH THE PROMOTION
         OR MARKETING BY THE REORGANIZATION PLAN DEBTORS OF
         THE TRANSACTIONS OR MATTERS ADDRESSED HEREIN; AND (C)
         HOLDERS OF CLAIMS AND EXISTING RDA HOLDING INTERESTS
         SHOULD SEEK ADVICE BASED ON THEIR PARTICULAR
         CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.

A.       CONSEQUENCES TO THE DEBTORS

                For U.S. federal income tax purposes, the Debtors are members of an affiliated
group of corporations (or limited liability companies that are “disregarded entities” wholly
owned by members of such group), of which RDA Holding is the common parent, which files a
single consolidated U.S. federal income tax return (the “RDA Group”). The RDA Group has
estimated net operating loss (“NOL”) carryforwards of approximately $35,000,000 and foreign
tax credit carryforwards of approximately $150,000,000 for U.S. federal income tax purposes as
of the Commencement Date. Certain of these tax attributes are subject to existing limitations.
The amount of any such NOL carryforwards, foreign tax credit carryforwards and other tax
attributes, and the extent to which any limitations apply, remain subject to audit and adjustment
by the IRS.




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               As discussed below, in connection with the Reorganization Plan, the amount of
the RDA Group’s NOL may be eliminated, and certain other tax attributes of the RDA Group
(such as tax basis in assets and foreign tax credit carryforwards may also be significantly
reduced. In addition, the subsequent utilization of any loss and tax credit carryforwards
remaining following the Effective Date may be severely restricted.

         1.        Cancellation of Debt

                 In general, the Tax Code provides that a debtor in a bankruptcy case must reduce
certain of its tax attributes – such as NOL carryforwards and current year NOLs, capital loss
carryforwards, tax credits, and tax basis in assets—by the amount of any cancellation of debt
(“COD”) incurred pursuant to a confirmed chapter 11 plan. The amount of COD income
incurred is generally the amount by which the indebtedness discharged exceeds the value of any
consideration given in exchange therefor. Certain statutory or judicial exceptions may apply to
limit the amount of COD incurred for U.S. federal income tax purposes. If advantageous, the
debtor can elect to reduce the basis of depreciable property prior to any reduction in its NOL
carryforwards or other tax attributes. Where the debtor joins in the filing of a consolidated U.S.
federal income tax return, applicable Treasury regulations require, in certain circumstances, that
the tax attributes of the consolidated subsidiaries of the debtor and other members of the group
must also be reduced. Any reduction in tax attributes in respect of COD income generally does
not occur until after the determination of the debtor’s income or loss for the taxable year in
which the COD is incurred.

                The Reorganization Plan Debtors expect to incur substantial COD as a result of
the implementation of the Reorganization Plan, with the result that there will be substantial
reductions in the tax attributes of the RDA Group, including possible elimination of NOL
carryforwards (if not otherwise utilized against current income). The amount of COD incurred
will depend primarily on the fair market value of the New Common Stock and the amount of
cash, if any, distributed to holders of Claims.

         2.        Potential Limitations on NOL Carryforwards and Other Tax Attributes

                Following the Effective Date, any remaining NOL carryforwards, foreign tax
credit carryforwards and certain other tax attributes allocable to periods prior to the Effective
Date (collectively, “Pre-Change Losses and Credits”) will be subject to limitation under
section 382 of the Tax Code. Any such limitation applies in addition to, and not in lieu of, the
use of attributes or the attribute reduction that results from the COD arising in connection with
the Reorganization Plan. The Reorganization Plan Debtors believe that there will be tax
attributes remaining after the Effective Date to which section 382 of the Tax Code would apply
because it is expected that the tax attributes available for reduction will exceed the amount of
COD.

               Under section 382 of the Tax Code, if a corporation (or consolidated group)
undergoes an “ownership change” and the corporation does not qualify for (or elects out of) the
special bankruptcy exception discussed below, the amount of its Pre-Change Losses and Credits
that may be utilized to offset future taxable income or tax liability is subject to an annual




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limitation. The issuance of the New Common Stock pursuant to the Reorganization Plan will
constitute an “ownership change” of the RDA Group for these purposes.

               In general, the amount of the annual limitation to which a corporation that
undergoes an ownership change will be subject is equal (in the case of losses and with
appropriate adjustments in the case of credits) to the product of (1) the fair market value of the
stock of the corporation immediately before the ownership change (with certain adjustments)
multiplied by (2) the “long term tax exempt rate” in effect for the month in which the ownership
change occurs (e.g., 2.7% for ownership changes occurring in May 2013). As discussed below,
this annual limitation often may be increased in the event the corporation (or consolidated group)
has an overall “built-in” gain in its assets at the time of the ownership change. For a corporation
(or consolidated group) in bankruptcy that undergoes an ownership change pursuant to a
confirmed bankruptcy plan, the fair market value of the stock of the corporation is generally
determined immediately after (rather than before) the ownership change after giving effect to the
discharge of creditors’ claims, but subject to certain adjustments; in no event, however, can the
stock value for this purpose exceed the pre-change gross value of the corporation’s assets.

                 Any portion of the annual limitation that is not used in a given year may be
carried forward, thereby adding to the annual limitation for the subsequent taxable year.
However, if the corporation does not continue its historic business or use a significant portion of
its historic assets in a new business for at least two (2) years after the ownership change, or if
certain shareholders claim worthless stock deductions and continue to hold their stock in the
corporation at the end of the taxable year, the annual limitation resulting from the ownership
change is reduced to zero, thereby precluding any utilization of the corporation’s Pre-Change
Losses and Credits, absent any increases due to recognized built-in gains discussed below.

               Accordingly, the impact of an ownership change of the RDA Group pursuant to
the Reorganization Plan depends upon, among other things, the amount of Pre-Change Losses
and Credits remaining after the reduction of attributes due to the COD, the value of both the
stock and assets of the RDA Group at such time, the continuation of its respective business, and
the amount and timing of future taxable income.

                   (a)       Built in Gains and Losses

                 Section 382 of the Tax Code can operate to limit the deduction of certain “built-
in” losses recognized subsequent to the date of the ownership change. If a loss corporation (or
consolidated group) has a net unrealized built-in loss at the time of an ownership change (taking
into account most assets and items of “built-in” income, gain, loss and deduction), then any built-
in losses recognized during the following five (5) years (up to the amount of the original net
unrealized built-in loss) generally will be treated as Pre-Change Losses and Credits and similarly
will be subject to the annual limitation. Conversely, if the loss corporation (or consolidated
group) has a net unrealized built-in gain at the time of an ownership change, any built-in gains
recognized (or, according to an IRS notice, treated as recognized) during the following five (5)
years (up to the amount of the original net unrealized built-in gain) generally will increase the
annual limitation in the year recognized, such that the loss corporation (or consolidated group)
would be permitted to use its Pre-Change Losses and Credits against such built-in gain income in
addition to its regular annual allowance. In general, a loss corporation’s (or consolidated



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group’s) net unrealized built-in gain or loss will be deemed to be zero unless the actual amount
of such gain or loss is greater than the lesser of (1) $10,000,000.00 or (2) fifteen percent (15%)
of the fair market value of its assets (with certain adjustments) before the ownership change. It is
expected that the RDA Group will be in a net unrealized built-in-gain position as of the Effective
Date.

                   (b)       Special Bankruptcy Exception

                An exception to the foregoing annual limitation rules generally applies where
“qualified creditors” and existing shareholders of a debtor receive, in respect of their claims or
equity interests, at least fifty percent (50%) of the vote and value of the stock of the reorganized
debtor (or a controlling corporation if also in bankruptcy) pursuant to a confirmed chapter 11
plan. Generally, qualified creditors are creditors who (1) held their claims continuously for at
least eighteen (18) months at the time the bankruptcy petition is filed and thereafter or (2) hold
claims incurred in the ordinary course of the debtor’s business and held those claims
continuously since they were incurred. Under this exception, a debtor’s Pre-Change Losses and
Credits are not limited on an annual basis but, instead, are required to be reduced by the amount
of any interest deductions claimed during (at least) the three (3) taxable years preceding the
effective date of the reorganization, and during the part of the taxable year prior to and including
the reorganization, in respect of all debt converted into stock in the reorganization. Moreover, if
this exception applies, any further ownership change of the debtor within a two-year period after
the consummation of the chapter 11 plan will preclude the debtor’s utilization of any Pre-Change
Losses and Credits at the time of the subsequent ownership change against future income.
Although it is possible that the Reorganization Plan Debtors may qualify for this exception, they
may, if they so desire, elect not to have the exception apply and instead remain subject to the
annual limitation described above.

         3.        Alternative Minimum Tax

                In general, a U.S. federal alternative minimum tax (“AMT”) is imposed on a
corporation’s alternative minimum taxable income at a twenty percent (20%) rate to the extent
that such tax exceeds the corporation’s regular U.S. federal income tax. For purposes of
computing taxable income for AMT purposes, certain tax deductions and other beneficial
allowances are modified or eliminated. In particular, even though a corporation otherwise might
be able to offset all of its taxable income for regular tax purposes by available NOL
carryforwards, only ninety percent (90%) of a corporation’s (or consolidated group’s) taxable
income for AMT purposes may be offset by available NOL carryforwards (as computed for
AMT purposes). Accordingly, usage of the Debtors’ NOLs by the Debtors may be subject to
limitations for AMT purposes in addition to any other limitations that may apply.

                Any AMT that a corporation pays generally will be allowed as a nonrefundable
credit against its regular U.S. federal income tax liability in future taxable years when the
corporation is no longer subject to the AMT.




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B.       CONSEQUENCES TO HOLDERS OF CERTAIN CLAIMS

              As used in this section of the Disclosure Statement, the term “U.S. Holder”
means a beneficial owner of Senior Noteholder Secured Claims, General Unsecured Claims or
New Common Stock that is for U.S. federal income tax purposes:

                   ●         an individual who is a citizen or resident of the United States;
                   ●         a corporation, or other entity taxable as a corporation for U.S. federal
                             income tax purposes, created or organized in or under the laws of the
                             United States, any state thereof or the District of Columbia;
                   ●         an estate the income of which is subject to U.S. federal income taxation
                             regardless of its source; or
                   ●         a trust, if a court within the United States is able to exercise primary
                             jurisdiction over its administration and one or more U.S. persons have
                             authority to control all of its substantial decisions, or if the trust has a valid
                             election in effect under applicable Treasury regulations to be treated as a
                             U.S. person.
                 If a partnership or other entity taxable as a partnership for U.S. federal income tax
purposes holds Senior Noteholder Secured Claims, General Unsecured Claims or New Common
Stock, the tax treatment of a partner will generally depend upon the status of the partner and the
activities of the partnership. If you are a partner in a partnership holding any of such
instruments, you should consult your own tax advisor.

         1.        Consequence to Holders of Allowed Senior Noteholder Secured Claims

                   (a)       Gain or Loss

               Pursuant to the Reorganization Plan, and in satisfaction of their respective Claims,
holders of Allowed Senior Noteholder Secured Claims will receive their Pro Rata share of 100%
of the New Common Stock. In connection with the foregoing, the Reorganization Plan provides
that the New Common Stock to be distributed to the holders of Allowed Senior Noteholder
Secured Claims is first contributed by RDA Holding to Reader’s Digest and then will be
distributed by Reader’s Digest to the applicable holders of the Allowed Senior Noteholder
Secured Claims.

                Accordingly, a U.S. Holder of an Allowed Senior Noteholder Secured Claim
generally should recognize gain or loss in an amount equal to the difference, if any, between (1)
the fair market value of New Common Stock received, other than any amount received in respect
of an Allowed Claim for accrued but unpaid interest, and (2) the U.S. Holder’s adjusted tax basis
in the Allowed Senior Noteholder Secured Claim exchanged therefor (other than any basis
attributable to accrued but unpaid interest). See IX.B.1(b) (“Character of Gain or Loss”) below.
A U.S. Holder will have interest income to the extent of any amount allocable to accrued but
unpaid interest not previously included in income. See IX.B.1(c) (“Payment of Accrued
Interest”) below.




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                 Generally, a U.S. Holder’s adjusted tax basis in an Allowed Senior Noteholder
Secured Claim will be equal to the cost of the Claim to such U.S. Holder, increased by any
original issue discount (“OID”) previously included in income. If applicable, a U.S. Holder’s
tax basis in a Claim will also be (1) increased by any market discount previously included in
income by such U.S. Holder pursuant to an election to include market discount in gross income
currently as it accrues, and (2) reduced by any cash payments received on the Claim other than
payments of qualified stated interest, and by any amortizable bond premium which the U.S.
Holder has previously deducted and by the amount of any bad debt deduction claimed with
respect to such Claim.

               A U.S. Holder’s tax basis in the New Common Stock received pursuant to the
Reorganization Plan will equal the fair market value of the New Common Stock received. The
U.S. Holder’s holding period in the New Common Stock received should begin on the day
following the exchange date.

                Notwithstanding the foregoing, it is possible that the IRS may attempt to treat a
holder’s receipt of New Common Stock in satisfaction of its Allowed Senior Noteholder Secured
Claim as part of a non-recognition transaction. If so treated, such a holder would not be required
or permitted to recognize any gain or loss on the exchange of its Allowed Senior Noteholder
Secured Claim for New Common Stock. In such case, the holder’s tax basis in its New Common
Stock should continue to reflect the unrecognized gain or loss. In addition, the holder’s holding
period in the New Common Stock should include its holding period in its Allowed Senior
Noteholder Secured Claim. However, the Reorganization Plan Debtors believe, and the
discussion herein assumes, that the satisfaction of the Allowed Senior Noteholder Secured
Claims with New Common Stock should be taxable consideration with respect to which gain and
loss is recognized as described above.

               Holders of Allowed Senior Noteholder Secured Claims are urged to consult their
tax advisors regarding the income tax consequences of the exchange of Senior Noteholder
Secured Claims for New Common Stock.

                   (b)       Character of Gain or Loss

                Except to the extent that any consideration received pursuant to the
Reorganization Plan is received in satisfaction of accrued but unpaid interest during its holding
period (see IX.B.1(c) (“Payment of Accrued Interest”) below), where gain or loss is recognized
by a U.S. Holder in respect of the satisfaction and exchange of its Claim, such gain or loss will
be capital gain or loss except to the extent any gain is recharacterized as ordinary income
pursuant to the market discount rules discussed below. A reduced tax rate on long-term capital
gain may apply to non-corporate U.S. Holders. The deductibility of a capital loss is subject to
significant limitations.

                A U.S. Holder that purchased its Claims from a prior holder at a “market
discount” (relative to the principal amount of the Claims at the time of acquisition) may be
subject to the market discount rules of the Tax Code. In general, a debt instrument is considered
to have been acquired with “market discount” if its holder’s adjusted tax basis in the debt
instrument is less than (1) its stated principal amount or (2) in the case of a debt instrument



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issued with OID, its adjusted issue price, in each case, by at least a de minimis amount. The de
minimis amount is equal to one-quarter of one percent (0.25%) of the sum of all remaining
payments to be made on the debt instrument, excluding qualified stated interest, multiplied by
the number of remaining whole years to maturity.

                Under these rules, any gain recognized on the exchange of Claims (other than in
respect of a Claim for accrued but unpaid interest) generally will be treated as ordinary income to
the extent of the market discount accrued (on a straight line basis or, at the election of the U.S.
Holder, on a constant interest basis) during the U.S. Holder’s period of ownership, unless the
U.S. Holder elected to include the market discount in income as it accrued. If a U.S. Holder of
Claims did not elect to include market discount in income as it accrued and thus, under the
market discount rules, was required to defer all or a portion of any deductions for interest on debt
incurred or maintained to purchase or carry its Claims, such deferred amounts would become
deductible at the time of the exchange, up to the amount of gain that the U.S. Holder recognizes
in the exchange.

                   (c)       Payment of Accrued Interest

                In general, to the extent that any consideration received pursuant to the
Reorganization Plan by a U.S. Holder of a Claim is received in satisfaction of accrued interest
during its holding period, such amount will be taxable to the U.S. Holder as interest income (if
not previously included in the U.S. Holder’s gross income). Conversely, a U.S. Holder generally
incurs a deductible loss to the extent any accrued interest claimed or amortized OID was
previously included in its gross income and is not paid in full. However, the IRS has privately
ruled that a holder of a “security” of a corporate issuer, in an otherwise tax-free exchange, could
not claim a current deduction with respect to any unpaid OID. Accordingly, it is also unclear
whether, by analogy, a U.S. Holder of a Claim would be required to recognize a capital loss upon
a taxable exchange of the Claim, rather than an ordinary loss, with respect to previously included
OID that is not paid in full.

                The Reorganization Plan provides that consideration received in respect of a
Claim is allocable first to the principal amount of the Claim (as determined for U.S. federal
income tax purposes) and then, to the extent of any excess, to the remainder of the Claim,
including any Claim for accrued but unpaid interest (in contrast, for example, to a pro rata
allocation of a portion of the exchange consideration received between principal and interest, or
an allocation first to accrued but unpaid interest). See Section 6.11 of the Reorganization Plan.
There is no assurance that the IRS will respect such allocation for U.S. federal income tax
purposes. You are urged to consult your own tax advisor regarding the allocation of
consideration and the deductibility of accrued but unpaid interest for U.S. federal income tax
purposes.

                   (d)       Disposition of New Common Stock

               Unless a non-recognition provision applies, and subject to the discussion above
with respect to the carryover of market discount (see IX.B.1(b) (“Character of Gain or Loss”)
above) and the discussion of possible ordinary income treatment below, U.S. Holders generally
will recognize capital gain or loss upon the sale or exchange of the New Common Stock in an



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amount equal to the difference between the U.S. Holder’s adjusted tax basis in the New Common
Stock and the sum of the cash plus the fair market value of any property received from such
disposition. Any such gain or loss generally should be long-term if the U.S. Holder’s holding
period for its New Common Stock is more than one year at that time. A reduced tax rate on
long-term capital gain may apply to non-corporate U.S. Holders. The deductibility of a capital
loss is subject to significant limitations.

                Notwithstanding the above, any gain recognized by a U.S. Holder upon a
subsequent taxable disposition of New Common Stock received in exchange for Allowed Senior
Noteholder Secured Claims will be treated as ordinary income for U.S. federal income tax
purposes to the extent of (1) any bad debt deductions (or additions to a bad debt reserve) claimed
with respect to the Allowed Senior Noteholder Secured Claims and any ordinary loss deductions
incurred upon satisfaction of the Allowed Senior Noteholder Secured Claim, less any income
(other than interest income) recognized by the U.S. Holder upon satisfaction of the Allowed
Senior Noteholder Secured Claim, and (2) with respect to a cash-basis U.S. Holder, in addition to
(1), any amounts which would have been included in its gross income if the U.S. Holder’s
Allowed Senior Noteholder Secured Claim had been satisfied in full but which was not included
by reason of the cash method of accounting.

         2.        Consequences to Holders of Allowed General Unsecured Claims

                On the Effective Date, or as soon thereafter as is reasonably practicable, each
holder of an Allowed General Unsecured Claim will receive, in satisfaction of its Claim, its Pro
Rata share of the GUC Distribution and the RDA GUC Distribution, as applicable, provided that
the holders of Allowed General Unsecured Claims against the same Reorganized Debtor, voting
as a Class, approve the Reorganization Plan. Additional distributions may be received from time
to time after the Effective Date, e.g., if and when any Disputed Claims are disallowed, and in the
event any amounts remain in the Claims Oversight Committee Reserve at the termination of the
reserve.

                In general, each holder of such an Allowed General Unsecured Claim should
recognize gain or loss in an amount equal to the difference between (1) the amount of cash
received by the holder in satisfaction of the Claim (other than any amount received in respect of
a Claim for accrued but unpaid interest or, in respect of any amounts received after the Effective
Date, treated as imputed interest) and (2) the holder’s adjusted tax basis in the Claim (other than
any basis attributable to accrued but unpaid interest). For a discussion of the tax consequences
of any Claim for accrued but unpaid interest, see IX.B.1(c) (“Payment of Accrued Interest”)
above.

                 In the event additional distributions are received by a holder after the Effective
Date, the imputed interest provisions of the Tax Code may apply to treat a portion of such
additional distributions as imputed interest. In addition, it is possible that any loss and a portion
of any gain realized by a holder may be deferred until all Disputed General Unsecured Claims
are resolved (i.e., until the holder has received its final distribution). Holders are urged to
consult their tax advisors regarding the possibility for deferral, and the potential application (and
ability to elect out) of the “installment method” of reporting any gain realized in respect of their
Claims.



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                Where gain or loss is recognized by a holder in respect of its Allowed General
Unsecured Claim, the character of such gain or loss as long-term or short-term capital gain or
loss or as ordinary income or loss will be determined by a number of factors, including, among
others, the tax status of the holder, whether the Claim constitutes a capital asset in the hands of
the holder and how long it has been held, whether the Claim was acquired at a market discount,
and whether and to what extent the holder previously had claimed a bad debt deduction.

         3.        Information Reporting and Backup Withholding

                Payments of interest (including accruals of OID) or dividends and any other
reportable payments, possibly including amounts received pursuant to the Reorganization Plan
and payments of proceeds from the sale, retirement or other disposition of the exchange
consideration, may be subject to “backup withholding” (currently at a rate of twenty-eight
percent (28%)) if a recipient of those payments fails to furnish to the payor certain identifying
information and, in some cases, a certification that the recipient is not subject to backup
withholding. Backup withholding is not an additional tax. Any amounts deducted and withheld
generally should be allowed as a credit against that recipient’s U.S. federal income tax, provided
that appropriate proof is timely provided under rules established by the IRS. Furthermore,
certain penalties may be imposed by the IRS on a recipient of payments who is required to
supply information but who does not do so in the proper manner. Backup withholding generally
should not apply with respect to payments made to certain exempt recipients, such as
corporations and financial institutions. Information may also be required to be provided to the
IRS concerning payments, unless an exemption applies. You should consult your own tax
advisor regarding your qualification for exemption from backup withholding and information
reporting and the procedures for obtaining such an exemption.

                Treasury regulations generally require disclosure by a taxpayer on its U.S. federal
income tax return of certain types of transactions in which the taxpayer participated, including,
among other types of transactions, certain transactions that result in the taxpayer’s claiming a
loss in excess of certain thresholds. You are urged to consult your own tax advisor regarding
these regulations and whether the contemplated transactions under the Reorganization Plan
would be subject to these regulations and require disclosure on your tax return.

   THE FOREGOING SUMMARY HAS BEEN PROVIDED FOR INFORMATIONAL
  PURPOSES ONLY. ALL HOLDERS OF CLAIMS RECEIVING A DISTRIBUTION
  UNDER THE REORGANIZATION PLAN ARE URGED TO CONSULT THEIR TAX
  ADVISORS CONCERNING THE U.S. FEDERAL, STATE, LOCAL AND FOREIGN
   TAX CONSEQUENCES APPLICABLE UNDER THE REORGANIZATION PLAN.




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                                                  X.

                      CONFIRMATION OF THE REORGANIZATION PLAN

A.       CONFIRMATION HEARING

               Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after
appropriate notice, to hold a hearing on confirmation of a chapter 11 plan. The Bankruptcy
Court has scheduled the Confirmation Hearing to commence on June 28, 2013 at 10:00 a.m.
(Eastern Time). The Confirmation Hearing may be adjourned from time-to-time by the
Reorganization Plan Debtors or the Bankruptcy Court without further notice except for an
announcement of the adjourned date made at the Confirmation Hearing or any subsequent
adjourned Confirmation Hearing.

B.       OBJECTIONS

                Section 1128 of the Bankruptcy Code provides that any party in interest may
object to the confirmation of a plan. Objections to confirmation of the Reorganization Plan are
governed by Bankruptcy Rule 9014.

                Any objection to confirmation of the Reorganization Plan must be in writing,
must conform to the Bankruptcy Rules and the Local Bankruptcy Rules, must set forth the name
of the objector, the nature and amount of Claims or Interests held or asserted by the objector
against the Reorganization Plan Debtors’ estate or property, the basis for the objection and the
specific grounds therefor, and must be filed with the Bankruptcy Court, with a copy to the
chambers of The Honorable Robert D. Drain, United States Bankruptcy Court for the Southern
District of New York, 300 Quarropas Street, Room 118, White Plains, New York 10601,
together with proof of service thereof, and served upon the parties listed below so as to be
received no later than the Objection Deadline of June 14, 2013 at 4:00 p.m. (Eastern Time):




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      Reorganization Plan Debtors                        Counsel to the Reorganization
                                                         Plan Debtors
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                                                         Attn: Marcia L. Goldstein, Esq.
                                                               Joseph H. Smolinsky, Esq.
      Office of the U.S. Trustee                         Counsel to the Creditors Committee

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      New York, New York 10004                           P.C.
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                                                         New York, New York 10169
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            Nicole L. Greenblatt, Esq.                         Blair M. Tyson, Esq.
                                                               Michael E. Comerford, Esq.


        UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED
     AND FILED, IT MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

C.       REQUIREMENTS FOR CONFIRMATION OF THE REORGANIZATION PLAN

         1.        Requirements of Section 1129(a) of the Bankruptcy Code

                   (a)       General Requirements

                At the confirmation hearing, the Bankruptcy Court will determine whether the
following confirmation requirements specified in section 1129 of the Bankruptcy Code have
been satisfied:

                             (i)    The Reorganization Plan complies with the applicable provisions
                                    of the Bankruptcy Code.




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                             (ii)      The Reorganization Plan Debtors have complied with the
                                       applicable provisions of the Bankruptcy Code.

                             (iii)     The Reorganization Plan has been proposed in good faith and not
                                       by any means proscribed by law.

                             (iv)      Any payment made or promised by the Reorganization Plan
                                       Debtors or by a Person issuing securities or acquiring property
                                       under the Reorganization Plan for services or for costs and
                                       expenses in, or in connection with, the Chapter 11 Cases, or in
                                       connection with the Reorganization Plan and incident to the
                                       Chapter 11 Cases, has been disclosed to the Bankruptcy Court, and
                                       any such payment made before confirmation of the Reorganization
                                       Plan is reasonable, or if such payment is to be fixed after
                                       confirmation of the Reorganization Plan, such payment is subject
                                       to the approval of the Bankruptcy Court as reasonable.

                             (v)       The Reorganization Plan Debtors have disclosed the identity and
                                       affiliations of any individual proposed to serve, after confirmation
                                       of the Reorganization Plan, as a Liquidating Trustee under the
                                       Reorganization Plan, and the appointment to, or continuance in,
                                       such office of such individual is consistent with the interests of
                                       creditors and equity holders and with public policy.

                             (vi)      With respect to each Class of Claims or Interests, each holder of an
                                       Impaired Claim or Impaired Interest either has accepted the
                                       Reorganization Plan or will receive or retain under the
                                       Reorganization Plan on account of such holder’s Claim or Interest,
                                       property of a value, as of the Effective Date, that is not less than
                                       the amount such holder would receive or retain if the
                                       Reorganization Plan Debtors were liquidated on the Effective Date
                                       under chapter 7 of the Bankruptcy Code. See discussion of “Best
                                       Interests Test” below.

                             (vii)     Except to the extent the Reorganization Plan meets the
                                       requirements of section 1129(b) of the Bankruptcy Code
                                       (discussed below), each class of Claims or Interests has either
                                       accepted the Reorganization Plan or is not impaired under the
                                       Reorganization Plan.

                             (viii)    Except to the extent that the holder of a particular claim has agreed
                                       to a different treatment of such claim, the Reorganization Plan
                                       provides that administrative expenses and priority claims will be
                                       paid in full on the Effective Date.

                             (ix)      At least one class of impaired claims has accepted the
                                       Reorganization Plan, determined without including any acceptance



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                                      of the Reorganization Plan by any insider holding a claim in such
                                      class.

                             (x)      Confirmation of the Reorganization Plan is not likely to be
                                      followed by the need for further financial reorganization of the
                                      Reorganization Plan Debtors or any successor to the
                                      Reorganization Plan Debtors under the Reorganization Plan, unless
                                      such liquidation or reorganization is proposed in the
                                      Reorganization Plan. See discussion of “Feasibility” below.

                             (xi)     All fees payable under section 1930 of title 28, as determined by
                                      the Bankruptcy Court at the hearing on confirmation of the
                                      applicable Plan, have been paid or the applicable Plan provides for
                                      the payment of all such fees on the Effective Date of the applicable
                                      Plan.

                             (xii)    The Reorganization Plan Debtors have not obligated themselves to
                                      provide such benefits, if any, for the continuation, after the
                                      Effective Date, of payment of all “retiree benefits” as defined in
                                      Section 1114 of the Bankruptcy Code.

                   (b)       Best Interests Test

                The Bankruptcy Code requires that each holder of an impaired Claim or Interest
either (1) accepts the Reorganization Plan or (2) receives or retains under the Reorganization
Plan property of a value, as of the Effective Date, that is not less than the value such holder
would receive or retain if the Reorganization Plan Debtors were liquidated under chapter 7 of the
Bankruptcy Code on the Effective Date.

                 The first step in meeting this test is to determine the dollar amount that would be
generated from the liquidation of the Reorganization Plan Debtors’ assets and properties in a
hypothetical chapter 7 liquidation. The gross amount of Cash available would be the sum of the
proceeds from the disposition of the Reorganization Plan Debtors’ assets and the Cash held by
the Reorganization Plan Debtors at the time of the commencement of the chapter 7 case. The
next step is to reduce that total by the amount of any claims secured by such assets, the costs and
expenses of the liquidation, and such additional administrative expenses and priority claims that
may result from the termination of the Reorganization Plan Debtors’ business and the use of
chapter 7 for the purposes of liquidation. Any remaining net Cash would be allocated to
creditors and shareholders in strict priority in accordance with section 726 of the Bankruptcy
Code.

                The Reorganization Plan Debtors’ costs of liquidation under chapter 7 would
include the fees payable to chapter 7 trustees in bankruptcy, as well as those that might be
payable to attorneys and other professionals that such trustees may engage, plus any unpaid
expenses incurred by the Reorganization Plan Debtors during the Chapter 11 Cases and allowed
in the chapter 7 cases.




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               After consideration of the effects that a chapter 7 liquidation would have on the
ultimate proceeds available for distribution to creditors, the Reorganization Plan Debtors have
determined that confirmation of the Reorganization Plan will provide each creditor and
shareholder with a recovery that is not less than it would receive pursuant to a liquidation of the
Reorganization Plan Debtors under chapter 7 of the Bankruptcy Code. The Reorganization Plan
Debtors’ Liquidation Analysis is attached hereto as Exhibit D. Duff & Phelps prepared the
Liquidation Analysis, which incorporates certain inputs from FTI relating to the Reorganization
Plan Debtors’ international businesses. The Liquidation Analysis shows that in a liquidation of
the Reorganization Plan Debtors under chapter 7, there would be no value available to general
unsecured creditors.

               The Liquidation Analysis is a comparison of (1) the estimated recoveries for
creditors and equity holders of the Reorganization Plan Debtors that may result from the
Reorganization Plan and (2) an estimate of the recoveries that may result from a
hypothetical chapter 7 liquidation. The Liquidation Analysis is based upon a number of
significant assumptions which are described therein. The Liquidation Analysis does not
purport to be a valuation of the Reorganization Plan Debtors’ assets and is not necessarily
indicative of the values that may be realized pursuant to the Reorganization Plan or in an
actual liquidation conducted under chapter 7 of the Bankruptcy Code.

                   (c)       Feasibility

                Section 1129(a)(11) of the Bankruptcy Code provides that a chapter 11 plan may
be confirmed only if the Bankruptcy Court finds that the Reorganization Plan is feasible. A
feasible plan is one which will not lead to a need for further reorganization or liquidation of the
debtor. Since the Reorganization Plan provides for the liquidation of the Reorganization Plan
Debtors, the Bankruptcy Court will find that the Reorganization Plan is feasible if it determines
that the Reorganization Plan Debtors will be able to satisfy the conditions precedent to the
Effective Date and otherwise have sufficient funds to meet its post-Effective Date obligations to
pay for the costs of administering and fully consummating the Reorganization Plan and closing
the Chapter 11 Cases.

              The Reorganization Plan Debtors and the Creditors Committee believe that the
Reorganization Plan satisfies the financial feasibility requirement imposed by the Bankruptcy
Code because the transactions contemplated therein have maximized the value of the
Reorganization Plan Debtors’ estates, increased the liquid assets available for the satisfaction of
Claims, and will enable the distributions contemplated in the Reorganization Plan.

         2.        Requirements of Section 1129(b) of the Bankruptcy Code

              The Bankruptcy Court may confirm the Reorganization Plan over the rejection or
deemed rejection of the Reorganization Plan by a class of claims or equity interests if the
Reorganization Plan “does not discriminate unfairly” and is “fair and equitable” with respect to
such class.




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                   (a)       No Unfair Discrimination

               This test applies to classes of claims or equity interests that are of equal priority
and are receiving different treatment under a plan. The test does not require that the treatment be
the same or equivalent, but that such treatment be “fair.”

                The Reorganization Plan Debtors and the Creditors Committee believe that under
the Reorganization Plan all impaired classes of Claims and Interests are treated in a manner that
is fair and consistent with the treatment of other classes of Claims and Interests having the same
priority. Accordingly, the Reorganization Plan Debtors and the Creditors Committee believe the
Reorganization Plan does not discriminate unfairly as to any impaired class of Claims or
Interests.

                   (b)       Fair and Equitable Test

                This test applies to classes of different priority and status (e.g., secured versus
unsecured) and includes the general requirement that no class of claims receive more than 100%
of the allowed amount of the claims in such class. The test sets forth different standards for what
is fair and equitable, depending on the type of claims or interests in such class. In order to
demonstrate that a plan is fair and equitable, the Reorganization Plan proponent must
demonstrate:

                     (i)     Secured Creditors. With respect to a class of secured claims, the
Reorganization Plan provides: (1) that the holders of secured claims retain their liens securing
such claims, whether the property subject to such liens is retained by the debtor or transferred to
another entity, to the extent of the allowed amount of such claims, and receive on account of
such claim deferred Cash payments totaling at least the allowed amount of such claim, of a
value, as of the effective date of the Reorganization Plan, of at least the value of such holder’s
interest in the estate’s interest in such property, or (2) for the sale, subject to section 363 of the
Bankruptcy Code, of any property that is subject to the liens securing such claims, free and clear
of such liens, with such liens to attach to the proceeds of such sale, and the treatment of such
liens on proceeds under clause (1) or (3) of this paragraph, or (3) that the holders of secured
claims receive the “indubitable equivalent” of their allowed secured claim.

                   (ii)    Unsecured Creditors. With respect to a class of unsecured claims:
(1) the Reorganization Plan provides that each holder of a claim of such class receive or retain on
account of such claim property of a value, as of the effective date of the Reorganization Plan,
equal to the allowed amount of such claim, or (b) the holder of any claim or interest that is junior
to the claims of such class will not receive or retain under the Reorganization Plan on account of
such junior claim or interest any property, except that in a case in which the debtor is an
individual, the debtor may retain property included in the estate under section 1115, subject to
the requirements of subsection (a)(14) of section 1129.

                    (iii) Holders of Equity Interests. With respect to a class of equity
interests: (1) the Reorganization Plan provides that each holder of an equity interest receive or
retain on account of such interest property of a value, as of the effective date of the
Reorganization Plan, equal to the greatest of the allowed amount of any fixed liquidation



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preference to which such holder is entitled, any fixed redemption price to which such holder is
entitled, or the value of such interest, or (2) the holder of any interest that is junior to the interests
of the class of equity interests will not receive or retain under the Reorganization Plan on account
of such junior interest any property.

              The Reorganization Plan Debtors and the Creditors Committee believe the
Reorganization Plan will satisfy the “fair and equitable” requirement.

                   (c)       Application to the Reorganization Plan

                 As to any Class that may reject the Reorganization Plan, the Reorganization Plan
Debtors believe the Reorganization Plan will satisfy both the “no unfair discrimination”
requirement and the “fair and equitable” requirements, because, as to any such dissenting Class,
there is no Class of equal priority receiving more favorable treatment, and such Class will either
be paid in full, or no Class that is junior to such a dissenting Class will receive or retain any
property on account of the Claims or Interests in such Class.

         3.        Alternative to Confirmation and Consummation of the Reorganization Plan

               If the Reorganization Plan is not confirmed and consummated, the alternatives to
the Reorganization Plan include (1) liquidation of the Reorganization Plan Debtors under chapter
7 of the Bankruptcy Code and (2) an alternative chapter 11 plan.

                   (a)       Liquidation Under Chapter 7

                If no plan can be confirmed, the Reorganization Plan Debtors’ Chapter 11 Cases
may be converted to cases under chapter 7 of the Bankruptcy Code, pursuant to which a trustee
would be appointed to liquidate the assets of the Reorganization Plan Debtors for distribution in
accordance with the priorities established by the Bankruptcy Code. Section X.C.1(b) (Best
Interests Test) of this Disclosure Statement discusses the effects that a chapter 7 liquidation
would have on the recovery of holders of claims and equity interests and the Reorganization Plan
Debtors’ liquidation analysis. The Reorganization Plan Debtors and the Creditors Committee
believe that liquidation under chapter 7 could result in smaller distributions being made to all
creditors and equity holders than those provided for in the Reorganization Plan.

                   (b)       Alternative Plan

                If the Reorganization Plan is not confirmed, the Reorganization Plan Debtors (or
if the Reorganization Plan Debtors’ exclusive period in which to file a plan has expired, any
other party in interest) could attempt to formulate a different chapter 11 plan. With respect to an
alternative plan, the Reorganization Plan Debtors have explored various alternatives in
connection with the formulation and development of the Reorganization Plan. The
Reorganization Plan Debtors and the Creditors Committee believe that the Reorganization Plan,
as described herein, enables creditors and equity holders to realize the most value under the
circumstances.




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         4.        Nonconsensual Confirmation

               If any impaired Class of Claims entitled to vote will not accept the Reorganization
Plan by the requisite statutory majority provided in section 1126(c) of the Bankruptcy Code, the
Reorganization Plan Debtors reserve the right to amend the Reorganization Plan in accordance
with section 12.4 of the Reorganization Plan or undertake to have the Bankruptcy Court confirm
the Reorganization Plan under section 1129(b) of the Bankruptcy Code or both. With respect to
impaired Classes of Claims that are deemed to reject the Reorganization Plan, the Reorganization
Plan Debtors will request that the Bankruptcy Court confirm the Reorganization Plan pursuant to
section 1129(b) of the Bankruptcy Code.

               The Reorganization Plan Debtors and the Creditors Committee believe the that
the treatment afforded to the holders of Allowed Claims in Class 2 (Other Secured Claims),
Class 3 (Senior Noteholder Secured Claims), Class 4 (General Unsecured Claims) and Class 5
(Debtor Intercompany Claims) under the Reorganization Plan meet the requirements of section
1129(b) of the Bankruptcy Code and otherwise satisfies all other requirements necessary for
confirmation by the Bankruptcy Court.

                 With respect to Claims in Class 4 (General Unsecured Claims), the
Reorganization Plan Debtors and the Creditors Committee believe the treatment afforded to
holders of Claims in Class 4 under the Reorganization Plan meets the requirements of section
1129(b). The Reorganization Plan provides for a Pro Rata distribution to holders of allowed
General Unsecured Claims if their applicable sub-class votes to accept the Reorganization Plan
of any Reorganization Plan Debtor, subject to the conditions of the Reorganization Plan. The
Reorganization Plan Debtors believe this amount reasonably represents or exceeds the value the
Reorganization Plan Debtors could hope to realize for any unencumbered assets, such assets
consisting entirely of RDA’s one-third (1/3) equity interests in the Reorganization Plan Debtors’
first-tier foreign subsidiaries. The Reorganization Plan Debtors believe there is little to no
realizable value associated with the unencumbered one-third (1/3) equity interest in their direct
and indirect international subsidiaries that would be available to general unsecured creditors, due
to, among other reasons: (1) as set forth above in Section IV.D, the inability, after a lengthy and
comprehensive marketing process, to identify any parties willing to ascribe significant value for
the Reorganization Plan Debtors’ international operations as a going-concern; (2) the lack of any
meaningful management or personnel infrastructure to oversee and operate the Reorganization
Plan Debtors’ international operations as an independent going-concern; (3) the complexities and
significant costs associated with the Reorganization Plan Debtors’ central services infrastructure
for their international operations; (4) the intercompany loans owed by the Reorganization Plan
Debtors’ international operations to the Reorganization Plan Debtors; (5) the declining
performance in many of the Reorganization Plan Debtors’ international markets; (6) the lack of
any other unencumbered assets available for distribution to general unsecured creditors on
account of their Claims; and (7) the potential superpriority administrative expense claims granted
to the Reorganization Plan Debtors’ prepetition senior lenders, pursuant to section 507(b) of the
Bankruptcy Code, under the DIP Order to adequately protect the prepetition lenders from any
diminution in the value of their collateral. Accordingly, the Reorganization Plan Debtors and the
Creditors Committee believe the Reorganization Plan is fair and equitable with respect to the
holders of Class 4 General Unsecured Creditors.




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              With respect to Claims in any other impaired Class of Claims entitled to vote on
the Reorganization Plan, the Reorganization Plan Debtors and the Creditors Committee believe
the Reorganization Plan does not discriminate unfairly, and is fair and equitable, with respect to
each such Class of Claims and, therefore, the treatment afforded such claimholders under the
Reorganization Plan meets the requirements of section 1129(b) of the Bankruptcy Code.




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                                                   XI.

                                            CONCLUSION

                The Reorganization Plan Debtors and the Creditors Committee believe that
confirmation and implementation of the Reorganization Plan is in the best interests of all
creditors, and urge holders of impaired Claims in Class 2 (Other Secured Claims), Class 3
(Senior Noteholder Secured Claims), Class 4 (General Unsecured Claims), and Class 5
(Intercompany Claims) to vote to accept the Reorganization Plan and to evidence such
acceptance by returning their ballots so that they will be received no later than the Voting
Deadline, June 14, 2013 at 4:00 p.m. (Eastern Time).

Dated: May 7, 2013
       New York, New York

                                          Respectfully submitted,



                                          By:
                                                 Name: Robert E. Guth
                                                 Title: President and Chief Executive Officer




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                                     Exhibit A

                                Reorganization Plan
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                            IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re                                                          )     Chapter 11
                                                               )
RDA Holding Co., et al.,1                                      )     Case No. 13-22233 (RDD)
                                                               )
                             Debtors.                          )     Jointly Administered
                                                               )

                SECOND AMENDED JOINT PLAN OF REORGANIZATION OF
            CERTAIN DEBTORS UNDER CHAPTER 11 OF THE BANKRUPTCY CODE



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                                                            Attorneys for Debtors and
                                                            Debtors in Possession



Dated: May 7, 2013
       New York, New York




1
  The Debtors in these cases, along with the last four digits of the federal tax identification number for each of the
Debtors, are RDA Holding Co. (7045); The Reader’s Digest Association, Inc. (6769); Ardee Music Publishing, Inc.
(2291); Direct Entertainment Media Group, Inc. (2306); Pegasus Sales, Inc. (3259); Pleasantville Music Publishing,
Inc. (2289); R.D. Manufacturing Corporation (0230); Reiman Manufacturing, LLC (8760); RD Publications, Inc.
(9115); Home Service Publications, Inc. (9525); RD Large Edition, Inc. (1489); RDA Sub Co. (f/k/a Books Are Fun,
Ltd.) (0501); Reader’s Digest Children’s Publishing, Inc. (6326); Reader’s Digest Consumer Services, Inc. (8469);
Reader’s Digest Entertainment, Inc. (4742); Reader’s Digest Financial Services, Inc. (7291); Reader’s Digest
Latinoamerica S.A. (5836); WAPLA, LLC (9272); Reader’s Digest Sales and Services, Inc. (2377); Taste of Home
Media Group, LLC (1190); Reiman Media Group, LLC (1192); Taste of Home Productions, Inc. (1193); World
Wide Country Tours, Inc. (1189); W.A. Publications, LLC (0229); WRC Media Inc. (6536); RDCL, Inc. (f/k/a
CompassLearning, Inc.) (6535); RDA Digital, LLC (5603); RDWR, Inc. (f/k/a Weekly Reader Corporation) (3780);
Haven Home Media, LLC (f/k/a Reader’s Digest Sub Nine, Inc.) (2727); Weekly Reader Custom Publishing, Inc.
(f/k/a Lifetime Learning Systems, Inc.) (3276); and World Almanac Education Group, Inc. (3781).



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                  Each of RDA Holding Co., The Reader’s Digest Association, Inc., Ardee Music
Publishing, Inc.; Pegasus Sales, Inc.; Pleasantville Music Publishing, Inc.; R.D. Manufacturing
Corporation; Reiman Manufacturing, LLC; RD Publications, Inc.; Home Service Publications, Inc.; RD
Large Edition, Inc.; RDA Sub Co. (f/k/a Books Are Fun, Ltd.); Reader’s Digest Children’s Publishing,
Inc.; Reader’s Digest Consumer Services, Inc.; Reader’s Digest Entertainment, Inc.; Reader’s Digest
Financial Services, Inc.; Reader’s Digest Latinoamerica, S.A.; WAPLA, LLC; Reader’s Digest Sales and
Services, Inc.; Taste of Home Media Group, LLC; Reiman Media Group, LLC; Taste of Home
Productions, Inc.; World Wide Country Tours, Inc.; W.A. Publications, LLC; WRC Media, Inc.; RDCL,
Inc. (f/k/a CompassLearning, Inc.); RDA Digital, LLC; RDWR, Inc. (f/k/a Weekly Reader Corporation);
Haven Home Media, LLC (f/k/a Reader’s Digest Sub Nine, Inc.); Weekly Reader Custom Publishing,
Inc. (f/k/a Lifetime Learning Systems, Inc.); and World Almanac Education Group, Inc. (collectively, the
“Reorganization Plan Debtors”) propose the following amended joint chapter 11 plan of reorganization
for each of the Reorganization Plan Debtors pursuant to section 1121(a) of the Bankruptcy Code.
Capitalized terms used herein shall have the meanings set forth in Section 1.A.

SECTION 1.         DEFINITIONS AND INTERPRETATION.

         A.        Definitions.

                 1.1.    2011 Financing Settlement means that certain settlement agreement among the
Reorganization Plan Debtors, the Creditors Committee, the Unsecured Administrative Agent, the 2011
Secured Administrative Agent, the Unsecured Lenders and the 2011 Secured Lenders whereby: (i) the
Unsecured Administrative Agent, on its own behalf and on behalf of the Unsecured Lenders, shall receive
the 2011 Unsecured Term Loan Claim in the total aggregate amount of $16,939,830.55 against Reader’s
Digest (which amount represents 1.67 times the amount of the outstanding principal and accrued but
unpaid interest under the Unsecured Term Loan), for distribution purposes only, and shall waive any and
all right to seek any further or additional distributions, on its own behalf or on behalf of the Unsecured
Lenders, pursuant to the Reorganization Plan or otherwise, (ii) the Unsecured Administrative Agent, on
its own behalf and on behalf of the Unsecured Lenders, shall receive the 2011 Unsecured Term Loan
Claim in the total aggregate amount of $1.00 against each of the other Reorganization Plan Debtors for
voting purposes only (and not for distribution purposes), (iii) the Unsecured Administrative Agent, the
Unsecured Lenders, the 2011 Secured Administrative Agent and the 2011 Secured Lenders shall receive
the exculpations contemplated herein and general releases by the Reorganization Plan Debtors, the other
Released Parties and, to the extent authorized by the Bankruptcy Court, the holders of Claims against, and
Interests in, the Reorganization Plan Debtors; and (iv) on the Effective Date or promptly thereafter
(following the approval of the Bankruptcy Court of all other elements of the 2011 Financing Settlement),
the 2011 Secured Administrative Agent shall withdraw the 2011 Secured Term Loan Claim.

                1.1.     2011 Secured Administrative Agent means Luxor Capital Group, LP in its
capacity as administrative agent under the 2011 Secured Loan.

                1.2.    2011 Secured Lenders means Luxor Capital Partners, LP, Point Lobos Master
Fund, L.P., Blackwell Partners LLC and each of the other lenders (including affiliates) from time to time
party to the 2011 Secured Loan as lenders thereunder.

               1.3.     2011 Secured Term Loan means that certain term loan credit and guarantee
agreement, dated as of August 12, 2011, among RDA Holding, Reader’s Digest, the other guarantors
named thereunder, the lenders party thereto, and Luxor Capital Group, LP, as administrative agent.




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                 1.4.     2011 Secured Term Loan Claim means any proof of Claim filed by the 2011
Secured Administrative Agent on its own behalf and on behalf of any 2011 Secured Lenders, on account
of Claims, if any, arising under or relating to the 2011 Secured Term Loan.

                1.5.     2012 Senior Credit Agreement means that certain Credit and Guarantee
Agreement, dated as of March 30, 2012, by and among Reader’s Digest, as borrower, RDA Holding and
each of the guarantors named therein, Wells Fargo Principal Lending, LLC, as issuing lender, each of the
other banks and lending institutions as lenders thereunder, and Wells Fargo Bank, National Association,
as administrative agent.

             1.6.     2012 Senior Credit Agreement Lenders means Wells Fargo Principal Lending,
LLC and each of the lenders from time to time party to the 2012 Senior Credit Agreement as lenders
thereunder.

               1.7.    Acceptable Business Plan means that certain revised business plan for the
Reorganization Plan Debtors or Reorganized Debtors, as applicable, acceptable to the Required
Consenting Secured Parties.

                1.8.     Administrative Agent means Wells Fargo Bank, National Association in its
capacity as administrative agent under the 2012 Senior Credit Agreement.

                1.9.    Administrative Expense Claim means any Claim for costs and expenses of
administration during the Chapter 11 Cases pursuant to sections 328, 330, 363, 364(c)(1), 365, 503(b) or
507(a)(2) of the Bankruptcy Code, including, (a) the actual and necessary costs and expenses incurred
after the Commencement Date and through the Effective Date of preserving the Estates and operating the
businesses of the Reorganization Plan Debtors (such as wages, salaries or commissions for services and
payments for good and other services and leased premises); (b) Fee Claims; (c) DIP Claims; (d)
Restructuring Expenses; and (e) all fees and charges assessed against the Estates pursuant to section 1911
through 1930 of chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1-1401.

                 1.10. Allowed means, with reference to any Claim or Interest, (a) any Claim or Interest
arising on or before the Effective Date (i) as to which no objection to allowance has been interposed in
accordance with Section 7.2 hereof, or (ii) as to which any objection has been determined by a Final
Order to the extent such objection is determined in favor of the respective holder, (b) any Claim or
Interest as to which the liability of the Reorganization Plan Debtors and the amount thereof are
determined by a Final Order of a court of competent jurisdiction other than the Bankruptcy Court or (c)
any Claim or Interest expressly allowed hereunder; provided, however, that notwithstanding the
foregoing, the Reorganized Debtors shall retain all claims and defenses with respect to Allowed Claims
that are Reinstated or otherwise Unimpaired pursuant to the Reorganization Plan.

                1.11. Amended Organizational Documents means the forms of certification of
incorporation, certificate of formation, limited liability company agreement, or other forms of
organizational documents and bylaws for the Reorganized Debtors reasonably satisfactory to the
Reorganization Plan Debtors and the Required Consenting Secured Parties. To the extent such Amended
Organization Documents reflect material changes to the Reorganizational Plan Debtors’ existing forms of
organization documents and by laws, substantially final forms of such Amended Organization Documents
will be included in the Plan Supplement.

                1.12. Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101, et
seq., as amended from time to time, as applicable to the Chapter 11 Cases.

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                 1.13. Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of New York having jurisdiction over the Chapter 11 Cases and, to the extent of any reference
made under section 157 of title 28 of the United States Code, the unit of such District Court having
jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United States Code.

               1.14. Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United States Code,
as amended from time to time, applicable to the Chapter 11 Cases, and any Local Rules of the Bankruptcy
Court.

               1.15. Benefit Plans means all benefit plans, policies, and programs sponsored by the
Reorganization Plan Debtors, including all savings plans and health and welfare plans.

                 1.16. Business Day means any day other than a Saturday, a Sunday or any other day on
which banking institutions in New York, New York are required or authorized to close by law or
executive order.

                   1.17.    Cash means legal tender of the United States of America.

                 1.18. Causes of Action means any action, claim, cause of action, controversy, demand,
right, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, offset,
power, privilege, license and franchise of any kind or character whatsoever, known, unknown, contingent
or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
or undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on, or
after the Commencement Date, in contract or in tort, in law or in equity or pursuant to any other theory of
law. Cause of Action also includes: (a) any right of setoff, counterclaim or recoupment and any claim for
breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to Claims or
Interests; (c) any claim pursuant to sections 362 or chapter 5 of the Bankruptcy Code; (d) any claim or
defense including fraud, mistake, duress and usury and any other defenses set forth in section 558 of the
Bankruptcy Code; and (e) any state law fraudulent transfer claim.

               1.19. Chapter 11 Cases means the jointly administered cases under chapter 11 of the
Bankruptcy Code commenced by the Reorganization Plan Debtors on February 17, 2013, and continuing
immediately thereafter, in the Bankruptcy Court and styled In re RDA Holding Co., et. al., Case No. 13-
22233 (RDD).

                   1.20.    Claim has the meaning set forth in section 101(5) of the Bankruptcy Code.

                  1.21. Claims Oversight Committee means a committee of one or more members
approved by the Creditors Committee to represent the interests of holders of General Unsecured Claims in
connection with the claims oversight procedures set forth in Section 7.9 herein, which committee shall be
entitled to retain, without further order of the Bankruptcy Court, legal counsel or other professionals if
necessary, including professionals retained in the Chapter 11 Cases; provided, however, that any fees,
costs and expenses incurred by the Claims Oversight Committee or their professionals in connection with
the claims oversight procedures set forth in Section 7.9 herein shall be paid solely from, and limited to,
the Claims Oversight Committee Reserve.

               1.22. Claims Oversight Committee Reserve means $300,000, or such other amount as
agreed upon by the Reorganized Debtors, the Claims Oversight Committee and the Consenting Secured
Noteholders prior to the Initial Distribution Date, funded solely from the GUC Distribution and RDA
GUC Distribution, with the GUC Distribution funding 500/4,375th of the amount and the RDA GUC
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Distribution funding 3,875/4,375th of the amount, and allocated to the Claims Oversight Committee in an
amount determined by the Creditors Committee or the Claims Oversight Committee to satisfy the
reasonable costs and expenses of the Claims Oversight Committee and their professionals incurred in
connection with the claims oversight procedures set forth in Section 7.9 herein. Any Cash that is reserved
but not used for the costs and expenses of the Claims Oversight Committee shall be returned to the GUC
Distribution and RDA GUC Distribution in the same ratio as the initial funding and distributed to holders
of Allowed General Unsecured Claims in accordance with Section 4.4 herein.

                1.23. Class means any group of Claims or Interests classified by the Reorganization
Plan pursuant to section 1122(a)(1) of the Bankruptcy Code, which shall include sub-classes for Class 4
General Unsecured Claims against each of the Reorganization Plan Debtors.

               1.24. Collateral Agent means Wilmington Trust, National Association (as successor to
Wilmington Trust FSB ) in its capacity as collateral agent under the Indenture, the 2012 Senior Credit
Agreement and the related Security Agreement.

                  1.25. Commencement Date means the date on which each of the respective Debtors
filed its voluntary petition for reorganization relief under chapter 11 of the Bankruptcy Code.

               1.26.        Confirmation means the entry on the docket of the Chapter 11 Cases of the
Confirmation Order.

                1.27. Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order.

                1.28. Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding confirmation of the Reorganization Plan, as such hearing may be adjourned or continued from
time to time.

                 1.29. Confirmation Order means the order of the Bankruptcy Court confirming the
Reorganization Plan pursuant to section 1129 of the Bankruptcy Code, which shall be in form and
substance reasonably satisfactory to the Reorganization Plan Debtors and the Required Consenting
Secured Parties.

                1.30. Consenting Lender means Wells Fargo Principal Lending, LLC, as issuing
lender and lender under the 2012 Senior Credit Agreement and a secured noteholder under the Indenture.

                 1.31. Consenting Secured Noteholders means those certain holders of Senior Notes
party to the Restructuring Support Agreement.

               1.32.        Consummation means the occurrence of the Effective Date for the
Reorganization Plan.

                1.33. Creditors Committee means the official committee of unsecured creditors
appointed in the Chapter 11 Cases.

                 1.34. Cure means the payment of Cash by the Reorganization Plan Debtors, or the
distribution of other property (as the parties may agree or the Bankruptcy Court may order), as necessary
to (i) cure a monetary default by the Reorganization Plan Debtors in accordance with the terms of an
executory contract or unexpired lease of the Reorganization Plan Debtors and (ii) permit the


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Reorganization Plan Debtors to assume such executory contract or unexpired lease under section 365(a)
of the Bankruptcy Code.

                   1.35.    Debtor Affiliates means the Debtors, other than RDA Holding.

                1.36. Debtors means RDA Holding, Reader’s Digest, Ardee Music Publishing, Inc.;
Direct Entertainment Media Group, Inc.; Pegasus Sales, Inc.; Pleasantville Music Publishing, Inc.; R.D.
Manufacturing Corporation; Reiman Manufacturing, LLC; RD Publications, Inc.; Home Service
Publications, Inc.; RD Large Edition, Inc.; RDA Sub Co. (f/k/a Books Are Fun, Ltd.); Reader’s Digest
Children’s Publishing, Inc.; Reader’s Digest Consumer Services, Inc.; Reader’s Digest Entertainment,
Inc.; Reader’s Digest Financial Services, Inc.; Reader’s Digest Latinoamerica, S.A.; WAPLA, LLC;
Reader’s Digest Sales and Services, Inc.; Taste of Home Media Group, LLC; Reiman Media Group, LLC;
Taste of Home Productions, Inc.; World Wide Country Tours, Inc.; W.A. Publications, LLC; WRC
Media, Inc.; RDCL, Inc. (f/k/a Compasslearning, Inc.); RDA Digital, LLC; RDWR, Inc. (f/k/a Weekly
Reader Corporation); Haven Home Media, LLC (f/k/a Reader’s Digest Sub Nine, Inc.); Weekly Reader
Custom Publishing, Inc. (f/k/a Lifetime Learning Systems, Inc.); and World Almanac Education Group,
Inc.

                1.37. Debtors in Possession means the Debtors in their capacity as debtors in
possession in the Chapter 11 Cases pursuant to sections 1101, 1107(a) and 1108 of the Bankruptcy Code.

                 1.38. Definitive Documents means the documents (including any related orders,
agreements, instruments, schedules or exhibits) that are contemplated herein and that are otherwise
necessary or desirable to implement, or otherwise relate to the restructuring contemplated in the
Restructuring Support Agreement, the Reorganization Plan (including the Plan Supplement), any motion
seeking the approval thereof, the Confirmation Order, and definitive documentation relating to the DIP
Facility, the use of cash collateral and the Exit Financing, Amended Organizational Documents, advisory
or management services agreements, shareholder and member related agreements or other related
documents, each of which shall contain terms and conditions consistent in all material respects with this
Reorganization Plan and shall otherwise be reasonably satisfactory in all respects to the Reorganization
Plan Debtors and the Required Consenting Secured Parties.

                   1.39.    DEMG means Direct Entertainment Media Group, Inc.

               1.40. DEMG Intercompany Claims means any Claims against a Reorganization Plan
Debtor held by DEMG.

                1.41. DIP Agent means Wilmington Trust, National Association, as administrative
agent for the DIP Lenders under the DIP Loan Agreement, as its permitted successor and assign.

               1.42. DIP Claim means a Claim of the DIP Lenders or DIP Agent arising under the
DIP Financing and the DIP Order.

                 1.43. DIP Commitment Letter means the commitment letter attached to the
Restructuring Support Agreement as Exhibit B (as may be amended, supplemented or modified from
time to time in accordance with the terms thereof).

                 1.44. DIP Facility means that certain consensual, priming, debtor in possession
financing facility in the amount of $104,141,267 consisting of the New Money Loans, the Roll-Up Loans
and the letters of credit outstanding under the 2012 Senior Credit Agreement and deemed issued
thereunder, on the terms and conditions set forth in the DIP Loan Agreement, as approved by the DIP
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Order; it being understood that any and all indemnification obligations under the 2012 Senior Credit
Agreement will survive as obligations under the DIP Facility and DIP Loan Agreement.

                1.45. DIP Lenders means the Issuing Lender, the Roll-Up Lender, and New Money
Lenders party to the DIP Loan Agreement.

                 1.46. DIP Loan Agreement means that certain credit and guarantee agreement, dated
as of February 22, 2013, as amended, supplemented, restated or otherwise modified, by and among,
Reader’s Digest, as borrower, RDA Holding and each of RDA Holding’s direct and indirect domestic
subsidiaries party thereto, as guarantors, the DIP Agent, Issuing Lender, the Roll-Up Lender and the New
Money Lenders.

               1.47. DIP Order means the interim and final order(s) of the Bankruptcy Court
authorizing, among other things, the Debtors to enter into and make borrowings under the DIP Loan
Agreement, and granting certain rights, protections and liens to and for the benefit of the DIP Lenders.

                   1.48.    DIP Term Sheet means the term sheet attached to the DIP Commitment Letter as
Annex 1.

                 1.49. Disbursing Agent means any entity (including any applicable Reorganization
Plan Debtor if it acts in such capacity) in its capacity as a disbursing agent under Section 6.3 hereof.

                1.50. Disclosure Statement means the Disclosure Statement for the Reorganization
Plan, in form and substance satisfactory to the Required Consenting Secured Parties, which is prepared
and distributed in accordance with sections 1125, 1126(b) and/or 1145 of the Bankruptcy Code,
Bankruptcy Rule 3018 and/or other applicable law.

                 1.51. Disclosure Statement Order means an order entered by the Bankruptcy Court
finding that the Disclosure Statement contains adequate information pursuant to section 1125 of the
Bankruptcy Code and otherwise in form and substance satisfactory to the Required Consenting Secured
Parties.

                  1.52. Disputed Claim means with respect to a Claim or Interest, any such Claim or
Interest (a) to the extent neither Allowed nor disallowed under the Reorganization Plan or a Final Order
nor deemed Allowed under section 502, 503 or 1111 of the Bankruptcy Code, or (b) for which a proof of
claim or interest for payment has been made, to the extent the Reorganization Plan Debtors or any party in
interest has interposed a timely objection or request for estimation before the Confirmation Date in
accordance with the Reorganization Plan, which objection or request for estimation has not been
withdrawn or determined by a Final Order.

                1.53. Distribution Date means a date or dates, including the Initial Distribution Date,
as determined by the Disbursing Agent in accordance with the terms of the Reorganization Plan, on which
the Disbursing Agent makes a distribution to holders of Allowed Claims.

                 1.54. Distribution Record Date means (i) for Class 3 Senior Noteholder Secured
Claims and Class 4 Senior Noteholder Deficiency Claims, the date the Confirmation Order is entered by
the Bankruptcy Court or such other date as may be later agreed upon and set forth in the Confirmation
Order, and (ii) for all other Allowed Claims, the Effective Date of the Reorganization Plan.




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                1.55. Effective Date means the date on which all conditions to the effectiveness of the
Reorganization Plan set forth in Section 9 hereof have been satisfied or waived in accordance with the
terms of the Reorganization Plan.

                1.56. Employee Bonus Pool means the Cash bonus pool to be allocated after the
Effective Date by the Chief Executive Officer with the concurrence of the New Board.

               1.57. Estate or Estates means individually or collectively, the estate or estates of the
Reorganization Plan Debtors created under section 541 of the Bankruptcy Code.

                 1.58. Exculpated Parties means collectively: (a) the Reorganization Plan Debtors; (b)
the Creditors Committee; (c) the Administrative Agent, the Unsecured Administrative Agent, the 2011
Secured Administrative Agent and the Collateral Agent; (d) the 2012 Senior Credit Agreement Lenders;
(e) the other Secured Parties under and as defined in the Security Agreement; (f) the DIP Lenders; (g) the
Consenting Lender; (h) the DIP Agent; (i) the arrangers under each of the DIP Facility and the Exit
Financing; (j) the administrative agents, collateral agents, and lenders under the Exit Financing; (k) the
Consenting Secured Noteholders; (l) the Unsecured Lenders; (m) the 2011 Secured Lenders; and (n) with
respect to each of the foregoing entities in clauses (a) through (m), such entities’ predecessors, successors
and assigns, subsidiaries, affiliates, managed accounts or funds, current and former officers, directors,
principals, shareholders, members, partners, employees, agents, advisory board members, financial
advisors, attorneys, accountants, investment bankers, consultants, representatives, management
companies, fund advisors and other professionals, and such persons’ respective heirs, executors, estates,
servants and nominees, in each case in their capacity as such; provided, however, that any officer,
director, principal, shareholder, member, partner, employee, or agent of the Reorganization Plan Debtors
that is scheduled by the Reorganization Plan Debtors in the Plan Supplement and designated in such
schedule as a non-exculpated party shall not be an Exculpated Party for purposes of the Reorganization
Plan.

              1.59. Existing RDA Holding Interests means all Interests in RDA Holding, including
common stock, preferred stock and any options, warrants or rights to acquire any such Interests.

                   1.60.    Exit Financing means the First Out Exit Facilities and the Second Out Exit
Facility.

                1.61. Fee Claim means a Claim for professional services rendered or costs incurred on
or after the Commencement Date through the Effective Date by professional persons retained by the
Reorganization Plan Debtors or the Creditors Committee pursuant to sections 327, 328, 329, 330, 331,
503(b) or 1103 of the Bankruptcy Code in the Chapter 11 Cases.

                 1.62. Final Order means an order or judgment of a court of competent jurisdiction that
has been entered on the docket maintained by the clerk of such court, which has not been reversed,
vacated or stayed and as to which (a) the time to appeal, petition for certiorari, or move for a new trial,
reargument or rehearing has expired and as to which no appeal, petition for certiorari, or other
proceedings for a new trial, reargument or rehearing shall then be pending, or (b) if an appeal, writ of
certiorari, new trial, reargument or rehearing thereof has been sought, such order or judgment shall have
been affirmed by the highest court to which such order was appealed, or certiorari shall have been denied,
or a new trial, reargument or rehearing shall have been denied or resulted in no modification of such
order, and the time to take any further appeal, petition for certiorari or move for a new trial, reargument
or rehearing shall have expired; provided, however, that no order or judgment shall fail to be a “Final
Order” solely because of the possibility that a motion pursuant to section 502(j) or 1144 of the

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Bankruptcy Code or under Rule 60 of the Federal Rules of Civil Procedure or Bankruptcy Rule 9024 has
been or may be filed with respect to such order or judgment.

                 1.63. First Out Exit Term Loan means a first out, senior secured exit term loan, in an
amount equal to the aggregate amount of the Roll-Up Loans outstanding under the DIP Facility on the
Effective Date, in accordance with and subject to the terms and conditions contained in the First Out Exit
Term Sheet or otherwise on terms and conditions satisfactory to the Roll-Up Lender; it being understood
that any and all indemnification obligations under the DIP Facility and DIP Loan Agreement will survive
as obligations under the First Out Exit Term Loan.

                1.64. First Out Exit Letter of Credit Facility means the aggregate amount of all letters
of credit undrawn and outstanding under the DIP Loan Agreement as of the Effective Date, in accordance
with and subject to the terms and conditions contained in the First Out Exit Term Sheet or otherwise on
terms and conditions satisfactory to the Consenting Lender.

                1.65. First Out Exit Facilities means the first out, senior secured credit facility
comprising the First Out Exit Term Loan and the First Out Exit Letter of Credit Facility, in accordance
with and subject to the terms and conditions contained in the First Out Exit Term Sheet or otherwise on
terms and conditions satisfactory to the Consenting Lender.

                1.66. First Out Exit Term Sheet means the term sheet for the First Out Exit Term
Loan and First Out Exit Letter of Credit Facility attached to the DIP Commitment Letter as Annex 2.

                   1.67.    FTC means the United States Federal Trade Commission.

                1.68. FTC Action means that certain action styled Federal Trade Commission v.
Fitness Brands, Inc., et al., Case No. 12-23065-CMA (S.D. Fl. 2012).

               1.69. FTC Claims means any claims arising under or relating to the FTC Action and
the FTC Settlement Order or the subject matter therein.

               1.70. FTC Settlement Order means the Stipulated Final Judgment and Order for
Permanent Injunction and Other Equitable Relief Against Defendants Direct Holdings Americas, Inc., and
DEMG, and Relief Defendant Reader’s Digest, dated August 27, 2012, entered in the FTC Action.

                1.71. Fully Diluted Basis means on a fully diluted basis, after taking into account all
New Common Stock issued pursuant to the Restructuring, but excluding any New Common Stock issued
pursuant to the Management Incentive Program.

               1.72. General Unsecured Claim means any unsecured Claim against any
Reorganization Plan Debtor, other than a Plan Debtor Intercompany Claim, that is not entitled to priority
under the Bankruptcy Code or any order of the Bankruptcy Court, including without limitation, any FTC
Claims, the Unsecured Term Loan Claim, any Non-Debtor Intercompany Claims, any DEMG
Intercompany Claim, or any Senior Noteholder Deficiency Claim.

                 1.73. GUC Distribution means, subject to the conditions set forth in Section 4.4,
$500,000 to be funded from either the Reorganization Plan Debtors’ cash on hand or by the Consenting
Secured Noteholders on a Pro Rata basis and held in a segregated non-interest bearing account
maintained by the Reorganized Debtors, subject to reduction for the Claims Oversight Committee, and
distributed Pro Rata to the holders of any sub-class of Allowed Class 4 General Unsecured Claims that
vote to accept the Reorganization Plan.

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               1.74. Impaired means, with respect to a Claim, Interest or Class of Claims or Interests,
“impaired” within the meaning of section 1123(a)(4) and 1124 of the Bankruptcy Code.

                 1.75. Indenture means that certain Indenture, dated as of February 11, 2010 among RD
Escrow Corporation, Reader’s Digest, RDA Holding, and the subsidiary guarantors thereunder, the
Indenture Trustee, and Wilmington Trust, National Association (as successor to Wilmington Trust FSB),
as collateral agent.

                 1.76. Indenture Trustee means Wilmington Trust, National Association (as successor
by appointment to Wells Fargo Bank, National Association) in its capacity as the indenture trustee under
the Indenture, and its permitted successors and assigns.

                1.77. Indenture Trustee Charging Lien means any Lien or other priority in payment
to which the Indenture Trustees is entitled, pursuant to the Indentures, against distributions to be made to
Senior Noteholders for payment of any fees or expenses due to the Indenture Trustee under the Indenture.

               1.78. Indenture Trustee Fees means the reasonable compensation, fees, expenses,
disbursements and indemnity claims arising under the Indenture, including attorneys’ and agents’ fees,
expenses, and disbursements, incurred under the Indenture by the Indenture Trustee, whether prior to or
after the Commencement Date and whether prior to or after the Consummation of the Reorganization
Plan.

                 1.79. Initial Distribution means the first distribution that the Disbursing Agent makes
to holders of Allowed Claims.

                 1.80. Initial Distribution Date means the date occurring on or as soon as reasonably
practicable after the Effective Date, but in no event more than sixty (60) days after the Effective Date, on
which the Disbursing Agent makes the Initial Distribution to holders of Allowed Claims.

             1.81. Intercompany Interest means an Interest in a Reorganization Plan Debtor, other
than RDA Holding, held by another Reorganization Plan Debtor or an affiliate of a Reorganization Plan
Debtor.

                1.82. Interests means any equity security in a Reorganization Plan Debtor as defined in
section 101(16) of the Bankruptcy Code, including all common stock, preferred stock or other instruments
evidencing an ownership interest in any of the Reorganization Plan Debtors, whether or not transferable,
and any option, warrant or right, contractual or otherwise, to acquire any such interests in a
Reorganization Plan Debtor that existed immediately before the Effective Date.

                1.83. International Restructuring Transactions means those certain transactions with
respect to the Reorganization Plan Debtors’ direct and indirect foreign subsidiaries and affiliates to be
implemented on or after the Effective Date substantially as set forth in the Acceptable Business Plan.

               1.84. Issuing Lender means Wells Fargo Principal Lending, LLC, as issuing lender,
under the DIP Loan Agreement.

                   1.85.    Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

                1.86. Management Incentive Program means a post-emergence management
incentive program to be approved and implemented by the New Board upon consultation with the Chief
Executive Officer, on or after the Effective Date, under which [10%] of the New Common Stock on a

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Fully Diluted Basis and after giving effect to the Management Incentive Program shall be reserved for
issuance by the New Board to continuing employees of the Reorganization Plan Debtors and members of
the New Board, consistent with market terms.

                   1.87.    New Board means the board of directors and/or managers of Reorganized RDA
Holding.

              1.88. New Common Stock means the shares of common stock, par value $.001 per
share, of Reorganized RDA Holding authorized pursuant to the Certificate of Incorporation of
Reorganized RDA Holding as set forth in the Plan Supplement.

               1.89. New Money Loans means the new money loans in the principal amount of
$45,000,000 provided by the New Money Lenders under the DIP Loan Agreement.

               1.90. New Money Lenders means the lenders specified on Schedule 2.01 of the DIP
Loan Agreement and each other lender that shall become a party thereto from time to time, as NM Lender
under the DIP Loan Agreement.

               1.91. Non-Debtor Intercompany Claim means any prepetition Claim against a
Reorganization Plan Debtor held by one of the Debtors’ direct or indirect non-debtor affiliates or
subsidiaries.

                1.92. Non-Dischargeability Deadline means May 28, 2013 at 5:00 p.m. (Eastern
Time) as set pursuant to the Order Pursuant to 11 U.S.C. §§ 502(b)(9) and 105, Fed. R. Bankr. P. 2002,
3003(c)(3) and 4007(c), and Local Rule 3003-1 (i) Establishing Deadline for Filing Proofs of Claim, (ii)
Establishing Deadline for Filing Complaints to Determine Dischargeability of Debts and Procedures
Relating Thereto, and (iii) Approving Form and Manner of Notice Thereof dated March 25, 2013 (ECF
No. 165), by which date complaints to object to the discharge of any Claims against any of the
Reorganization Plan Debtors must be filed by all parties in interest, including without limitation,
governmental entities, and failure to file such complaints prior to the expiration of the Non-
Dischargeability Deadline will result in such Claims being forever discharged against the Reorganization
Plan Debtors.

               1.93. Other Priority Claim means any Claim against any of the Reorganization Plan
Debtors other than an Administrative Expense Claim or a Priority Tax Claim, entitled to priority in
payment as specified in section 507(a)(3), (4), (5), (6), (7) or (9) of the Bankruptcy Code.

               1.94. Other Secured Claim means a Secured Claim, other than an Administrative
Expense Claim, a Priority Tax Claim, a 2012 Senior Credit Agreement Claim, or a Senior Noteholder
Secured Claim.

                   1.95.    PBGC means the Pension Benefit Guaranty Corporation.

                1.96. Pension Credit means the pension credit to be adopted by Reader’s Digest after
the Effective Date with the concurrence of the New Board.

                   1.97.    Pension Plan means The Reader’s Digest Association, Inc. Retirement Plan.

                1.98. Person means an individual, corporation, partnership, joint venture, association,
joint stock company, limited liability company, limited liability partnership, trust, estate, unincorporated
organization, governmental unit (as defined in section 101(27) of the Bankruptcy Code) or other entity.

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                1.99. Plan Debtor Intercompany Claim means any Claim against a Reorganization
Plan Debtor held by another Reorganization Plan Debtor.

                 1.100. Plan Supplement means a supplemental appendix to the Reorganization Plan, in
form and substance satisfactory to the Required Consenting Secured Parties, containing, among other
things, substantially final forms of the Amended Organizational Documents (to the extent such Amended
Organizational Documents reflect material changes from the Reorganization Plan Debtors’ existing
organizational documents and by laws), the Schedule of Assumed Contracts, the First Out Exit Facilities,
the Second Out Exit Term Loan Agreement, the Registration Rights Agreement, the Stockholders
Agreement, and to the extent known, with respect to the members of the New Board, information required
to be disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code; provided, that, through the
Effective Date, the Reorganization Plan Debtors shall have the right to amend the First Out Exit Facilities,
the Second Out Exit Term Loan Agreement, the Amended Organizational Documents, the Registration
Rights Agreement, the Stockholders Agreement, and any schedules, exhibits or amendments thereto, and
the other documents contained in, and exhibits to, the Plan Supplement with the consent of the Required
Consenting Secured Parties. The Plan Supplement shall be filed with the Bankruptcy Court no later than
the Plan Supplement Filing Date.

                   1.101. Plan Supplement Filing Date means June 11, 2013 at 5:00 p.m. (Eastern Time).

               1.102. Plan Term Sheet means the term sheet attached to the Restructuring Support
Agreement as Exhibit A including any schedules and exhibits attached thereto and as may be modified in
accordance with Section 9.15 of the Restructuring Support Agreement.

                1.103. Priority Non-Tax Claim means any Claim other than an Administrative Expense
Claim or a Priority Tax Claim that is entitled to priority in payment as specified in section 507(a) of the
Bankruptcy Code.

               1.104. Priority Tax Claim means any secured or unsecured Claim of a governmental
unit of the kind entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the
Bankruptcy Code.

                1.105. Pro Rata means the proportion that an Allowed Claim in a particular Class bears
to the aggregate amount of Allowed Claims in that Class, or the proportion that Allowed Claims in a
particular Class bear to the aggregate amount of Allowed Claims and Disputed Claims in a particular
Class and other Classes entitled to share in the same recovery as such Allowed Class under the
Reorganization Plan.

                1.106. RDA GUC Distribution means, subject to the conditions set forth in Sections 4.4,
$3,875,000 to be funded from either the Reorganization Plan Debtors’ cash on hand or by the Consenting
Secured Noteholders and held in a segregated non-interest bearing account maintained by the
Reorganized Debtors, subject to reduction for the Claims Oversight Reserve, to be distributed Pro Rata to
the holders of Allowed Class 4 General Unsecured Claims of Reader’s Digest; provided, however, that in
the event the holders of General Unsecured Claims against Reader’s Digest vote to reject the
Reorganization Plan as a sub-class, there will be no RDA GUC Distribution.

                   1.107. RDA Holding means RDA Holding Co.

                   1.108. Reader’s Digest means The Reader’s Digest Association, Inc.



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               1.109. Registration Rights Agreement means that certain Registration Rights
Agreement to be included in draft form in the Plan Supplement, which shall be consistent with the
requirements contained in the Reorganization Plan, the Restructuring Support Agreement and the Plan
Term Sheet and which shall otherwise be in a form and substance reasonably acceptable to the Required
Consenting Secured Noteholders; provided, however, that the Registration Rights Agreement will not
adversely impact the First Out Exit Term Loan and the Consenting Lender’s rights thereunder in any
manner.

                 1.110. Reinstate, Reinstated or Reinstatement means (i) leaving unaltered the legal,
equitable and contractual rights to which a Claim entitles the holder of such Claim so as to leave such
Claim Unimpaired or (ii) notwithstanding any contractual provision or applicable law that entitles the
holder of such Claim to demand or receive accelerated payment of such Claim after the occurrence of a
default, (a) curing any such default that occurred before or after the Commencement Date, other than a
default of the kind specified in section 365(b)(2) of the Bankruptcy Code; (b) reinstating the maturity of
such Claim as such maturity existed before such default; (c) compensating the holder of such Claim for
any damages incurred as a result of any reasonable reliance by such holder on such contractual provision
or such applicable law; and (d) not otherwise altering the legal, equitable or contractual right that does not
pertain to the payment when due of principal and interest on the obligation on which such Claim is based,
including, but not limited to, financial covenant ratios, negative pledge covenants, covenants or
restrictions on merger or consolidation and affirmative covenants regarding corporate existence,
prohibiting certain transactions or actions contemplated by the Reorganization Plan or conditioning such
transactions or actions on certain factors, shall not be required to be reinstated in order to accomplish
Reinstatement and shall be deemed cured on the Effective Date.

                 1.111. Released Parties means collectively and in each case in their capacity as such:
(a) the Reorganization Plan Debtors; (b) the Creditors Committee, (c) the Administrative Agent, the
Unsecured Administrative Agent, the 2011 Secured Administrative Agent and the Collateral Agent; (d)
the 2012 Senior Credit Agreement Lenders; (e) the other Secured Parties under and as defined in the
Security Agreement; (f) the DIP Lenders; (g) the Consenting Lender; (h) the DIP Agent; (i) the arrangers
under each of the DIP Facility and the Exit Financing; (j) the administrative agents, collateral agents, and
lenders under the Exit Financing; (k) the Consenting Secured Noteholders; (l) the Unsecured Lenders;
(m) the 2011 Secured Lenders; and (n) with respect to each of the foregoing entities in clauses (a) through
(m), such entities’ predecessors, successors and assigns, subsidiaries, affiliates, managed accounts or
funds, current and former officers, directors, principals, shareholders, members, partners, employees,
agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, management companies, fund advisors and other professionals, and such
persons’ respective heirs, executors, estates, servants and nominees; provided, however, that any officer,
director, principal, shareholder, member, partner, employee, or agent of the Reorganization Plan Debtors
that is scheduled by the Reorganization Plan Debtors in the Plan Supplement and designated in such
schedule as a non-released party shall not be a Released Party for purposes of the Reorganization Plan.

                 1.112. Reorganization Plan means this second amended joint chapter 11 plan of
reorganization, including the exhibits hereto, as the same may be amended or modified from time to time
in accordance with Section 12.4 herein.

               1.113. Reorganization Plan Debtors has the meaning set forth in the preamble to the
Reorganization Plan.

               1.114. Reorganization Plan Debtor Affiliates means the Reorganization Plan Debtors,
other than RDA Holding.

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              1.115. Reorganization Plan Debtors in Possession means the Debtors in Possession
other than DEMG.

                1.116. Reorganized Debtors means the Reorganization Plan Debtors, as reorganized on
the Effective Date in accordance with the Reorganization Plan.

                1.117. Reorganized Debtor Affiliates means the Reorganization Plan Debtor Affiliates,
as reorganized on the Effective Date in accordance with the Reorganization Plan.

              1.118. Reorganized RDA Holding means RDA Holding, after giving effect to the
consummation of the restructuring transactions under the Reorganization Plan.

                1.119. Required Consenting Secured Noteholders means the Consenting Secured
Noteholders holding at such time at least 51% of the Senior Notes that are subject to the terms of the
Restructuring Support Agreement.

              1.120. Required Consenting Secured Parties means the Consenting Lender and the
Required Consenting Secured Noteholders.

                 1.121. Restructuring means the proposed financial restructuring the principal terms of
which are set forth in the Plan Term Sheet.

                1.122. Restructuring Expenses means the reasonable and documented fees and
expenses incurred by each of the Administrative Agent, the Collateral Agent, the 2012 Senior Credit
Agreement Lenders, the Consenting Lender, the Consenting Secured Noteholders, the DIP Agent, and the
DIP Lenders in connection with the Restructuring, including the fees and expenses of their respective
legal and financial advisors (limited to one primary counsel for the Consenting Lender, and one primary
counsel for the DIP Agent and the Consenting Secured Noteholders, as well as any conflicts counsel,
special counsel and local counsel for each of the Consenting Lender, the DIP Agent, and the Consenting
Secured Noteholders, and one financial advisor for the Consenting Secured Noteholders) without the
requirement for the filing of retention applications, fee applications or any other applications in the
Chapter 11 Cases, which, in each case, shall be Allowed in full and shall not be subject to any offset,
defense, counterclaim, reduction or credit of any kind whatsoever.

                1.123. Restructuring Support Agreement means that certain Restructuring Support
Agreement, dated February 17, 2013, by and among the Reorganization Plan Debtors, DEMG, the
Consenting Lender, and the Consenting Secured Noteholders (as may be amended, supplemented or
modified from time to time in accordance with the terms thereof) annexed hereto as Exhibit A.

               1.124. Roll-Up Lender means Wells Fargo Principal Lending, LLC, as roll-up lender
under the DIP Loan Agreement.

               1.125. Roll-Up Loans means the roll-up term loans deemed made by the Roll-Up
Lender under the DIP Loan Agreement.

                1.126. Schedule of Assumed Contracts means the schedule of contracts and leases to be
assumed by the Reorganized Debtors, with the reasonable consent of the Required Consenting Secured
Noteholders, to be filed with the Plan Supplement.

                 1.127. Schedules means the schedules of assets and liabilities and the statement of
financial affairs filed by the Reorganization Plan Debtors under section 521 of the Bankruptcy Code,

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Bankruptcy Rule 1007, and the Official Bankruptcy Forms of the Bankruptcy Rules as such schedules and
statements have been or may be supplemented or amended from time to time.

                 1.128. Second Out Exit Term Loan means a second out, senior secured exit term loan
in the an amount equal to the aggregate amount of the New Money Loans outstanding under the DIP
Facility on the Effective Date, in accordance with and subject to the terms and conditions contained in the
Second Out Exit Term Sheet and otherwise on terms and conditions satisfactory to the New Money
Lenders.

                 1.129. Second Out Exit Term Loan Agreement means the definitive loan agreement
evidencing the second out, senior secured exit term loan, consistent with the Second Out Exit Term
Sheet, including all documents, agreements or instruments executed in connection therewith or related
thereto, in each case on terms and conditions satisfactory to the New Money Lenders.

                1.130. Second Out Exit Term Sheet means the term sheet for the Second Out Exit Term
Loan attached to the DIP Commitment Letter as Annex 3.

              1.131. Security means any Security, as such term is defined in section 101(49) of the
Bankruptcy Code.

                1.132. Secured Claim means a Claim to the extent (i) secured by property of the estate,
the amount of which is equal to or less than the value of such property (A) as set forth in the
Reorganization Plan, (B) as agreed to by the holder of such Claim and the Reorganization Plan Debtors or
(C) as determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code, or (ii)
secured by the amount of any rights of setoff of the holder thereof under section 553 of the Bankruptcy
Code.

                 1.133. Security Agreement means that certain Security Agreement, dated as of February
19, 2010, from RDA Holding, Reader’s Digest, and the subsidiary guarantors thereunder, to JP Morgan
Chase Bank, N.A., as original administrative agent under the “First Priority Agreement” (together with
any successor administrative agent), Wells Fargo Bank, National Association (together with any
successor trustee), as trustee under the Indenture, and Wilmington Trust FSB (together with any successor
collateral agent), as collateral agent for the secured parties thereunder.

                 1.134. Senior Noteholder Deficiency Claim means the General Unsecured Claims to be
Allowed as Class 4 General Unsecured Claims, derived from, based upon, relating to or arising from the
Indenture, in the total aggregate amount of $244,923,799.20 against each Reorganization Plan Debtor.

               1.135. Senior Noteholder Secured Claim means a Secured Claim, derived from, based
upon, relating to or arising from the Indenture, to be Allowed in the total aggregate amount of
$231,000,000 against each Reorganization Plan Debtor.

                   1.136. Senior Noteholders means the respective beneficial holders of the Senior Notes.

               1.137. Senior Notes means the Series A and Series B Floating Rate Senior Secured
Notes due 2017 issued under the Indenture.

                1.138. Stockholders Agreement means that certain Stockholders Agreement to be
included in draft form in the Plan Supplement, which shall be consistent with the requirements contained
in the Reorganization Plan, the Restructuring Support Agreement, and the Plan Term Sheet, and which
shall otherwise be in a form and substance reasonably acceptable to the required Consenting Secured

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Noteholders; provided, however, that the Stockholders Agreement will not adversely impact the First Out
Exit Term Loan and the Consenting Lender’s rights thereunder in any manner.

                1.139. Subordinated Securities Claims means a Claim subject to subordination under
section 510(b) of the Bankruptcy Code, and any Claim for or that arises from the rescission of a purchase,
sale, issuance or offer of a Security of any of the Debtors, or for damages arising from the purchase of
sale of such a Security, or for reimbursement, indemnification, or contribution allowed under section 502
of the Bankruptcy Code on account of such Claim.

               1.140. Subsidiary Interests means the Interests in the Reorganization Plan Debtors
(other than RDA Holding).

                   1.141. Tax Code means the Internal Revenue Code of 1986, as amended from time to
time.

                  1.142. Unimpaired means, with respect to a Claim, Interest or Class of Claims or
Interests, not “impaired” within the meaning of section 1123(a)(4) and 1124 of the Bankruptcy Code.

                1.143. Unsecured Administrative Agent means Luxor Capital Group, LP in its capacity
as administrative agent under the Unsecured Term Loan.

                1.144. Unsecured Lenders means Luxor Capital Partners, LP, Point Lobos Master
Fund, L.P., Blackwell Partners LLC and each of the other lenders (including affiliates) from time to time
party to the Unsecured Term Loan as lenders thereunder.

               1.145. Unsecured Term Loan means that certain unsecured term loan credit and
guarantee agreement, dated as of August 12, 2011, among RDA Holding, Reader’s Digest, the other
guarantors named thereunder, the lenders party thereto, and Luxor Capital Group, LP, as administrative
agent.

                  1.146. Unsecured Term Loan Claim means, pursuant to the 2011 Financing Settlement,
the General Unsecured Claims to be Allowed as Class 4 General Unsecured Claims, derived from, based
upon, relating to or arising from the Unsecured Term Loan, (i) in the total aggregate amount of
$16,939,830.55 against Reader’s Digest for distribution purposes only and (ii) in the total aggregate
amount of $1.00 against each of the other Reorganization Plan Debtors for voting purposes only (and not
for distribution purposes).

                   1.147. Voting Record Date means 5:00 p.m. Eastern Time on May 6, 2013.

         B.        Interpretation; Application of Definitions and Rules of Construction.

                 Unless otherwise specified, all section or exhibit references in the Reorganization Plan
are to the respective section in, or exhibit to, the Reorganization Plan, as the same may be amended,
waived or modified from time to time. The words “herein,” “hereof,” “hereto,” “hereunder” and other
words of similar import refer to the Reorganization Plan as a whole and not to any particular section,
subsection or clause contained therein. The headings in the Reorganization Plan are for convenience of
reference only and shall not limit or otherwise affect the provisions hereof. For purposes herein: (1) in
the appropriate context, each term, whether stated in the singular or the plural, shall include both the
singular and the plural, and pronouns stated in the masculine, feminine or neuter gender shall include the
masculine, feminine and the neuter gender; (2) any reference herein to a contract, lease, instrument,
release, indenture or other agreement or document being in a particular form or on particular terms and

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conditions means that the referenced document shall be substantially in that form or substantially on those
terms and conditions; (3) unless otherwise specified, all references herein to “Sections” are references to
Sections hereof or hereto; (4) the rules of construction set forth in section 102 of the Bankruptcy Code
shall apply; and (5) any term used in capitalized form herein that is not otherwise defined but that is used
in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
Bankruptcy Code or the Bankruptcy Rules, as the case may be.

         C.        Reference to Monetary Figures

                All references in the Reorganization Plan to monetary figures shall refer to the legal
tender of the United States of America, unless otherwise expressly provided.

         D.        Controlling Document

                 In the event of an inconsistency between the Reorganization Plan and the Plan
Supplement, the terms of the relevant document in the Plan Supplement shall control (unless stated
otherwise in such Plan Supplement document). The provisions of the Reorganization Plan and of the
Confirmation Order shall be construed in a manner consistent with each other so as to effect the purposes
of each; provided, that if there is determined to be any inconsistency between any Reorganization Plan
provision and any provision of the Confirmation Order that cannot be so reconciled, then, solely to the
extent of such inconsistency, the provisions of the Confirmation Order shall govern and any such
provision of the Confirmation Order shall be deemed a modification of the Reorganization Plan and shall
control and take precedence.

SECTION 2.         ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

                   2.1.     Administrative Expense Claims.

                   Except to the extent that a holder of an Allowed Administrative Expense Claim and the
Reorganization Plan Debtors or the Reorganized Debtors agrees to different treatment, the Reorganization
Plan Debtors (or the Reorganized Debtors, as the case may be) shall pay to each holder of an Allowed
Administrative Expense Claim Cash in an amount equal to such Claim on, or as soon thereafter as is
reasonably practicable, the later of (a) the Effective Date and (b) the first Business Day after the date that
is thirty (30) calendar days after the date such Administrative Expense Claim becomes an Allowed
Administrative Expense Claim; provided, that, all DIP Claims shall constitute Allowed Administrative
Expense Claims; provided, further, that Allowed Administrative Expense Claims representing liabilities
incurred in the ordinary course of business by the Reorganization Plan Debtors, as debtors in possession,
or liabilities arising under loans or advances to or other obligations incurred by the Reorganization Plan
Debtors, as debtors in possession, whether or not incurred in the ordinary course of business, shall be paid
by the Reorganization Plan Debtors in the ordinary course of business, consistent with past practice and in
accordance with the terms and subject to the conditions of any agreements governing, instruments
evidencing or other documents relating to such transactions.

                   2.2.     Fee Claims.

                 All entities seeking an award by the Bankruptcy Court of Fee Claims (a) shall file their
respective final applications for allowance of compensation for services rendered and reimbursement of
expenses incurred by the date that is forty-five (45) days after the Effective Date, (b) shall be paid in full
from the Reorganization Plan Debtors’ or Reorganized Debtors’ Cash on hand in such amounts as are
Allowed by the Bankruptcy Court (i) upon the later of (A) the Effective Date and (B) the date upon which
the order relating to any such Allowed Fee Claim is entered or (ii) upon such other terms as may be
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mutually agreed upon between the holder of such an Allowed Fee Claim and the Reorganization Plan
Debtors or, on and after the Effective Date, the Reorganized Debtors. The Reorganized Debtors are
authorized to pay compensation for services rendered or reimbursement of expenses incurred after the
Effective Date in the ordinary course and without the need for Bankruptcy Court approval, including
those of the Creditors Committee for which the Creditors Committee remains in existence after the
Effective Date as set forth in Section 12.3 herein.

                   2.3.     Priority Tax Claims.

                 Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a different
treatment, each holder of an Allowed Priority Tax Claim shall receive, at the sole option of the
Reorganization Plan Debtors or the Reorganized Debtors, (a) Cash in an amount equal to such Allowed
Priority Tax Claim on, or as soon thereafter as is reasonably practicable, the later of the Effective Date,
the first Business Day after the date that is thirty (30) calendar days after the date such Priority Tax Claim
becomes an Allowed Priority Tax Claim, and the date such Allowed Priority Tax Claim is due and
payable in the ordinary course, or (b) equal annual Cash payments in an aggregate amount equal to such
Allowed Priority Tax Claim, together with interest at the applicable rate under section 511 of the
Bankruptcy Code, over a period not exceeding five (5) years after the Commencement Date; provided,
that the Reorganization Plan Debtors reserve the right to prepay all or a portion of any such amounts at
any time under this option.

                   2.4.     DIP Claims.

                 On the Effective Date, the DIP Facility shall convert to (i) the First Out Exit Facilities in
accordance with the terms and conditions set forth in the First Out Exit Term Sheet and (ii) the Second
Out Exit Term Loan Agreement in accordance with the terms and conditions in the Second Out Exit Term
Sheet (and otherwise on terms and conditions satisfactory to the New Money Lenders), as applicable, or
in each case, paid in full in Cash if the terms and conditions required for conversion under the applicable
term sheet are not satisfied; provided, however, that the obligations under the First Out Exit Facilities will
always be paid in full in Cash by the Reorganization Plan Debtors. All accrued and unpaid interest, fees
(including, without limitation, all fees, charges and disbursements of counsels to the Consenting Lender,
the DIP Agent and the New Money Lenders), letter of credit fees and commissions, premiums, expenses
and indemnification amounts under the DIP Facility as of the Effective Date shall be paid in full in cash
on the Effective Date. Upon compliance with the preceding sentence, all liens and security interests
granted to secure the DIP Facility shall be deemed cancelled and shall be of no further force and effect
and each Allowed DIP Claim shall be deemed to be fully satisfied, settled, released, and compromised.

                   2.5.     2012 Senior Credit Agreement Claims.

                  All obligations and claims in respect of the 2012 Senior Credit Agreement shall be treated
as follows: (i) all amounts owing under the 2012 Senior Credit Agreement on the Commencement Date
plus the aggregate amount of any outstanding and unpaid “Reimbursement Obligations” incurred under
(and as defined in) the 2012 Senior Credit Agreement shall have become Roll-Up Loans pursuant to the
DIP Order and the DIP Loan Agreement; (ii) all outstanding letters of credit under 2012 Senior Credit
Agreement shall have become letters of credit deemed issued under the DIP Loan Agreement; and (iii) all
accrued and unpaid interest, fees, letter of credit standby fees and commissions, premium, expenses,
indemnification amounts and all other obligations arising under or relating to the 2012 Senior Credit
Agreement shall have been paid in full in cash on or prior to the Second Effective Date (as defined in the
DIP Loan Agreement).


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                   2.6.     Roll-Up Loans.

                  On the Effective Date, all Roll-Up Loans, outstanding letters of credit and any related
obligations shall be converted into the First Out Exit Facilities in accordance with the First Out Exit Term
Sheet so long as (and only so long as) the terms and conditions required for such conversion are satisfied
in accordance with the provisions of the First Out Exit Term Sheet and otherwise such obligations shall
be paid in full in Cash on the Effective Date; provided, however, that the Reorganization Plan Debtors
may always elect to repay such obligations in full in Cash at any time prior to or after the Effective Date.

                 Notwithstanding that the scheduled final maturity of the Roll-Up Loans under the DIP
Facility extends beyond the date that is 180 days after the Commencement Date, the commitment of the
Consenting Lender under the Restructuring Support Agreement and the First Out Exit Term Sheet to
provide the First Out Exit Term Loan shall terminate on the date that is 180 days after the
Commencement Date.

                   2.7.     Indenture Trustee Fees.

                  On the Effective Date, the Reorganized Debtors shall pay in Cash the unpaid and
outstanding Indenture Trustee Fees, without the need for the Indenture Trustee to file fee applications
with the Bankruptcy Court; provided, however, that the Indenture Trustee shall provide the
Reorganization Plan Debtors and the Creditors Committee with the invoices for which it seeks payment at
least 10 days prior to the Effective Date. Notwithstanding anything in the Reorganization Plan to the
contrary, each Indenture Trustee Charging Lien shall be released and discharged upon (a) payment in full
of any fees and expenses due to any Indenture Trustee under an applicable Indenture and (b) the
satisfaction of the Indenture Trustee’s duties pursuant to the Plan (including with respect to Plan
distributions).

SECTION 3.         CLASSIFICATION OF CLAIMS AND INTERESTS.

                   3.1.     Summary of Classification.

                 The following table designates the Classes of Claims against and Interests in each of the
Reorganization Plan Debtors and specifies which of those Classes are (a) Impaired or Unimpaired by the
Reorganization Plan, (b) entitled to vote to accept or reject the Reorganization Plan in accordance with
section 1126 of the Bankruptcy Code and (c) deemed to reject the Reorganization Plan. In accordance
with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims
have not been classified and, thus, are excluded from the Classes of Claims and Interests set forth in this
Section 3. The classification of Claims and Interests set forth herein shall apply separately to each of the
Reorganization Plan Debtors. All of the potential Classes for the Reorganization Plan Debtors are set
forth herein. Certain of the Reorganization Plan Debtors may not have holders of Claims or Interests in a
particular Class or Classes, and such Classes shall be treated as set forth in Section 3.3.




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    Class                   Designation                          Treatment                Entitled to Vote
      1      Other Priority Claims                               Unimpaired                      No
                                                                                        (presumed to accept)
     2       Other Secured Claims                                 Impaired                      Yes2
     3       Senior Noteholder Secured Claims                     Impaired                      Yes
     4       General Unsecured Claims                             Impaired                      Yes
     5       Plan Debtor Intercompany Claims                      Impaired                      Yes
     6       Existing RDA Holding Interests                       Impaired                       No
                                                                                         (deemed to reject)
     7       Intercompany Interests                              Unimpaired                      No
                                                                                         (deemed to accept)
     8       Subordinated Securities Claims                       Impaired                       No
                                                                                         (deemed to reject)

                   3.2.     Special Provision Governing Unimpaired Claims.

                Except as otherwise provided in the Reorganization Plan, nothing under the
Reorganization Plan shall affect the rights of the Reorganization Plan Debtors or the Reorganized
Debtors, as applicable, in respect of any Unimpaired Claims, including all rights in respect of legal and
equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

                   3.3.     Elimination of Vacant Classes.

                 Any Class of Claims or Interests that, as of the commencement of the Confirmation
Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount greater than
zero for voting purposes shall be considered vacant, deemed eliminated from the Reorganization Plan for
purposes of voting to accept or reject the Reorganization Plan, and disregarded for purposes of
determining whether the Reorganization Plan satisfies section 1129(a)(8) of the Bankruptcy Code with
respect to that Class.

SECTION 4.         TREATMENT OF CLAIMS AND INTERESTS.

                   4.1.     Other Priority Claims (Class 1).

                       (a)           Classification: Class 1 consists of Other Priority Claims against the
Reorganization Plan Debtors.

                        (b)     Treatment: Except to the extent that a holder of an Allowed Other
Priority Claim against any of the Reorganization Plan Debtors has agreed to less favorable treatment of
such Claim, each such holder shall receive, in full and final satisfaction of such Claim, Cash in an amount
equal to such Claim, payable on the later of the Effective Date and the date on which such Other Priority
Claim becomes an Allowed Other Priority Claim, in each case, or as soon as reasonably practical
thereafter.

                        (c)   Voting: Class 1 is Unimpaired, and the holders of Other Priority Claims
are conclusively presumed to have accepted the Reorganization Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Other Priority Claims are not entitled to vote to accept or reject
the Reorganization Plan.

2
 The Reorganization Plan Debtors reserve the right to argue at the Confirmation Hearing that Class 2 (Other
Secured Claims) is Unimpaired.
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                   4.2.     Other Secured Claims (Class 2).

                         (a)      Classification: Class 2 consists of the Other Secured Claims. To the
extent that Other Secured Claims are secured by different collateral or different interests in the same
collateral, such Claims shall be treated as separate subclasses of Class 2.

                          (b)     Treatment: Except to the extent that a holder of an Allowed Other
Secured Claim against any of the Reorganization Plan Debtors has agreed to less favorable treatment of
such Claim, each holder of an Allowed Other Secured Claim shall receive, at the option of the
Reorganization Plan Debtors or the Reorganized Debtors, (i) payment in full in Cash in full and final
satisfaction of such claim, payable on the later of the Effective Date and the date on which such Other
Secured Claim becomes an Allowed Other Secured Claim, or, in each case, as soon as reasonably
practical thereafter, (ii) delivery of the collateral securing such Allowed Other Secured Claim and
payment of any interest required under Section 506(b) of the Bankruptcy Code, or (iii) such other
recovery necessary to satisfy section 1129 of the Bankruptcy Code.

                        (c)    Voting: Class 2 is Impaired, and holders of Other Secured Claims in
Class 2 are entitled to vote to accept or reject the Reorganization Plan; provided, however, that the
Reorganization Plan Debtors reserve the right to argue at the Confirmation Hearing that Class 2 (Other
Secured Claims) is Unimpaired.

                   4.3.     Senior Noteholder Secured Claims (Class 3).

                        (a)     Classification: Class 3 consists of Senior Noteholder Secured Claims
against the Reorganization Plan Debtors.

                      (b)     Allowance: The Senior Noteholder Secured Claims are Allowed in the
amount of $231,000,000 pursuant to section 506(a) of the Bankruptcy Code.

                         (c)     Treatment: On the Effective Date, each holder of an Allowed Class 3
Senior Noteholder Secured Claim shall be entitled to receive, in full and final satisfaction of such
Allowed Senior Noteholder Secured Claim, its Pro Rata share of 100% of the New Common Stock on a
Fully Diluted Basis; provided, however, that no holder of an Allowed Senior Noteholder Secured Claim
shall receive distributions that aggregate to more than the amount of such holder’s Allowed Senior
Noteholder Secured Claim; provided, further, that no dividends, recoveries, securities, distributions, or
other form of payments shall be made on account of or in connection with the New Common Stock
distributed to the holders of Allowed Senior Noteholder Secured Claims until all amounts owing in
connection with the First Out Exit Term Loan have been paid in full in Cash and all commitments
thereunder have been terminated.

                        (d)       Voting: Class 3 is Impaired, and holders of Senior Noteholder Secured
Claims in Class 3 are entitled to vote to accept or reject the Reorganization Plan.

                   4.4.     General Unsecured Claims (Class 4).

                         (a)  Classification: Class 4 consists of General Unsecured Claims against the
Reorganization Plan Debtors. For purposes of voting and distributions under the Reorganization Plan,
Class 4 General Unsecured Claims against each of the Reorganization Plan Debtors shall be deemed to be
in separate sub-classes.



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                         (b)    Treatment: On the Effective Date, or as soon thereafter as is reasonably
practicable, except to the extent that a holder of an Allowed General Unsecured Claim agrees to less
favorable treatment of such Allowed General Unsecured Claim or has been paid before the Effective
Date, each holder of an Allowed General Unsecured Claim, including any holder of FTC Claims, the
Unsecured Term Loan Claim, any Non-Debtor Intercompany Claims, any DEMG Intercompany Claims
or any Senior Noteholder Deficiency Claims, shall receive the following treatment:

                             (i)      for any sub-class of General Unsecured Claims that votes to accept the
                             Reorganization Plan of any individual Reorganization Plan Debtor, each holder
                             of an Allowed General Unsecured Claim in such accepting sub-class shall
                             receive its Pro Rata share of the GUC Distribution and any Senior Noteholder
                             Deficiency Claims in such accepting sub-class shall be deemed waived for the
                             purposes of entitling holders of such Senior Noteholder Deficiency Claims to
                             share in any recovery from the GUC Distribution;

                             (ii)    in addition to any Pro Rata share of the GUC Distribution, provided the
                             sub-class of General Unsecured Claims of Reader’s Digest votes to accept the
                             Reorganization Plan, each holder of an Allowed General Unsecured Claim of
                             Reader’s Digest shall receive its Pro Rata share of the RDA GUC Distribution
                             and any Senior Noteholder Deficiency Claims in such accepting sub-class shall
                             be deemed waived for the purposes of entitling holders of such Senior
                             Noteholder Deficiency Claims to share in any recovery from the RDA GUC
                             Distribution; and

                             (iii)    in the event any sub-class of General Unsecured Claims votes to reject
                             the Reorganization Plan with respect to any individual Reorganization Plan
                             Debtor, the holders of Allowed General Unsecured Claims in such a rejecting
                             sub-class shall not receive or retain any property under the Reorganization Plan
                             on account of such Claims, including, for the avoidance of doubt, any Pro Rata
                             share of the GUC Distribution or the RDA GUC Distribution. For the further
                             avoidance of doubt, to the extent any sub-class of General Unsecured Claims
                             votes to reject the Reorganization Plan and, therefore, is not entitled to receive
                             any portion of the GUC Distribution, such Pro Rata portion attributable to the
                             rejecting sub-class shall be reallocated to the holders of General Unsecured
                             Claims in other sub-classes that have voted to accept the Reorganization Plan.

                         Notwithstanding anything to the contrary herein, each Allowed Non-Debtor
Intercompany Claim shall be Reinstated or alternatively, at the Reorganization Plan Debtors’ reasonable
discretion, on or prior to the Effective Date, and in consultation with the Creditors Committee or the
Claims Oversight Committee as set forth in Section 7.9 herein, as applicable, each holder of an Allowed
Non-Debtor Intercompany Claim shall receive either its Pro Rata share of the GUC Distribution and the
RDA GUC Distribution, if any, or such other treatment as determined by the Reorganization Plan
Debtors, which other treatment shall not include a distribution from the GUC Distribution or RDA GUC
Distribution. For the avoidance of doubt, in the event the Reorganization Plan Debtors Reinstate any
Allowed Non-Debtor Intercompany Claims, such Allowed Non-Debtor Intercompany Claims will not
receive any Cash distribution under the Reorganization Plan, including with respect to any Pro Rata
shares of the GUC Distribution and RDA GUC Distribution, if applicable. No holder of an Allowed
General Unsecured Claim shall receive distributions that aggregate to more than the amount of such
holder’s Allowed General Unsecured Claim. Nothing herein shall prejudice the ability of any party in
interest to argue, for purposes of confirming the Reorganization Plan under section 1129 of the
Bankruptcy Code, that General Unsecured Claims are not entitled to any value being provided in the
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Reorganization Plan prior to Confirmation, including the GUC Distribution or the RDA GUC
Distribution.

                         (c)     Voting: Class 4 is Impaired, and holders of General Unsecured Claims in
Class 4 are entitled to vote to accept or reject the Reorganization Plan. For the avoidance of doubt, the
holders of Senior Noteholder Deficiency Claims are entitled to vote to accept or reject the Reorganization
Plan as holders of General Unsecured Claims in Class 4.

                   4.5.     Plan Debtor Intercompany Claims (Class 5).

                        (a)     Classification: Class 5 consists of Plan Debtor Intercompany Claims
against the Reorganization Plan Debtors.

                       (b)     Treatment: On the Effective Date, RDA Holding shall, at its discretion,
Reinstate or compromise, as the case may be, all Plan Debtor Intercompany Claims between and among
RDA Holding and its Reorganization Plan Debtors Affiliates consistent with the Acceptable Business
Plan and the International Restructuring Transactions (as such term is used in the Plan Term Sheet)
contemplated thereby.

                        (c)       Voting: Class 5 is Impaired, and holders of Plan Debtor Intercompany
Claims in Class 5 are entitled to vote to accept or reject the Reorganization Plan.

                   4.6.     Existing RDA Holding Interests (Class 6).

                             (a)     Classification: Class 6 consists of Existing RDA Holding Interests.

                        (b)    Treatment: On the Effective Date, all Existing RDA Holding Interests
shall be deemed canceled, and the holders of Existing RDA Holding Interests shall not receive or retain
any property under the Reorganization Plan on account of such Interests.

                      (c)      Voting: Class 6 is Impaired by the Reorganization Plan, and the holders
of the Allowed Existing RDA Holding Interests are conclusively deemed to have rejected the
Reorganization Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, the holders of
Existing RDA Holding Interests are not entitled to vote to accept or reject the Reorganization Plan.

                   4.7.     Intercompany Interests (Class 7).

                      (a)      Classification: Class 7 consists of Intercompany Interests except for
Existing RDA Holding Interests.

                             (b)     Treatment: The Intercompany Interests will be Unimpaired under the
Reorganization Plan.

                        (c)   Voting: Class 7 is Unimpaired, and the holders of Intercompany Interests
are conclusively presumed to have accepted the Reorganization Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Intercompany Interests are not entitled to vote to accept or reject
the Reorganization Plan.




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                   4.8.     Subordinated Securities Claims (Class 8).

                             (a)     Classification: Class 8 consists of Subordinated Securities Claims.

                         (b)     Treatment: The holders of Subordinated Securities Claims shall not
receive or retain any property under the Reorganization Plan on account of such Claims.

                         (c)      Voting: Class 8 is Impaired by the Reorganization Plan, and the holders
of the Subordinated Securities Claims are conclusively deemed to have rejected the Reorganization Plan
pursuant to section 1126(g) of the Bankruptcy Code. Therefore, the holders of Subordinated Securities
Claims are not entitled to vote to accept or reject the Reorganization Plan.

SECTION 5.         MEANS FOR IMPLEMENTATION.

                   5.1.     Compromise and Settlement of Claims, Interests, and Controversies.

                 Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule
9019 and in consideration for the distributions and other benefits provided pursuant to the Reorganization
Plan, the provisions of the Reorganization Plan shall constitute a good faith compromise of all Claims,
Interests, and controversies relating to the contractual, legal, and subordination rights that a holder of a
Claim may have with respect to any Allowed Claim or any distribution to be made on account of such
Allowed Claim. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
the compromise or settlement of all such Claims, Interests, and controversies, including without
limitation, approval of the Restructuring Support Agreement and the 2011 Financing Settlement, as well
as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of the
Reorganization Plan Debtors, their Estates, and holders of Claims and Interests and is fair, equitable, and
reasonable. In accordance with the provisions of the Reorganization Plan, pursuant to sections 363 and
1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to or action,
order, or approval of the Bankruptcy Court, prior to the Effective Date, the Reorganization Plan Debtors
and after the Effective Date, the Reorganized Debtors, may compromise and settle Claims against the
Reorganization Plan Debtors or the Reorganized Debtors, as applicable, and Causes of Action against
other Entities.

                   5.2.     First Out Exit Facilities and Second Out Exit Term Loan.

                 On the Effective Date, subject to Section 2.4 of the Reorganization Plan and the terms
and conditions of the First Out Exit Term Sheet and the Second Out Exit Term Sheet, the Reorganization
Plan Debtors will enter into (i) the First Out Exit Facilities to refinance the Roll-Up Loans and replace
any letters of credit under the DIP Facility and (ii) the Second Out Exit Term Loan to refinance the New
Money Loans outstanding under the DIP Facility; provided, however, that Reorganized RDA Holding
shall have not more than $106,000,000 in funded debt under its secured credit facilities immediately
following the Effective Date.

                  On the Effective Date, documentation evidencing the First Out Exit Facilities and the
Second Out Exit Term Loan shall be executed and delivered, and the Reorganized Debtors shall be
authorized to execute, deliver, and enter into and perform under the First Out Exit Facilities and the
Second Out Exit Term Loan Agreement without the need for any further corporate action and without
further action by the holders of Claims or Interests. The definitive documentation relating to the First Out
Exit Facilities and Second Out Exit Term Loan will be filed as part of the Plan Supplement.



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                All Liens and security interests granted pursuant to the First Out Exit Facilities or the
Second Out Exit Term Loan Agreement, as applicable to (A) in the case of the First Out Exit Facilities,
the Consenting Lender, the Roll-Up Lender and the Issuing Lender, and (B) in the case of the Second Out
Exit Term Loan Agreement, the New Money Lenders, are intended to be, and shall be (i) valid, binding,
perfected, enforceable, Liens, and security interests in the personal and real property described in and
subject to such documents, with the priorities established in respect thereof under applicable non-
bankruptcy law and (ii) not subject to avoidance, recharacterization, or subordination under any
applicable law.

                   5.3.     Authorization and Issuance of Plan Securities.

                        (a)    The Reorganization Plan Debtors or Reorganized RDA Holding and the
other Reorganized Debtors, as applicable, are authorized to issue all plan-related securities and
documents, including, without limitation, the New Common Stock and any options or entitlements to
purchase such plan-related securities, without the need for any further corporate, partnership, or limited
liability company action.

                        (b)     On or prior to the Effective Date, Reorganized RDA Holding shall
contribute the New Common Stock as a capital contribution to Reader’s Digest in an amount equal to the
shares of New Common Stock to be distributed in respect of Allowed Senior Noteholder Secured Claims
pursuant to Section 4.3 herein, which shares shall then be distributed pursuant to such section and the
provisions herein.

                   5.4.     Cancellation of Existing Securities and Agreements.

                  Except as expressly provided herein and in connection with the First Out Exit Facilities
and the Second Out Exit Term Loan, on the Effective Date, all notes, instruments, certificates evidencing
debt to or interests in, the Reorganization Plan Debtors, including, without limitation, the DIP Loan
Agreement (only upon and following the effectiveness of the First Out Exit Facilities and the Second Out
Exit Loan Agreement or payment in full in cash), the 2012 Senior Credit Agreement, the Security
Agreement, the Indenture, and the Unsecured Term Loan shall be cancelled and obligations of the
Reorganization Plan Debtors thereunder shall be discharged; provided, however, that any and all
indemnification obligations under the 2012 Senior Credit Agreement (including the indemnities provided
in section 4.05 thereunder) shall survive as obligations under the DIP Loan Agreement; provided, further,
that any and all indemnification obligations (and any other obligations surviving per their express terms)
under the DIP Facility shall survive as obligations under the First Out Exit Term Loan or Second Out Exit
Term Loan, as applicable, notwithstanding in each case the cancellation of the predecessor credit
agreement(s); provided, further, that nothing herein shall be deemed to constitute a cancellation of any
rights arising from or in connection with section 5.5 of the Security Agreement.

                 Notwithstanding Confirmation or the occurrence of the Effective Date, the Indenture
shall continue in effect solely for purposes of: (a) enabling holders of Allowed Senior Noteholder
Secured Claims to receive distributions under the Reorganization Plan; and (b) allowing the Indenture
Trustee to make distributions under the Reorganization Plan; provided further, however, that nothing in
this section shall affect the discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order
or the Reorganization Plan or result in any liability or expense to the Reorganized Debtors.

                   5.5.      Reorganized RDA Holding.

              (a)    Board of Directors. Upon and following the Effective Date, the New Board
shall be a 7-member board comprised of the Chief Executive Officer and 6 directors designated
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by the Required Consenting Secured Noteholders in consultation with the Chief Executive
Officer. The members of the New Board will be identified no later than the Confirmation Hearing or
otherwise in accordance with section 1129(a)(5) of the Bankruptcy Code. On the Effective Date, the
terms of the current members of the boards of directors and the boards of managers of the Reorganization
Plan Debtors shall expire.

                 (b)     Directors and Officers of the Reorganized Debtor Affiliates. Except as otherwise
provided in the Plan Supplement, the officers of the respective Reorganized Debtors immediately before
the Effective Date shall serve as the initial officers of each of the respective Reorganized Debtors on or
after the Effective Date and in accordance with any employment agreement with the Reorganized Debtors
and applicable non-bankruptcy law. After the Effective Date, the selection of officers of the Reorganized
Debtors shall be as provided by their respective organizational documents. The members of the board of
directors and the board of managing members for each of the Reorganized Plan Debtor Affiliates shall be
determined as set forth in the Amended Organizational Documents.

                   5.6.      International Restructuring Transactions.

                 On or after the Effective Date, the Reorganized Debtors with the concurrence of the New
Board shall implement the International Restructuring Transactions and the Reorganized Debtors are
authorized to take all actions as may be necessary or appropriate in connection therewith.

                   5.7.      Other Transactions.

                 On or after the Effective Date, the Reorganization Plan Debtors may (a) cause any or all
of the Debtor Affiliates to be liquidated or merged into one or more of the other Debtor Affiliates or any
other subsidiaries of the Reorganization Plan Debtors or dissolved all as more specifically described in
the Plan Supplement, (b) cause the transfer of assets between or among the Debtor Affiliates, (c) cause
any or all of the Amended Organizational Documents of any Reorganized Debtor Affiliates to be
implemented, effected, or executed, (d) use the proceeds of the First Out Exit Term Loan and Second Out
Exit Term Loan, plus Cash on hand, to pay all Restructuring Expenses, (e) change the name of one or
more of the Reorganized Debtors to such name that may be determined in accordance with applicable
law, and (f) engage in any other transaction in furtherance of the Reorganization Plan. Subject to the
prior written consent of the Required Consenting Secured Parties, any such transactions may be effective
as of the Effective Date pursuant to the Confirmation Order without any further action by the
stockholders, members, general or limited partners, or directors of any of the Reorganization Plan Debtors
or the Reorganization Plan Debtors in Possession.

                   5.8.     Cancellation of Liens.

                Except as otherwise specifically provided herein with respect to Class 2, upon the
occurrence of the Effective Date, any Lien securing any Secured Claim shall be deemed released, and the
holder of such Secured Claim shall be authorized and directed to release any collateral or other property
of the Reorganization Plan Debtors (including any Cash collateral) held by such holder and to take such
actions as may be requested by the Reorganized Debtors, to evidence the release of such Lien, including
the execution, delivery and filing or recording of such releases as may be requested by the Reorganized
Debtors.

                   5.9.     Management Incentive Program.

              The Management Incentive Program shall be implemented by the New Board and
communicated to the participants thereunder promptly following the Effective Date.
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                   5.10.    Employee Matters.

               On or after the Effective Date, the Reorganized Debtors shall implement the following
employee incentive programs with the concurrence of the New Board: (i) the Pension Credit and (ii) the
Employee Bonus Pool.

                   5.11.    Withholding and Reporting Requirements.

                 (a)      Withholding Rights. In connection with the Reorganization Plan, any party
issuing any instrument or making any distribution described in the Reorganization Plan shall comply with
all applicable withholding and reporting requirements imposed by any federal, state, or local taxing
authority, and all distributions pursuant to the Reorganization Plan and all related agreements shall be
subject to any such withholding or reporting requirements. In the case that a distribution of New
Common Stock is subject to withholding, the distributing party may withhold an appropriate portion of
such distributed property and sell such withheld property to generate Cash necessary to pay over the
withholding tax. Any amounts withheld pursuant to the preceding sentence shall be deemed to have been
distributed to and received by the applicable recipient for all purposes of the Reorganization Plan.
Notwithstanding the foregoing, each holder of an Allowed Claim or any other Person that receives a
distribution pursuant to the Reorganization Plan shall have responsibility for any taxes imposed by any
governmental unit, including, without limitation, income, withholding, and other taxes, on account of
such distribution. Any party issuing any instrument or making any distribution pursuant to the
Reorganization Plan has the right, but not the obligation, to not make a distribution until such holder has
made arrangements satisfactory to such issuing or disbursing party for payment of any such tax
obligations.

                 (b)    Forms. Any party entitled to receive any property as an issuance or distribution
under the Reorganization Plan shall, upon request, deliver to the Disbursing Agent or such other Person
designated by the Reorganized Debtors (which entity shall subsequently deliver to the Disbursing Agent
any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-9 or (if the payee is a
foreign Person) Form W-8, unless such Person is exempt under the tax Code and so notifies the
Disbursing Agent. If such request is made by the Reorganized Debtors, the Disbursing Agent, or such
other Person designated by the Reorganized Debtors and the holder fails to comply before the date that is
180 days after the request is made, the amount of such distribution shall irrevocably revert to the
applicable Reorganized Debtor and any Claim in respect of such distribution shall be discharged and
forever barred from assertion against such Reorganized Debtor or its respective property.

                   5.12.    Exemption From Certain Transfer Taxes.

                 Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or exchange
of any securities, instruments or documents, (b) the creation of any Lien, mortgage, deed of trust or other
security interest, (c) the making or assignment of any lease or sublease or the making or delivery of any
deed or other instrument of transfer under, pursuant to, in furtherance of, or in connection with this
Reorganization Plan, including, without limitation, any deeds, bills of sale or assignments executed in
connection with any of the transactions contemplated under this Reorganization Plan or the reinvesting,
transfer or sale of any real or personal property of the Reorganization Plan Debtors pursuant to, in
implementation of or as contemplated in this Reorganization Plan (whether to one or more of the
Reorganized Debtors or otherwise), (d) the grant of collateral under the First Out Exit Term Loan
Agreement or the Second Out Exit Term Loan Agreement and (e) the issuance, renewal, modification or
securing of indebtedness by such means, and the making, delivery or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, this Reorganization Plan, including,
without limitation, the Confirmation Order, shall not be subject to any document recording tax, stamp tax,
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conveyance fee or other similar tax, mortgage tax, real estate transfer tax, mortgage recording tax,
Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, sales tax, use tax or
other similar tax or governmental assessment. Consistent with the foregoing, each recorder of deeds or
similar official for any county, city or governmental unit in which any instrument hereunder is to be
recorded shall, pursuant to the Confirmation Order, be ordered and directed to accept such instrument
without requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp tax, transfer
tax, intangible tax or similar tax.

                   5.13.    Effectuating Documents; Further Transactions.

                On and after the Effective Date, the Reorganized Debtors and the managers, officers and
members of the boards of directors thereof, are authorized to and may issue, execute, deliver, file or
record such contracts, securities, instruments, releases and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement and further evidence the terms and
conditions of the Reorganization Plan and the securities issued pursuant to the Reorganization Plan in the
name of and on behalf of the Reorganized Debtors, without the need for any approvals, authorization, or
consents except for those expressly required pursuant to the Reorganization Plan.

                   5.14.    Closing of the Chapter 11 Cases.

                After an Estate has been fully administered, the Reorganized Debtors shall promptly seek
authority from the Bankruptcy Court to close each applicable Chapter 11 Case in accordance with the
Bankruptcy Code and Bankruptcy Rules.

SECTION 6.         DISTRIBUTIONS.

                   6.1.     Distribution Record Date.

                As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Reorganization Plan Debtors or their
respective agents, shall be deemed closed, and there shall be no further changes in the record holders of
any of the Claims or Interests. The Reorganization Plan Debtors or the Reorganized Debtors shall have
no obligation to recognize any transfer of the Claims or Interests occurring on or after the Distribution
Record Date.

                   6.2.     Date of Distributions.

                  Except as otherwise provided herein, the Disbursing Agent shall make the Initial
Distribution to holders of Allowed Claims no later than the Initial Distribution Date and thereafter, the
Disbursing Agent shall from time to time determine, in consultation with the Claims Oversight
Committee, the subsequent Distribution Dates, which shall occur no less frequently than semi-annually.
In the event that any payment or act under the Reorganization Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of such act may
be completed on or as soon as reasonably practicable after the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

               The Disbursing Agent shall maintain, in consultation with the Claims Oversight
Committee, a reserve of Cash from the GUC Distribution and the RDA GUC Distribution (less the
Claims Oversight Committee Reserve) sufficient to pay holders of Disputed General Unsecured Claims
the amount such holders would be entitled to receive under the Reorganization Plan if such Claims were
to become Allowed General Unsecured Claims. In the event the holders of Allowed General Unsecured
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Claims have not received payment in full on account of their Claims after the resolution of all Disputed
Claims, then the Reorganized Debtors shall make a final distribution of all remaining Cash out of the
GUC Distribution and the RDA GUC Distribution in accordance with Section 4.4 of this Reorganization
Plan to all holders of Allowed General Unsecured Claims.

                   6.3.     Disbursing Agent.

                 All distributions hereunder shall be made by Reorganized RDA Holding (or such other
entity designated by Reorganized RDA Holding), as Disbursing Agent, on or after the Effective Date or
as otherwise provided herein; provided, however, that the Senior Notes Indenture Trustee shall be the
Disbursing Agent for the Senior Noteholder Secured Claims on behalf of Reader’s Digest and the
Administrative Agent shall be the Disbursing Agent for the 2012 Senior Credit Agreement Claims. A
Disbursing Agent shall not be required to give any bond or surety or other security for the performance of
its duties, and all reasonable fees and expenses incurred by such Disbursing Agents shall be reimbursed
by the Reorganized Debtors.

              Except as otherwise herein provided, Reorganized RDA Holding shall serve as
Disbursing Agent and authorized representative for, and with respect to, each of the Reorganization Plan
Debtors.

                   6.4.     Powers of Disbursing Agent.

                 A Disbursing Agent shall be empowered to (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties hereunder, (b) make all
distributions contemplated hereby and (c) exercise such other powers as may be vested in the Disbursing
Agent by order of the Bankruptcy Court, pursuant to the Reorganization Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.

                   6.5.     Cancellation of Senior Notes.

                  Each record Holder of a Senior Note Claim shall be deemed to have surrendered the
certificates or other documentation underlying each such Claim, and all such surrendered certificates and
other documentations shall be deemed to be canceled except to the extent otherwise provided herein. The
Indenture Trustee may (but shall not be required to) request that registered Holders of the Senior Notes
surrender their notes for cancellation. Such surrendered Senior Note shall be cancelled solely with
respect to the Debtors, and such cancellation shall not alter the obligations or rights of any non-
Reorganization Plan Debtor third parties vis-à-vis one another with respect to such Senior Note

                   6.6.     Delivery of Distributions.

                 Subject to Bankruptcy Rule 9010, all distributions to any holder of an Allowed Claim
shall be made to a Disbursing Agent, who shall transmit such distribution to the applicable holders of
Allowed Claims. In the event that any distribution to any holder is returned as undeliverable, no further
distributions shall be made to such holder unless and until such Disbursing Agent is notified in writing of
such holder’s then-current address, at which time all currently-due, missed distributions shall be made to
such holder as soon as reasonably practicable thereafter. Undeliverable distributions or unclaimed
distributions shall remain in the possession of the Reorganization Plan Debtors until such time as a
distribution becomes deliverable or holder accepts distribution, or such distribution reverts back to the
Reorganization Plan Debtors or Reorganized Debtors, as applicable, and shall not be supplemented with
any interest, dividends or other accruals of any kind. Such distributions shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code at the expiration of 180 days from the date of
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distribution. After such date, all unclaimed property or interest in property shall revert to the Reorganized
Debtors, and the Claim of any other holder to such property or interest in property shall be discharged and
forever barred. Distributions of holders of General Unsecured Claims that are deemed unclaimed
property pursuant to the preceding sentence shall be redistributed to holders of Allowed General
Unsecured Claims in accordance with Section 4.4 herein.

                   6.7.     Manner of Payment Under Plan.

              At the option of the Reorganization Plan Debtors, any Cash payment to be made
hereunder may be made by a check or wire transfer or as otherwise required or provided in applicable
agreements.

                   6.8.     Fractional Stock.

                  If any distributions of New Common Stock pursuant to the Reorganization Plan would
result in the issuance of a fractional share of New Common Stock, then the number of shares of New
Common Stock to be issued in respect of such distribution will be calculated to one decimal place and
rounded up or down to the closest whole share (with a half share rounded up). The total number of shares
of New Common Stock to be distributed in connection with the Reorganization Plan shall be adjusted as
necessary to account for the rounding provided for in this paragraph.

                   6.9.     Minimum Cash Distributions.

                  The Disbursing Agent shall not be required to make any Initial Distribution or semi-
annual distribution of Cash less than $50 to any holder of an Allowed General Unsecured Claim;
provided, however, that if any distribution is not made pursuant to this Section 6.9, such distribution shall
be added to any subsequent distribution to be made on behalf of the holder’s Allowed Claim. The
Disbursing Agent shall not be required to make any final distributions of Cash less than $25 to any holder
of an Allowed Claim. If either (a) all Allowed General Unsecured Claims (other than those whose
distributions are deemed undeliverable hereunder) have been paid in full or (b) the amount of any final
distributions to holders of Allowed General Unsecured Claims would be $25 or less and the aggregate
amount of cash available for distributions to holders of Allowed General Unsecured Claims is less than
$25,000, then no further distribution shall be made by the Disbursing Agent and any surplus Cash shall be
donated and distributed to an I.R.C. § 501(c)(3) tax-exempt organization selected by the Disbursing
Agent.

                   6.10.    Setoffs.

                 The Reorganization Plan Debtors and the Reorganized Debtors may, but shall not be
required to, set off against any Claim, any claims of any nature whatsoever that the Reorganization Plan
Debtors or the Reorganized Debtors may have against the holder of such Claim; provided, that neither the
failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by the
Reorganization Plan Debtors or the Reorganized Debtors of any such claim the Reorganization Plan
Debtors or the Reorganized Debtors may have against the holder of such Claim.

                   6.11.    Distributions After Effective Date.

               Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be deemed to have
been made on the Effective Date.

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                   6.12.    Allocation of Distributions Between Principal and Interest.

                 Except as otherwise provided in this Reorganization Plan, to the extent that any Allowed
Claim entitled to a distribution under the Reorganization Plan is comprised of indebtedness and accrued
but unpaid interest thereon, such distribution shall be allocated to the principal amount (as determined for
U.S. federal income tax purposes) of the Claim first, and then to accrued but unpaid interest.

SECTION 7.         PROCEDURES FOR DISPUTED CLAIMS.

                   7.1.     Allowance of Claims.

                After the Effective Date, the Reorganized Debtors shall have and shall retain any and all
rights and defenses that the Reorganization Plan Debtor had with respect to any Claim, except with
respect to any Claim deemed Allowed under this Reorganization Plan. Except as expressly provided in
this Reorganization Plan or in any order entered in the Chapter 11 Cases prior to the Effective Date
(including, without limitation, the Confirmation Order), no Claim shall become an Allowed Claim unless
and until such Claim is deemed Allowed under this Reorganization Plan or the Bankruptcy Code or the
Bankruptcy Court has entered a Final Order, including, without limitation, the Confirmation Order, in the
Chapter 11 Cases allowing such Claim.

                   7.2.     Objections to Claims.

                   As of the Effective Date, objections to, and requests for estimation of, Claims against the
Reorganization Plan Debtors may be interposed and prosecuted only by the Reorganized Debtors subject
to the conditions and rights of the Claims Oversight Committee set forth in Section 7.9 herein. Such
objections and requests for estimation shall be served and filed (a) on or before the 180th day following
the later of (i) the Effective Date and (ii) the date that a proof of Claim is filed or amended or a Claim is
otherwise asserted or amended in writing by or on behalf of a holder of such Claim, or (b) such later date
as ordered by the Bankruptcy Court upon motion filed by the Reorganized Debtors.

                   7.3.     Estimation of Claims.

                 The Reorganization Plan Debtors or Reorganized Debtors, as applicable, may at any time
request that the Bankruptcy Court estimate any contingent, unliquidated, or Disputed Claim pursuant to
section 502(c) of the Bankruptcy Code regardless of whether the Reorganization Plan Debtors or
Reorganized Debtors, as applicable, previously objected to such Claim or whether the Bankruptcy Court
has ruled on any such objection, and the Bankruptcy Court will retain jurisdiction to estimate any Claim
at any time during litigation concerning any objection to any Claim, including, without limitation, during
the pendency of any appeal relating to any such objection. In the event that the Bankruptcy Court
estimates any contingent, unliquidated or Disputed Claim, the amount so estimated shall constitute either
the Allowed amount of such Claim or a maximum limitation on such Claim, as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount of such
Claim, the Reorganization Plan Debtors or Reorganized Debtors, as applicable, may pursue
supplementary proceedings to object to the allowance of such Claim. All of the aforementioned
objection, estimation and resolution procedures are intended to be cumulative and not exclusive of one
another. Claims may be estimated and subsequently compromised, settled, withdrawn, or resolved by any
mechanism approved by the Bankruptcy Court.




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                   7.4.     No Distributions Pending Allowance.

               If an objection to a Claim is filed as set forth in Section 7.2, no payment or distribution
provided under the Reorganization Plan shall be made on account of such Claim unless and until such
Disputed Claim becomes an Allowed Claim.

                   7.5.     Distributions After Allowance.

                 To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
(if any) shall be made to the holder of such Allowed Claim in accordance with the provisions of the
Reorganization Plan. On the next Distribution Date after the date that any Disputed Claim becomes an
Allowed Claim (whether by Final Order of the Bankruptcy Court or otherwise), the Disbursing Agent
shall provide to the holder of such Claim the distribution (if any) to which such holder is entitled under
the Reorganization Plan as of the Effective Date, without any interest to be paid on account of such Claim
unless required under applicable bankruptcy law.

                   7.6.     Resolution of Claims.

                 Subject to the conditions and rights of the Claims Oversight Committee set forth in
Section 7.9 of the Reorganization Plan, on and after the Effective Date, the Reorganized Debtors shall
have the authority to compromise, settle, otherwise resolve or withdraw any objections to Claims, and to
compromise, settle or otherwise resolve any Disputed Claims without approval of the Bankruptcy Court.

                   7.7.     Disallowed Claims.

                  All claims held by persons or entities against whom or which any of the Reorganization
Plan Debtors or Reorganized Debtors has commenced a proceeding asserting a Cause of Action under
sections 542, 543, 544, 545, 547, 548, 549 and/or 550 of the Bankruptcy Code shall be deemed
“disallowed” claims pursuant to section 502(d) of the Bankruptcy Code and holders of such claims shall
not be entitled to vote to accept or reject the Reorganization Plan. Claims that are deemed disallowed
pursuant to this section shall continue to be disallowed for all purposes until the avoidance action against
such party has been settled or resolved by Final Order and any sums due to the Reorganization Plan
Debtors or the Reorganized Debtors from such party have been paid.


                   7.8.     Debtor Affiliate Claims.

                 Notwithstanding anything to the contrary herein, all Debtor Affiliates shall file proofs of
claim in connection with the Chapter 11 Cases in accordance with the Reorganization Plan and any order
of the Court establishing a deadline for, or other procedure regarding, the filing of claims in the Chapter
11 Cases.

                   7.9.     Claims Oversight Procedures

                 Notwithstanding anything herein to the contrary, the Reorganized Debtors shall consult in
good faith with the Claims Oversight Committee prior to settling, compromising or allowing (a) any
Claim against any of the Reorganization Plan Debtors in a liquidated amount in excess of $500,000
(including any Claim originally scheduled or filed in an unliquidated amount), (b) any Claim filed in the
Chapter 11 Cases against any of the Reorganization Plan Debtors that has a positive variance, if
scheduled, of more than $50,000 to the corresponding Claim as identified on the Reorganization Plan
Debtors’ Schedules, or (c) any Non-Debtor Intercompany Claims to the extent such Non-Debtor

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Intercompany Claims are to be treated as Class 4 General Unsecured Claims for distribution purposes
(collectively, “Oversight Claims”).

                 The Reorganized Debtors shall notify the Claims Oversight Committee prior to entering
into any settlement or compromise of any Oversight Claims. The Claims Oversight Committee shall have
a period of three (3) Business Days after receipt of such notice to review the proposed settlement or
compromise and notify the Reorganized Debtors of objections, if any, to the proposed settlement or
compromise of such Oversight Claims. Thereafter, the Claims Oversight Committee shall have ten (10)
Business Days after providing notice to the Reorganized Debtors of any objections to file a motion with
the Bankruptcy Court objecting to the proposed settlement or compromise of the Oversight Claims. In
the event the Claims Oversight Committee fails to timely file an objection with the Bankruptcy Court
within the proscribed ten (10) Business Day period, the Reorganized Debtors shall be authorized to enter
into the settlement or compromise without further order of the Bankruptcy Court.

SECTION 8.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                   8.1.     General Treatment.

                  All executory contracts and unexpired leases to which any of the Reorganization Plan
Debtors are parties are hereby rejected, except for an executory contract or unexpired lease that (a)
previously has been assumed or rejected pursuant to Final Order of the Bankruptcy Court, (b) is
specifically designated by the Reorganization Plan Debtors (with the reasonable consent of the Required
Consenting Secured Parties) as a contract or lease to be assumed on the Schedule of Assumed Contracts
to be filed with the Plan Supplement, (c) is otherwise expressly assumed pursuant to the Reorganization
Plan, including without limitation, pursuant to Sections 8.4, 8.5, 8.6 and 8.7 of the Reorganization Plan,
or (d) is the subject of a separate (i) assumption motion filed by the Reorganization Plan Debtors (with the
reasonable consent of the Required Consenting Secured Parties) or (ii) rejection motion filed by the
Reorganization Plan Debtors (with the reasonable consent of the Required Consenting Secured Parties)
under section 365 of the Bankruptcy Code before the Confirmation Date.

                   8.2.     Payments Related to Assumption of Contracts and Leases.

                  Any monetary amounts by which any executory contract and unexpired lease to be
assumed hereunder is in default shall be satisfied, under section 365(b)(1) of the Bankruptcy Code, by the
Reorganization Plan Debtors upon assumption thereof. Any objection by a counterparty to a proposed
assumption of an executory contract or unexpired lease or amount of any Cure must be filed, served, and
actually received by the Reorganization Plan Debtors on or before thirty (30) days after the Effective Date
of the Reorganization Plan applicable to the Reorganization Plan Debtor that is the counterparty to the
executory contract or unexpired lease. Any counterparty to an executory contract or unexpired lease that
fails to object timely to the proposed assumption and assignment of such executory contract or unexpired
lease or such Cure amount will be deemed to have assented to such matters and shall be forever barred,
stopped and enjoined from asserting such objection against the Reorganization Plan Debtors. If there is a
dispute regarding (a) the nature or amount of any Cure, (b) the ability of the Reorganization Plan Debtors
or any assignee to provide “adequate assurance of future performance” (within the meaning of section
365 of the Bankruptcy Code) under the contract or lease to be assumed or (c) any other matter pertaining
to assumption, Cure shall occur following the entry of a Final Order of the Bankruptcy Court resolving
the dispute and approving the assumption or assumption and assignment, as the case may be; provided,
that before the Effective Date, the Reorganization Plan Debtors or the Reorganized Debtors, as applicable
(with the reasonable consent of the Required Consenting Secured Parties), may settle any dispute
regarding the nature or amount of Cure without any further notice to any party or any action, order or
approval of the Bankruptcy Court. If there is a dispute as referred to above, the Reorganization Plan
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Debtors reserve the right to reject, or nullify the assumption or assignment of any executory contract or
unexpired lease no later than 30 days after a Final Order determining the Cure, any request for adequate
assurance of future performance required to assume and assign such executory contract or unexpired
lease, and any other matter pertaining to assumption and/or assignment.

                  Assumption and assignment of any executory contract or unexpired lease pursuant to the
Reorganization Plan, or otherwise, shall result in the full release and satisfaction of any Claims or
defaults, subject to satisfaction of the Cure, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any assumed executory contract or unexpired lease at any time before the effective
date of assumption and/or assignment. Any proofs of claim filed with respect to an executory contract or
unexpired lease that has been assumed shall be deemed disallowed and expunged, without further notice
to or action, order or approval of the Bankruptcy Court or any other entity.

                   8.3.     Rejection Claims.

                 Unless a contract or lease is (a) specifically assumed or rejected by order of the
Bankruptcy Court, (b) listed in the Plan Supplement as an executory contract or lease to be assumed as set
forth in Section 8.1, (c) otherwise expressly assumed pursuant to the terms of the Reorganization Plan, or
(d) the subject of a separate assumption or rejection motion filed by the Reorganization Plan Debtors
(with the reasonable consent of the Required Consenting Secured Parties), the Confirmation Order shall
constitute the Bankruptcy Court’s approval of the rejection of all the leases and contracts, in accordance
with Section 8.1 of the Reorganization Plan, effective as of the Effective Date. In the event that the
rejection of an executory contract or unexpired lease by any of the Reorganization Plan Debtors pursuant
to the Reorganization Plan results in damages to the other party or parties to such contract or lease, a
Claim for such damages, if not heretofore evidenced by a timely filed proof of claim, shall be forever
barred and shall not be enforceable against the Reorganization Plan Debtors or the Reorganized Debtors,
or their respective properties or interests in property as agents, successors or assigns, unless a proof of
claim is filed with the Bankruptcy Court and served upon counsel for the Reorganization Plan Debtors
and the Reorganized Debtors no later than thirty (30) days after the later of (1) the Confirmation Date or
(2) the effective date of rejection of such executory contract or unexpired lease. Any such Claims, to the
extent Allowed, shall be classified as Class 4 General Unsecured Claims.

                   8.4.     Survival of the Reorganization Plan Debtors’ Indemnification Obligations.

                  Any obligations of the Reorganization Plan Debtors pursuant to their corporate charters,
bylaws, limited liability company agreements, other organizational documents, employment agreements
or other agreements to indemnify current and former officers, directors, agents, and/or employees with
respect to all present and future actions, suits, and proceedings against the Reorganization Plan Debtors or
such directors, officers, agents, and/or employees, based upon any act or omission for or on behalf of the
Reorganization Plan Debtors shall not be discharged or impaired by confirmation of the Reorganization
Plan provided that the Reorganized Debtors shall not indemnify directors of the Reorganization Plan
Debtors for any Claims or Causes of Action arising out of or relating to any act or omission that is a
criminal act or constitutes intentional fraud.

                All such obligations shall be deemed and treated as executory contracts to be assumed by
the Reorganization Plan Debtors under the Reorganization Plan and shall continue as obligations of the
Reorganized Debtors unless any such obligation otherwise is specifically rejected pursuant to a separate
order of the Bankruptcy Court or is the subject of a separate rejection motion filed by the Reorganization
Plan Debtors (with the reasonable consent of the Required Consenting Secured Parties) in accordance
with Section 8.1 herein.
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                For the avoidance of doubt, (i) any and all indemnities provided under the 2012 Senior
Credit Agreement (including the indemnities provided in section 4.05 thereunder) shall survive as
obligations under the DIP Loan Agreement, and (ii) any and all indemnities (and other obligations
surviving per their express terms thereunder ) provided under the DIP Facility shall survive as obligations
under the First Out Exit Term Loan or Second Out Exit Term Loan Agreement, as applicable,
notwithstanding in each case the cancellation of the predecessor credit agreement(s).

                   8.5.     Compensation and Benefit Plans.

                  Except as otherwise herein provided, all material employee compensation and Benefit
Plans of the Reorganization Plan Debtors in effect as of the Effective Date shall be deemed to be, and
shall be treated as if they were, executory contracts that are to be assumed under the Reorganization Plan.

                  Pursuant to the Reorganization Plan, Reorganized Reader’s Digest shall assume the
Pension Plan on the Effective Date. The Pension Plan shall be continued in accordance with, and subject
to, its terms, and Reorganized Reader’s Digest shall satisfy the minimum funding standards pursuant to
26 U.S.C. §§ 412 and 430 and 29 U.S.C. §§ 1082 and 1083, be liable for the payment of PBGC premiums
in accordance with Title IV of ERISA, subject to any and all applicable rights and defenses of the
Reorganized Debtors, and administer the Pension Plan in accordance with the provisions of ERISA and
the Internal Revenue Code. Notwithstanding any provision of the Reorganization Plan or the
Confirmation Order to the contrary, the Pension Plan shall be continued and administered in accordance
with, and subject to, its terms and ERISA and the Internal Revenue Code. All claims related to the
Pension Plan and all proofs of claim filed on account thereof shall be deemed withdrawn as of the
Effective Date without any further action.

                   8.6.     Insurance Policies.

                  All insurance policies pursuant to which the Reorganization Plan Debtors have any
obligations in effect as of the date of the Confirmation Order shall be deemed and treated as executory
contracts pursuant to the Reorganization Plan and shall be assumed by the respective Reorganization Plan
Debtors and Reorganized Debtors and shall continue in full force and effect. All other insurance policies
shall revest in the Reorganized Debtors.

                   8.7.     Intellectual Property Licenses and Agreements.

                 All intellectual property contracts, licenses, royalties, or other similar agreements to
which the Reorganization Plan Debtors have any rights or obligations in effect as of the date of the
Confirmation Order shall be deemed and treated as executory contracts pursuant to the Reorganization
Plan and shall be assumed by the respective Reorganization Plan Debtors and Reorganized Debtors and
shall continue in full force and effect unless any such intellectual property contract, license, royalty, or
other similar agreement otherwise is specifically rejected pursuant to a separate order of the Bankruptcy
Court or is the subject of a separate rejection motion filed by the Reorganization Plan Debtors (with the
reasonable consent of the Required Consenting Secured Parties) in accordance with Section 8.1 herein.
Unless otherwise noted hereunder, all other intellectual property contracts, licenses, royalties, or other
similar agreements shall revest in the Reorganized Debtors and the Reorganized Debtors may take all
actions as may be necessary or appropriate to ensure such revesting as contemplated herein.

                   8.8.     Reservation of Rights.

               Neither the exclusion nor inclusion of any contract or lease by the Reorganization Plan
Debtors on any exhibit, schedule or other annex to the Reorganization Plan or in the Plan Supplement, nor
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anything contained in the Reorganization Plan, will constitute an admission by the Reorganization Plan
Debtors that any such contract or lease is or is not in fact an Executory Contract or Unexpired Lease or
that the Reorganization Plan Debtors or the Reorganized Debtors or their respective affiliates has any
liability thereunder.

                Nothing in the Reorganization Plan will waive, excuse, limit, diminish, or otherwise alter
any of the defenses, Claims, Causes of Action, or other rights of the Reorganization Plan Debtors and the
Reorganized Debtors under any executory or non executory contract or any unexpired or expired lease.

                 Nothing in the Reorganization Plan will increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities of the Reorganization Plan Debtors or the Reorganized Debtors
under any executory or non executory contract or any unexpired or expired lease.

                   If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Reorganization Plan Debtors or Reorganized
Debtors, as applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute
to alter their treatment of such contract or lease.

SECTION 9.         CONDITIONS PRECEDENT TO THE EFFECTIVE DATE.

                   9.1.     Conditions Precedent to Confirmation.

                   The occurrence of Confirmation is subject to the following conditions precedent:

                             (a)     the entry of the Disclosure Statement Order;

                        (b)    the Plan Supplement and all of the schedules, documents, and exhibits
contained therein shall have been filed in form and substance satisfactory to the Required Consenting
Secured Parties;

                             (c)     the Bankruptcy Court shall have entered the Confirmation Order;

                             (d)     the occurrence of the Confirmation Date;

                         (e)     an order shall have been entered (which may be the Confirmation Order)
finding that all Claims against the Reorganization Plan Debtors have been forever discharged, including
without limitation, any FTC Claims;

                         (f)     the Restructuring Support Agreement shall not have been terminated, and
shall be in full force and effect and no defaults or event of default thereunder shall have occurred and
remain continuing (to the extent not otherwise cured or waived in accordance with the terms of the
Restructuring Support Agreement); and

                         (g)     the DIP Loan Agreement shall not have been terminated, shall be in full
force and effect and no default or event of default thereunder shall have occurred and remain occurring
(to the extent not otherwise cured or waived in accordance with the terms of the DIP Loan Agreement);.

                   9.2.     Conditions Precedent to the Effective Date.

                The occurrence of the Effective Date of the Reorganization Plan is subject to the
following conditions precedent:

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                          (a)     the Definitive Documents shall contain terms and conditions consistent
in all material respects with this Reorganization Plan and the Restructuring Support Agreement and shall
otherwise be reasonably satisfactory in all respects to the Reorganization Plan Debtors and the Required
Consenting Secured Parties;

                       (b)      all actions, documents and agreements necessary to implement and
consummate the Reorganization Plan, including, without limitation, entry into the documents contained in
the Plan Supplement, including the Definitive Documents with respect to the First Out Exit Term Loan
Agreement, the First Out Letter of Credit Facility, the Second Out Exit Term Loan Agreement, and the
Amended Organizational Documents, each in form and substance reasonably satisfactory to the
Reorganization Plan Debtors and the Required Consenting Secured Parties, and the transactions and other
matters contemplated thereby, shall have been effected or executed;

                        (c)    the Bankruptcy Court shall have entered the Confirmation Order, the
Confirmation Date shall have occurred and the Confirmation Order shall have become a Final Order;

                          (d)      the Restructuring Support Agreement shall not have been terminated, and
shall be in full force and effect;

                        (e)     no material adverse change shall have occurred regarding the feasibility
of the Reorganization Plan or the consummation of the Restructuring including with respect to contingent
and unliquidated claims;

                        (f)     all governmental and third party approvals and consents, including
Bankruptcy Court approval, necessary in connection with the transactions contemplated by the
Reorganization Plan shall have been obtained, not be subject to unfulfilled conditions and be in full force
and effect, and all applicable waiting periods shall have expired without any action being taken or
threatened by any competent authority that would restrain, prevent or otherwise impose materially
adverse conditions on such transactions;

                         (g)     unless on or prior to the Effective Date, (i) the Roll-Up Loans, the New
Money Loans and the obligations under the DIP Facility shall have been paid in full in Cash and the
letters of credit under the DIP Loan Agreement shall have been terminated, or (ii) the conditions
precedent to the effectiveness of the First Out Exit Facilities, as set forth in the First Out Exit Term Sheet,
shall have been satisfied or waived by the Consenting Lender and the conditions precedent to the
effectiveness of the Second Out Term Loan Agreement shall have been satisfied or waived by the New
Money Lenders;

                      (h)     All the conditions precedent to the effectiveness of the Second Out Exit
Loan Agreement shall have been satisfied or waived by the requisite New Money Lenders;

                        (i)      the Non-Dischargeability Deadline shall have expired and (i) no non-
dischargeability complaint shall have been filed or remain pending, and (ii) no Claim in excess of $50,000
shall have been determined by the Bankruptcy Court to be non-dischargeable under the Bankruptcy Code;
and

                         (j)     the DIP Loan Agreement shall not have been terminated, shall be in full
force and effect and no default or event of default thereunder shall have occurred.




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                   9.3.     Waiver of Conditions Precedent.

               Each of the conditions precedent in Sections 9.1 and 9.2 may be waived in writing by the
Reorganization Plan Debtors together with the prior written consent of the Required Consenting Secured
Parties.

                   9.4.     Effect of Failure of Conditions to Effective Date.

                  Unless otherwise extended by the Reorganization Plan Debtors with the consent of the
Required Consenting Secured Parties, if the Effective Date does not occur on or before July 31, 2013 or if
the Confirmation Order is vacated, (i) no distributions under the Reorganization Plan shall be made, (ii)
the Reorganization Plan Debtors and all holders of Claims and Interests shall be restored to the status quo
ante as of the day immediately preceding the Confirmation Date as though the Confirmation Date never
occurred, and (iii) all the Reorganization Plan Debtors’ obligations with respect to the Claims and the
Interests shall remain unchanged and nothing contained herein shall be deemed to constitute a waiver or
release of any claims by or against the Reorganization Plan Debtors or any other entity or to prejudice in
any manner the rights of the Debtors or any other entity in any further proceedings involving the
Reorganization Plan Reorganization Plan Debtors or otherwise.

SECTION 10. EFFECT OF CONFIRMATION.

                   10.1.    Subordinated Claims.

                 The allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the Reorganization Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal and equitable subordination rights relating thereto (including all rights under the
Security Agreement), whether arising under general principles of equitable subordination,
section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code,
the Reorganization Plan Debtors reserve the right to re-classify any Allowed Claim or Interest in
accordance with any contractual, legal or equitable subordination relating thereto.

                   10.2.    Vesting of Assets.

                 On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all
property of the Reorganization Plan Debtors’ estates, including without limitation, the intellectual
property licenses and other agreements set forth above in Section 8.7, shall vest in the Reorganized
Debtors free and clear of all Claims, liens, encumbrances, charges and other interests, except as provided
pursuant to this Reorganization Plan, the Confirmation Order, the First Out Exit Term Loan Agreement,
or the Second Out Exit Term Loan Agreement. The Reorganized Debtors may operate their businesses
and may use, acquire, and dispose of property free of any restrictions of the Bankruptcy Code or the
Bankruptcy Rules and in all respects as if there were no pending cases under any chapter or provision of
the Bankruptcy Code, except as provided herein.

                   10.3.    Discharge of Claims and Termination of Interests.

                 Except as otherwise provided in the Reorganization Plan, effective as of the Effective
Date: (a) the rights afforded in the Reorganization Plan and the treatment of all claims and interests shall
be in exchange for and in complete satisfaction, discharge, and release of all claims and interests of any
nature whatsoever (including any FTC Claims), including any interest accrued on such claims from and
after the Commencement Date, against the Reorganization Plan Debtors or any of their assets, property or
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estates; (b) the Reorganization Plan shall bind all holders of claims and interests, notwithstanding whether
any such holders failed to vote to accept or reject the Reorganization Plan or voted to reject the
Reorganization Plan; (c) all claims and interests shall be satisfied, discharged, and released in full,
including without limitation, any FTC Claims, and the Reorganization Plan Debtors’ liability with respect
thereto shall be extinguished completely, including any liability of the kind specified under section 502(g)
of the Bankruptcy Code; and (d) all entities shall be precluded from asserting against the Reorganization
Plan Debtors, the Reorganization Plan Debtors’ estates, the Reorganized Debtors, their successors and
assigns and their assets and properties any other claims or interests based upon any documents,
instruments or any act or omission, transaction or other activity of any kind or nature that occurred before
the Effective Date.

                   10.4.    Term of Injunctions or Stays.

                 Unless otherwise provided, all injunctions or stays arising under or entered during the
Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
Confirmation Date, shall remain in full force and effect until the later of the Effective Date and the date
indicated in the order providing for such injunction or stay.

                   10.5.    Injunction Against Interference with Plan.

                 From and after the Effective Date, all entities are permanently enjoined from
commencing or continuing in any manner, any suit, action or other proceeding, on account of or
respecting any claim, demand, liability, obligation, debt, right, cause of action, interest or remedy released
or to be released pursuant to the Reorganization Plan or the Confirmation Order.

                   10.6.    Releases by the Reorganization Plan Debtors.

                As of the Effective Date, except for the right to enforce the Reorganization Plan and
the Definitive Documents that remain in effect after the Effective Date, for good and valuable
consideration, including the service of the Released Parties to facilitate the reorganization of the
Reorganization Plan Debtors and the implementation of the restructuring contemplated by the
Reorganization Plan, on and after the Effective Date, the Released Parties are deemed released and
discharged by the Reorganization Plan Debtors, the Reorganized Debtors, and the Estates from any
and all Claims, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
whatsoever, including any derivative claims, asserted or assertable on behalf of the Reorganization
Plan Debtors, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
in law, equity or otherwise, that the Reorganization Plan Debtors, the Reorganized Debtors, the
Estates or their affiliates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the holder of any Claim or Interest or other entity,
based on or relating to, or in any manner arising from, in whole or in part, the Reorganization Plan
Debtors, the Chapter 11 Cases, the purchase, sale or rescission of the purchase or sale of any
security of the Reorganization Plan Debtors or the Reorganized Debtors, the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in the Reorganization
Plan, the business or contractual arrangements between any Reorganization Plan Debtor and any
Released Party, the restructuring of Claims and Interests before or during the Chapter 11 Cases,
the negotiation, formulation or preparation of the Reorganization Plan, or related agreements,
instruments or other documents, the solicitation of votes with respect to the Reorganization Plan,
upon any other act or omission, transaction, agreement, event or other occurrence taking place on
or before the Effective Date, other than Claims or Causes of Action arising out of or relating to any
act or omission of a Released Party that is a criminal act or constitutes intentional fraud; provided,

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however, that nothing in the Reorganization Plan shall limit the liability of professionals to their
clients pursuant to N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009).

                   10.7.    Releases By Holders of Claims and Interests.

                 As of the Effective Date, except for the right to enforce the Reorganization Plan and
the Definitive Documents that remain in effect after the Effective Date and the indemnification
obligations that survive the Effective Date, each holder of a Claim or an Interest shall be deemed to
have conclusively, absolutely, unconditionally, irrevocably and forever, released and discharged the
Reorganization Plan Debtors, the Reorganized Debtors and the Released Parties from any and all
Claims, Interests, obligations, rights, suits, damages, Causes of Action, remedies and liabilities
whatsoever, including any derivative Claims asserted on behalf of a Reorganization Plan Debtor,
whether known or unknown, foreseen or unforeseen, existing or hereafter arising, in law, equity or
otherwise, that such entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, the
Reorganization Plan Debtors, the Reorganization Plan Debtors’ restructuring, the Chapter 11
Cases, the purchase, sale or rescission of the purchase or sale of any security of the Reorganization
Plan Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is treated in the Reorganization Plan, the business or contractual
arrangements between any Reorganization Plan Debtor and any Released Party, the restructuring
of Claims and Interests before or during the Chapter 11 Cases, the negotiation, formulation or
preparation of the Reorganization Plan, or related agreements, instruments or other documents,
the solicitation of votes with respect to the Reorganization Plan, upon any other act or omission,
transaction, agreement, event or other occurrence taking place on or before the Effective Date,
other than Claims or Causes of Action arising out of or relating to any act or omission of a Released
Party that is a criminal act or constitutes intentional fraud; provided, however, that nothing herein
shall be deemed to constitute a release or waiver by the Consenting Lender, the Administrative
Agent or the Consenting Secured Noteholders of any rights arising from or in connection with
section 5.5 of the Security Agreement; provided further, however, that nothing in the Reorganization
Plan shall limit the liability of professionals to their clients pursuant to N.Y. Comp. Codes R. &
Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009). No Person shall be discharged, released or relieved
from any liability arising under ERISA or the Internal Revenue Code solely with respect to the
Pension Plan as a result of the Chapter 11 Cases or the Reorganization Plan, nor shall the PBGC,
the Pension Plan or any other Person be enjoined or precluded from enforcing any liability arising
under ERISA or the Internal Revenue Code solely with respect to the Pension Plan as a result of
the Chapter 11 Cases, the Reorganization Plan's provisions or the Reorganization Plan's
Confirmation.

                   10.8.    Exculpation.

                No Exculpated Party shall have or incur, and each Exculpated Party is hereby released
and exculpated from any claim, obligation, cause of action or liability for any claim in connection with or
arising out of, the administration of the Chapter 11 Cases, the negotiation and pursuit of the
Reorganization Plan, or the solicitation of votes for, or confirmation of, the Reorganization Plan, the
funding of the Reorganization Plan, the consummation of the Reorganization Plan, or the administration
of the Reorganization Plan or the property to be distributed under the Reorganization Plan, or any other
transaction contemplated by the foregoing, except for willful misconduct or gross negligence, but in all
respects such entities shall be entitled to reasonably rely upon the advice of counsel with respect to their
duties and responsibilities pursuant to the Reorganization Plan. The Reorganization Plan Debtors, the
Reorganized Debtors, the Creditors Committee, the DIP Lenders, the DIP Agent, the Administrative
Agent, the Senior Credit Agreement Lenders, the Consenting Lender, the Consenting Secured
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Noteholders, the Indenture Trustee, the Unsecured Administrative Agent, the 2011 Secured
Administrative Agent, the Unsecured Lenders, and the 2011 Secured Lenders (and each of their
respective affiliates, agents, directors, officers, employees, advisors and attorneys) have participated in
compliance with the applicable provisions of the Bankruptcy Code with regard to the solicitation and
distribution of the securities pursuant to the Reorganization Plan, and, therefore, are not, and on account
of such distributions shall not be, liable at any time for the violation of any applicable law, rule or
regulation governing the solicitation of acceptances or rejections of the Reorganization Plan or such
distributions made pursuant to the Reorganization Plan, including the issuance of securities thereunder;
provided, however, that nothing herein shall be deemed to constitute a release or waiver by the
Consenting Lender, the Administrative Agent or the Consenting Secured Noteholders of any rights
arising from or in connection with section 5.5 of the Security Agreement; provided, however, that nothing
in the Reorganization Plan shall limit the liability of professionals to their clients pursuant to N.Y. Comp.
Codes R. & Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009). No Person shall be discharged, released or
relieved from any liability arising under ERISA or the Internal Revenue Code solely with respect to the
Pension Plan as a result of the Chapter 11 Cases or the Reorganization Plan, nor shall the PBGC, the
Pension Plan or any other Person be enjoined or precluded from enforcing any liability arising under
ERISA or the Internal Revenue Code solely with respect to the Pension Plan as a result of the Chapter 11
Cases, the Reorganization Plan's provisions or the Reorganization Plan's Confirmation.

                   10.9.    Retention of Causes of Action/Reservation of Rights.

                          (a)    Except as otherwise provided herein, including Sections 10.6, 10.7, 10.8
and 10.9, pursuant to section 1123(b) of the Bankruptcy Code, the Reorganized Debtors shall retain and
may enforce, sue on, settle or compromise (or decline to do any of the foregoing) all claims, rights, causes
of action, suits and proceedings, whether in law or in equity, whether known or unknown, that the
Reorganization Plan Debtors or their estates may hold against any person or entity without the approval of
the Bankruptcy Court, including, without limitation, (i) any and all Claims against any person or entity, to
the extent such person or entity asserts a crossclaim, counterclaim and/or Claim for setoff which seeks
affirmative relief against the Reorganization Plan Debtors, the Reorganized Debtors, their officers,
directors or representatives; and (ii) the turnover of any property of the Reorganization Plan Debtors’
estates; provided, however that the Reorganized Debtors shall not retain (1) any Claims or Causes of
Action against the Released Parties (other than Claims or Causes of Action arising out of or relating to
any act or omission of a Released Party that is a criminal act or constitutes intentional fraud, which
Claims or Causes of Action are hereby preserved); or (2) any Claims or Causes of Action arising under
chapter 5 of the Bankruptcy Code against holders of Allowed General Unsecured Claims (except that
such Claims or Causes of Action may be asserted as a defense to a Claim in connection with the claims
reconciliation and objection procedures). The Reorganized Debtors or their successor(s) may pursue such
retained claims, rights, or causes of action, suits or proceedings, as appropriate, in accordance with the
best interests of the Reorganized Debtors or their successor(s) who hold such rights.

                         (b)     Except as otherwise provided herein, including Sections 10.6, 10.7, 10.8
and 10.9, nothing contained herein or in the Confirmation Order shall be deemed to be a waiver or
relinquishment of any Claim, Cause of Action, right of setoff or other legal or equitable defense which the
Reorganization Plan Debtors had immediately before the Commencement Date, against or with respect to
any Claim left Unimpaired by the Reorganization Plan; provided, however that the Reorganized Debtors
shall not retain any (1) Claims or Causes of Action against the Released Parties (other than Claims or
Causes of Action arising out of or relating to any act or omission of a Released Party that is a criminal act
or constitutes intentional fraud, which Claims or Causes of Action are hereby preserved); or (2) any
Claims or Causes of Action arising under chapter 5 of the Bankruptcy Code against holders of Allowed
General Unsecured Claims (except that such Claims or Causes of Action may be asserted as a defense to a
Claim in connection with the claims reconciliation and objection procedures). The Reorganized Debtors
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shall have, retain, reserve and be entitled to assert all such claims, Causes of Action, rights of setoff and
other legal or equitable defenses which they had immediately before the Commencement Date with
respect to any Claim left Unimpaired by the Reorganization Plan as if the Chapter 11 Cases had not been
commenced, and all of the Reorganized Debtors’ legal and equitable rights respecting any Claim left
Unimpaired by the Reorganization Plan may be asserted after the Confirmation Date to the same extent as
if the Chapter 11 Cases had not been commenced.

                   10.10. Solicitation of the Reorganization Plan.

                 As of and subject to the occurrence of the Confirmation Date: (a) the Reorganization
Plan Debtors shall be deemed to have solicited acceptances of the Reorganization Plan in good faith and
in compliance with the applicable provisions of the Bankruptcy Code, including without limitation,
sections 1125(a) and (e) of the Bankruptcy Code, and any applicable non-bankruptcy law, rule or
regulation governing the adequacy of disclosure in connection with such solicitation and (b) the
Reorganization Plan Debtors and each of their respective directors, officers, employees, affiliates, agents,
financial advisors, investment bankers, professionals, accountants, and attorneys shall be deemed to have
participated in good faith and in compliance with the applicable provisions of the Bankruptcy Code in the
offer and issuance of any securities under the Reorganization Plan, and therefore are not, and on account
of such offer, issuance and solicitation will not be, liable at any time for any violation of any applicable
law, rule or regulation governing the solicitation of acceptances or rejections of the Reorganization Plan
or the offer and issuance of any securities under the Reorganization Plan.

                   10.11. Section 1145 Exemption.

                  The issuance of and the distribution under the Reorganization Plan of the New Common
Stock to the holders of Senior Noteholder Secured Claims under Section 4.3 of this Reorganization Plan
shall be exempt from registration under the Securities Act of 1933 or applicable securities laws without
further act or action by any Person pursuant to section 1145(a) of the Bankruptcy Code.

                 In addition, under section 1145 of the Bankruptcy Code, any securities issued under the
Reorganization Plan which are exempt from such registration pursuant to section 1145(a) of the
Bankruptcy Code will be freely tradable by the recipients thereof, subject to (1) the provisions of section
1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11) of the
Securities Act of 1933; (2) compliance with any rules and regulations of the Securities and Commission,
if any, applicable at the time of any future transfer of such securities or instruments; (3) the restrictions, if
any, on the transferability of such securities and instruments; and (4) applicable regulatory approval.

                   10.12. Plan Supplement.

                The Plan Supplement shall be filed with the Clerk of the Bankruptcy Court by no later
than the Plan Supplement Filing Date. Upon its filing with the Bankruptcy Court, the Plan Supplement
may be inspected in the office of the Clerk of the Bankruptcy Court during normal court hours.
Documents to be included in the Plan Supplement will be posted at the website of the Reorganization
Plan Debtors’ notice, claims, and solicitation agent as they become available.

                   10.13. Corporate and Limited Liability Company Action.

              Upon the Effective Date, all actions contemplated by the Reorganization Plan shall be
deemed authorized and approved in all respects, including (a) the assumption of all employee
compensation and Benefit Plans of the Reorganization Plan Debtors as provided herein, (b) the selection
of the managers, directors, and officers for the Reorganized Debtors, (c) the distribution of the New
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Common Stock, (d) the entry into the First Out Exit Facilities and the Second Out Exit Term Loan
Agreement, (e) the approval of the Restructuring Support Agreement, and (f) all other actions
contemplated by the Reorganization Plan (whether to occur before, on or after the Effective Date), in each
case in accordance with and subject to the terms hereof. All matters provided for in the Reorganization
Plan involving the corporate or limited liability company structure of the Reorganization Plan Debtors or
the Reorganized Debtors, and any corporate or limited liability company action required by the
Reorganization Plan Debtors or the Reorganized Debtors in connection with the Reorganization Plan shall
be deemed to have occurred and shall be in effect, without any requirement of further action by the
security holders, directors, managers or officers of the Reorganization Plan Debtors or the Reorganized
Debtors. On or (as applicable) before the Effective Date, the appropriate officers of the Reorganization
Plan Debtors or the Reorganized Debtors, as applicable, shall be authorized and directed to issue, execute,
and deliver the agreements, documents, securities, and instruments contemplated by the Reorganization
Plan (or necessary or desirable to effect the transactions contemplated by the Reorganization Plan) in the
name of and on behalf of the Reorganized Debtors, including (w) the Amended Organizational
Documents, (x) the First Out Exit Facilities, (y) the Second Out Exit Term Loan Agreement, and (z) any
and all other agreements, documents, securities and instruments relating to the foregoing. The
authorizations and approvals contemplated by this Section 10.13 shall be effective notwithstanding any
requirements under non-bankruptcy law.

SECTION 11. RETENTION OF JURISDICTION.

                On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Cases for, among other things, the
following purposes:

                       (a)    to hear and determine motions and/or applications for the assumption or
rejection of executory contracts or unexpired leases and the allowance, classification, priority,
compromise, estimation or payment of Claims resulting therefrom;

                         (b)      to determine any motion, adversary proceeding, application, contested
matter and other litigated matter pending on or commenced after the Confirmation Date;

                       (c)     to ensure that distributions to holders of Allowed Claims are
accomplished as provided herein;

                       (d)     to consider Claims or the allowance, classification, priority, compromise,
estimation or payment of any Claim;

                       (e)      to enter, implement or enforce such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;

                         (f)    to issue injunctions, enter and implement other orders, and take such
other actions as may be necessary or appropriate to restrain interference by any person with the
consummation, implementation or enforcement of the Reorganization Plan, the Confirmation Order, or
any other order of the Bankruptcy Court;

                        (g)    to hear and determine any application to modify the Reorganization Plan
in accordance with section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile
any inconsistency in the Reorganization Plan, or any order of the Bankruptcy Court, including the
Confirmation Order, in such a manner as may be necessary to carry out the purposes and effects thereof;


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                        (h)     to hear and determine all applications under sections 330, 331 and 503(b)
of the Bankruptcy Code for awards of compensation for services rendered and reimbursement of expenses
incurred before the Confirmation Date;

                        (i)     to hear and determine disputes arising in connection with the
interpretation, implementation or enforcement of the Reorganization Plan, the Plan Supplement, or the
Confirmation Order or any agreement, instrument or other document governing or relating to any of the
foregoing;

                         (j)     to take any action and issue such orders as may be necessary to construe,
interpret, enforce, implement, execute and consummate the Reorganization Plan or to maintain the
integrity of the Reorganization Plan following consummation;

                         (k)     to hear any disputes arising out of, and to enforce, the order approving
alternative dispute resolution procedures to resolve personal injury, employment litigation and similar
claims pursuant to section 105(a) of the Bankruptcy Code;

                       (l)     to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

                       (m)      to hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code (including any requests for
expedited determinations under section 505(b) of the Bankruptcy Code);

                             (n)     to adjudicate, decide, or resolve any Causes of Actions;

                        (o)    to adjudicate, decide or resolve any and all matters related to
section 1141 of the Bankruptcy Code;

                         (p)    to resolve any cases, controversies, suits, disputes or Causes of Action
with respect to the repayment or return of distributions and the recovery of additional amounts owed by
the holder of a Claim for amounts not timely repaid;

                       (q)     to adjudicate any and all disputes arising from or relating to distributions
under the Reorganization Plan;

                        (r)     to hear and determine any other matters related hereto and not
inconsistent with the Bankruptcy Code and title 28 of the United States Code;

                             (s)     to enter a final decree closing the Chapter 11 Cases;

                        (t)    to recover all assets of the Reorganization Plan Debtors and property of
the Reorganization Plan Debtors’ estates, wherever located; and

                         (u)    to hear and determine any rights, Claims or causes of action held by or
accruing to the Reorganization Plan Debtors pursuant to the Bankruptcy Code or pursuant to any federal
statute or legal theory.

                 For the avoidance of doubt, the Bankruptcy Court shall not retain jurisdiction over any
matters arising in connection with the Exit Financing or any transactions related thereto.


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SECTION 12. MISCELLANEOUS PROVISIONS.

                   12.1.    Payment of Statutory Fees.

                  On the Effective Date and thereafter as may be required, the Reorganized Plan Debtors
shall pay all fees incurred pursuant to § 1930 of title 28 of the United States Code, together with interest,
if any, pursuant to § 3717 of title 31 of the United States Code for each Reorganization Plan Debtor’s
case, or until such time as a final decree is entered closing a particular Reorganization Plan Debtor’s case,
a Final Order converting such Reorganization Plan Debtor’s case to a case under chapter 7 of the
Bankruptcy Code is entered or a Final Order dismissing such Reorganization Plan Debtor’s case is
entered.

                   12.2.    Substantial Consummation.

             On the Effective Date, the Reorganization Plan shall be deemed to be substantially
consummated under sections 1101 and 1127(b) of the Bankruptcy Code.

                   12.3.    Dissolution of Creditors Committee.

                  On the Effective Date, the Creditors Committee shall dissolve, and the members thereof
shall be released and discharged from all rights and duties arising from, or related to, the Chapter 11
Cases; provided, however, the Creditors Committee shall exist, and its professionals shall be retained,
after the Effective Date with respect to (a) all applications filed pursuant to sections 330 and 331 of the
Bankruptcy Code and any related hearings; and (b) pending appeals of the Confirmation Order.


                   12.4.    Request for Expedited Determination of Taxes.

                The Reorganized Debtors shall have the right to request an expedited determination under
section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all
taxable periods ending after the Commencement Date through the Effective Date.

                   12.5.    Amendments.

                          (a)     Plan Modifications. The Reorganization Plan may be amended,
modified or supplemented by the Reorganization Plan Debtors in the manner provided for by section
1127 of the Bankruptcy Code or as otherwise permitted by law without additional disclosure pursuant to
section 1125 of the Bankruptcy Code; provided, that such amendments, modifications, or supplements
shall be satisfactory in all respects to the Reorganization Plan Debtors, the Creditors Committee and the
Required Consenting Secured Parties. In addition, after the Confirmation Date, the Reorganization Plan
Debtors may institute proceedings in the Bankruptcy Court to remedy any defect or omission or reconcile
any inconsistencies in the Reorganization Plan or the Confirmation Order, with respect to such matters as
may be necessary to carry out the purposes and effects of the Reorganization Plan.

                      (b)       Other Amendments. Before the Effective Date, the Reorganization Plan
Debtors may make appropriate technical adjustments and modifications to the Reorganization Plan and
the documents contained in the Plan Supplement without further order or approval of the Bankruptcy
Court; provided, however, that such technical adjustments and modifications shall be satisfactory to the
Required Consenting Secured Parties.



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                   12.6.    Effectuating Documents and Further Transactions.

                 Each of the officers of the Reorganized Debtors is authorized, in accordance with his or
her authority under the resolutions of the applicable board of directors or managers, to execute, deliver,
file or record such contracts, instruments, releases, indentures and other agreements or documents and
take such actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Reorganization Plan.

                   12.7.    Revocation or Withdrawal of the Reorganization Plan.

                 The Reorganization Plan Debtors may not revoke or withdraw the Reorganization Plan
before the Effective Date without the consent of the Required Consenting Secured Parties; provided,
however, that the Reorganization Plan Debtors may revoke or withdraw the Reorganization Plan only if it
is in the exercise of the Reorganization Plan Debtors’ fiduciary duty or as otherwise permitted under the
Restructuring Support Agreement. If the Reorganization Plan Debtors take such action, the
Reorganization Plan shall be deemed null and void. In such event, nothing contained herein shall
constitute or be deemed to be a waiver or release of any Claims by or against the Reorganization Plan
Debtors or any other person or to prejudice in any manner the rights of the Reorganization Plan Debtors
or any person in further proceedings involving the Reorganization Plan Debtors.

                   12.8.    Severability of Plan Provisions upon Confirmation.

                  If, before the entry of the Confirmation Order, any term or provision of the
Reorganization Plan is held by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy
Court, at the request of the Reorganization Plan Debtors (to be made only with the consent of the
Required Consenting Secured Parties), shall have the power to alter and interpret such term or provision
to make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void or unenforceable, and such term or provision shall then be
applicable as altered or interpreted; provided, however, that any such alteration and interpretation shall be
acceptable to the Required Consenting Secured Parties. Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the Reorganization Plan will remain in full
force and effect and will in no way be affected, impaired or invalidated by such holding, alteration or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Reorganization Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (1) valid and enforceable pursuant to its terms; (2) integral to the
Reorganization Plan and may not be deleted or modified without the consent of the Reorganization Plan
Debtors or the Reorganized Debtors (as the case may be); and (3) nonseverable and mutually dependent.

                   12.9.    Governing Law.

                 Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement provides otherwise, the rights, duties and
obligations arising under the Reorganization Plan shall be governed by, and construed and enforced in
accordance with, the laws of the State of New York, without giving effect to the principles of conflict of
laws thereof.

                   12.10. Time.

                In computing any period of time prescribed or allowed by the Reorganization Plan, unless
otherwise set forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule
9006 shall apply.
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                   12.11. Immediate Binding Effect.

                Notwithstanding Bankruptcy Rules 3020(e), 6004(h) or 7062 or otherwise, upon the
occurrence of the Effective Date, the terms of the Reorganization Plan and Plan Supplement shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of the
Reorganization Plan Debtors, the holders of Claims and Interests, the Released Parties, the Exculpated
Parties and each of their respective successors and assigns, including, without limitation, the Reorganized
Debtors.

                   12.12. Successor and Assigns.

                The rights, benefits and obligations of any Entity named or referred to in the
Reorganization Plan shall be binding on, and shall inure to the benefit of any heir, executor, administrator,
successor or permitted assign, if any, of each Entity.

                   12.13. Entire Agreement.

                 On the Effective Date, the Reorganization Plan, the Plan Supplement and the
Confirmation Order shall supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings and representations on such subjects, all of which have become merged and
integrated into the Reorganization Plan.

                   12.14. Notices.

                 All notices, requests and demands to or upon the Reorganization Plan Debtors to be
effective shall be in writing (including by facsimile transmission) and, unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually delivered or, in the case
of notice by facsimile transmission, when received and telephonically confirmed, addressed as follows:

                   (i) if to the Reorganization Plan Debtors or Reorganized Debtors:

                             RDA Holding Co.
                             750 Third Avenue
                             New York, NY 10017
                             Facsimile:
                             Attn: Andrea Newborn, Esq.

                                     - and -

                             Weil, Gotshal & Manges LLP
                             767 Fifth Avenue
                             New York, NY 10153
                             Attn: Joseph H. Smolinsky, Esq.
                                   Marcia L. Goldstein, Esq.
                                   Matthew P. Goren, Esq.
                             Telephone: (212) 310-8000
                             Facsimile: (212) 310-8007




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                   (ii) if to the Creditors Committee:

                             Otterbourg, Steindler, Houston & Rosen, P.C.
                             230 Park Avenue
                             New York, NY 10169
                             Attn: Scott L. Hazan, Esq.
                                    David M. Posner, Esq.
                             Telephone: (212) 661-9100
                             Facsimile: (212) 682-6104

               (iii) if to the Administrative Agent, the Senior Credit Agreement Lenders, the Issuing
Lender, the Consenting Lender, the Roll-Up Lender, or the DIP Lender:

                             Milbank, Tweed, Hadley & McCloy LLP
                             1 Chase Manhattan Plaza
                             New York, New York 10005
                             Attn: Abhilash M. Raval, Esq.
                                    Blair M. Tyson, Esq.
                                    Michael E. Comerford, Esq.
                             Telephone: (212) 530-5000
                             Facsimile: (212) 530-5219


                   (iv) if to the New Money Lenders, the Consenting Secured Noteholders, or the DIP
Agent:

                             Kirkland & Ellis LLP
                             300 North LaSalle
                             Chicago, Illinois 60654
                             Attn: James H.M. Sprayregen, P.C.
                             Telephone: (312) 862-2000
                             Facsimile: (312) 862-2200

                             - and -

                             Kirkland & Ellis LLP
                             601 Lexington Avenue
                             New York, New York 10022
                             Attn: Paul M. Basta, Esq.
                                   Nicole L. Greenblatt, Esq.
                             Telephone: (212) 446-4800
                             Facsimile: (212) 446-4900

                 After the Effective Date, the Reorganization Plan Debtors have authority to send a notice
to Entities that to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a
renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the
Reorganization Plan Debtors are authorized to limit the list of Entities receiving documents pursuant to
Bankruptcy Rule 2002 to those Entities who have filed such renewed requests.



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Dated: May 7, 2013
       New York, New York


                                                 Respectfully submitted,


                                                 RDA Holding Co., The Reader’s Digest Association,
                                                 Inc., and each of the Reorganization Plan Debtors


                                                 By:
                                                        Name: Robert E. Guth
                                                        Title: President and Chief Executive Officer




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                                                 Exhibit A

                                      Restructuring Support Agreement




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                      RESTRUCTURING SUPPORT AGREEMENT


           This RESTRUCTURING SUPPORT AGREEMENT is made and entered into as
   of February 17, 2013 (as amended, supplemented or otherwise modified in accordance
   with the terms hereof, this “Support Agreement”, which defined term shall include all
   exhibits and schedules annexed hereto including, without limitation, the Term Sheets (as
   defined below) by and among (i) RDA Holding Co. (“Holding”), The Reader’s Digest
   Association, Inc. (the “Company”), and certain of the Company’s subsidiaries set forth
   on Schedule 1 annexed hereto (together with Holding and the Company, the “Debtors”
   and excluding Direct Entertainment Media Group, Inc., the “Plan Debtors”), (ii) Wells
   Fargo Principal Lending, LLC, as issuing lender and sole lender (Wells Fargo Principal
   Lending, LLC or one of its affiliates, the “Consenting Lender”) under that certain Credit
   Agreement, dated as of March 30, 2012 (the “Credit Agreement”) by and among the
   Debtors, the Consenting Lender and Wells Fargo Bank, N.A., as administrative agent (in
   such capacity, the “Administrative Agent”) and (iii) the undersigned holders (the
   “Consenting Secured Noteholders”) of the $464 million outstanding senior secured notes
   of the Company due 2017 (the “Secured Notes”) issued pursuant to that certain Indenture,
   dated as February 11, 2010 (as amended, supplemented or otherwise modified, the
   “Indenture”) by and among the Debtors, the holders from time to time (the “Secured
   Noteholders”) of the Secured Notes, Wells Fargo Bank, N.A., as indenture trustee (in
   such capacity, the “Indenture Trustee”) and Wilmington Trust FSB, as collateral agent
   (the “Collateral Agent”). The Consenting Lender and the Consenting Secured
   Noteholders are collectively referred to herein as, the “Consenting Secured Parties,” and
   together with the Debtors, the “Parties.”

                                         WHEREAS

           A.      The Company and the Consenting Secured Parties have engaged in
   negotiations to consummate a restructuring of the Company’s indebtedness and other
   obligations, including the Debtors’ obligations under the Credit Agreement and the
   Indenture, pursuant to the terms and conditions set forth in the Restructuring Term Sheet
   attached hereto as Exhibit A (including the DIP Commitment Letter, the related DIP term
   sheet (the “DIP Term Sheet”), the interim DIP Order (the “Interim Order”), chapter 11
   restructuring term sheet (the “Restructuring Term Sheet”), the first out exit term sheet
   (the “First Out Exit Term Sheet”), the second out exit term sheet (the “Second Out Exit
   Term Sheet”) and all other exhibits thereto, collectively, the “Term Sheets”) and
   incorporated into this Support Agreement (the “Restructuring Transactions”).

          B.      The Debtors have requested, and the Consenting Secured Parties have
   agreed, to provide a debtor-in-possession financing facility under that certain credit
   agreement (the “DIP Credit Agreement”) referred to in the Commitment Letter dated as
   of February 17, 2013 (the “DIP Commitment Letter”, which term shall include the Term
   Sheets attached thereto) subject to the terms and conditions thereof.

         C.    The Parties anticipate that the Restructuring Transactions will be
   consummated by all of the Debtors filing voluntary petitions (the “Petitions”) under

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   chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United
   States Bankruptcy Court for the Southern District of New York, White Plains Division
   (the “Bankruptcy Court”) (the date of filing of such voluntary petitions, the “Petition
   Date”, and such cases being the “Chapter 11 Cases”).

          D.      This Support Agreement and the Term Sheets set forth the agreement
   among the Parties concerning their commitment, subject to the terms and conditions
   hereof and thereof, to implement and support the Restructuring Transactions.

          NOW, THEREFORE, in consideration of the foregoing and the promises,
   mutual covenants and agreements set forth herein and for other good and valuable
   consideration, the receipt and sufficiency of which are hereby acknowledged, each Party,
   intending to be legally bound, agrees as follows:

   Section 1. Conditions to Effectiveness of Support Agreement.

           This Support Agreement shall become effective and binding upon each of the
   Parties at 12:01 a.m. prevailing Eastern Time on the date on which all of the following
   conditions are satisfied (the “Effective Date”):

           (a)      The Consenting Secured Parties or their counsel shall have received duly
                    executed signature pages for this Support Agreement signed by the
                    Debtors;

           (b)      The Debtors shall have received duly executed signature pages for this
                    Support Agreement from (i) the Consenting Lender and (ii) Consenting
                    Secured Noteholders holding at least 66 2/3% in principal amount of the
                    prepetition outstanding Secured Notes;

           (c)      The DIP Commitment Letter and the related fee letters shall have been
                    executed by the Debtors and the Consenting Secured Parties party thereto;
                    and

           (d)      All accrued fees and expenses due to the Consenting Secured Parties and
                    their respective counsel (including one prior counsel for the Consenting
                    Lender) will have been paid.

   Section 2. Plan of Reorganization.

   2.1     Support of Acceptable Plan.

           (a)      Subject to Sections 1125 and 1126 of the Bankruptcy Code (if and to the
                    extent applicable), and so long as a Termination Event (as defined below)
                    has not occurred, or has occurred but has been duly waived or cured in
                    accordance with the terms hereof:

                    (1) each Plan Debtor severally (and not jointly) agrees to:


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                     (i)     (A) support and consummate all of the Restructuring
                             Transactions contemplated by the Term Sheets, this
                             Support Agreement and the Acceptable Plan (as defined in
                             Section 2.1(a)(1)(ii)), (B) take any and all necessary and
                             appropriate actions in furtherance of all of the
                             Restructuring Transactions contemplated under this
                             Support Agreement, the Acceptable Plan and the Term
                             Sheets, (C) complete all of the Restructuring Transactions
                             contemplated under this Support Agreement, the Term
                             Sheet and the Acceptable Plan in accordance with the terms
                             hereof and thereof and take all steps necessary and
                             desirable to obtain the Confirmation Order (as defined in
                             Section 2.1.(b)), and (D) obtain any and all required
                             regulatory and/or third-party approvals for such
                             Restructuring Transactions; and

                     (ii)    not directly or indirectly (a) propose or support any plan of
                             reorganization or liquidation in the Chapter 11 Cases other
                             than a chapter 11 plan of reorganization incorporating the
                             terms of the Term Sheets and which chapter 11 plan of
                             reorganization and related disclosure statement (including
                             all exhibits thereto) are otherwise in all material respects, in
                             form and substance satisfactory to the Required Consenting
                             Secured Parties (as defined in section 9.14 herein) (as
                             amended, supplemented or otherwise modified subject to
                             the terms hereof, the “Acceptable Plan” and the
                             “Acceptable Disclosure Statement,” as applicable) (b) take
                             any action which is inconsistent with, or that would
                             unreasonably delay or impede approval or confirmation of
                             the Acceptable Plan or that is otherwise inconsistent with
                             the express terms of this Support Agreement including, for
                             the avoidance of doubt, any action that does not support or
                             is otherwise inconsistent with the approval of the Lender
                             Protections (as defined in the DIP Term Sheet), or (c) seek,
                             solicit, support, encourage or participate in any discussions
                             regarding any other plan, sale, proposal or offer of
                             dissolution, winding up, liquidation, reorganization,
                             merger, consolidation, liquidation or restructuring of any of
                             the Plan Debtors that could reasonably be expected to
                             prevent, delay or impede the confirmation of the
                             Acceptable Plan; and

                     (iii)   provide written notice to the Consenting Secured Parties,
                             within one (1) Business Day of making any determination
                             that its fiduciary duties require it to consider any plan other
                             than the Acceptable Plan.


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                    (2) each Consenting Secured Party, severally (and not jointly) agrees to:

                           (i)     (A) support and consummate all of the Restructuring
                                   Transactions contemplated by the Term Sheets and this
                                   Support Agreement and the Acceptable Plan, (B) take any
                                   and all necessary and appropriate actions in furtherance of
                                   all of the Restructuring Transactions contemplated under
                                   this Support Agreement and the Term Sheets and the
                                   Acceptable Plan, (C) complete all of the Restructuring
                                   Transactions contemplated under this Support Agreement
                                   and the Term Sheet and the Acceptable Plan in accordance
                                   with the terms hereof and thereof; and

                           (ii)    subject to the receipt by such Consenting Secured Party of
                                   the Acceptable Disclosure Statement and other solicitation
                                   materials in respect of the Acceptable Plan, which
                                   Acceptable Disclosure Statement and solicitation materials
                                   reflect the agreement set forth in this Support Agreement
                                   and the Term Sheets and have been approved by the
                                   Bankruptcy Court pursuant to section 1125 of the
                                   Bankruptcy Code and are in all material respects
                                   reasonably satisfactory to the Required Consenting Secured
                                   Parties (collectively, the “Solicitation Materials”): (a) vote,
                                   to the extent such Consenting Secured Party is entitled to
                                   vote under the terms of the Acceptable Plan and the
                                   Bankruptcy Code, all of its claims against the Debtors to
                                   accept the Acceptable Plan by delivering its duly executed
                                   and completed ballot(s) accepting such Acceptable Plan on
                                   a timely basis following the commencement of the
                                   solicitation and its actual receipt of the Solicitation
                                   Materials and ballot(s) and (b) not change or withdraw (or
                                   cause to be changed or withdrawn) such vote.

   For the avoidance of doubt, each of the Consenting Lender, the Consenting Secured
   Noteholders, and the Plan Debtors also agrees, severally and not jointly, that, unless this
   Support Agreement is terminated in accordance with the terms hereof, it will not take any
   action that would in any material respect interfere with, delay, or postpone the
   confirmation or consummation of the Acceptable Plan and implementation of the
   Restructuring Transactions, including, without limitation, objecting to the debtor-in-
   possession financing set forth in the DIP Commitment Letter or propose any alternative
   financing.

   Nothing contained in this Support Agreement shall be deemed to (1) prevent any Party
   from taking, or failing to take, any action that it is obligated to take (or fail to take) in the
   performance of any fiduciary or similar duty which such Party owes to any other person.



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           (b)      Upon confirmation of the Acceptable Plan pursuant to an order in all
                    material respects in form and substance reasonably satisfactory to the
                    Required Consenting Secured Parties (the “Confirmation Order”), and so
                    long as it is not subject to a stay and the conditions to effectiveness thereof
                    have been satisfied or waived, the Consenting Secured Parties and the Plan
                    Debtors shall use commercially reasonable efforts to consummate the
                    Acceptable Plan; provided that the Consenting Lender and the Consenting
                    Secured Noteholders shall only provide the First Out Exit Term Loan and
                    the Second Out Exit Term Loan, respectively, subject to satisfaction of the
                    terms and conditions set forth in the First Out Exit Term Sheet and the
                    Second Out Exit Term Sheet, respectively; provided further that if the
                    terms and conditions set forth in the First Out Exit Term Sheet or the
                    Second Out Exit Term Sheet are not satisfied, the Refinancing Loans and
                    the New Money Loans (as each is defined in the DIP Term Sheet) must be
                    repaid in full in cash.

           (c)      DIP Commitment Letter attached as Exhibit A to the Restructuring Term
                    Sheet as part of the Term Sheets.


   2.2     Confirmation of Acceptable Plan.

           Without limiting any other provision hereof, the Plan Debtors shall each use their
   reasonable best efforts to have the Acceptable Plan confirmed by the Bankruptcy Court
   as expeditiously as possible under the Bankruptcy Code, the Federal Rules of Bankruptcy
   Procedure, and the Local Rules of the Bankruptcy Court (the federal and local rules
   being, the “Bankruptcy Rules”) and within the timeframes contemplated by this Support
   Agreement.


   Section 3. Releases.

           The Acceptable Plan will include a full release from liability by the Plan Debtors
   in favor of the Debtors and their subsidiaries, the Consenting Lender, the Administrative
   Agent, the Consenting Secured Noteholders and the DIP Lenders (the “Released Parties”)
   and all current and former direct and indirect equityholders, members, managing
   members, officers, directors, employees, advisors, principals, attorneys, professionals,
   accountants, investment bankers, consultants, agents, and other representatives (including
   their respective equityholders, members, partners, subsidiaries, affiliates, funds,
   managers, managing members, officers, directors, employees, advisors, principals,
   attorneys, professionals, accountants, investment bankers, consultants, agents, and other
   representatives) of the Released Parties from any claims and causes of action related to or
   arising on or prior to the Effective Date, except for any claims and causes of action
   relating to unlawful acts; provided, however, that nothing herein shall be deemed to
   constitute a release or waiver by the Consenting Lender, the Administrative Agent or the
   Consenting Secured Noteholders of any rights arising from or in connection with that
   certain Security Agreement dated February 19, 2010 (the “Security Agreement”) by and

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   among the Debtors, the Consenting Secured Parties, the Collateral Agent, the
   Administrative Agent and the Indenture Trustee, including, without limitation, all rights
   arising in connection with section 5.5 of such agreement.

   Section 4. Termination Events.

   4.1     Termination Events.

           The occurrence of any of the following (without the need for the taking of any
   action) shall be a “Termination Event”:

           (a)      Upon the effective date of the Acceptable Plan or a written agreement
                    among the Debtors and the Required Consenting Secured Parties
                    terminating this Support Agreement;

           (b)      Upon entry of an order by any court of competent jurisdiction or other
                    competent governmental or regulatory authority making illegal or
                    otherwise restricting, preventing or prohibiting the consummation of the
                    Restructuring Transactions contemplated by the Acceptable Plan or this
                    Support Agreement;

           (c)      Upon filing of any motion or other pleading by one or more of the Debtors
                    seeking the entry of an order, or upon entry of an order, by any court of
                    competent jurisdiction authorizing the sale of all or substantially all of the
                    Debtors’ assets pursuant to section 363 of the Bankruptcy Code or
                    otherwise;

           (d)      The occurrence of any breach of this Support Agreement by any of the
                    Parties (to the extent not otherwise cured or waived in accordance with the
                    terms hereof); provided, that if any Party (other than any Plan Debtor)
                    shall breach its obligations pursuant to this Support Agreement, the
                    Termination Date arising as a result of such act or omission shall apply
                    only to such Party and this Support Agreement shall otherwise remain in
                    full force and effect with respect to the Debtors and all such remaining
                    Parties;

           (e)      On the date that any Plan Debtor withdraws the Acceptable Plan, publicly
                    announces its intention not to support the Acceptable Plan or files any plan
                    of reorganization or liquidation and/or disclosure statement that is not
                    consistent with the Acceptable Plan or Acceptable Disclosure Statement,
                    respectively, or publicly announces its support for any such inconsistent
                    plan and/or disclosure statement, gives the notice described in Section
                    2.1(a)(1)(iii) hereof, or otherwise evinces an intention not to proceed with
                    the Acceptable Plan or to proceed with any alternative plan or form of
                    transaction;

           (f)      On the date of entry of any order in the Chapter 11 Cases terminating the
                    Plan Debtors’ exclusive right to file a plan or plans of reorganization

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                    pursuant to Section 1121 of the Bankruptcy Code; provided that such
                    order is not the result of a motion filed by any Consenting Secured Party;

           (g)      On the date any of the Chapter 11 Cases shall be dismissed or converted to
                    a chapter 7 case, or a chapter 11 trustee with plenary powers, a responsible
                    officer, or an examiner with enlarged powers relating to the operation of
                    the businesses of the Debtors (powers beyond those set forth in Section
                    1106(a)(3) and (4) of the Bankruptcy Code) shall be appointed in any of
                    the Chapter 11 Cases or the Debtors shall file a motion or other request for
                    such relief;

           (h)      On the date of either (1) a filing by any Debtor of any motion, application
                    or adversary proceeding challenging the validity, enforceability, perfection
                    or priority of or seeking avoidance of the liens securing the obligations
                    referred to in the Credit Agreement, the Indenture and the collateral
                    documents related thereto (collectively, the “Secured Obligations”) or any
                    other cause of action against and/or with respect to the Secured
                    Obligations, the prepetition liens securing such Secured Obligations and
                    the Consenting Secured Parties (or if the Debtors support any such motion,
                    application or adversary proceeding commenced by any third party or
                    consent to the standing of any such third party) or (2) the entry of an order
                    of the Bankruptcy Court providing relief against the interests of any
                    Consenting Secured Party with respect to any of the foregoing causes of
                    action or proceedings;

           (i)      Upon any material adverse change regarding the feasibility of the
                    Acceptable Plan arising on or after the Effective Date of this Support
                    Agreement, including, without limitations, the assertion of material
                    contingent and/or unliquidated liabilities, as determined by the Required
                    Consenting Secured Parties in their reasonable discretion;

           (j)      Upon the amendment, modification of, or the filing of a pleading by any
                    of the Plan Debtors that seeks to amend or modify the Acceptable Plan,
                    the Acceptable Disclosure Statement or any documents related to the
                    Acceptable Plan or Acceptable Disclosure Statement, notices, exhibits or
                    appendices, which amendment, modification or filing is inconsistent with
                    this Support Agreement and not otherwise consented to by the Required
                    Consenting Secured Parties;

           (k)      Upon failure of the Debtors to commence the Chapter 11 Cases on or
                    before 11:59 p.m. (New York City time) on February 18, 2013;

           (l)      11:59 p.m. (New York City time) on the fifth (5th) Business Day after the
                    Petition Date, unless prior thereto the Bankruptcy Court enters an interim
                    order in the Chapter 11 Cases of the Debtors under, inter alia Sections
                    105, 361, 362, 363 and 364 of the Bankruptcy Code in form and substance
                    satisfactory to the Required Consenting Secured Parties, authorizing the

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                    Debtors to incur postpetition financing and use cash collateral, granting
                    adequate protection to the prepetition Secured Parties, and scheduling a
                    final hearing pursuant to Bankruptcy Rule 4001(B) (the “Interim DIP
                    Order”);

           (m)      11:59 p.m. (New York City time) on the fortieth (40th) day after the date
                    of entry of the Interim DIP Order, unless prior thereto the Bankruptcy
                    Court enters a final order in the Chapter 11 Cases of the Debtors under,
                    inter alia Sections 105, 361, 362, 363 and 364 of the Bankruptcy Code in
                    form and substance satisfactory to the Required Consenting Secured
                    Parties, authorizing the Debtors to incur postpetition financing and use
                    cash collateral and granting adequate protection to the prepetition Secured
                    Parties (the “Final DIP Order” and together with the Interim DIP Order,
                    the “DIP Orders”);

           (n)      Upon the entry of an order by a court of competent jurisdiction reversing,
                    modifying, amending, staying or vacating either of the Interim DIP Order
                    or the Final DIP Order;

           (o)      11:59 p.m. (New York City time) on the date of the occurrence of an
                    “Event of Default” under, and as such term is defined in, the DIP Credit
                    Agreement and the acceleration of the obligations thereunder;

           (p)      11:59 p.m. (New York City time) on the date that is 25 days after the
                    Petition Date, if the Plan Debtors shall not have filed the Acceptable Plan
                    and the Acceptable Disclosure Statement with the Bankruptcy Court on or
                    before such time;

           (q)      11:59 p.m. (New York City time), on the date that is 75 days after the
                    Petition Date, unless the Bankruptcy Court has entered an order, in form
                    and substance satisfactory to the Required Consenting Secured Parties,
                    approving the Acceptable Disclosure Statement pursuant to Section 1125
                    of the Bankruptcy Code on or before such time;

           (r)      11:59 p.m. (New York City time), on the date that is 15 days following
                    entry of the order approving the Acceptable Disclosure Statement pursuant
                    to Section 1125 of the Bankruptcy Code, unless prior thereto the Company
                    commences the solicitation of acceptances of the Acceptable Plan;

           (s)      11:59 p.m. (New York City time), on July 5, 2013, if the Plan Debtors
                    shall not have filed with the Bankruptcy Court on or before such time a
                    supplement to the Acceptable Plan containing documents in form and
                    substance reasonably satisfactory to the Required Consenting Secured
                    Parties as contemplated by the Term Sheet (the ”Acceptable Plan
                    Supplement“);

           (t)      11:59 p.m. (New York City time), on July 15, 2013, unless the Bankruptcy
                    Court has entered the Confirmation Order on or before such time;

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           (u)      11:59 p.m. (New York City time) on July 31, 2013, unless the “effective
                    date” of the Acceptable Plan has occurred prior thereto;

           (v)      Any of the Lender Protections are not approved in the Interim DIP Order
                    or the Final DIP Order of if such protections or any of the other adequate
                    protection provided to the Consenting Lender is unwound or otherwise
                    successfully challenged at any time after entry of such interim or final
                    order;

           (w)      The non-payment of any accrued, unpaid and ongoing expenses incurred
                    by the Consenting Secured Parties in connection with the Restructuring
                    Transactions and any agreements related thereto in accordance with
                    section 9.12 of this Support Agreement; or

           (x)      11:59 p.m. (New York City time), on the date that is 60 days after the
                    Petition Date, unless the Bankruptcy Court has entered an order
                    establishing bar dates for submitting proofs of claim and requests for
                    payment pursuant to section 503(b)(9) of the Bankruptcy Code.


   4.2     Additional Debtor Termination Events.

           The Debtors may terminate this Support Agreement upon five (5) Business Days
   prior written notice to the Consenting Secured Parties upon the occurrence of either of the
   following events: (i) the breach by any Consenting Secured Party of the representations,
   warranties, or covenants of such Consenting Secured Party set forth in this Support
   Agreement that would be reasonably likely to have a material adverse impact on the
   Debtors, or the consummation of the Restructuring Transactions, that remains uncured
   for a period of five (5) Business Days after receipt by such Consenting Secured Party of
   notice of such breach; provided that this Support Agreement shall otherwise remain in
   effect with respect to non-breaching Consenting Secured Parties; or (ii) the board of
   directors of the Company reasonably determines based upon the written advice of outside
   counsel that proceeding with the Restructuring Transactions would be inconsistent with
   the exercise of its fiduciary duties.

           Notwithstanding anything to the contrary herein, the releases provided for in
   Section 3 hereof shall survive the termination of this Support Agreement under either
   Section 4.1 or 4.2 hereof; provided, that the releases set forth in Section 3 herein shall
   automatically be null and void and of no further force and effect as if the release had
   never been granted with respect to any Party that has breached the terms of the
   penultimate paragraph of Section 2.1(a) hereof or any other terms herein in any material
   respect.

   4.3     Termination Event Procedures.

            Upon the occurrence of a Termination Event under (i) Section 4.1 (a), (b), (c), (e),
   (f), (g), (h), (j), (l), (m), (n), (o) or (u) and (v) of this Support Agreement, this Support
   Agreement shall automatically terminate without any further action or notice, and

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   (ii) Section 4.1 (d), (i), (k), (p), (q), (r), (s), (t), (w) and (x) of this Support Agreement,
   five (5) Business Days after Consenting Secured Parties or, with respect to a Termination
   Event under Section 4.1(c) which has occurred as a result of a breach of this Support
   Agreement by any Party, the other non-breaching Parties, shall have given written notice
   of the occurrence of such Termination Event to the other parties hereto and such
   Termination Event shall not have been cured during such five (5) Business Days after
   receipt of such notice (or otherwise waived in writing by the requisite Parties in
   accordance with the terms hereof), this Support Agreement shall terminate (the date of
   termination under clause (i) or (ii) hereof being the “Termination Date”); provided,
   however, that any waiver of an event of default under the DIP Credit Agreement that has
   been granted without the consent of the Consenting Lender shall in no way be deemed to
   constitute a waiver of any Termination Event hereunder. For the avoidance of doubt, the
   automatic stay arising pursuant to Section 362 of the Bankruptcy Code in the Chapter 11
   Cases shall be deemed waived or modified for purposes of providing notice hereunder or
   terminating this Support Agreement and, in any event, the giving of notice of termination
   by any Party pursuant to this Support Agreement shall not be a violation of the automatic
   stay of Section 362 of the Bankruptcy Code. For the further avoidance of doubt, the
   Debtors acknowledge that the foregoing stipulation is a material and necessary
   inducement for the Consenting Lender’s entry into this Support Agreement.

   Section 5. Remedies.

            It is understood and agreed by each of the Parties that any breach of this Support
   Agreement would give rise to irreparable harm for which money damages would not be
   an adequate remedy and, accordingly, the Parties agree that, in addition to any other
   remedies, each Party shall be entitled, without the requirement of posting a bond or other
   security, to specific performance and injunctive or other equitable relief. The Debtors
   each agree that for so long as any Party has not taken any action to prejudice the
   enforceability of this Support Agreement (including, without limitation, alleging in any
   pleading that this Support Agreement is unenforceable), and has taken such actions as are
   reasonably required or desirable for the enforcement hereof, then such Party shall have no
   liability for damages hereunder in the event a court determines that this Support
   Agreement is not enforceable. Without limiting the provisions hereof, the Parties hereby
   agree that if any Party breaches the terms of the penultimate paragraph of Section 2.1(a)
   hereof or any other terms herein in any material respect (to the extent not otherwise cured
   or waived in accordance with the terms hereof), the release contemplated in Section 3
   hereof shall not be granted to such breaching Party.

   Section 6. Mutual Representations, Warranties and Covenants.

   6.1     Power and Authority.

           Each Party severally, and not jointly, represents to each other Party that, as of the
   date of this Support Agreement, (i) such Party has all requisite corporate, partnership, or
   limited liability company power and authority to enter into this Support Agreement and
   to carry out the Restructuring Transactions contemplated by, and perform its respective
   obligations under, this Support Agreement, and (ii) the execution and delivery of this

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   Support Agreement and the performance of its obligations hereunder have been duly
   authorized by all necessary action on its part.

   6.2     Enforceability.

          Each Party severally, and not jointly, represents to each other Party that this
   Support Agreement is the legally valid and binding obligation of it, enforceable in
   accordance with its terms, except as enforcement may be limited by bankruptcy,
   insolvency, reorganization or other similar laws limiting creditors’ rights generally or by
   equitable principles relating to enforceability or ruling of the Bankruptcy Court.

   6.3     Representation.

          Each of the Parties to this Support Agreement acknowledges that it has been
   represented by counsel (or had the opportunity to and waived its right to do so) in
   connection with this Support Agreement and the Restructuring Transactions
   contemplated by this Support Agreement. Accordingly, any rule of law or any legal
   decision that would provide any Party hereto with a defense to the enforcement of the
   terms of this Support Agreement against such Party based upon lack of legal counsel
   shall have no application and is expressly waived. The provisions of this Support
   Agreement shall be interpreted in a reasonable manner to effect the intent of the Parties
   hereto. None of the Parties hereto shall have any term or provision construed against
   such Party solely by reason of such Party having drafted the same.

   6.4     Governmental Consents.

           Each Party severally, and not jointly, represents to each other Party that, as of the
   date of this Support Agreement, the execution, delivery, and performance by it of this
   Support Agreement do not and shall not require any registration or filing with, consent or
   approval of, or notice to, or other action to, with, or by, any Federal, state, or other
   governmental authority or regulatory body, except (i) such filings as may be necessary
   and/or required for disclosure by the Securities and Exchange Commission and
   applicable state securities or “blue sky” laws, (ii) any filings in connection with the
   Chapter 11 Cases, including the approval of the Acceptable Disclosure Statement and
   confirmation of the Acceptable Plan, and (iii) in the case of the Debtors, (A) filings of
   amended articles of incorporation or formation or other organizational documents with
   applicable state authorities, and (B) other registrations, filings, consents, approvals,
   notices, or other actions that are reasonably necessary to maintain permits, licenses,
   qualifications, and governmental approvals to carry on the business of the Debtors.

   6.5     Ownership.

           (a)    Each Consenting Secured Party severally, and not jointly, represents and
   warrants that, as of the date hereof, (i) such Consenting Secured Party either (A) is the
   sole legal and beneficial owner of its share of the obligations under the Credit Agreement
   or Secured Notes, as applicable or (B) is the legal owner of its share of the prepetition
   obligations under the Credit Agreement or Secured Notes, as applicable, and has the

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   power and authority to bind the legal and beneficial owner(s) of such prepetition Secured
   Notes or Credit Agreement obligations to the terms of this Support Agreement, (ii) such
   Consenting Secured Party (a) has full power and authority to vote on and consent to or
   (b) has received direction from the party having full power and authority to vote on and
   consent to such matters concerning its share of the prepetition Secured Notes or Credit
   Agreement obligations and to exchange, convert, assign and transfer such prepetition
   Secured Notes or Credit Agreement obligations and (iii) other than pursuant to this
   Support Agreement, such prepetition Secured Notes or Credit Agreement obligations are
   free and clear of any pledge, lien, security interest, charge, claim, equity, option, proxy,
   voting restriction, right of first refusal or other limitation on disposition, or encumbrances
   of any kind, that would adversely affect in any way such Consenting Secured Party’s
   performance of its obligations contained in this Support Agreement at the time such
   obligations are required to be performed.

   6.6     Debtors’ Reporting Requirements.

           The Debtors shall promptly deliver to the Consenting Lender (i) all documents
   and reports and (ii) any and all other information delivered to the DIP Lenders (as
   defined in the DIP Term Sheet) or requested by the DIP Lenders (including scheduling
   bi-weekly update calls (with question and answer periods) with senior management of the
   Debtors and their respective representatives and advisors), in each instance as set forth in
   the section entitled “Affirmative Covenants” in the DIP Term Sheet and within the time
   periods specified in the DIP Term Sheet (or, if no time period is specified therein, on a
   prompt basis).

   6.7     Acknowledgments Regarding Exit Financing

           Notwithstanding anything herein to the contrary, the Parties hereto acknowledge
   and agree that the agreement of the Consenting Lender to provide the financing described
   in the First Out Exit Term Sheet shall automatically terminate on the date 180 days after
   the Petition Date. The Consenting Lender agrees that, on and after such date, and subject
   to the Consenting Lender receiving customary and acceptable indemnification from the
   Debtors, the Consenting Lender will use good faith efforts to arrange a credit facility (the
   “Replacement Facility”) to refinance any Refinancing Loans that have not been paid in
   full on the maturity date of the Facility (as defined in the DIP Term Sheet). In connection
   therewith, the Debtors agree to assist the Consenting Lender in its arrangement efforts
   and to provide such information as the Consenting Lender reasonably requests. It is
   understood and agreed that the Replacement Facility shall have terms and conditions
   (including without limitation structure, pricing, fees, tenor and covenants, due diligence
   conditions, approvals and any other provisions) satisfactory to the Consenting Lender in
   its sole discretion and shall be subject to any necessary credit approvals. The Debtors
   acknowledge that the foregoing is neither an expressed nor an implied commitment by
   the Consenting Lender or any of its affiliates to provide any part of the Replacement
   Facility or to provide or purchase loans in connection therewith, which commitment, if
   any, will only be set forth in a separate commitment letter in form and substance
   satisfactory to the Consenting Lender and approved by the Bankruptcy Court. The
   agreement of the Consenting Lender under this Section 6.7 shall automatically terminate

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   (without the taking of any action) on the earlier of (i) the date that is 270 days after the
   Petition Date, (ii) the termination of this Support Agreement and (iii) upon any of the
   conditions precedent set forth in Annex A to the First Out Exit Term Sheet (other than the
   conditions set forth in clause (d) thereof) being determined not to have been satisfied or
   no longer capable of being satisfied.

   Section 7. No Material Misstatement or Omission.

          The Debtors represent that none of the material and information provided by or on
   behalf of the Debtors to the Consenting Secured Parties in connection with the
   Restructuring Transactions contemplated in this Support Agreement, when read or
   considered together, contains any untrue statement of a material fact or omits to state a
   material fact necessary in order to prevent the statements made therein from being
   materially misleading.

   Section 8. Acknowledgement.

           This Support Agreement and the Restructuring Transactions contemplated herein
   are the product of negotiations among the Debtors and the Consenting Secured Parties,
   together with their respective representatives. This Support Agreement is not, and shall
   not be deemed to be, a solicitation of votes for the acceptance of the Acceptable Plan or
   any plan of reorganization for the purposes of Sections 1125 and 1126 of the Bankruptcy
   Code or otherwise. The Debtors will not solicit acceptances of the Acceptable Plan from
   any Consenting Secured Party until such Consenting Secured Party has been provided
   with copies of the Acceptable Disclosure Statement approved by the Bankruptcy Court.

   Section 9. Miscellaneous Terms.

   9.1     Assignment; Transfer Restrictions.

           (a)      Each Consenting Secured Party hereby agrees, for so long as this Support
                    Agreement shall remain in effect as to it, not to sell, assign, transfer,
                    hypothecate or otherwise dispose of any of its pro rata share of the
                    prepetition Secured Notes, Credit Agreement obligations or obligations
                    under the DIP Credit Agreement (the “DIP Loans”) (if any) unless prior
                    thereto the transferee thereof executes and delivers a Secured Party
                    Joinder (as defined in section 9.3(a)) to the Administrative Agent at least
                    two (2) Business Days prior to the relevant transfer. Thereafter, such
                    transferee shall be deemed to be a Consenting Secured Party for purposes
                    of this Support Agreement.

           (b)      Any sale, transfer, assignment, hypothecation or other disposition by any
                    Consenting Secured Party of any or all of its pro rata share of the
                    prepetition Secured Notes, Credit Agreement obligations or DIP Loans (if
                    any) that does not comply with the procedures set forth in Section 9.1(a)
                    shall be deemed void ab initio.



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           (c)      Nothing herein shall be construed to restrict any Consenting Secured
                    Party’s right to acquire additional prepetition Secured Notes, Credit
                    Agreement obligations or DIP Loans. To the extent any Consenting
                    Secured Party acquires as legal owner additional prepetition Secured
                    Notes, Credit Agreement obligations or DIP Loans, the Parties agree that
                    such prepetition Secured Notes, Credit Agreement obligations and DIP
                    Loans shall be deemed to be subject to the terms of this Support
                    Agreement upon the Consenting Secured Party’s acquisition of such
                    additional Secured Notes, Credit Agreement obligations or DIP Loans.
                    Notwithstanding the foregoing provisions of this Section 9.1, any
                    Consenting Secured Party may, at any time and without notice to or
                    consent from any other party, pledge or grant a security interest in all or
                    any portion of its rights (including, without limitation, rights to payment
                    of interest and repayment of principal) under the Indenture, the Credit
                    Agreement or the DIP Credit Agreement to secure obligations of such
                    Consenting Secured Party to a Federal Reserve Bank; provided that no
                    such pledge or grant of a security interest shall release such Consenting
                    Secured Party from any of its obligations hereunder or substitute any such
                    pledgee or grantee for such Consenting Secured Party as a party hereto.

   9.2     No Third Party Beneficiaries.

           Unless expressly stated herein, this Support Agreement shall be solely for the
   benefit of the Parties and no other person or entity shall be a third party beneficiary.

   9.3     Joinder.

           (a)      Any person that receives or acquires a portion of the prepetition Secured
                    Notes, Credit Agreement obligations or DIP Loans pursuant to a sale,
                    assignment, transfer, hypothecation or other disposition of such prepetition
                    Secured Notes, Credit Agreement obligations or DIP Loans by a
                    Consenting Secured Party hereby agrees to be bound by all of the terms of
                    the Term Sheet and this Support Agreement (as the same may be hereafter
                    amended, restated or otherwise modified from time to time) (a “Joining
                    Secured Party”) by executing and delivering a joinder in the form of
                    Exhibit B hereto (the “Secured Party Joinder”) to the Administrative
                    Agent. The Joining Secured Party shall thereafter be deemed to be a
                    “Consenting Secured Party” and a Party for all purposes under this
                    Support Agreement.

           (b)      With respect to the aggregate principal amount of prepetition Secured
                    Notes, Credit Agreement obligations or DIP Loans held by the Joining
                    Secured Party upon consummation of the sale, assignment, transfer,
                    hypothecation or other disposition of such prepetition Secured Notes,
                    Credit Agreement obligations or DIP Loans, the Joining Secured Party
                    hereby makes the representations and warranties of the Consenting


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                    Secured Parties set forth in Section 6 of this Support Agreement to each of
                    the other Parties to this Support Agreement.

   9.4     Entire Agreement.

          This Support Agreement constitutes the entire agreement of the Parties with
   respect to the subject matter of this Support Agreement, and supersedes all other prior
   negotiations, agreements, and understandings, whether written or oral, among the Parties
   with respect to the subject matter of this Support Agreement.

   9.5     Counterparts.

           This Support Agreement may be executed in one or more counterparts, each of
   which shall be deemed an original and all of which shall constitute one and the same
   agreement. Delivery of an executed signature page of this Support Agreement by
   facsimile transmission shall be effective as delivery of a manually executed counterpart
   hereof.

   9.6     Settlement Discussions.

           This Support Agreement and the Term Sheets attached hereto as Exhibit A are
   part of a proposed settlement of disputes among the Parties hereto. Nothing herein shall
   be deemed to be an admission of any kind. Pursuant to Federal Rule of Evidence 408 and
   any applicable state rules of evidence, this Support Agreement and the Term Sheets
   annexed hereto as Exhibit A, documents and negotiations relating thereto shall not be
   admissible into evidence in any proceeding other than a proceeding to enforce the terms
   of this Support Agreement.

   9.7     Continued Banking Practices.

           Notwithstanding anything herein to the contrary, each Consenting Secured Party
   and its affiliates may accept deposits from, lend money to, and generally engage in any
   kind of banking, investment banking, trust or other business with, or provide debt
   financing, equity capital or other services (including financial advisory services) to any
   Debtor or any affiliate of any Debtor or any other Person, including, but not limited to,
   any Person proposing or entering into a transaction related to or involving any Debtor or
   any affiliate thereof.

   9.8     Reservation of Rights.

           (a)      Except as expressly provided in this Support Agreement, nothing herein is
                    intended to, does or shall be deemed in any manner to waive, limit, impair
                    or restrict the ability of each of the Consenting Secured Parties to protect
                    and preserve all of its rights and remedies under the DIP Credit
                    Agreement, the DIP Orders or any other order of the Bankruptcy Court or
                    other court of competent jurisdiction, or its full participation in the
                    Chapter 11 Cases.

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           (b)      Without limiting Section 9.8(a) in any way, if the Restructuring
                    Transactions contemplated by this Support Agreement or otherwise set
                    forth in the Acceptable Plan are not consummated as provided herein, if a
                    Termination Date occurs, or if this Support Agreement is otherwise
                    terminated for any reason, the Consenting Secured Parties each fully
                    reserve any and all of their respective rights, remedies and interests under
                    the Indenture, the Credit Agreement, the DIP Credit Agreement and
                    related post petition loan documents, applicable law and in equity.

           (c)      Notwithstanding anything herein to the contrary, the Parties acknowledge
                    that the support of each Consenting Secured Party contained in this
                    Support Agreement relates solely to such Consenting Secured Party’s
                    rights and obligations as a lender under the Credit Agreement, the
                    Indenture and/or the DIP Credit Agreement (if applicable) with respect to
                    the principal amounts identified on such Consenting Secured Party’s
                    signature page and as provided in Section 9.1 and does not bind such
                    Consenting Secured Party or its affiliates with respect to any other
                    indebtedness, obligations or liabilities owed by the Company or any of its
                    subsidiaries and affiliates to such Consenting Secured Party or any
                    affiliate of such Consenting Secured Party (for the avoidance of doubt, if
                    the Consenting Secured Party is specified on the relevant signature page as
                    a particular group or business within an entity, “Consenting Secured
                    Party” shall mean such group or business and shall not mean the entity or
                    its affiliates, or any other desk or business thereof, or any third party funds
                    advised thereby). For purposes of this Support Agreement, “Consenting
                    Secured Party” shall not include a holder of Loans under the Indenture or
                    DIP Loans signatory hereto in its capacity or to the extent of its holdings
                    as a public-side broker, dealer or market maker of Loans under the
                    Indenture or DIP Loans or any other claim against or security in the
                    Debtors.

           (d)      Notwithstanding anything herein to the contrary, the Parties acknowledge
                    that the support of the Consenting Lender contained in this Agreement
                    (and its rights and obligations hereunder) relates solely to its claims set
                    forth on its signature page or hereafter acquired and does not bind the
                    Consenting Lender or any of its affiliates with respect to any other claims,
                    equity, or other indebtedness of the Debtors or any of their subsidiaries
                    and affiliates. Notwithstanding anything else herein for purposes of this
                    Support Agreement, (x) claims of the Consenting Lender that are held by
                    it in a fiduciary or similar capacity and (y) claims held by the Consenting
                    Lender in its capacity as a broker, dealer or market maker of loans under
                    the Credit Agreement or with respect to any other claim against or security
                    in the Debtors (including any loans or claims held in inventory with
                    respect to such broker, dealer, or market-making activities, provided that
                    the positions with respect to such loans or claims are separately identified
                    on the internal books and records of such Consenting Lender) shall not, in
                    either case (x) or (y), be bound by or subject to this Support Agreement.

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                    For the avoidance of doubt, if the Consenting Lender is specified on its
                    signature page as a particular group or business within an entity,
                    “Consenting Lender” shall mean such group or business and shall not
                    mean the entity or its affiliates, or any other desk or business thereof, or
                    any third party funds advised thereby.

   9.9     Successors.

          This Support Agreement is intended to bind the Parties and inure to the benefit of
   the Parties and their respective successors, assigns, heirs, executors, administrators and
   representatives; provided, however, that nothing contained in this Section 9.9 shall be
   deemed to permit any transfer, tender, vote or consent, of any claims other than in
   accordance with the terms of this Support Agreement.

   9.10    Publicity.

          The Parties agree that all public announcements of the entry into or the terms and
   conditions of this Support Agreement shall be mutually, reasonably acceptable to each of
   the Parties and no such announcement shall be made before obtaining the consent of the
   Required Consenting Secured Parties; provided however that the Plan Debtors may
   publicly disclose this Support Agreement and the contents hereof in their Chapter 11
   Cases or other proceedings under the Bankruptcy Code or as otherwise required by
   applicable law (including rules and regulations promulgated thereunder); provided that in
   no event shall any Party disclose the specific holdings under the Credit Agreement and/or
   the Indenture of any signatory to this Support Agreement without such signatory’s
   express consent.

   9.11    Cooperation; Chapter 11 Related Matters.

           The Parties shall, and the Company shall cause each of the Plan Debtors to,
   cooperate with each other in good faith and shall coordinate their activities (to the extent
   practicable) in respect of all matters concerning the implementation and consummation of
   the Restructuring. The Company shall provide draft copies of all “first day” motions or
   applications and other documents the Debtors intend to file with the Bankruptcy Court
   (including the Plan, Disclosure Statement and all related documents) to counsel for the
   Consenting Lender and the Consenting Secured Noteholders, if reasonably practicable, at
   least two (2) days prior to the date when the Company intends to file any such pleading
   or other document (and, if not reasonably practicable, as soon as reasonably practicable
   prior to filing) and shall consult in good faith with such counsel regarding the form and
   substance of any such proposed filing with the Bankruptcy Court.

   9.12    Advisors to the Consenting Secured Parties

          The Company shall pay, when due and payable, the respective accrued, unpaid
   and ongoing expenses incurred by the Consenting Secured Parties in connection with the
   Restructuring Transactions and any agreements related thereto, including the fees,
   charges and disbursements of (a) counsel to such parties limited to (i) one primary

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   counsel for the Consenting Lender (presently Milbank, Tweed, Hadley & McCloy LLP
   and previously Cahill Gordon & Reindel LLP), as well as any conflicts counsel, special
   counsel and local counsel in any relevant jurisdiction retained by the Consenting Lender,
   and (ii) one primary counsel for the Consenting Secured Noteholders (presently Kirkland
   & Ellis LLP), as well as any conflicts counsel, special counsel and local counsel in any
   relevant jurisdiction retained by the Consenting Secured Noteholders, and (b) any
   financial advisors, investment bankers and other specialty consultants retained by the
   Consenting Secured Noteholders (presently Moelis & Company for the Consenting
   Secured Noteholders). All such fees, expenses and reimbursements incurred up to the
   Petition Date shall be paid in full prior to the Petition Date (without deducting any
   retainers) so long as estimates for such fees, expenses and reimbursements are presented
   to the Company by February 15, 2013.

   9.13    Governing Law; Waiver of Jury Trial; Indemnity.

           (a)      The Parties waive all rights to trial by jury in any jurisdiction in any
                    action, suit, or proceeding brought to resolve any dispute between the
                    Parties under this Support Agreement, whether sounding in contract, tort
                    or otherwise.

           (b)      This Support Agreement shall be governed by and construed in
                    accordance with the laws of the State of New York, without regard to any
                    conflicts of law provision which would require the application of the law
                    of any other jurisdiction. By its execution and delivery of this Support
                    Agreement, each Party hereby irrevocably and unconditionally agrees for
                    itself that, subject to the following sentence, any action, suit or proceeding
                    against it with respect to any matter under or arising out of or in
                    connection with this Support Agreement or for recognition or enforcement
                    of any judgment rendered in any such action, suit or proceeding, may be
                    brought in any state or federal court of competent jurisdiction in New
                    York County, State of New York, and by execution and delivery of this
                    Support Agreement, each of the Parties hereby irrevocably accepts and
                    submits itself to the nonexclusive jurisdiction of such court, generally and
                    unconditionally, with respect to any such action, suit or proceedings.

           (c)      Notwithstanding the foregoing, if the Chapter 11 Cases are commenced,
                    nothing in Section 9.12(a) or (b) shall limit the authority of the
                    Bankruptcy Court to hear any matter related to or arising out of this
                    Support Agreement.

   9.14    Pending Transfers.

           Notwithstanding anything to the contrary provided herein, if a Consenting
   Secured Party has assigned all or a portion of the Secured Notes or Credit Agreement
   obligations that it beneficially owns as of the date hereof but such assignment has not
   settled as of the date hereof (such Secured Notes or Credit Agreement obligations,
   “Pending Transfer Obligations”), then such Consenting Secured Party shall be permitted

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   to exclude from the amount of the Secured Notes or Credit Agreement obligations listed
   on its signature page an amount of Pending Transfer Obligations equal to the Pending
   Transfer Obligations assigned to any transferee that has instructed such Consenting
   Secured Party not to execute this Agreement (such excluded Secured Notes or Credit
   Agreement obligations, the “Excluded Obligations”). Such Consenting Secured Party
   shall not be bound by the terms hereof with respect to any Excluded Obligations.

   9.15    Amendments, Modifications, Waivers.

           This Support Agreement (including all exhibits and schedules thereto and the
   Term Sheets) and the Acceptable Plan and the Acceptable Disclosure Statement may only
   be modified, amended or supplemented, and any of the terms thereof may only be
   waived, by an agreement in writing signed by each of (i) the Debtors, (ii) the Consenting
   Lender and (iv) Consenting Secured Noteholders holding at such time at least 51% of the
   prepetition Secured Notes that are subject to the terms hereof (the “Required Consenting
   Secured Noteholders,” and together with the Consenting Lender, the “Required
   Consenting Secured Parties”).

   9.16    Consideration.

           It is hereby acknowledged by each of the Parties that no consideration shall be
   due or paid to the Parties for their agreement to support or not interfere with the
   Acceptable Plan in accordance with the terms and conditions of this Support Agreement,
   other than the obligations of the other Parties under this Support Agreement. For the
   avoidance of doubt, the provision of the Lender Protections constitutes a material
   inducement to the Consenting Lender’s entry into this Support Agreement, without which
   the Consenting Lender would not have entered into this Support Agreement. The
   Company represents that, as of the Effective Date, no payments have been made to any of
   the Parties hereto that were not permitted to be made under the terms of the Credit
   Agreement.

   9.17    Severability of Provisions.

           If any provision of this Support Agreement for any reason is held to be invalid,
   illegal or unenforceable in any respect, that provision shall not affect the validity, legality
   or enforceability of any other provision of this Support Agreement.

   9.18    Notices.

           All notices and other communications required or permitted hereunder shall be in
   writing and shall be deemed given when: (a) delivered personally or by overnight courier
   to the following address of the other Party hereto; (b) sent by fax to the following fax
   number of the other Party hereto with the confirmatory copy delivered by overnight
   courier to the address of such Party listed below; or (c) sent by electronic mail with the
   confirmatory copy delivered by overnight courier to the address of such Party listed
   below.



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           If to any Debtor, to counsel at the following address:

                    Weil, Gotshal & Manges LLP
                    767 Fifth Avenue
                    New York, New York 10153
                    Attn: Joseph H. Smolinsky, Esq.
                    Facsimile: (212) 310-8007

           If to any Consenting Secured Noteholder, the address set forth on its signature
           page, with a copy to:

                    Kirkland & Ellis LLP
                    601 Lexington Avenue
                    New York, New York 10022
                    Attn: Nicole L. Greenblatt, Esq.
                    Facsimile: (212) 446-6460

           If to the Consenting Lender, the address set forth on its signature page, with a
           copy to:

                    Milbank, Tweed, Hadley & McCloy LLP
                    1 Chase Manhattan Plaza
                    New York, New York 10005
                    Attn: Abhilash M. Raval, Esq.
                    Blair M. Tyson, Esq.
                    Michael E. Comerford, Esq.
                    Facsimile: (212) 822-5123

                                [SIGNATURE PAGES FOLLOW]




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                                                                      ANNEX I



Ardee Music Publishing, Inc.
Direct Entertainment Media Group, Inc.
Haven Home Media, LLC
Home Service Publications, Inc.
Pegasus Sales, Inc.
Pleasantville Music Publishing, Inc.
R.D. Manufacturing Corporation
RD Publications, Inc.
RD Large Edition, Inc.
RDA Digital, LLC
RDA Sub Co.
RDCL, Inc.
RDWR, Inc. (formerly known as Weekly Reader Corporation)
Reader’s Digest Children’s Publishing, Inc.
Reader’s Digest Consumer Services, Inc.
Reader’s Digest Entertainment, Inc.
Reader’s Digest Financial Services, Inc.
Reader’s Digest Latinoamerica S.A.
Reader’s Digest Sales and Services, Inc.
Reiman Media Group, LLC
Reiman Manufacturing, LLC
Taste of Home Media Group, LLC
Taste of Home Productions, Inc.
Travel Publications, Inc.
W.A. Publications, LLC
WAPLA, LLC
Weekly Reader Custom Publishing, Inc.
World Almanac Education Group, Inc.
World Wide Country Tours, Inc.
WRC Media Inc.
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                   Exhibit A to Restructuring Support Agreement

                            Restructuring Term Sheet
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                           PROPOSED RESTRUCTURING TERM SHEET
 _____________________________________________________________________________________________

THIS TERM SHEET IS NOT AN OFFER OR A SOLICITATION WITH RESPECT TO ANY
SECURITIES OF THE COMPANY. ANY SUCH OFFER OR SOLICITATION WILL COMPLY WITH
ALL APPLICABLE SECURITIES LAWS AND/OR PROVISIONS OF THE BANKRUPTCY CODE. THIS
TERM SHEET CONTAINS MATERIAL NON-PUBLIC INFORMATION ABOUT A PUBLIC COMPANY
AND, THEREFORE, IS SUBJECT TO FEDERAL SECURITIES LAWS.

THE TERM SHEET IS PROVIDED IN THE NATURE OF A SETTLEMENT PROPOSAL IN
FURTHERANCE OF SETTLEMENT DISCUSSIONS AND IS SUBJECT IN ALL RESPECTS TO THE
NEGOTIATION, EXECUTION AND DELIVERY OF DEFINITIVE DOCUMENTATION, INCLUDING
ENTRY INTO AN ACCEPTABLE RESTRUCTURING SUPPORT AGREEMENT (THE “RSA”). THIS
TERM SHEET IS INTENDED TO BE ENTITLED TO THE PROTECTIONS OF RULE 408 OF THE
FEDERAL RULES OF EVIDENCE AND ANY OTHER APPLICABLE STATUTES OR DOCTRINES
PROTECTING THE USE OR DISCLOSURE OF CONFIDENTIAL INFORMATION AND
INFORMATION EXCHANGED IN THE CONTEXT OF SETTLEMENT DISCUSSIONS. FURTHER,
NOTHING IN THE TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR DEEMED
BINDING ON HOLDING, ITS SUBSIDIARIES, THE ADMINISTRATIVE AGENT OR THE
CONSENTING SECURED PARTIES. THIS TERM SHEET IS PROVIDED IN CONFIDENCE AND MAY
BE DISTRIBUTED ONLY WITH THE EXPRESS WRITTEN CONSENT OF THE REQUIRED
CONSENTING SECURED PARTIES (AS DEFINED IN THE RSA).

                                                                    OVERVIEW
    Transaction Summary              This term sheet (the “Term Sheet”) describes the principal terms of a
                                     restructuring transaction (the “Restructuring”) pursuant to which RDA
                                     Holding Co. (“Holding” and once reorganized, “Reorganized Holding”) will
                                     restructure its capital structure and global operations in connection with a
                                     revised business plan acceptable to the Required Secured Parties (as defined
                                     below) (the “Acceptable Business Plan”). The Restructuring will be
                                     implemented through a pre-negotiated joint plan of reorganization filed in
                                     connection with cases (the “Cases”) commenced by Holding, The Reader’s
                                     Digest Association, Inc., (“RD” or the “Company”) and certain of RD’s
                                     domestic subsidiaries (collectively, the “Debtors”1 and excluding DEMG, the
                                     “Plan Debtors”) under chapter 11 of title 11 of the United States Code, 11
                                     U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in the United States
                                     Bankruptcy Court for the Southern District of New York, White Plains
                                     Division (the “Bankruptcy Court”).

                                     This Term Sheet outlines the proposed capital structure, treatment of claims
                                     and interests and other material terms and conditions of the Restructuring.
                                     The Term Sheet does not include a description of all of the terms, conditions
                                     and other provisions that are to be contained in the definitive documentation
                                     governing the Restructuring, which remain subject to further discussion and
                                     negotiation and which must be reasonably acceptable to the Required

1     Debtors to specifically include Direct Entertainment Media Group, Inc. (“DEMG”).




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                         Consenting Secured Parties (as defined below). The terms and conditions of
                         this Term Sheet are meant to be part of a comprehensive agreement, each
                         element of which is consideration for the other elements and an integral
                         aspect of the proposed Restructuring.

                         This Term Sheet is an exhibit to that certain Restructuring Support
                         Agreement dated February 17, 2013 (the “RSA”) executed by the Debtors
                         and each of (i) the Consenting Lender (as defined herein) and (ii) the Secured
                         Noteholders party thereto (the “Consenting Secured Noteholders,” and
                         together with the Consenting Lender the “Consenting Secured Parties”).
                         Pursuant to the RSA, “Required Consenting Secured Parties” means the
                         Consenting Lender and the Required Consenting Secured Noteholders.
                         “Required Consenting Secured Noteholders” means the Consenting Secured
                         Noteholders holding at such time at least 51% of the Secured Notes that are
                         subject to the terms of the RSA.

 Secured Debt to be      Secured debt to be restructured under a plan of reorganization and a
 Restructured            disclosure statement (including all exhibits thereto) satisfactory to the
                         Required Consenting Secured Parties (the “Acceptable Plan” and the
                         “Acceptable Disclosure Statement,” respectively) will include:

                         (i) $49,625,000 in principal, plus outstanding letters of credit, plus all other
                         amounts outstanding (including, for the avoidance of doubt, fees,
                         commissions, premiums, expenses, indemnification amounts and interest
                         accrued prior to, on and after the commencement of the Cases) under that
                         certain Credit and Guarantee Agreement dated as of March 30, 2012 (the
                         “Credit Agreement”) among RD, Holding and certain of their affiliates, Wells
                         Fargo Bank, N.A., as administrative agent (“Administrative Agent”) and sole
                         lender (the “Consenting Lender”); and

                         (ii) $464 million in senior secured notes of RD (the “Secured Notes”) issued
                         pursuant to that certain indenture, dated February 11, 2010 (the “Indenture”)
                         among RD, certain of its subsidiaries and the lenders party thereto from time
                         to time (the “Secured Noteholders”).

 DIP Facility            To facilitate liquidity during the Cases and after, the Consenting Secured
                         Parties will provide an approximate $105 million consensual, priming, debtor
                         in possession financing facility (the “DIP Facility”) that will consist of:
                         (i) $45 million in new money loans (“New Money Loans”) provided by
                         certain Consenting Secured Noteholders; and
                         (ii) a refinancing of all commitments and amounts outstanding (including any
                         and all principal, letters of credit, reimbursement obligations in respect of
                         outstanding letters of credit (assuming drawn), fees, commissions, premiums,
                         expenses, indemnification amounts and interest accrued prior to, on and after
                         the commencement of the Cases, including to the issuing lender) under the
                         Credit Agreement (the “Refinancing Loans”);
                         all of (i) and (ii) to be paid in full in cash or convert to exit financing facilities
                         on the effective date of the Acceptable Plan (the “Effective Date”), as
                         described further below, in the DIP Commitment Letter, attached hereto as
                         Exhibit A, the DIP Term Sheet, the First Out Exit Term Sheet and the Second
                         Out Exit Term Sheet, attached as Annexes 1, 2 and 3, respectively, to the DIP
                         Commitment Letter.
                         All Consenting Secured Noteholders may participate in the New Money loans

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                           on a pro-rata basis based on their holdings under the Indenture.


 Lender Protections        Upon entry of the Interim DIP Order the Lender Protections as defined in
                           Annex 1 to the DIP Commitment Letter.

                           Upon entry of the Final DIP Order, the Lender Protections as defined in
                           Annex 1 to the DIP Commitment Letter.
 Adequate Protection for   See Annex 1 to the DIP Commitment Letter.
 Secured Noteholders
 Exit Capital Structure    The Acceptable Plan will provide for the following capital structure for the
                           Reorganized Debtors:

                           First Out Exit Term Loan: Subject to and in accordance with the terms and
                           conditions set forth on Annex 2 to the DIP Commitment Letter, the
                           Refinancing Loans and any obligations arising thereunder will be amended
                           and restated as a first out first priority exit term loan, pari passu with the
                           Second Out Exit Term Loan (the “First Out Exit Term Loan”).

                           Second Out Exit Term Loan: Subject to and in accordance with the terms and
                           conditions of the DIP Facility, the New Money Loans and any claims arising
                           thereunder will convert to a second out, first priority exit term loan of $45
                           million, with terms and conditions (set forth on Annex 3 to the DIP
                           Commitment Letter) (the “Second Out Exit Term Loan”).

                           Reorganized Holding shall have no more than $106 million in funded debt
                           immediately following the Effective Date of the Acceptable Plan.

                           New Common Stock: On the Effective Date, the Debtors will issue 100% of
                           the new common stock of Reorganized Holding to the Secured Noteholders
                           on a pro rata basis based on their holdings under the Indenture (subject to any
                           dilution for the Management Incentive Plan), which issuance will be exempt
                           from registration with the Securities and Exchange Commission under section
                           1145 of the Bankruptcy Code. No dividends, recoveries, securities,
                           distributions or other form of payments shall be made on account of or in
                           connection with the new common stock distributed to the Secured
                           Noteholders until all amounts owing in connection with the First Out Exit
                           Term Loan have been paid in full in cash and all commitments thereunder
                           have been terminated.

                                            Treatment of Claims and Equity Interests
 DIP Claims                The DIP Facility shall, on the Effective Date, convert to the (i) First Out Exit
                           Term Loan in accordance with the terms and conditions on Annex 2 to the
                           DIP Commitment Letter and (ii) Second Out Exit Term Loan, as applicable,
                           in accordance with the terms and conditions on Annex 3 to the DIP
                           Commitment Letter, or in each case be paid in full in cash if the terms and
                           conditions required for conversion are not satisfied; provided, however, that
                           the obligations under the First Out Exit Term Loan will always be paid in full
                           in cash by the Debtors.
                           Unclassified -- Non-Voting
 Administrative Claims     Each holder of an allowed administrative claim, including claims of the type
                           described in section 503(b)(9) of the Bankruptcy Code, will receive payment
                           in full in cash of the unpaid portion of its allowed administrative claim on the
                           Effective Date or as soon thereafter as practicable (or, if payment is not then

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                                due, shall be paid in accordance with its terms) or pursuant to such other
                                terms as may be agreed to by the holder of such claim and the Debtors.
                                Unclassified -- Non-Voting


 Priority Tax Claims            Priority tax claims will be treated in accordance with section 1129(a)(9)(C) of
                                the Bankruptcy Code.
                                Unclassified -- Non-Voting
 Other Priority Claims          All other priority claims will be paid in full (in cash) on the Effective Date, or
                                as soon thereafter as practicable, or treated in any other manner so that such
                                claim will otherwise be rendered unimpaired.
                                Unimpaired -- Deemed to Accept
 Prepetition Credit Agreement   All obligations under the Credit Agreement shall become Refinancing Loans
 Claims                         as set forth above in connection with entry of the Final DIP Order and all
                                Refinancing Loans and related obligations shall, on the Effective Date, be
                                amended and restated as the First Out Exit Term Loan in accordance with
                                Annex 2 to the DIP Commitment Letter so long as (and only so long as) the
                                terms and conditions required for such conversion are satisfied and otherwise
                                such obligations shall be paid in full in cash; provided, however, that the
                                Debtors may always elect to repay such obligations in full in cash.
                                Unclassified -- Non-Voting
 Prepetition Secured Notes      On the Effective Date, the Secured Noteholders shall convert their claims into
 Claims                         100% (subject to dilution by the Management Incentive Plan [and any equity
                                issued to such other creditor classes as may be agreed to by the Required
                                Consenting Secured Noteholders and the Debtors]) of the new common stock
                                of Reorganized Holding (the “New Common Stock”) to be issued and
                                outstanding on the Effective Date of the Acceptable Plan, with such New
                                Common Stock to be distributed on a pro rata basis in accordance with the
                                Secured Noteholders’ holdings of such prepetition obligations.
                                No dividends, recoveries, securities, distributions or other form of payments
                                shall be made on account of or in connection with the new common stock
                                distributed to the Secured Noteholders until all amounts owing in connection
                                with the First Out Exit Term Loan have been paid in full in cash and all
                                commitments thereunder have been terminated.
                                Impaired -- Entitled to vote.
 Other Secured Claims           Each holder thereof will receive the following treatment: (a) payment in full
                                (in cash) on the Effective Date or as soon thereafter as practicable;
                                (b) delivery of collateral securing any such claim and payment of any interest
                                required under section 506(b) of the Bankruptcy Code; or (c) such other
                                treatment as is necessary to satisfy section 1129 of the Bankruptcy Code.
                                Impaired -- Entitled to vote. The Debtors reserve the right to argue at
                                confirmation that Other Secured Claims are unimpaired.
 Unsecured Claims               Each holder of an unsecured claim (i.e., all claims not otherwise specifically
                                classified herein including any deficiency claim of the Secured Noteholders)
                                will receive their pro rata share of [TBD]. The Debtors may elect to separate
                                general unsecured claims into appropriate subclasses.
                                Impaired -- Entitled to vote.
 Existing Equity Interests      All existing common and preferred equity interests in Holding or other

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 (including warrants)           existing securities consisting of (or convertible into) equity interests in
                                Holding, including any warrants or vested or unvested options to purchase
                                equity interests in Holding, shall be extinguished as of the Effective Date. All
                                equity interests of Holding’s subsidiaries shall continue to be held by Holding
                                and the subsidiaries of Holding that hold such equity interests prior to the
                                commencement of the Cases.
                                Impaired; not entitled to vote – deemed to reject.
 Intercompany Claims            On the Effective Date, Holding will, at its discretion, reinstate or
                                compromise, as the case may be, intercompany claims between and among
                                Holding and its subsidiaries consistent with the Acceptable Business Plan and
                                the International Restructuring Transactions contemplated thereby; provided,
                                that each intercompany claim held by a non-debtor shall receive no less
                                favorable treatment than other general unsecured claims.
                                Impaired -- Entitled to Vote.
 Affiliate Actions              All subsidiaries and affiliates of Holding shall be required to file proofs of
                                claim in connection with the Cases so that their claims are discharged on the
                                Effective Date.


                                                                General Provisions
 Management Incentive           The Acceptable Plan will provide that promptly on or after the effective date,
 Programs                       equity awards (in the form of restricted stock, options or warrants) for up to
                                10% of the New Common Stock (on a fully diluted basis) of Reorganized
                                Holding will be granted to continuing employees of the Debtors and members
                                of the new board of directors (consistent with market terms) by the new board
                                of directors of Reorganized Holding, with pricing, vesting and exercise terms
                                to be determined by the new board upon consultation with the CEO. Such
                                equity awards shall be on terms reflective of a policy of rewarding the
                                contribution of management to the long-term financial performance of the
                                reorganized Debtors.
 Employee Matters               The Acceptable Plan will provide that, on or after the Effective Date,
                                Reorganized Holding shall implement the following employee incentive
                                programs on terms and conditions reasonably acceptable to the Required
                                Consenting Secured Noteholders (to be set forth in the Acceptable Plan
                                Supplement): (i) a supplemental pension credit plan, and (ii) a bonus pool to
                                be allocated by the CEO with the concurrence of the newly appointed board.
 Cancellation of Instruments,   On the Effective Date, except to the extent otherwise provided in the
 Certificates and Other         Acceptable Plan, all instruments, certificates and other documents evidencing
 Documents                      debt or equity interests in Holding or (as it relates to debt only) RD will be
                                cancelled, and the obligations of RD or Reorganized Holding and its
                                subsidiaries thereunder, or in any way related thereto, will be discharged;
                                provided that any and all indemnities provided in the Credit Agreement
                                (including, for the avoidance of doubt, the indemnities provided at section
                                4.05 thereunder) shall survive as Refinancing Loans; provided further that
                                any and all indemnities provided in the DIP Facility shall survive as First Out
                                Exit Term Loan obligations or Second Out Exit Term Loan obligations,
                                notwithstanding in each case the cancellation of the predecessor credit
                                agreement(s).




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 Issuance of New Securities;     On the Effective Date, or as soon as reasonably practicable thereafter,
 Execution of Acceptable Plan    Reorganized Holding will issue all securities, instruments, certificates and
 Documents                       other documents required to be issued pursuant to the Acceptable Plan.
 Executory Contracts and         The Acceptable Plan will specify which executory contracts and unexpired
 Unexpired Leases                leases will be assumed; all contracts not expressly assumed with the consent
                                 of the Required Consenting Secured Noteholders will be deemed rejected
                                 under the Acceptable Plan.
                                 Executory contracts will be renegotiated or rejected in a manner consistent
                                 with the Debtors’ Business Plan and reasonably acceptable to the Required
                                 Consenting Secured Noteholders.
 Resolution of Disputed Claims   The Acceptable Plan will provide for the resolution of disputed claims and
                                 any reserves therefor.
 Avoidance Actions and Other     The reorganized Debtors will retain all rights to commence and pursue any
 Litigation                      and all claims and causes of action arising under the sections 544, 545, 547,
                                 548 and 550 of the Bankruptcy Code (collectively, the “Avoidance Actions”)
                                 and other litigation.
                                 The Acceptable Plan will not provide for any funding of a litigation trust that
                                 can be used to fund litigation against the Released Parties.
 Exemption from Section 1145     The issuance of the New Common Stock in Reorganized Holding will be
                                 exempted from applicable securities laws and/or from SEC registration under
                                 section 1145 of the Bankruptcy Code.
 Tax Issues                      The Parties agree to use their commercially reasonable best efforts to
                                 complete the financial restructuring of the Debtors contemplated by this Term
                                 Sheet and the International Restructuring Transactions in a manner that best
                                 preserves the tax attributes of the Debtors in a manner reasonably satisfactory
                                 to the Required Consenting Secured Parties.
 Retention of Jurisdiction       The Acceptable Plan will provide for the retention of jurisdiction by the
                                 Bankruptcy Court for usual and customary matters.


                                      Corporate Governance/Charter Provisions/Registration Rights

 Board of Directors of           The board of directors of Reorganized Holding shall be comprised of 5
 Reorganized Holding             directors, including the CEO. The Required Consenting Secured Noteholders
                                 shall designate all such directors in consultation with the CEO.

 Reorganized Holding as a        Reorganized Holding shall be a private company upon the Effective Date.
 private company.

 Description of Capital Stock    From and after the Effective Date, subject to the right of the stockholders to
                                 amend the Certificate of Incorporation of Reorganized Holding after the
                                 Effective Date, Reorganized Holding shall have one class and one series of
                                 New Common Stock.

 Charter; Bylaws                 The charter and bylaws of each Debtor shall be restated consistent with
                                 section 1123(a)(6) of the Bankruptcy Code and otherwise in form and
                                 substance satisfactory to the Required Consenting Secured Parties.

 Registration Rights;            The supplement to the Acceptable Plan shall provide for a registration rights
 Stockholders Agreement          agreement and stockholders agreement with respect to the New Common
                                 Stock in material form and substance reasonably satisfactory to the Required

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                             Consenting Secured Noteholders; provided that the registration rights
                             agreement and stockholders agreement shall not adversely impact the
                             Consenting Lender’s First Out Exit Term Loan and its rights thereunder in
                             any manner and the Consenting Lender shall have consultation rights for both
                             documents.

                                                     Release and Related Provisions
 Releases                    The Acceptable Plan will provide for the releases contemplated in the RSA
                             and provide for mutual releases among the Administrative Agent, Consenting
                             Lender, the Consenting Secured Noteholders, the DIP Lenders, the Debtors
                             and their respective current and former directors, officers and professional
                             advisors of any and all claims or causes of action, known or unknown,
                             relating to any prepetition date acts or omissions.
                             The Plan Debtors’ release of third parties will be provided for in the
                             Acceptable Plan unless, after investigation, the Board of Directors determines
                             such release is inappropriate.
 Exculpation                 The Acceptable Plan will contain ordinary and customary exculpation
                             provisions among the Administrative Agent, Consenting Lender, the
                             Consenting Secured Noteholders, the DIP Lenders, the Debtors and their
                             respective directors, officers and professional advisors of any and all claims
                             or causes of action, known or unknown, relating to any prepetition date acts
                             or omissions.
 Indemnification             The Acceptable Plan (i) will contain ordinary and customary indemnification
                             provisions for indemnification of current and former directors and officers of
                             the Debtors to the extent of available D&O coverage and payable from the
                             proceeds of such D&O policies, including the advancing of defense costs
                             prior to final adjudication; provided, that, to the extent proceeds of such
                             policies are deemed property of the Debtors’ estates in the Chapter 11 Cases
                             the Debtors will use reasonable best efforts to seek relief from the Bankruptcy
                             Court to have them advanced and (ii) shall provide that the Debtors shall
                             maintain their current D&O insurance coverage in place as of the date of the
                             RSA for current and former directors and officers of the Debtors.
 Discharge                   The Acceptable Plan for all Plan Debtors will contain a full and complete
                             discharge from all claims and liabilities.
 Injunction                  The Acceptable Plan will contain ordinary and customary injunction
                             provisions.
 Compromise and Settlement   The Acceptable Plan will contain ordinary and customary compromise and
                             settlement provisions.




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                                                   Acceptable Plan Implementation
 Restructuring Support        The parties to the RSA shall have executed such agreement no later than
 Agreement & Definitive       February 17, 2013. The RSA shall be terminable upon the conditions
 Documentation                contained therein and the automatic stay arising pursuant to section 362 of the
                              Bankruptcy Code shall be deemed waived or modified for termination
                              purposes.
                              The Company and the Consenting Secured Parties shall, in good faith,
                              negotiate definitive documentation to implement the Restructuring
                              Transactions consistent with this Term Sheet and any related documentation,
                              including the Acceptable Plan, the Acceptable Plan Supplement, the
                              Acceptable Disclosure Statement, all post-Effective Date corporate
                              organization and governance documents and all other documents necessary to
                              effectuate the Restructuring Transactions.
 Motions & Other Bankruptcy   All motions and other filings with the Bankruptcy Court, including any
 Filings                      proposed orders (including without limitation the orders authorizing the
                              Debtors’ entry into the DIP Facility and approving the Acceptable Disclosure
                              Statement and confirming the Acceptable Plan) shall be in form and
                              substance reasonably acceptable to the Required Consenting Secured Parties.
                              The Debtors shall provide draft copies of all “first day” motions or
                              applications and other documents the Debtors intend to file with the
                              Bankruptcy Court (including the Plan, Disclosure Statement and all related
                              documents) to counsel for the Consenting Lender and the Consenting Secured
                              Noteholders, if reasonably practicable, at least two (2) days prior to the date
                              when the Debtors intend to file any such pleading or other document (and, if
                              not reasonably practicable, as soon as reasonably practicable prior to filing).
                                                               Conditions

 Certain Conditions           In addition to satisfaction of the Milestones set forth in the RSA and the
                              requirement that the RSA be in full force and effect and shall not have
                              terminated, the conditions precedent to confirmation and consummation of
                              the Acceptable Plan shall be set forth in the Acceptable Plan and shall
                              include:

                                   •   That no material adverse change arises regarding the feasibility of
                                       the Acceptable Plan on or after the Effective Date of this Support
                                       Agreement including, without limitations, the assertion of material
                                       contingent and/or unliquidated liabilities, as determined by the
                                       Required Consenting Secured Parties in their reasonable discretion;
                                       and

                                   •   The negotiation, execution and delivery of definitive documentation
                                       with respect to the Restructuring Transactions contemplated by this
                                       Term Sheet and the RSA reasonably acceptable to the Required
                                       Consenting Secured Parties.

                              Milestones set forth in RSA to include:
                                  •    Interim DIP Order within 5 days of Commencement Date;
                                  •    Final DIP Order within 40 days after entry of Interim DIP Order;
                                  •    Bar Date Order within 60 days after Petition Date
                                  •    Acceptable Plan filed within 25 days of the Commencement Date;


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                            •   Acceptable Disclosure Statement is approved by the Bankruptcy
                                Court within 75 days of the Commencement Date;
                            •   The Acceptable Plan Supplement shall be filed on or before July 5,
                                2013;
                            •   Acceptable Plan confirmed by July 15, 2013; and
                            •   Outside exit date of July 31, 2013.




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                       Exhibit A to Restructuring Term Sheet

                             DIP Commitment Letter




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                                                                                         February 17, 2013


The Reader’s Digest Association, Inc.
750 Third Avenue
New York, New York 10017

Attention: Paul Tomkins, Chief Financial Officer


                                           Commitment Letter

Ladies and Gentlemen:

        You have advised each of (i) Wells Fargo Principal Lending, LLC (“Wells Fargo”) and (ii)
Apollo Senior Floating Rate Fund Inc. (“Apollo”), Empyrean Capital Partners, LP (“Empyrean”),
GoldenTree Asset Management, LP (together with Apollo and Empyrean, the “NM Lenders” and,
together with Wells Fargo, the “Commitment Parties”, “us” or “we”) that RDA Holding, Inc., The
Reader’s Digest Association, Inc. together with its direct and indirect domestic subsidiaries (collectively,
“you” or the “Company”), are considering filing voluntary petitions under title 11 of the United States
Code (the “Bankruptcy Code”).

        Capitalized terms used but not defined herein are used with the meanings assigned to them in the
Summary of Terms and Conditions for Senior Secured Priming Debtor-in-Possession Credit Facility
attached hereto as Annex 1 (the “Term Sheet” and, together with this letter, collectively, this
“Commitment Letter”). As used herein, the term “Transactions” means, collectively, the entering into
and funding of a senior secured priming debtor-in-possession financing facility (the “DIP Facilities”),
comprised of (a) a term loan in the aggregate principal amount of $45 million (the “New Money Loan”)
and (b) a “roll-up” term loan and letter of credit facility in the aggregate principal amount specified for
the “Refinancing Loans” set forth in clause (b) of the section entitled “Commitments and Availability” in
the Term Sheet (collectively, the “Refinancing Loan” and, together with the New Money Loan, the
“Loans”), the refinancing of the credit facilities evidenced by the Existing Credit Agreement, the entering
into the Restructuring Support Agreement, and all other related transactions, including the payment of
fees and expenses in connection therewith.

1. Commitments

         In connection with the Transactions, (i) Wells Fargo is pleased to advise you of its commitment,
and hereby commits to provide 100% of the aggregate amount of the Refinancing Loan upon the terms
and conditions set forth in this Commitment Letter; and (ii) each of the undersigning NM Lenders is
pleased to advise you of its commitment, and hereby commits to provide the percentage of the New
Money Loan as set forth next to such NM Lender’s name on Schedule I hereto, upon the terms and
conditions set forth in this Commitment Letter. Each Commitment Party’s commitment hereunder is on a
several, and not joint, basis with any other Commitment Party.




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2. Titles and Roles

       It is agreed that an entity designated by the Commitment Parties (in consultation with the
Borrower) will act as sole administrative agent and collateral agent for the DIP Facilities.

        You agree that no other agents, co-agents, arrangers, co-arrangers, bookrunners, co-bookrunners,
managers or co-managers will be appointed, no other titles will be awarded and no compensation (other
than that expressly contemplated by the Term Sheet) will be paid in connection with the DIP Facilities
unless you and we shall so reasonably agree.

3. Information

         You hereby represent that (a) all information concerning you or any of your subsidiaries, other
than the Projections (as defined below), forward looking information and information of a general
economic or industry specific nature (the “Information”), that has been or will be made available to us by
you or any of your representatives in connection with the Transactions contemplated hereby, when taken
as a whole, does not or will not, when furnished to us, contain any untrue statement of a material fact or
omit to state a material fact necessary in order to make the statements contained therein not materially
misleading in light of the circumstances under which such statements are made (after giving effect to all
supplements and updates thereto from time to time) and (b) the financial and/or business projections and
other forward-looking information (the “Projections”) that have been or will be made available to us by
you or any of your representatives in connection with the Transactions contemplated hereby have been or
will be prepared in good faith based upon assumptions believed by you to be reasonable at the time
prepared (it being recognized by the Commitment Parties that such Projections are subject to significant
uncertainties and contingencies, many of which are beyond your control, that no assurances are given that
any particular Projections will be realized and such Projections are not to be viewed as facts and that
actual results during the period or periods covered by any such Projections may differ from the projected
results, and such differences may be material). You agree that if, at any time prior to the Closing Date,
you become aware that any of the representations in the preceding sentence is incorrect in any material
respect then you will promptly supplement the Information and the Projections so that such
representations are correct in all material respects under those circumstances.

4. Fees

        As consideration for the commitments and agreements of the Commitment Parties hereunder, you
agree to pay or cause to be paid the nonrefundable fees to the applicable Commitment Parties described in
the Term Sheet including, without limitation, Commitment Fees, Ticking Fees and Early Termination Fee
(together with the Commitment Fees and the Ticking Fees, the “Fees”), on the terms and subject to the
conditions set forth therein. You agree that, once paid, the fees or any part thereof payable hereunder
shall not be refundable under any circumstances, except as otherwise agreed in writing. All fees payable
hereunder shall be paid in immediately available funds and shall be in addition to reimbursement of our
out-of-pocket expenses as provided for in this Commitment Letter.

5. Conditions

         Each Commitment Party’s commitments and agreements hereunder are subject to the conditions
set forth in this letter and in the Term Sheet (a) under the heading “Conditions Precedent to Initial
Borrowings” and “Conditions Precedent to Full Availability”.

      Each Commitment Party’s commitments and agreements hereunder are further subject to (a) since
December 31, 2012, there not having been any change, condition, development or event that, individually

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or in the aggregate, has had or could reasonably be expected to have a material adverse change in, or a
material adverse effect on, the operations, business, assets, properties, liabilities (actual or contingent) or
condition (financial or otherwise) of the Company and its subsidiaries, taken as a whole, other than as a
result of the commencement of the Borrower’s chapter 11 proceeding, any events causing the filing of the
Cases or any events which customarily occur following the commencement of a proceeding under
Chapter 11 of the Bankruptcy Code, (b) satisfaction of all your obligations hereunder to pay fees and
expenses when due and (c) your material compliance with all your obligations in this Commitment Letter
and the Restructuring Support Agreement.

6. Indemnification and Expenses

         You agree (a) to indemnify and hold harmless the Commitment Parties, their affiliates and their
respective directors, officers, employees, advisors, agents and other representatives (each, an
“indemnified person”) from and against any and all actual losses, claims, damages and liabilities to which
any such indemnified person may become subject arising out of or in connection with this Commitment
Letter, the DIP Facilities, the use of the proceeds thereof or the Transactions or any claim, litigation,
investigation or proceeding (a “Proceeding”) relating to any of the foregoing, regardless of whether any
indemnified person is a party thereto, whether or not such Proceedings are brought by you, your equity
holders, affiliates, creditors or any other person, and to reimburse each indemnified person upon demand
for any reasonable legal or other out-of-pocket expenses incurred in connection with investigating or
defending any of the foregoing (but limited, in the case of legal fees and expenses, to (i) one primary
counsel to such indemnified persons in respect of the NM Lenders and one primary counsel to such
indemnified persons in respect of Wells Fargo, (ii) in the event of conflicts of interest, additional counsels
to such affected indemnified persons, as necessary and (iii) local counsels as reasonably necessary in any
relevant jurisdictions), provided that the foregoing indemnity will not, as to any indemnified person,
apply to losses, claims, damages, liabilities or related expenses to the extent (x) they are found by a final
non-appealable judgment of a court of competent jurisdiction to arise from the willful misconduct, bad
faith or gross negligence of any indemnified person and (y) any dispute solely among indemnified
persons other than any claims against an indemnified person arising out of any act or omission of you or
any of your affiliates and (b) regardless of whether the Closing Date occurs, to reimburse within 10
business days of written demand each Commitment Party and its affiliates for all reasonable and
documented out-of-pocket expenses that have been invoiced (including reasonable and documented out-
of-pocket due diligence expenses, travel expenses, reasonable fees and reasonable documented out-of-
pocket expenses of professionals engaged in collateral reviews, appraisals and environmental reviews,
and reasonable fees, charges and disbursements of counsels; it being agreed that there may be one
primary counsel for Wells Fargo (presently Milbank, Tweed, Hadley & McCloy LLP) and one primary
counsel for the NM Lenders (presently Kirkland & Ellis LLP), and in each case any additional counsels
engaged in the event of conflicts, special counsels and local counsels as reasonably necessary in any
relevant jurisdiction) incurred in connection with the DIP Facilities and any related documentation
(including this Commitment Letter and the definitive financing documentation) or the administration,
amendment, modification, waiver or enforcement thereof. It is further agreed that each Commitment Party
shall only have liability to you (as opposed to any other person) and that each Commitment Party shall be
liable solely in respect of its own commitment to the DIP Facilities on a several, and not joint, basis with
any other Commitment Party. No indemnified person shall be liable for any damages arising from the use
by others of Information or other materials obtained through electronic, telecommunications or other
information transmission systems, except to the extent any such damages are found by a final judgment of
a court of competent jurisdiction to arise from the gross negligence, bad faith or willful misconduct of
such indemnified person. None of the indemnified persons or you, or any of your affiliates or the
respective directors, officers, employees, advisors, and agents of the foregoing shall be liable for any
indirect, special, punitive or consequential damages in connection with this Commitment Letter, the DIP


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Facilities or the transactions contemplated hereby, provided that nothing contained in this sentence shall
limit your indemnity obligations to the extent set forth in this Section 6.

7. Sharing of Information, Absence of Fiduciary Relationship, Affiliate Activities

         You acknowledge that each Commitment Party (or an affiliate) may from time to time effect
transactions, for its own or its affiliates’ account or the account of customers, and hold positions in loans,
securities or options on loans or securities of you, or your affiliates. You also acknowledge that the
Commitment Parties and their respective affiliates have no obligation to use in connection with the
transactions contemplated hereby, or to furnish to you, confidential information obtained from other
companies or persons.

          You further acknowledge and agree that (a) no fiduciary, advisory or agency relationship between
you and the Commitment Parties is intended to be or has been created in respect of any of the transactions
contemplated by this Commitment Letter, irrespective of whether the Commitment Parties have advised
or are advising you on other matters, (b) the Commitment Parties, on the one hand, and you, on the other
hand, have an arm’s length business relationship that does not directly or indirectly give rise to, nor do
you rely on, any fiduciary duty to you or your affiliates on the part of the Commitment Parties, (c) you are
capable of evaluating and understanding, and you understand and accept, the terms, risks and conditions
of the transactions contemplated by this Commitment Letter, (d) you have been advised that the
Commitment Parties are engaged in a broad range of transactions that may involve interests that differ
from your interests and that the Commitment Parties have no obligation to disclose such interests and
transactions to you, (e) you have consulted your own legal, accounting, regulatory and tax advisors to the
extent you have deemed appropriate, (f) each Commitment Party has been, is, and will be acting solely as
a principal and, except as otherwise expressly agreed in writing by it and the relevant parties, has not
been, is not, and will not be acting as an advisor, agent or fiduciary for you, any of your affiliates or any
other person or entity and (g) none of the Commitment Parties has any obligation to you or your affiliates
with respect to the transactions contemplated hereby except those obligations expressly set forth herein or
in any other express writing executed and delivered by such Commitment Party and you or any such
affiliate.

8. Confidentiality

         This Commitment Letter is delivered to you on the understanding that neither this Commitment
Letter nor any of their terms or substance shall be disclosed by you, directly or indirectly, to any other
person except (a) to you and your officers, directors, employees, affiliates, members, partners,
stockholders, attorneys, accountants, agents and advisors on a need-to-know basis, (b) as may be required
(or necessary in connection with) in any legal, judicial or administrative proceeding (including, without
limitation, as may be required to obtain court approval in connection with any acts or obligations to be
taken pursuant to this Commitment Letter or the transactions contemplated hereby (in which case you
agree to inform us promptly thereof) and further that you may disclose this Commitment Letter to the
official committee of unsecured creditors appointed in any of the Company’s and its subsidiaries’
bankruptcy cases (collectively, the “Creditors’ Committee”) and its advisors and to any other official
committee appointed in any of the Company’s and its subsidiaries’ bankruptcy cases (collectively, the
“Committees”) or as otherwise required by applicable law or regulation or as requested by a
governmental authority (in which case you agree, to the extent permitted by law, to inform us promptly in
advance thereof) and (c) upon notice to the Commitment Parties, this Commitment Letter and the
existence and contents hereof may be disclosed in connection with any public filing requirement.




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9. Miscellaneous

         This Commitment Letter shall not be assignable by you without the prior written consent of each
Commitment Party (and any purported assignment without such consent shall be null and void), is
intended to be solely for the benefit of the parties hereto and the indemnified persons and is not intended
to and does not confer any benefits upon, or create any rights in favor of, any person other than the parties
hereto and the indemnified persons to the extent expressly set forth herein. It is agreed that each of the
NM Lenders may at any time and from time to time assign all or any portion of its commitments
hereunder to one or more of its affiliates. It is agreed that Wells Fargo may at any time and from time to
time assign all or any portion of its commitments hereunder to one or more of its affiliates. The
Commitment Parties reserve the right to employ the services of their affiliates in providing services
contemplated hereby and to allocate, in whole or in part; to their affiliates certain fees payable to the
Commitment Parties in such manner as the Commitment Parties and their affiliates may agree in their sole
discretion. This Commitment Letter may not be amended or waived except by an instrument in writing
signed by you and each Commitment Party. This Commitment Letter may be executed in any number of
counterparts, each of which shall be an original, and all of which, when taken together, shall constitute
one agreement. Delivery of an executed signature page of this Commitment Letter by facsimile or
electronic transmission (e.g., “pdf” or “tif”) shall be effective as delivery of a manually executed
counterpart hereof. This Commitment Letter is the only agreement that has been entered into among us
and you with respect to the DIP Facilities and set forth the entire understanding of the parties with respect
thereto. This Commitment Letter, and any claim, controversy or dispute arising under or related to this
Commitment Letter, whether in tort, contract (at law or in equity) or otherwise, shall be governed by, and
construed and interpreted in accordance with, the laws of the State of New York without regard to conflict
of law principles that would result in the application of any law other than the State of New York.

         You and we hereby irrevocably and unconditionally submit to the exclusive jurisdiction of the
bankruptcy court having jurisdiction over the chapter 11 cases of the Company and its subsidiaries or, if
such court denies jurisdiction or the Company elects not to file cases under the Bankruptcy Code, then
any state or Federal court sitting in the Borough of Manhattan in the City of New York over any suit,
action or proceeding arising out of or relating to the Transactions or the other transactions contemplated
hereby, this Commitment Letter or the performance of services hereunder or thereunder. You and we
agree that service of any process, summons, notice or document by registered mail addressed to you or us
shall be effective service of process for any suit, action or proceeding brought in any such court. You and
we hereby irrevocably and unconditionally waive any objection to the laying of venue of any such suit,
action or proceeding brought in any such court and any claim that any such suit, action or proceeding has
been brought in any inconvenient forum. You and we hereby irrevocably agree to waive trial by jury in
any suit, action, proceeding, claim or counterclaim brought by or on behalf of any party related to or
arising out of the Transactions, this Commitment Letter or the performance of services hereunder or
thereunder.

        Each of the Commitment Parties hereby notifies you that, pursuant to the requirements of the
USA PATRIOT Act, Title III of Pub. L. 107-56 (signed into law on October 26, 2001) (the “PATRIOT
Act”), it is required to obtain, verify and record information that identifies each Borrower and each
Guarantor, which information includes names, addresses, tax identification numbers and other
information that will allow such Lender to identify each Borrower and each Guarantor in accordance with
the PATRIOT Act. This notice is given in accordance with the requirements of the PATRIOT Act and is
effective for the Commitment Parties and each Lender.

        The indemnification, fee, expense, jurisdiction and confidentiality provisions contained herein
shall remain in full force and effect regardless of whether definitive financing documentation shall be


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executed and delivered and notwithstanding the termination of this Commitment Letter or the
commitments hereunder.

         If the foregoing correctly sets forth our agreement, please indicate your acceptance of the terms of
this Commitment Letter by returning to us executed counterparts of this Commitment Letter not later than
the earlier of (a) 10:00 p.m., New York City time, on February 17, 2013 and (b) the time of the filing by
the Loan Parties of their petition or petitions under Chapter 11 of the Bankruptcy Code. This offer will
automatically expire at such time if we have not received such executed counterparts in accordance with
the preceding sentence. In the event that the initial borrowing under the DIP Facilities does not occur on
or before February 20, 2013, then this Commitment Letter and the commitments hereunder shall
automatically terminate unless we shall, in our discretion, agree to an extension. In addition, this
Commitment Letter and the commitments hereunder shall expire at (a) 5:00 p.m. (New York City time)
on February 18, 2013, unless the Loan Parties shall have theretofore filed voluntary petitions under
Chapter 11 of the Bankruptcy Code in the Court and (b) if such petitions have been filed by such time, at
11:59 p.m. (New York City time) on the date that is five (5) days after such filing, unless, prior to that
time, the Court shall have entered the Interim Order, the Borrower shall have paid to the Commitment
Parties the fees that are specified herein to be due upon such entry and the Borrower shall have entered
into definitive documentation with respect to the DIP Facilities. In the further event that the Interim Order
is entered, this Commitment Letter and the commitments hereunder shall expire 40 days after the entry of
the Interim Order unless the Final Order shall have been entered prior to the expiration of such 40-day
period.

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                                            Term Sheet
                                          February 17, 2013

                               Summary of Terms and Conditions for
                     Senior Secured Priming Debtor-in-Possession Credit Facility



I.     Parties

Borrower:                      The Reader’s Digest Association, Inc., a Delaware corporation (the
                               “Borrower”), which will be a debtor and debtor-in-possession in a case to
                               be filed under Chapter 11 of the United States Bankruptcy Code (the
                               “Bankruptcy Code”) (the “Borrower’s Case”) in the United States
                               Bankruptcy Court for the Southern District of New York, White Plains
                               Division (the “Bankruptcy Court”) (the date of the commencement of the
                               Cases, the “Petition Date”).

Guarantors:                    All obligations of the Borrower under the Definitive Documentation (as
                               defined below) (the “Obligations”) will be unconditionally guaranteed by
                               RDA Holding Co., a Delaware corporation (“Holding”), and by each
                               direct and indirect, existing and future domestic subsidiary of the
                               Borrower (collectively with Holding, the “Guarantors” and, together with
                               the Borrower, the “Loan Parties” or the “Debtors”), each of which will
                               be a debtor-in-possession in a case to be filed in the Bankruptcy Court
                               (the “Guarantors’ Cases”; together with the Borrower’s Case, the
                               “Cases”).

Administrative Agent
and Collateral Agent:          An entity to be selected by the Lenders in consultation with the Borrower
                               (in such capacity, the “Administrative Agent”).

DIP Lenders:                   Certain Secured Noteholders (as defined below) party to the commitment
                               letter dated February 17, 2013 to which this term sheet is attached (the
                               “Commitment Letter”) in respect of the New Money Loan (the “NM
                               Lenders”) and Wells Fargo Principal Lending, LLC (“Wells Fargo”) in
                               respect of the Refinancing Loan (the “Refinancing Loan Lender”,
                               together with the NM Lenders, collectively the “DIP Lenders”).

II.    Basic Terms

Commitments and
Availability:                  A senior secured priming debtor-in-possession credit facility (the “DIP
                               Facility”) comprised of (a) a term loan in the aggregate principal amount
                               of $45 million (the “New Money Loan”) and (b) a refinancing term loan
                               and letter of credit facility in the aggregate amount (of approximately
                               $60 million) equal to the sum of (i) $49,625,000 plus (ii) the aggregate
                               amount of all letters of credit outstanding under the Existing Credit
                               Agreement as of February 17, 2013 equal to $9,516,267 plus (iii) the


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                        aggregate amount of all outstanding and unpaid fees, letter of credit
                        standby fees and commissions, premiums, expenses, indemnification
                        amounts and interest accrued prior to, on and after the commencement of
                        the Cases (as defined below) under the Existing Credit Agreement and
                        immediately prior to the date when the Refinancing Loans become
                        effective (collectively, the “Refinancing Loan” and, together with the
                        New Money Loan, the “Loans”), it being understood that the
                        indemnification obligations under the Existing Credit Agreement will
                        survive as obligations under the DIP Facility notwithstanding the
                        refinancing or termination of the facilities under the Existing Credit
                        Agreement. During the period commencing on the Closing Date (as
                        defined below) and ending on the date of entry of the Final Order (as
                        defined below) (such period, the “Interim Period”), a portion of the New
                        Money Loan in an amount equal to $11 million (or such lower amount as
                        may be ordered by the Bankruptcy Court) shall be available to the
                        Borrower and borrowed in one draw on the Closing Date, subject to
                        compliance with the terms, conditions and covenants described in this
                        Summary of Terms and Conditions (this “Term Sheet”).

                        Upon the Bankruptcy Court’s entry of the Final Order (such date
                        hereinafter being referred to as the “Final Order Entry Date”), the
                        remaining amount of the New Money Loan and the full amount of the
                        Refinancing Loan shall be borrowed within two (2) business days of the
                        Final Order Entry Date, subject to compliance with the terms, conditions
                        and covenants described in this Term Sheet and the Definitive
                        Documentation.

Amortization:           None.

Term:                   Borrowings shall be repaid in full in cash, and the remaining
                        commitments, if any, shall terminate, at the earliest of (a) October 31,
                        2013, (b) the 40th day after the entry of the Interim Order (as defined
                        below) (or such later date agreed to by the Required DIP Lenders (as
                        defined below)) if the Final Order has not been entered prior to the
                        expiration of such period, (c) the effective date of a Chapter 11 plan of
                        reorganization that has been confirmed pursuant to an order entered by
                        the Bankruptcy Court or any other court having jurisdiction over the
                        Cases (the “Effective Date”) and (d) the acceleration of the Loans or
                        termination of the commitments in accordance with the Credit
                        Agreement (as defined below) (such earliest date, the “Termination
                        Date”). To the extent not otherwise terminated pursuant to the
                        foregoing, the unused Commitments shall terminate on the date that is
                        five (5) business days after the Final Order Entry Date. Any
                        confirmation order entered in the Cases shall not discharge or otherwise
                        affect in any way any of the obligations of the Loan Parties to the DIP
                        Lenders under the DIP Facility and the Definitive Documentation other
                        than after the payment in full and in cash to the DIP Lenders of all
                        principal, interest and all other obligations under the DIP Facility and the
                        Definitive Documentation on or before the effective date of a plan of
                        reorganization and the termination of the Commitments (except as

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                        provided under “Exit Financing” below).

Exit Financing:         The Refinancing Loan Lender agrees that, on the date of consummation
                        of a plan of reorganization, subject to the satisfaction of the applicable
                        conditions set forth in the “First Out Exit Facility Term Sheet” attached
                        to the Commitment Letter as Annex 2 (the “First Out Exit Facility Term
                        Sheet”) and otherwise in accordance therewith and pursuant to the terms
                        of the definitive documentation thereof, the Refinancing Loans shall be
                        continued as or converted into, exit financing of the reorganized Debtors
                        (or if the Refinancing Loans are not continued or converted into exit
                        financing such Refinancing Loans shall be paid in full in cash upon
                        consummation of such plan of reorganization). The NM Lenders agree
                        that, on the date of consummation of a plan of reorganization, subject to
                        the satisfaction of the applicable conditions set forth in the “Second Out
                        Exit Facility Term Sheet” attached to the Commitment Letter as Annex 3
                        (the “Second Out Exit Facility Term Sheet”) and otherwise in accordance
                        therewith and pursuant to the terms of the definitive documentation
                        thereof, the New Money Loans shall be continued as or converted into,
                        exit financing of the reorganized Debtors (or if the New Money Loans
                        are not continued or converted into exit financing such New Money
                        Loans shall be paid in full in cash upon consummation of such plan of
                        reorganization).

                        Notwithstanding the foregoing and that the scheduled final maturity of
                        the Refinancing Loan extends beyond the date that is 180 days after the
                        Petition Date, the commitment of Wells Fargo Principal Lending, LLC
                        under the Restructuring Support Agreement and the First Out Exit
                        Facility Term Sheet to provide the First Out Exit Facility Term Loans (as
                        such terms are defined in the Restructuring Support Agreement) shall
                        automatically terminate on the date that is 180 days after the Petition
                        Date.

                        It is understood and agreed that each DIP Lender’s commitment herein in
                        respect of such exit financing is on a several, and not joint, basis with
                        any other DIP Lenders.

Closing Date:           Closing and initial funding to occur as promptly as is practicable after the
                        entry of the Interim Order but no later than two (2) business days after
                        such entry (the “Closing Date”).

Purpose:                The proceeds of the Loans shall be used: (1) in respect of the New
                        Money Loan, (a) for working capital and other general corporate
                        purposes of the Borrower, the other Loan Parties and their respective
                        subsidiaries in accordance with, and subject to the limitations in, the
                        Cash Flow Forecast, (b) to pay transaction costs, fees and expenses
                        incurred in connection with the DIP Facility and the transactions
                        contemplated thereunder and hereby (it being understood and agreed that
                        no proceeds of the Loans may be used to fund any subsidiary that is not a
                        Loan Party) and (c) to pay the Noteholder Protections (as defined below),
                        the Lender Protections (as defined below) and other adequate protection

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                        expenses, if any, to the extent set forth in the Interim Order; and (2) in
                        respect of the Refinancing Loan, to repay in full the loans and
                        obligations outstanding under the credit facilities evidenced by that
                        certain Credit and Guarantee Agreement dated as of March 30, 2012,
                        among Holding, the Borrower, the lenders party thereto and Wells Fargo
                        Bank, N.A., as administrative agent for the lenders (as amended, the
                        “Existing Credit Agreement”), including rolling up the aggregate amount
                        of all letters of credit outstanding under the Existing Credit Agreement as
                        of February 17, 2013, the aggregate amount of all outstanding and
                        unpaid fees, letter of credit standby fees and commissions, premiums,
                        expenses, indemnification amounts and interest accrued prior to, on and
                        after the commencement of the Cases under the Existing Credit
                        Agreement and immediately prior to the date when the Refinancing
                        Loans become effective (provided, that, no unused letter of credit
                        commitments will be rolled up; rather all unused commitments shall be
                        deemed to terminate simultaneously with the effectiveness of the
                        Refinancing Loans); it being understood that the indemnification
                        obligations under the Existing Credit Agreement will survive as
                        obligations under the DIP Facility notwithstanding the refinancing or
                        termination of the facilities under the Existing Credit Agreement. The
                        proceeds of Loans may not be used in connection with the investigation
                        (including discovery proceedings), initiation or prosecution of any
                        claims, causes of action, adversary proceedings or other litigation against
                        the DIP Lenders, the Administrative Agent or any of the Secured
                        Noteholders or Wells Fargo.

Priority and Liens:     All borrowings by the Borrower and other Obligations of the Borrower
                        under the DIP Facility (and all guaranties by the Guarantors) shall,
                        subject to the Carve-Out (defined below), at all times:

                        (i)     pursuant to Section 364(c)(1) of the Bankruptcy Code, be
                                entitled to joint and several superpriority administrative expense
                                claim status in the Cases;

                        (ii)    pursuant to Section 364(c)(2) of the Bankruptcy Code, be
                                secured by a perfected first priority lien on all property of the
                                Debtors’ respective estates in the Cases and the proceeds thereof
                                (including, without limitation, inventory, accounts receivable,
                                general intangibles, chattel paper, intercompany loans, notes and
                                balances, owned real estate, real property leaseholds, fixtures
                                and machinery and equipment, deposit accounts, patents,
                                copyrights, trademarks, tradenames, rights under license
                                agreements, and other intellectual property, avoidance action
                                claims and the proceeds thereof, and capital stock of subsidiaries
                                (including 100% of the issued and outstanding non-voting equity
                                interests in any first tier foreign subsidiary and no more than
                                65% of issued and outstanding voting equity interests in any first
                                tier foreign subsidiary) (collectively, the “Collateral”) that is not
                                subject to valid, perfected and non-avoidable liens as of the
                                commencement of the Cases;

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                        (iii)   pursuant to Section 364(c)(3) of the Bankruptcy Code, be
                                secured by a perfected junior lien on all Collateral of the
                                Debtors’ respective estates in the Cases, that is subject to valid,
                                perfected and non-avoidable liens in existence at the time of the
                                commencement of the Cases or to valid liens in existence at the
                                time of such commencement that are perfected subsequent to
                                such commencement as permitted by Section 546(b) of the
                                Bankruptcy Code (other than property that is subject to the
                                existing liens that secure obligations under the agreements
                                referred to in clauses (1), (2) and (3) of clause (iv) hereof, which
                                liens shall be primed by the liens to be granted to the
                                Administrative Agent as described in such clause); and

                        (iv)    pursuant to Section 364(d)(1) of the Bankruptcy Code, be
                                secured by a perfected first priority, senior priming lien on all of
                                the Collateral of the Debtors’ respective estates in the Cases that
                                is subject to the existing liens that secure the obligations of the
                                Loan Parties under or in connection with the Existing Credit
                                Agreement, and the senior secured notes issued pursuant to that
                                certain indenture, dated February 11, 2010 (“Indenture”) by and
                                among the Borrower, certain of its affiliates and the purchasers
                                party thereto from time to time (the “Secured Noteholders”) and
                                all of which existing liens (the “Existing Primed Secured
                                Facilities”; the liens thereunder, the “Primed Liens”) shall be
                                primed by and made subject and subordinate to the perfected
                                first priority senior liens to be granted to the Administrative
                                Agent, which senior priming liens in favor of the Administrative
                                Agent shall also prime any liens granted after the
                                commencement of the Cases to provide adequate protection in
                                respect of any of the Primed Liens but shall not prime liens, if
                                any, to which the Primed Liens are subject at the time of the
                                commencement of the Cases.

                        subject, in each case, only to the Carve Out.

                        For purposes hereof, the term “Carve Out” shall mean the sum of: (i) all
                        fees required to be paid to the Clerk of the Bankruptcy Court and to the
                        Office of the United States Trustee under section 1930(a) of title 28 of
                        the United States Code and section 3717 of title 31 of the United States
                        Code, (ii) all unpaid professional fees and disbursements incurred by the
                        Debtors and any statutory committees appointed in the Cases prior to the
                        occurrence of an Event of Default and notice thereof delivered to the
                        Borrower to the extent allowed by the Bankruptcy Court at any time, and
                        (iii) at any time after the occurrence of an Event of Default and notice
                        thereof delivered to the Borrower, to the extent allowed at any time,
                        whether before or after delivery of such notice, whether by interim order,
                        procedural order or otherwise, the payment of accrued and unpaid
                        professional fees, costs and expenses (collectively, the “Professional
                        Fees”) incurred by persons or firms retained by the Debtors and the
                        Committee and allowed by this Court, not in excess of $2,500,000 for the

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                          Debtors’ professionals and the Committee’s professionals (the “Carve
                          Out Cap”); provided that the Carve Out Cap shall be inclusive of any
                          professional fees, costs and expenses incurred by any Chapter 7 trustee,
                          such professional fees, costs and expenses in an amount not to exceed
                          $25,000 in the aggregate; provided further that the Carve Out shall not be
                          available to pay any such Professional Fees incurred in connection with
                          the initiation or prosecution of any claims, causes of action, adversary
                          proceedings or other litigation against the DIP Agent, the DIP Lenders,
                          the Secured Noteholders or the lender under the Existing Credit
                          Agreement and nothing herein shall impair the right of any party to
                          object to the reasonableness of any such fees or expenses to be paid by
                          the Debtors’ estates.

                          All of the liens described above shall be effective and perfected as of the
                          Interim Order Entry Date pursuant to the Interim Order and without the
                          necessity of possession of any possessory collateral or the execution of
                          mortgages, security agreements, pledge agreements, financing statements
                          or other agreements, in each case subject to the terms and conditions set
                          forth in the Interim Order.

                          Both the New Money Loan and the Refinancing Loan will be secured
                          with the same Collateral, with pari passu ranking.

Payment Priority:         The New Money Loan and the Refinancing Loan shall rank pari passu in
                          terms of right to payment.

Noteholders Protection:   The noteholders under the Indenture (the “Primed Noteholders”) whose
                          liens are primed as described in clause (iv) of “Priority and Liens” above,
                          shall receive adequate protection of their interest in their prepetition
                          collateral pursuant to Sections 361, 363(c)(2), 363(e) and 364(d)(1) of
                          the Bankruptcy Code, in an amount equal to the aggregate diminution in
                          value of the Primed Noteholders’ respective prepetition collateral
                          including, without limitation, any such diminution resulting from the
                          imposition of, and payments benefitting from, the Carve-Out, the
                          imposition of the automatic stay, the implementation of the DIP Facility
                          and the priming of the Primed Noteholders’ liens on the prepetition
                          collateral, the sale, lease or use by the Debtors (or other decline in value)
                          of the prepetition collateral (including cash collateral), all of which
                          adequate protection must be satisfactory to the NM Lenders, including
                          the following: (i) a superpriority claim as contemplated by Section
                          507(b) of the Bankruptcy Code immediately junior to the claims under
                          Section 364(c)(1) of the Bankruptcy Code held by the Administrative
                          Agent and the DIP Lenders; provided however that the Primed
                          Noteholders shall have irrevocably agreed, pursuant to Section
                          1129(a)(9) of the Bankruptcy Code, in any stipulation and/or order
                          granting such adequate protection, that such junior superpriority claims
                          may be paid under any plan of reorganization in any combination of
                          cash, debt, equity or other property having a value on the effective date
                          of the plan equal to the allowed amount of such claims, (ii) a replacement
                          lien on the Collateral, which adequate protection lien shall have a priority

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                        immediately junior to the liens granted pursuant to Sections 364(c)(2),
                        364(c)(3) and 364(d)(1) of the Bankruptcy Code in favor of the
                        Administrative Agent for the benefit of the DIP Lenders, (iii) the
                        payment of the reasonable fees and expenses incurred by (1) one primary
                        counsel (and any conflicts, special or local counsel retained)for
                        Wilmington Trust FSB as the collateral agent under the Existing Primed
                        Secured Facilities, and the continuation of the payment on a current basis
                        of the agency fee (to the extent owing) provided for under the Indenture
                        (and the other related definitive documentation) and (2) one primary
                        counsel (and any conflicts, special or local counsel retained) and one
                        financial advisor for the ad hoc committee of the Secured Noteholders,
                        and (iv) such other adequate protection as the Bankruptcy Court may
                        order (collectively, the “Noteholder Protections”).

Lender Protections      The lender under the Existing Credit Agreement (the “Primed Lender”)
                        in exchange for consenting to having its liens primed as described in
                        clause (iv) of “Priority and Liens” above, consenting to providing Exit
                        Financing on terms and conditions specified herein, consenting to
                        executing the Restructuring Support Agreement and the Restructuring
                        Transactions (as defined in the Restructuring Support Agreement) and
                        adequate protection of their interest in their prepetition collateral
                        pursuant to Sections 361, 363(c)(2), 363(e) and 364(d)(1) of the
                        Bankruptcy Code, in an amount equal to the aggregate diminution in
                        value of the Primed Lender’s respective prepetition collateral including,
                        without limitation, any such diminution resulting from the imposition of,
                        and payments benefitting from, the Carve-Out, the imposition of the
                        automatic stay, the implementation of the DIP Facility and the priming of
                        its liens on the prepetition collateral, the sale, lease or use by the Debtors
                        (or other decline in value) of the prepetition collateral (including cash
                        collateral), shall receive the following: (a) upon entry of the Interim
                        Order (i) current cash pay of interest fees and commissions (including,
                        for the avoidance of doubt, any accrued pre- and post-petition interest
                        and letter of credit fees and commissions at the non-default rate under the
                        Existing Credit Agreement, (ii) payment of all unreimbursed reasonable
                        and documented advisor fees and expenses of the Primed Lender
                        including that of former counsel (and any conflicts, special or local
                        counsel retained, if any) whether pre- or post-petition, (iii) current pay of
                        all reasonable fees and expenses of the Primed Lender during the Cases
                        (including for one primary counsel (and any conflicts, special or local
                        counsel retained)), (iv) a superpriority claim as contemplated by Section
                        507(b) of the Bankruptcy Code immediately junior only to the claims
                        under Section 364(c)(1) of the Bankruptcy Code held by the
                        Administrative Agent, the DIP Lenders and to the New Money Loan, (v)
                        a replacement lien on the Collateral, which adequate protection lien shall
                        have a priority immediately junior to only the liens granted pursuant to
                        Sections 364(c)(2), 364(c)(3) and 364(d)(1) of the Bankruptcy Code in
                        favor of the Administrative Agent for the benefit of the DIP Lenders, (vi)
                        and the continuation of the payment on a current basis of the agency fee
                        (to the extent owing) to Wells Fargo as the administrative agent under
                        the Existing Credit Agreement to the extent provided for under the

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                                Existing Credit Agreement (and the other related definitive
                                documentation) and (vii) and such other adequate protection as the
                                Bankruptcy Court may order and (b) upon entry of the Final Order (i) the
                                Refinancing Loans and (ii) other Priorities and Liens granted under this
                                Term Sheet (collectively, the "Lender Protections").

Nature of Fees:                 Non-refundable and fully earned when paid under all circumstances.

III.    Prepayment Provisions

Optional Prepayments and
Commitment Reductions:          Loans may be prepaid and commitments may be reduced in minimum
                                amounts to be agreed upon, subject to the Early Termination Fee
                                (referenced below), as applicable. Optional prepayment of the Loans
                                shall be applied ratably to the Loans outstanding. No prepayment of the
                                Loans may be reborrowed.

Mandatory Prepayments:          Subject to the reinvestment exception described below, the following
                                amounts shall be applied to prepay the Loans:

                                        •   100% of the net cash proceeds from the incurrence of
                                            indebtedness (other than certain permitted indebtedness to be
                                            agreed) after the Closing Date by Holding or any of its
                                            subsidiaries; and

                                        •   100% of the net cash proceeds of any sale or other
                                            disposition (including (a) by issuance or sale of stock of
                                            Holding or any of its subsidiaries, (b) as a result of casualty
                                            or condemnation, net of remediation or replacement costs
                                            and (c) any extraordinary receipts) by Holding or any of its
                                            subsidiaries of any assets (except for sales of inventory in
                                            the ordinary course of business and certain other dispositions
                                            and exceptions to be agreed on);

                                provided that in the absence of a default or event of default under the
                                Definitive Documentation, the Loan Parties shall be permitted to reinvest
                                (or commit to reinvest) such proceeds not exceeding $15 million in the
                                aggregate within six (6) months after the receipt of the proceeds in each
                                case subject to the terms and conditions of the Definitive Documentation.

                                The prepayment amounts shall be applied to pay down the New Money
                                Loan and the Refinancing Loan on a pro rata basis.

                                The DIP Lenders may have the option to decline the mandatory
                                prepayments in their sole discretion.

IV.     Interest and Certain Fees

Interest Rate:                  Refinancing Loan:



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                                 LIBO Rate (with a floor of 3.0%) plus 5.0% per annum

                                 Base Rate (with a floor of 4.0%) plus 4.0% per annum

                         New Money Loan:

                                 LIBO Rate (with a floor of 1.50%) plus 9.50% per annum

                                 Base Rate (with a floor of 2.50%) plus 8.50% per annum

                         As used herein:

                         “LIBO Rate” has the meaning as defined in the Existing Credit
                         Agreement but with a floor of 3.0% for the Refinancing Loan and 1.50%
                         for the New Money Loan. “Base Rate” has the meaning as defined in the
                         Existing Credit Agreement but with a floor of 4.0% for the Refinancing
                         Loan and 2.50% for the New Money Loan.

Default Rate:            Upon the occurrence and during the continuance of an Event of Default
                         under the Credit Agreement, interest shall accrue on the outstanding
                         amount of the obligations under the Credit Agreement and shall be
                         payable on demand at 2.0% per annum above the then applicable rate.

Commitment Fees:         The Borrower shall pay to the Administrative Agent for the account of
                         the NM Lenders providing the New Money Loan, commitment fees in an
                         amount equal to 2.0% of the aggregate amount of the commitments in
                         respect of the New Money Loan (i.e., $45 million) on the Closing Date.

Ticking Fees:            For the period of time from the 30th day after the Petition Date through
                         and including the date when the Borrower shall borrow the full amount
                         of the New Money Loan (the “Full Funding Date”), the Borrower shall
                         pay a fee equal to 4.75% per annum over the daily average of the
                         undrawn amount of the New Money Loan (i.e., the difference between
                         $45 million and the amount of the New Money Loan borrowed on the
                         Closing Date).

Early Termination Fee:   In the event that the Borrower shall prepay the New Money Loan in part
                         or in full, or reduce or terminate any commitment in respect of the NM
                         Loan in part or in full, prior to 60 days after the Petition Date, the
                         Borrower shall pay the NM Lenders an early termination fee in the
                         amount equal to (a) in the case of prepayment in full or reduction of
                         commitment in full, 2% of the aggregate principal amount of the total
                         commitment for the New Money Loan (i.e., $45 million), and (b) in the
                         case of partial prepayment or commitment reduction, 2% of the
                         aggregate principal amount of the New Money Loan commitment so
                         reduced or the New Money Loan so prepaid; in each case due and
                         payable at the time of such prepayment or reduction.

Rate and Fee Basis:      All per annum rates shall be calculated on the basis of a year of 360 days
                         for actual days elapsed, provided that computations of interest for Base


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                            Rate Loans when the Base Rate is determined by the prime rate shall be
                            made on the basis of the number of actual days elapsed in a year of 365
                            or 366 days, as the case may be.

V.     Certain Conditions

Conditions Precedent to
Initial Borrowings:         The obligations of the DIP Lenders to make Loans under the DIP Facility
                            will be subject to the following conditions precedent:

                            (a) The Bankruptcy Court shall have entered, upon motion in form and
                            substance reasonably satisfactory to the DIP Lenders and the
                            Administrative Agent, an interim order no later than five (5) calendar
                            days after the Petition Date (or such later date agreed to by the Required
                            DIP Lenders), approving and authorizing the DIP Facility, all provisions
                            thereof and the priorities and liens granted under Bankruptcy Code
                            Section 364(c) and (d), as applicable, in form and substance satisfactory
                            to the Administrative Agent, Wells Fargo and the Secured Noteholders
                            party to the Commitment Letter, in their sole discretion, and including
                            without limitation, provisions (i) modifying the automatic stay to permit
                            the creation and perfection of the liens in favor of the DIP Lenders on the
                            Collateral; (ii) providing for the automatic vacation of such stay to
                            permit the enforcement of the DIP Lenders’ remedies under the DIP
                            Facility, including without limitation the enforcement, upon five (5)
                            business days’ prior written notice, of such remedies against the
                            Collateral; (iii) prohibiting the incurrence of debt with priority equal to
                            or greater than the DIP Lenders’ under the DIP Facility, except as
                            expressly provided in the Definitive Documentation; (iv) prohibiting any
                            granting or imposition of liens other than liens acceptable to the
                            Required DIP Lenders except as expressly provided in the Definitive
                            Documentation; (v) priming the liens of the lenders and holders under
                            the Existing Primed Secured Facilities and granting the Noteholder
                            Protections, the Lender Protections and other adequate protection for
                            such priming in the form of liens, superpriority administrative expense
                            claims and other payments and obligations as described in the “Priority
                            and Liens” section of this Term Sheet and authorizing the use of cash
                            collateral in accordance with the terms hereof; (vi) authorizing and
                            approving the DIP Facility and the transactions contemplated hereby,
                            including without limitation the granting of the superpriority claims, the
                            first-priority and priming security interests and liens upon the Collateral
                            and the payment of all fees and expenses due to the DIP Lenders and the
                            Administrative Agent; (vii) finding that the DIP Lenders are extending
                            credit to the Borrower in good faith within the meaning of Section 364(e)
                            of the Bankruptcy Code; (viii) authorizing interim extensions of credit in
                            amounts acceptable to the Required NM Lenders and currently expected
                            to be $11 million; and (ix) containing a determination by the Bankruptcy
                            Court that, subject to an investigation period by the official creditors’
                            committee, the liens securing the Existing Primed Secured Facilities are
                            valid and unavoidable (with a finding that the Debtors stipulate and agree
                            that the liens securing the Existing Primed Secured Facilities are valid

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                        and unavoidable and that the obligations under the Existing Primed
                        Secured Facilities are valid, binding and enforceable in accordance with
                        the terms therein) (such interim order being referred to as the “Interim
                        Order”, and the date of entry of the Interim Order being hereinafter
                        referred to as the “Interim Order Entry Date”);

                        (b) The Interim Order shall not have been reversed, modified, amended,
                        stayed or vacated, in the case of any modification or amendment, in a
                        manner, or relating to a matter, without the consent of the DIP Lenders;

                        (c) The Loan Parties shall be in compliance in all respects with the
                        Interim Order;

                        (d) The Cases shall have been commenced in the Bankruptcy Court and
                        all of the “first day orders” and all related pleadings to be entered at the
                        time of commencement of the Cases or shortly thereafter, including in
                        respect of amounts of critical vendor payments, if any, shall be
                        reasonably satisfactory in form and substance to the Administrative
                        Agent and the Required DIP Lenders;

                        (e) No trustee, receiver, interim receiver or receiver and manager shall
                        be appointed in any of the Cases, or a responsible officer or an examiner
                        with enlarged powers shall be appointed in any of the Cases (having
                        powers beyond those set forth in Bankruptcy Code sections 1106(a)(3)
                        and (4));

                        (f) No material adverse change (to be defined) shall have occurred other
                        than the commencement of the Cases.

                        (g) The Administrative Agent and the DIP Lenders shall have received
                        from the Loan Parties forecasts on a consolidated basis of the Borrower
                        and its subsidiaries’ income statement, balance sheet and cash flows for
                        each fiscal month of fiscal year 2013 and including the material
                        assumptions on which such forecasts were based (including, but not
                        limited to, future cost reduction initiatives), and setting forth the
                        anticipated disbursements and uses of the Commitments, which forecasts
                        shall be reasonably satisfactory in form and substance to the
                        Administrative Agent and the Required DIP Lenders and certified by a
                        responsible officer (the “Budget”);

                        (h) The Administrative Agent and the DIP Lenders shall have received
                        from the Loan Parties certified copies of (i) the audited consolidated
                        balance sheets of the Borrower and its subsidiaries as of each of the three
                        (3) fiscal years proceeding the fiscal year ending on December 31, 2012,
                        and the related audited consolidated statements of income, stockholders’
                        equity and cash flows for the Borrower and its consolidated subsidiaries
                        for the corresponding periods, (ii) the unaudited consolidated balance
                        sheets and related statements of income, stockholders’ equity and cash
                        flows of the Borrower and its subsidiaries for each subsequent fiscal
                        quarter ended after the fiscal year ended December 31, 2012 for which


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                        such financial statements are available prior to the Closing Date and (iii)
                        to the extent made available by the Borrower, monthly financial data
                        generated by the Borrower’s internal accounting systems for use by
                        senior management for each month ended after the latest fiscal quarter
                        for which unaudited financial statements are delivered pursuant to clause
                        (ii) above and at least 30 days before the Closing Date;

                        (i) The Administrative Agent and the DIP Lenders shall have received a
                        13-week cash flow projection of the Borrower and its subsidiaries, which
                        shall be in form and substance reasonably satisfactory to the
                        Administrative Agent and the Required DIP Lenders and certified by a
                        responsible officer (the “Cash Flow Forecast”);

                        (j) All costs, fees, expenses (including, without limitation, reasonable
                        legal fees) and other compensation contemplated by the Definitive
                        Documentation to be payable to the DIP Lenders and/or the agents shall
                        have been paid, in each case, to the extent due;

                        (k) No Default or Event of Default under the Definitive Documentation
                        shall have occurred and be continuing;

                        (l) Representations and warranties shall be true and correct in all
                        material respects;

                        (m) The Administrative Agent and the Required DIP Lenders shall be
                        satisfied that the Loan Parties have complied with all other customary
                        closing conditions, including, without limitation: (i) the delivery of good
                        standing certificates from the states of formation/incorporation and
                        customary closing certificates and officer’s certificates; (ii) evidence of
                        authority; and (iii) obtaining of any material third party and
                        governmental consents necessary in connection with the DIP Facility, the
                        financing thereunder and related transactions;

                        (n) The Administrative Agent and the DIP Lenders shall have received
                        evidence that all insurance required to be maintained pursuant to the
                        Definitive Documentation has been obtained and is in effect and that the
                        Administrative Agent has been named as loss payee or additional
                        insured, as appropriate, under each insurance policy with respect to such
                        liability and property insurance as to which the Administrative Agent
                        shall have requested to be so named (it being understood and agreed that
                        the deliverables under this clause (n) may be delivered following the
                        Closing Date within a time period the Required DIP Lenders shall
                        consent to);

                        (o) The Administrative Agent and the DIP Lenders shall have received
                        prior to the Closing Date all documentation and other information
                        required by bank regulatory authorities under applicable “know-your-
                        customer” and anti-money laundering rules and regulations, including
                        the Patriot Act;



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                          (p) The Administrative Agent and the DIP Lenders shall have received
                          executed definitive loan documentation relating to the DIP Facility
                          (including a credit agreement (the “Credit Agreement”) and related
                          security and closing documents (collectively, the “Definitive
                          Documentation”), in each case of the foregoing reasonably satisfactory to
                          the Administrative Agent and the Required DIP Lenders and consistent
                          with the terms of this Term Sheet;

                          (q) The Administrative Agent and the DIP Lenders shall have received
                          UCC searches (or comparable searches, if any, in the case of foreign
                          jurisdictions) conducted in the jurisdictions in which the Loan Parties are
                          organized (dated as of a date reasonably satisfactory to the
                          Administrative Agent and the Required DIP Lenders), reflecting the
                          absence of liens and encumbrances on the assets of the Loan Parties
                          other than such liens as may be permitted under the Definitive
                          Documentation;

                          (r) All corporate and judicial proceedings and all instruments and
                          agreements in connection with the loan transactions among the Loan
                          Parties, the Administrative Agent and the DIP Lenders contemplated by
                          the Credit Agreement shall be reasonably satisfactory in form and
                          substance to the Administrative Agent and the DIP Lenders and the
                          Administrative Agent and the DIP Lenders shall have received all
                          information and copies of all documents or papers reasonably requested
                          by the Administrative Agent or any Lender;

                          (s) The Administrative Agent shall have received a notice of borrowing
                          from the Borrower;

                          (t) The Restructuring Support Agreement shall be in full force and effect
                          and shall not have been terminated and no default or event of default
                          (unless as a result of a breach by the NM Lenders party thereto)
                          thereunder shall have occurred or be continuing; and

                          (u) The Administrative Agent and the DIP Lenders shall have received
                          such information (financial or otherwise) and documents as may be
                          reasonably requested by the Administrative Agent or the Required DIP
                          Lenders and shall be satisfied with the nature and substance thereof.

                          As used in this term sheet, the term “Restructuring Support Agreement”
                          shall mean that certain Restructuring Support Agreement dated February
                          17, 2013 by and among the Borrower, the Borrower’s affiliates party
                          thereto, Wells Fargo Principal Lending, LLC, Goldentree Asset
                          Management LP, Apollo Investment Management, L.P. and Empyrean
                          Capital Partners, LP.

Conditions Precedent to
Full Availability:        The obligations to provide extensions of credit up to the full amount of
                          the Loans shall be subject to the satisfaction of the following conditions
                          precedent:


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                        (a) Not later than the 40th day following the entry of the Interim Order
                        (or such later date agreed to by the Required DIP Lenders), a final order
                        shall have been entered by the Bankruptcy Court in form and substance
                        reasonably satisfactory to the Administrative Agent and the DIP Lenders
                        on a motion by the Loan Parties that is in form and substance reasonably
                        satisfactory to Wells Fargo and the Secured Noteholders party to the
                        Commitment Letter, approving and authorizing on a final basis the
                        matters and containing the provisions described in clause (a) in
                        “Conditions Precedent to Initial Borrowings” above, authorizing the DIP
                        Facility (including both the Refinancing Loan and the New Money Loan)
                        and containing a waiver of the Debtors’ rights under Section 506(c) of
                        the Bankruptcy Code (such final order being referred to as the “Final
                        Order”);

                        (b) The Final Order shall not have been reversed, modified, amended,
                        stayed or vacated;

                        (c) The Loan Parties shall be in compliance with the Final Order;

                        (d) The DIP Lenders shall have received the required periodic updates of
                        the Cash Flow Forecast and variance reports, each in form and substance
                        reasonably satisfactory to the Administrative Agent and the Required
                        NM Lenders; and the Loan Parties shall be in compliance with the
                        updated Cash Flow Forecast;

                        (e) No Default or Event of Default shall have occurred and be
                        continuing under the DIP Facility;

                        (f) Representations and warranties shall be true and correct in all
                        material respects at the date of each extension of credit except to the
                        extent such representations and warranties relate to an earlier date;

                        (g) The Loan Parties shall have paid the balance of all fees then payable
                        to the DIP Lenders and the agents as referenced herein, in each case to
                        the extent due;

                        (h) The Restructuring Support Agreement shall be in full force and
                        effect and shall not have been terminated and no default or event of
                        default (unless as a result of a breach by the NM Lenders party thereto)
                        thereunder shall have occurred or be continuing; and

                        (i) The Administrative Agent shall have received a notice of borrowing
                        from the Borrower.

                        The acceptance by the Borrower of each extension of credit under the
                        Credit Agreement shall be deemed to be a representation and warranty
                        by the Loan Parties that the conditions specified above have been
                        satisfied.




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VI.     Certain Documentation Matters

The Definitive Documentation shall contain representations, warranties, covenants and events of default
customary for financings of this type, including, without limitation, those set forth below:

Representations and
Warranties:                     The Loan Parties shall make the representations and warranties set forth
                                in the Existing Credit Agreement, modified as necessary to reflect the
                                commencement of the Cases, changes in the financial and other
                                conditions of the Loan Parties resulting therefrom and from events
                                leading up thereto and such other matters as the DIP Lenders shall
                                reasonably require in the Definitive Documentation.

                                In addition, each of the Loan Parties represents and warrants that they are
                                in material compliance with each material contract entered into by any
                                Loan Party after the Petition Date or entered into prior to the Petition
                                Date and assumed, specific material contracts have been continued, the
                                Interim Order or the Final Order (as applicable) shall continue to be
                                effective, and the Loan Parties have not failed to disclose any material
                                assumptions with respect to the Budget or Cash Flow Forecast and affirm
                                that each of the Budget and Cash Flow Forecast reflects good faith
                                estimates of the matters set forth therein; on the Termination Date the
                                DIP Lenders shall be entitled to immediate payment of the obligations
                                without further application to the Bankruptcy Court.

Affirmative Covenants:          Each of the Loan Parties (with respect to itself and each of its
                                subsidiaries) agrees to the affirmative covenants set forth in the Existing
                                Credit Agreement, modified as necessary to reflect the commencement
                                of the Cases, changes in the financial and other conditions of the Loan
                                Parties resulting therefrom and from events leading up thereto and such
                                other affirmative covenants as the DIP Lenders shall reasonably require
                                in the Definitive Documentation as well as the following affirmative
                                covenants:

                                (a) delivery of monthly (in addition to quarterly and annual) consolidated
                                and consolidating financial statements and reports showing variances from
                                the Budget;

                                (b) delivery of bi-weekly updates of the Cash Flow Forecast and
                                variance reports, each in form and substance reasonably satisfactory to
                                the Administrative Agent and the Required NM Lenders;

                                (c) monthly delivery of a narrative discussion and analysis of the
                                financial condition and results of operations of the Borrower and its
                                subsidiaries (including, without limitation, with respect to asset sales,
                                cost savings, facility closures, litigation, contingent liabilities and other
                                matters as the Administrative Agent or the Required DIP Lenders may
                                reasonably request);




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                        (d) delivery by dates to be agreed of non-core asset sale plan and
                        progress reports with respect thereto, each in form and substance
                        reasonably satisfactory to the Administrative Agent and the Required
                        NM Lenders;

                        (e) delivery to the Administrative Agent and the DIP Lenders as soon as
                        practical in advance of filing with the Bankruptcy Court, (i) all material
                        proposed orders, pleadings and motions which must be in form and
                        substance reasonably satisfactory to the Administrative Agent and the
                        Required DIP Lenders, and (ii) any plan of reorganization or liquidation,
                        and/or any disclosure statement related to such plan and any of the
                        foregoing distributed by any Debtor to any Committee;

                        (f) access to information (including historical information) and
                        personnel, including, without limitation, regularly scheduled meetings as
                        mutually agreed with senior management and other company advisors
                        and the Administrative Agent, the Required DIP Lenders and Moelis &
                        Company LLC shall be provided with access to all information it shall
                        reasonably request;

                        (g) bi-weekly update calls (with question and answer periods) with
                        senior management of the Borrower and the DIP Lenders and their
                        respective representatives and advisors; and

                        (h) compliance with and absence of default under the Restructuring
                        Support Agreement and absence of a “Termination Event” (as defined
                        under the Restructuring Support Agreement) thereunder.

                        The Definitive Documentation will contain provisions relating to
                        disbursement controls reasonably satisfactory to the Administrative
                        Agent, the Required DIP Lenders and the Loan Parties.

Financial Covenants:    Compliance with the Budget and the Cash Flow Forecast subject to line
                        item variances to be agreed.

Negative Covenants:     Each of the Loan Parties (with respect to itself and each of its
                        subsidiaries) agrees to the negative covenants set forth in the Existing
                        Credit Agreement, modified as necessary to reflect the commencement
                        of the Cases and changes in the financial and other conditions of the
                        Loan Parties resulting therefrom and from events leading up thereto, with
                        such baskets and carve-outs as may be agreed to in the Definitive
                        Documentation by the parties thereto acting in good faith and such other
                        matters as the DIP Lenders shall require in the Definitive
                        Documentation. Each of the Loan Parties (with respect to itself and each
                        of its subsidiaries) agrees that the following are prohibited (except to the
                        extent otherwise permitted in this Term Sheet or the Definitive
                        Documentation):

                        (a) creating or permitting to exist any liens or encumbrances on any
                        assets, other than liens securing the DIP Facility and any permitted liens


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                        (which permitted liens shall include scheduled liens in existence on the
                        Closing Date which, in the case of Primed Liens, are subordinated
                        pursuant to the orders, junior liens granted in connection with adequate
                        protection granted by the Loan Parties as required hereunder) and other
                        liens described in “Priority and Liens” above;

                        (b) creating or permitting to exist any other superpriority claim which is
                        pari passu with or senior to the claims of the DIP Lenders under the DIP
                        Facility, except for the Carve-Out and liens securing the obligations;

                        (c) disposing of assets (including, without limitation, any sale and
                        leaseback transaction and any disposition under Bankruptcy Code section
                        363) in respect of a transaction for total consideration of more than an
                        aggregate amount to be agreed;

                        (d) (i) engaging in business different from those lines of business
                        conducted by the Borrower and its subsidiaries on the date of the Credit
                        Agreement or modifying the nature or the type of its business or the
                        manner in which such business is conducted or (ii) modifying or altering
                        in any manner which is adverse to the interests of the DIP Lenders, its
                        organizational documents, except as required by the Bankruptcy Code;

                        (e) prepaying pre-petition indebtedness, except as expressly provided for
                        herein, or as permitted under the Interim Order or the Final Order, as
                        applicable, or pursuant to “first day” orders entered upon pleadings in
                        form and substance reasonably satisfactory to the Administrative Agent
                        and the Required DIP Lenders;

                        (f) asserting any right of subrogation or contribution against any other
                        Loan Party until all borrowings under the DIP Facility are paid in full in
                        cash and the Commitments are terminated;

                        (g) declaring or making any dividend or any distribution on account of
                        capital stock (other than dividends and distributions (x) from non-Loan
                        Parties, (y) from Loan Parties to Loan Parties (other than Holdings) and
                        (z) from non-Loan Parties to non-Loan Parties); and

                        (h) paying any fees, including management fees, to its affiliates or
                        shareholders (other than any of Holding’s subsidiaries that are Loan
                        Parties) or make any other payments or dividends in respect of the capital
                        stock of Holding.

Events of Default:      The DIP Facility shall be subject to the events of default (the “Events of
                        Default”) (x) set forth in the Existing Credit Agreement, modified as
                        necessary to refer to the DIP Facility and to reflect the commencement of
                        the Cases and changes in the financial and other conditions of the Loan
                        Parties resulting therefrom and from events leading up thereto and (y) the
                        additional customary events of default the DIP Lenders may require in
                        the Definitive Documentation as well as the following events of default
                        (with thresholds and grace periods to be agreed):


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                        (a) The occurrence of any insolvency or bankruptcy proceeding with
                        respect to any subsidiary of Holding that is not a debtor in the Cases
                        (other than certain subsidiaries to be agreed);

                        (b) The Final Order Entry Date shall not have occurred by the 40th day
                        after the Interim Order Entry Date (or such later date as the Required
                        DIP Lenders may agree);

                        (c) Any of the Cases shall be dismissed or converted to a Chapter 7
                        Case; a trustee, receiver, interim receiver or receiver and manager shall
                        be appointed in any of the Cases, or a responsible officer or an examiner
                        with enlarged powers shall be appointed in any of the Cases (having
                        powers beyond those set forth in Bankruptcy Code sections 1106(a)(3)
                        and (4)); or any other superpriority administrative expense claim or lien
                        (other than the Carve-Out) which is pari passu with or senior to the
                        claims or liens of the DIP Lenders under the DIP Facility shall be
                        granted in any of the Cases without the consent of the Administrative
                        Agent and the Required DIP Lenders;

                        (d) Other than payments authorized by the Bankruptcy Court in respect
                        of “first day” or other orders entered upon pleadings in form and
                        substance reasonably satisfactory to the Administrative Agent and the
                        Required DIP Lenders, permitted by the Interim Order or the Final Order
                        (as applicable), as required by the Bankruptcy Code, or as may be
                        permitted in the Definitive Documentation, the Loan Parties shall make
                        any payment (whether by way of adequate protection or otherwise) of
                        principal or interest or otherwise on account of any pre-petition
                        indebtedness or payables of the Debtors or any other debt;

                        (e) The Bankruptcy Court shall enter an order granting relief from the
                        automatic stay to any creditor or party in interest (i) to permit foreclosure
                        (or the granting of a deed in lieu of foreclosure or the like) on any assets
                        of the Loan Parties which have an aggregate value in excess of an
                        amount to be agreed or (ii) to permit other actions that would have a
                        material adverse affect on the Loan Parties or their estates;

                        (f) An order shall be entered reversing, amending, supplementing,
                        staying, vacating or otherwise modifying the Interim Order or the Final
                        Order, or any of the Borrower or any of their affiliates shall apply for
                        authority to do so, in each case without the prior written consent of the
                        Required DIP Lenders, or the Interim Order or Final Order with respect
                        to the DIP Facility shall cease to be in full force and effect;

                        (g) Any judgments which are in the aggregate in excess of an amount to
                        be agreed as to any post-petition obligation shall be rendered against the
                        Loan Parties or any of its subsidiaries and the enforcement thereof shall
                        not be stayed (by operation of law, the rules or orders of a court with
                        jurisdiction over the matter or by consent of the party litigants); or there
                        shall be rendered against the Loan Parties or any of its subsidiaries a
                        nonmonetary judgment with respect to a post-petition event which causes

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                        or would reasonably be expected to cause a material adverse change or a
                        material adverse effect on the ability of the Loan Parties or any of its
                        subsidiaries taken as a whole to perform their obligations under the
                        Definitive Documentation;

                        (h) Except as provided under “Exit Financing” above, the Debtors shall
                        file any plan in any of the Cases that does not provide for termination of
                        the Commitments under the DIP Facility and payment in full in cash of
                        the Loan Parties’ obligations under the Definitive Documentation on the
                        effective date of such plan of reorganization or liquidation or any order
                        shall be entered which dismisses any of the Cases and which order does
                        not provide for termination of the Commitments under the DIP Facility
                        and payment in full in cash of the Loan Parties’ obligations under the
                        Definitive Documentation, or any of the Debtors shall seek, support, or
                        fail to contest in good faith the filing or confirmation of such a plan or
                        the entry of such an order;

                        (i) The Loan Parties or any of their subsidiaries shall take any action in
                        support of any of the foregoing or any person other than the Loan Parties
                        or any of their subsidiaries shall do so and such application is not
                        contested in good faith by the Loan Parties or such subsidiaries and the
                        relief requested is granted in an order that is not stayed pending appeal;

                        (j) Any of the Loan Parties or their affiliates shall fail to comply with the
                        Interim Order or Final Order, as applicable;

                        (k) The filing of a motion, pleading or proceeding by any of the Loan
                        Parties or their affiliates which could reasonably be expected to result in
                        a material impairment of the rights or interests of the DIP Lenders or a
                        determination by a court with respect to a motion, pleading or proceeding
                        brought by another party which results in such a material impairment;
                        and

                        (l) The Borrower shall have failed to comply with any of the following:
                        (i) file with the Bankruptcy Court a plan of reorganization and related
                        disclosure statement in form and substance reasonably satisfactory to the
                        Required DIP Lenders on or before the date that is 25 days after the
                        Petition Date (the “Plan of Reorganization” and the “Disclosure
                        Statement”); (ii) obtain an order of the Bankruptcy Court in form and
                        substance reasonably satisfactory to the Required DIP Lenders approving
                        the Disclosure Statement on or before the date that is 75 days after the
                        Petition Date pursuant to Section 1125 of the Bankruptcy Code on or
                        before such time; (iii) commence the solicitation of acceptances of the
                        Plan of Reorganization on or before the date that is 15 days following
                        entry of the order referenced to in clause (ii) above; (iv) file with the
                        Bankruptcy Court on or before July 5, 2013 a supplement to the Plan of
                        Reorganization in form and substance reasonably satisfactory to the
                        Required DIP Lenders; (v) obtain an order of the Bankruptcy Court in
                        form and substance reasonably satisfactory to the Required DIP Lenders
                        confirming the Plan of Reorganization on or before July 15, 2013; (vi)

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                        consummate the Plan of Reorganization on or before July 31, 2013; and
                        (v) obtain an order of the Bankruptcy Court in form and substance
                        reasonably satisfactory to the Required DIP Lenders establishing bar
                        dates for submitting proofs of claim and requests for payment pursuant to
                        section 503(b)(9) of the Bankruptcy Code.

Required Lenders:       As used herein:

                        The term “Required NM Lenders” shall mean the NM Lenders holding
                        more than 50% of the sum of (i) the aggregate outstanding principal
                        amount of the New Money Loans and (ii) the aggregate unused
                        Commitments in respect of the New Money Loan.

                        The term “Required DIP Lenders” shall mean the DIP Lenders holding
                        more than 50% of the aggregate amount of the Loans and unused
                        Commitments under the DIP Facility, and for the avoidance of doubt,
                        shall in any event, include Wells Fargo at all times until the making of
                        the Refinancing Loans, provided that in any event the Required DIP
                        Lenders shall include the Required NM Lenders.

Voting:                 Amendments and waivers with respect to the Definitive Documentation
                        shall require the approval of the Required NM Lenders, provided that
                        any amendment or waiver with respect to each of the Specified Voting
                        Items referenced below shall also require the consent of the Refinancing
                        Loan Lender. As used herein, the term “Specified Voting Items” refers
                        to each and all of the following:

                                Specified Voting Items:

                                1. Amendments, changes, postponements, extensions,
                                   modifications or waivers relating to any of the following:
                                      a. either Order
                                      b. "Lender Protections" (i.e., adequate protection)
                                      c. maturity of the DIP Loans
                                      d. principal, interest and fees in respect of the
                                          Refinancing Loans, and increase of any principal,
                                          interest and fees in respect of the New Money
                                          Loans
                                      e. amount of availability of the New Money Loans
                                      f. terms on which the Refinancing Loans convert
                                          into an exit financing
                                      g. amendments or changes (including deletions) with
                                          respect to the information covenants (but
                                          excluding waivers in respect of information
                                          covenants which shall only require the consent by
                                          the Required NM Lenders)
                                      h. the amendments section or any other provision
                                          requiring the consent of all lenders (including
                                          definitions of "Required Lenders", "Required NM
                                          Lenders", "Required DIP Lenders", etc.)

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                                          i.   any scheduled prepayment to the extent the
                                               Refinancing Loan Lender is adversely affected
                                          j. any provision relating to the letters of credit issued
                                               under the DIP Facility
                                          k. pro rata sharing provisions
                                          l. assignment provisions or otherwise permit
                                               assignments to the Borrower or its affiliates
                                          m. provisions relating to administration of
                                               Refinancing Loans (e.g., setting the LIBO Rate or
                                               distributing monies)
                                2.    Any waiver of any defaults related to either Order being
                                      stayed, reversed etc. for any reason.
                                3.    Any priming of any of the Refinancing Loans or New
                                      Money Loans
                                4.    Any amendment or waiver of any condition precedent to
                                      effectiveness of the DIP Facility or any extension of credit
                                      thereunder.
                                5.    Release any Loan Party (other than in connection with a
                                      disposition that is expressly permitted under the terms of
                                      the Definitive Documentation (but not a disposition that
                                      would not have been permitted if not for a waiver)).
                                6.    Release any portion of the Collateral (other than in
                                      connection with a disposition that is expressly permitted
                                      under the terms of the Definitive Documentation (but not a
                                      disposition that would not have been permitted if not for a
                                      waiver)).
                                7.    The assignment or transfer by Borrower or any Loan Party
                                      of any of its rights and obligations under any Definitive
                                      Documentation.
                                8.    Any change to the required application of repayments or
                                      prepayments between classes (i.e., NM Loans and
                                      Refinancing Loans).
                                9.    Changes that would add/permit new obligations (in
                                      addition to the Loans and other obligations under the
                                      Credit Agreement) to be secured by the liens in favor of
                                      the DIP Lenders.
                                10.   Changes/amendments/waivers that would permit:
                                          a. an asset sale otherwise prohibited under the DIP
                                               Facility (as in effect on the Closing Date)
                                          b. incurrence of debt that is pari passu with the DIP
                                               Facility
                                          c. a change of control (to be defined in the Definitive
                                               Documentation).
                                11.   Any action that disproportionately adversely affects the
                                      Refinancing Loans vis-à-vis the New Money Loans.
                                12.   Credit bidding of the Refinancing Loans.
                                13.   Any restriction on transferring the Refinancing Loans.
Assignments
and Participations:     The DIP Lenders shall be permitted to assign all or a portion of their


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                               Loans and Commitments (other than to Holding or any of its subsidiaries
                               or any of their respective Affiliates (to be defined in the Definitive
                               Documentation)) with the consent, not to be unreasonably withheld, of
                               the Administrative Agent, unless the Loan is being assigned to a Lender,
                               an affiliate of a Lender or an approved fund; provided, that the assignee
                               becomes a party to the Restructuring Support Agreement.

Yield Protection:              The Definitive Documentation shall contain customary provisions,
                               subject to customary mitigation requirements, (a) protecting the DIP
                               Lenders against increased costs or loss of yield resulting from reserve,
                               tax, capital adequacy and other requirements of law and from
                               withholding or other taxes and (b) indemnifying the DIP Lenders for
                               “breakage costs” incurred in connection with, among other things, any
                               prepayment of a LIBO Rate Loan on a day other than the last day of an
                               interest period with respect thereto.

Expenses and Indemnification The Borrower shall pay (a) all out-of-pocket expenses of the
                             Administrative Agent and the DIP Lenders associated with the
                             arrangement of the DIP Facility and the preparation, execution, delivery
                             and administration of the Definitive Documentation and any amendment
                             or waiver with respect thereto (including the reasonable and documented
                             fees, disbursements and other charges of counsels, including Kirkland &
                             Ellis LLP and Milbank, Tweed, Hadley & McCloy LLP and financial
                             advisors), (b) all out-of-pocket expenses of the Administrative Agent and
                             the DIP Lenders (including the reasonable and documented fees,
                             disbursements and other charges of counsels and financial advisors) in
                             connection with the enforcement of the Definitive Documentation and
                             (c) all out-of-pocket expenses of the Administrative Agent, the
                             Refinancing Loan Lender and the Specified DIP Lenders incurred in
                             connection with the DIP Facility, the Orders or the Cases (including,
                             without limitation, preparation and filing of all pleadings in the Cases,
                             the on-going monitoring of the Cases, including attendance at hearings or
                             other proceedings and the on-going review of documents filed with the
                             Bankruptcy Court); it being understood in terms of the legal counsels
                             subject to reimbursement, they should be limited to one primary counsel
                             for the Administrative Agent, one primary counsel for the NM Lenders,
                             and one primary counsel for the Refinancing Loan Lender, together with
                             any additional conflicts counsels, special counsels and local counsels in
                             any relevant jurisdiction the Administrative Agent, the NM Lenders and
                             the Refinancing Loan Lender may retain. For purposes hereof,
                             “Specified DIP Lenders” shall mean the DIP Lenders from time to time
                             comprising the steering committee designated by the Required NM
                             Lenders in connection with the DIP Facility and the ongoing
                             administration of the Cases.

                               The Administrative Agent and the DIP Lenders (and their affiliates and
                               their respective officers, directors, employees, advisors and agents)
                               (each, an “indemnified person”) will have no liability for, and will be
                               indemnified and held harmless against, any losses, claims, damages,
                               liabilities or expenses incurred in respect of the financing contemplated

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                           hereby or the use or the proposed use of proceeds thereof, except to the
                           extent (i) they are found by a final nonappealable judgment of a court of
                           competent jurisdiction to arise from the willful misconduct, bad faith or
                           gross negligence of any indemnified person and (ii) such dispute is solely
                           among indemnified persons other than any claims against an indemnified
                           person arising out of any act or omission of any Debtor.

Governing Law and Forum:   The Definitive Documentation will provide that the Loan Parties will
                           submit to the nonexclusive jurisdiction and venue of the Bankruptcy
                           Court, or in the event that the Bankruptcy Court does not have or does
                           not exercise jurisdiction, then in any state or federal court of competent
                           jurisdiction in the state, county and city of New York, borough of
                           Manhattan; and shall waive any right to trial by jury. New York law and,
                           where applicable, the Bankruptcy Code, shall govern the Definitive
                           Documentation.

Counsel to the
Administrative Agent
and the DIP Lenders:       Kirkland & Ellis LLP and Milbank, Tweed, Hadley & McCloy LLP




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                                     First Out Exit Term Sheet1



Borrower:                                      The Reader’s Digest Association, Inc., a Delaware
                                               corporation (the “Borrower”).

Lender:                                        Wells Fargo Principal Lending, LLC (and/or an affiliate
                                               thereof) and other financial institutions to be agreed (the
                                               “Lenders”).

Administrative Agent and
Issuing Bank:                                  Wells Fargo Bank, N.A. or an affiliate thereof (in such
                                               capacity, the “Administrative Agent” or the “Issuing
                                               Bank”, as the case may be).

First Out Credit Facilities:                   Senior secured “first out” credit facilities (the “First Out
                                               Credit Facilities”) to consist of:

                                               (a)       First Out Term Loan Facility. A first out term
                                               loan facility (the “First Out Term Loan Facility”; the
                                               loans thereunder, “Loans”) in an aggregate amount equal
                                               to (i) the DIP Refinancing Loan Amount (as defined
                                               below) less any prepayments (if any) of “Refinancing
                                               Loans” (as defined below) under the Borrower’s debtor-
                                               in-possession credit facility prior to the Closing Date
                                               minus (ii) the face amount of undrawn letters of credit
                                               under the DIP Facility as of the Closing Date.

                                               (b)       First Out Letter of Credit Facility. A standby
                                               letter of credit facility (the “First Out Letter of Credit
                                               Facility”) in an aggregate amount equal to the (i) DIP
                                               Refinancing Loan Amount less any prepayments (if any)
                                               of “Refinancing Loans” under the Borrower’s debtor-in-
                                               possession credit facility prior to the Closing Date minus
                                               (ii) the aggregate amount of the First Out Term Loan
                                               Facility as of the Closing Date (the “L/C Commitment”).
                                               The letters of credit outstanding under the Existing
                                               Credit Agreement shall be deemed usage of the First Out
                                               Letter of Credit Facility.

                                               As used herein: “DIP Refinancing Loan Amount” means
                                               an aggregate amount equal to the sum of (i) $49,625,000
                                               plus (ii) the aggregate amount of all letters of credit


1
 This term sheet is attached as Annex II to the Commitment Letter (the “Commitment Letter”), dated as
of February 17, 2013, with respect to the Borrower’s debtor-in-possession credit facility.

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                                         outstanding under the Existing Credit Agreement as of
                                         February 17, 2013 equal to $9,516,267 plus (iii) the
                                         aggregate amount of all outstanding and unpaid fees,
                                         letter of credit standby fees and commissions, premiums,
                                         expenses, indemnification amounts and interest accrued
                                         prior to, on and after the commencement of the Chapter
                                         11 Cases (as defined below) under the Existing Credit
                                         Agreement and immediately prior to the date when the
                                         Refinancing Loans become effective. It being understood
                                         that the indemnification obligations under the
                                         Refinancing Loans will survive as obligations under the
                                         First Out Term Loan Facility.

                                         Notwithstanding that the scheduled final maturity of the
                                         “Refinancing Loans” under the debtor-in-possession
                                         credit facility of the Borrower extends beyond the date
                                         that is 180 days after the date on which the chapter 11
                                         petitions are first filed by the Borrower or its affiliates
                                         (the date of such filing, the “Petition Date”), the
                                         commitment of Wells Fargo Principal Lending, LLC
                                         under the Restructuring Support Agreement (as defined
                                         below in Annex A hereto) and this term sheet to provide
                                         the First Out Credit Facilities shall terminate on the date
                                         that is 180 days after the Petition Date.

Use of Proceeds:                         The First Out Term Loan Facility will be used to
                                         refinance all “Refinancing Loans” under the debtor-in-
                                         possession credit facility of the Borrower.

                                         The First Out Letter of Credit Facility will provide letters
                                         of credit (the “Letter of Credit”) to support the general
                                         corporate purposes of the Borrower and its subsidiaries.

Closing Date and Closing Conditions:     The First Out Credit Facilities shall close and become
                                         effective on the date (the “Closing Date”) of (i) the
                                         execution and delivery of the Financing Documentation
                                         (as defined below) by the Borrower, the Guarantors (as
                                         defined below), the Administrative Agent and the
                                         respective Lenders party thereto, (ii) the satisfaction of
                                         the conditions precedent to effectiveness of the First Out
                                         Credit Facilities specified herein (including, without
                                         limitation, the conditions precedent specified in Annex A
                                         hereto) and (iii) the effectiveness of a plan of
                                         reorganization (pursuant to a confirmation order that is
                                         reasonably satisfactory in form and substance to the
                                         Administrative Agent) for the Borrower and the
                                         Guarantors, that is reasonably satisfactory in form and
                                         substance to the Administrative Agent.

Availability:                            The First Out Term Loan Facility will be available to the
                                         Borrower for borrowing on the Closing Date to refinance

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                                    the “Refinancing Loans” outstanding under the DIP
                                    Facility immediately prior to the Closing Date.

                                    The First Out Letter of Credit Facility will be available
                                    as set forth under “Letters of Credit” below.

Letters of Credit:                  The First Out Letter of Credit Facility will be available
                                    for letters of credit subject to (x) on the Closing Date, the
                                    satisfaction of the conditions under “Conditions
                                    Precedent” below, and (y) after the Closing Date, no
                                    bankruptcy or payment defaults and receipt of customary
                                    letter of credit request. Each letter of credit shall expire
                                    not later than the earlier of 12 months after its date of
                                    issuance and the fifteenth day prior to the Maturity Date
                                    (the “Letter of Credit Expiration Date”); provided that,
                                    subject to the certain customary terms of the Financing
                                    Documentation, a letter of credit may provide that it shall
                                    automatically renew for additional one year periods but
                                    in any event not beyond the Letter of Credit Expiration
                                    Date.

                                    The issuance of all letters of credit shall be subject to the
                                    customary procedures of the Issuing Bank.

Amortization:                       The outstanding principal amount of the First Out Term
                                    Loan Facility will be payable in equal quarterly amounts
                                    of $0.625 million (with the first such payment date being
                                    the end of the first full fiscal quarter of the Borrower
                                    occurring after the Closing Date), with the remaining
                                    balance, together with all other amounts owed with
                                    respect thereto, payable on the Maturity Date. The First
                                    Out Credit Facilities shall be repaid in full on the
                                    Maturity Date.

Documentation:                      The documentation for the First Out Credit Facilities
                                    (which shall be satisfactory in form and substance to the
                                    Administrative Agent), the definitive terms of which
                                    shall be negotiated in good faith, will include, among
                                    other items, a credit agreement and guarantees
                                    (collectively, the “Financing Documentation”), which
                                    shall be based on the Existing Credit Agreement
                                    Documentation (as defined below) to the extent possible
                                    and will be modified fully, as appropriate, to reflect the
                                    terms set forth in this term sheet and agency and other
                                    changes reasonably requested by the Administrative
                                    Agent.

                                    “Existing Credit Agreement Documentation” shall mean
                                    the documentation relating to that certain Credit and
                                    Guarantee Agreement dated as of March 30, 2012 (as
                                    amended, the “Existing Credit Agreement”), among

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                                    RDA Holding Co. (“Holding”), the Borrower, the
                                    lenders party thereto and Wells Fargo Bank, N.A., as
                                    administrative agent for the lenders.

Guarantors:                         Consistent with the Existing Credit Agreement and the
                                    Borrower’s debtor-in-possession credit facility, the
                                    obligations of the Borrower under the First Out Credit
                                    Facilities will be unconditionally guaranteed, on a joint
                                    and several basis, by Holding and each existing and
                                    subsequently acquired or formed direct and indirect
                                    domestic subsidiaries providing guarantees in connection
                                    with the Existing Credit Agreement and the Borrower’s
                                    debtor-in-possession credit facility (each a “Guarantor”;
                                    and such guarantee being referred to herein as a
                                    “Guarantee”). All Guarantees shall be guarantees of
                                    payment and not of collection. The Borrower and the
                                    Guarantors are herein referred to as the “Loan Parties”
                                    and, individually, as a “Loan Party.”

Security:                           The First Out Credit Facilities shall be secured by a
                                    perfected first priority security interest in all of the
                                    present and future tangible and intangible assets of the
                                    Loan Parties (including, without limitation, accounts
                                    receivable, inventory, intellectual property, real property
                                    (whether owned or leased), 100% of the capital stock of
                                    the Borrower and the Guarantors and 65% (or, in the
                                    absence of material adverse tax consequences to the
                                    Borrower, 100%) of the capital stock of each first tier
                                    foreign subsidiary of the Borrower, except for those
                                    assets excluded from the collateral under the Existing
                                    Credit Agreement Documentation (the “Collateral”).

                                    On the Closing Date, the Borrower shall enter into a
                                    second out term loan facility in an aggregate principal
                                    amount equal to the lower of $45 million and the then-
                                    outstanding aggregate principal amount of the “new
                                    money loans” under the Borrower’s debtor-in-possession
                                    credit facility (the “Second Out Term Loan Facility”), on
                                    terms and conditions reasonably satisfactory to the
                                    Administrative Agent, for the purpose of refinancing the
                                    “new money loans” owed under the Borrower’s debtor-
                                    in-possession credit facility. The Second Out Term Loan
                                    Facility shall be secured by a perfected first priority
                                    security interest in the Collateral. All obligations in
                                    connection with the First Out Credit Facilities (other than
                                    unasserted indemnification and contingent obligations)
                                    shall be paid in full prior to any obligations under the
                                    Second Out Term Loan Facility on a “first out” basis on
                                    terms substantially similar to those set forth in the
                                    Existing Credit Agreement Documentation (for the
                                    avoidance of doubt, cash interest payments under the

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                                     Second Out Term Loan Facility shall be permitted),
                                     including without limitation the security agreement
                                     securing the obligations under the Existing Credit
                                     Agreement and the Borrower’s Prepetition Notes (as
                                     defined below).

Final Maturity:                      The final maturity of the First Out Credit Facilities will
                                     occur on September 30, 2015 (the “Maturity Date”).

Interest Rates and Fees:             Interest rates and fees in connection with the First Out
                                     Credit Facilities will be as specified on Schedule I
                                     attached hereto.

Termination of Exit Commitments:     It is understood that at any time prior to the Closing Date
                                     and the effectiveness of a plan of reorganization for the
                                     Borrower, the Borrower may obtain alternative exit
                                     financing to the First Out Credit Facilities (an
                                     “Alternative Exit Financing”) and elect in writing to
                                     permanently terminate and cancel the commitments for
                                     the First Out Credit Facilities without premium or
                                     penalty or payment of any fee with respect to the First
                                     Out Credit Facilities; provided that such Alternative Exit
                                     Financing shall repay in full in cash all the “Refinancing
                                     Loans” under the debtor-in-possession financing of the
                                     Borrower upon the effectiveness of a plan of
                                     reorganization for the Borrower.

Mandatory Prepayments and
Commitment Reductions:               Subject to the next paragraph, the First Out Term Loan
                                     Facility will be required to be prepaid, without premium
                                     or penalty (except LIBOR breakage costs), with:

                                     (a)        100% of the net cash proceeds from the
                                                incurrence of indebtedness (other than certain
                                                permitted indebtedness to be agreed) after the
                                                Closing Date by Holding or any of its
                                                subsidiaries; and

                                     (b)        100% of the net cash proceeds of sales or other
                                                dispositions (including (a) by issuance or sale of
                                                stock of Holding or any of its subsidiaries, (b) as
                                                a result of casualty or condemnation, net of
                                                remediation or replacement costs, (c) any
                                                extraordinary receipts (to be mutually defined)
                                                and (d) licensing transactions) by Holding or
                                                any of its subsidiaries of any assets (except for
                                                sales of inventory in the ordinary course of
                                                business and certain other dispositions,
                                                thresholds and exceptions to be agreed on), in
                                                each case only to the extent such net cash
                                                proceeds are received by Holdings or any other

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                                               Loan Party; provided that the Borrower and
                                               other Loan Parties shall be permitted to reinvest
                                               (or commit to reinvest) an aggregate amount for
                                               all such sales, casualty events, extraordinary
                                               receipts and licensing proceeds not exceeding
                                               $15 million within six months.

Optional Prepayments and
Commitment Reductions:              Loans under the First Out Credit Facilities may be
                                    prepaid and unused commitments under the First Out
                                    Letter of Credit Facility may be reduced at any time, in
                                    whole or in part, at the option of the Borrower, upon
                                    notice and in minimum principal amounts and in
                                    multiples to be agreed upon, without premium or penalty
                                    (except LIBOR breakage costs). Any optional
                                    prepayment of the First Out Term Loan Facility will be
                                    applied to the remaining scheduled amortization
                                    payments as directed by the Borrower.

Initial Conditions:                 The availability of the First Out Credit Facilities shall be
                                    conditioned upon the satisfaction of the conditions
                                    precedent set forth in Annex A hereto.

                                    It is hereby understood and agreed that if each condition
                                    precedent set forth in Annex A hereto is not satisfied or
                                    is determined to be not capable of being satisfied, the
                                    “Refinancing Loans” under the debtor-in-possession
                                    credit facility of Borrower shall be repaid in full in cash
                                    on the effective date of the plan of reorganization for the
                                    Borrower.

Conditions to All Extensions
of Credit:                          Each extension of credit under the First Out Credit
                                    Facilities will be subject to satisfaction of the following
                                    conditions precedent: (a) all of the representations and
                                    warranties in the Financing Documentation shall be true
                                    and correct in all material respects (except to the extent
                                    that such representation and warranty is qualified by
                                    materiality) as of the date of such extension of credit and
                                    (b) no event of default under the First Out Credit
                                    Facilities or unmatured default thereunder shall have
                                    occurred and be continuing or would result from such
                                    extension of credit.

Representations and Warranties:     The Financing Documentation will contain
                                    representations and warranties substantially similar to the
                                    Existing Credit Agreement and such others as may be
                                    reasonably requested by the Administrative Agent.




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Affirmative Covenants:              The Financing Documentation will contain affirmative
                                    covenants substantially similar to the Existing Credit
                                    Agreement and such others as may be reasonably
                                    requested by the Administrative Agent.

Negative Covenants:                 The Financing Documentation will contain negative
                                    covenants substantially similar to the Existing Credit
                                    Agreement and such others as may be reasonably
                                    requested by the Administrative Agent (in each case
                                    subject to exceptions, carveouts and thresholds to be
                                    mutually agreed) including, but not limited to, the
                                    following:

                                      •        restriction on dividends, distributions, issuances
                                               of equity interests, redemptions and repurchases
                                               of equity interests;

                                      •        restriction on incurring additional first out or
                                               first lien secured indebtedness and limitation on
                                               incurring other indebtedness (with customary
                                               exceptions to be agreed; any additional second
                                               lien or unsecured indebtedness shall be on terms
                                               satisfactory to the Administrative Agent); it
                                               being agreed that there will be a debt carveout
                                               for letters of credit up to $5 million and a
                                               corresponding lien carveout for the cash
                                               collateral for such letters of credit;

                                      •        limitation on capital expenditures of $10 million
                                               for the first year of the First Out Credit Facilities
                                               and $10 million for the second year of the First
                                               Out Credit Facilities;

                                      •        restriction on (i) amending, supplementing or
                                               otherwise modifying the definitive
                                               documentation governing the Second Out Term
                                               Loan Facility in any manner materially adverse
                                               to the Administrative Agent or the Lenders
                                               without the consent of the Administrative Agent
                                               (it being agreed that any amendments,
                                               supplements or other modifications resulting in
                                               a shortening of maturity or an increase in
                                               interest rates, fees or principal shall be deemed
                                               to be materially adverse to the Administrative
                                               Agent and the Lenders) and (ii) any optional and
                                               mandatory prepayments under the Second Out
                                               Term Loan Facility.

Financial Covenants:                The Financing Documentation will contain a “First Out
                                    Leverage Ratio”, pursuant to which the Borrower shall
                                    not permit the ratio of total first out funded indebtedness

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                                    plus the total face amount of issued and undrawn first-
                                    out letters of credit to last twelve months EBITDA to
                                    exceed, as of the last day of any fiscal quarter of the
                                    Borrower, a ratio of 2.50 to 1 (which financial covenant
                                    shall be first tested as of December 31, 2013). The
                                    definition of “EBITDA”, and the related financial
                                    definitions, shall be substantially similar to the Existing
                                    Credit Agreement, with such changes as may be
                                    requested by the Administrative Agent.

Events of Default:                  The Financing Documentation will contain events of
                                    default substantially similar to the Existing Credit
                                    Agreement and such others as may be requested by the
                                    Administrative Agent.

Defaulting Lender Provisions,
Yield Protection and Increased
Costs:                              Customary for facilities of this type, including, without
                                    limitation, in respect of breakage or redeployment costs
                                    incurred in connection with prepayments, cash
                                    collateralization for Letters of Credit in the event any
                                    lender under the First Out Letter of Credit Facility
                                    becomes a Defaulting Lender (as such term shall be
                                    defined in the Financing Documentation), changes in
                                    capital adequacy and capital requirements or their
                                    interpretation, illegality, unavailability, reserves without
                                    proration or offset and payments free and clear of
                                    withholding or other taxes.

Assignments and Participations:     Lenders will be permitted to make assignments in
                                    minimum amounts to be agreed. Participation will be
                                    permitted without the consent of the Borrower or the
                                    Administrative Agent.

                                    No assignment or participation may be made to natural
                                    persons, Holding or any of its subsidiaries or their
                                    respective affiliates.

Required Lenders:                   Customary for facilities of this type.

Amendments and Waivers:             The Financing Documentation will contain provisions
                                    regarding amendments and waivers substantially similar
                                    to the Existing Credit Agreement with such changes as
                                    the Required Lenders may reasonably request.

Indemnification:                    The Financing Documentation will contain provisions
                                    regarding indemnification substantially similar to the
                                    Existing Credit Agreement with such changes as the
                                    required Lenders may reasonably request.



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Expenses:                           The Loan Parties will reimburse the Lenders and
                                    Administrative Agent (and the Lenders in the case of
                                    enforcement costs and documentary taxes) for all
                                    reasonable and documented out-of-pocket costs and
                                    expenses in connection with the syndication, negotiation,
                                    execution, delivery and administration of the Financing
                                    Documentation and any amendment or waiver with
                                    respect thereto (including, without limitation, reasonable
                                    and documented fees and expenses of counsel thereto,
                                    including any conflicts counsel, special counsel and local
                                    counsel retained)) and any enforcement of remedies with
                                    respect thereto.

Governing Law and Forum:            New York.

Waiver of Jury Trial and
Punitive and Consequential
Damages:                            All parties to the Financing Documentation waive the
                                    right to trial by jury and the right to claim punitive or
                                    consequential damages.

Counsel for the Administrative
Agent:                              Milbank, Tweed, Hadley & McCloy LLP.




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                                       SCHEDULE I
                                    INTEREST AND FEES



Interest:                                 Loans under the First Out Term Loan Facility shall
                                          accrue interest at the LIBO Rate plus 6.0% per annum, or
                                          Base Rate plus 5.0% per annum.

                                          As used herein:

                                          “LIBO Rate” has the meaning as defined in the Existing
                                          Credit Agreement but with a floor of 3.0%.

                                          “Base Rate” has the meaning as defined in the Existing
                                          Credit Agreement but with a floor of 4.00%.

Letter of Credit Fees:                    The Borrower will pay to the Issuing Bank, for its
                                          account, letter of credit fees equal to the applicable
                                          interest margin for the First Out Term Loan Facility
                                          (with respect to LIBO Rate loans) plus a fronting fee of
                                          1.00% on daily amount available to be drawn under each
                                          Letters of Credit.

Letter of Credit Utilization Fee:         A utilization fee of 1.0% per annum on the total undrawn
                                          amount of Letter of Credit Facility.

Upfront Fees:                             None

Default Interest:                         Upon the occurrence and during the continuance of an
                                          Event of Default under the Financing Documentation,
                                          interest shall accrue on the outstanding amount of the
                                          obligations under the Financing Documentation and shall
                                          be payable on demand at 2.0% per annum above the then
                                          applicable rate.

Rate and Fee Basis:                       All per annum rates shall be calculated on the basis of a
                                          year of 360 days for actual days elapsed; provided that
                                          computations of interest for Base Rate Loans when the
                                          Base Rate is determined by the prime rate shall be made
                                          on the basis of the number of actual days elapsed in a
                                          year of 365 or 366 days, as the case may be.




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                                                                                                  ANNEX A


               SUMMARY OF CONDITIONS PRECEDENT TO EFFECTIVENESS OF
                         THE FIRST OUT CREDIT FACILITIES


                 Closing and the availability of the First Out Credit Facilities will be subject to the
satisfaction of conditions precedent usual and customary for facilities of this type including the following:

                   (a)     Financing Documentation and Customary Closing Documentation. (i) Financing
Documentation reflecting and consistent with the terms and conditions set forth herein and otherwise
reasonably satisfactory to the Borrower and the Lenders, will have been executed and delivered, (ii) the
Administrative Agent will have received such customary legal opinions (including, without limitation,
opinions of special counsel and local counsel as may be reasonably requested by the Administrative
Agent) which such opinions shall permit reliance by permitted assigns of each of the Administrative
Agent and the Lenders, documents and other instruments as are customary for transactions of this type
including, without limitation, a certificate of the chief financial officer of Holding as to the solvency of
each Loan Party after giving effect to each element of the restructuring transactions, (iii) all documents,
instruments, reports and policies required to perfect or evidence the Administrative Agent’s first priority
security interest in and liens on the Collateral (including, without limitation, all certificates evidencing
pledged capital stock or membership or partnership interests, as applicable, with accompanying executed
stock powers, all UCC financing statements to be filed in the applicable government UCC filing offices,
all intellectual property security agreements to be filed with the United States Copyright Office or the
United States Patent and Trademark Office, as applicable, and all deposit account and securities account
control agreements) will have been executed and/or delivered and, to the extent applicable, be in proper
form for filing (including UCC and other lien searches, intellectual property searches, insurance policies,
surveys, title reports and policies, landlord waivers and access letters, appraisals and environmental
reports), (iv) all governmental and third party consents and all equityholder and board of directors (or
comparable entity management body) authorizations shall have been obtained and shall be in full force
and effect, (v) there shall not be any material pending or threatened litigation, bankruptcy or other
proceeding, (vi) satisfactory review of all organizational documentation of the Loan Parties and (vii) all
fees and expenses due to the Lenders, Administrative Agent and counsel to the Administrative Agent will
have been paid.

                  (b)      Confirmation of Plan of Reorganization. The restructuring transactions shall be
consummated in accordance with the terms of a Chapter 11 plan of reorganization (the “Plan of
Reorganization”) prepared in accordance with the Restructuring Support Agreement (as defined below)
and the exhibits attached thereto and such Plan of Reorganization shall be in all respects reasonably
satisfactory to the Administrative Agent and all conditions precedent to the effectiveness of the Plan of
Reorganization (other than the funding of the Loans under the First Out Credit Facilities) shall have been
satisfied in the judgment of the Administrative Agent (or waived with the prior written consent of the
Administrative Agent), and the Plan of Reorganization shall be substantially consummated (as defined in
Section 1101 of the Bankruptcy Code), and the effective date thereunder shall occur, concurrently with
the effectiveness of the First Out Credit Facilities. No changes, modifications, amendments or waivers
(other than those reasonably satisfactory to the Administrative Agent) shall have been made to such Plan
of Reorganization since the initial filing thereof with the Bankruptcy Court. The Plan of Reorganization
shall provide that with respect to any and all equity interests or other recoveries that the Existing
Noteholders receive thereunder on account of the Prepetition Notes, the Existing Noteholders shall not be
entitled to, or shall receive, any distributions, dividends, redemptions or any other payments on account of
such equity interests or other recoveries until such time that the First Out Credit Facilities shall have been


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paid in full in cash and the L/C Commitment shall have been terminated. As used herein, “Existing
Noteholders” means each holder of the senior secured notes (the “Prepetition Notes”) issued pursuant to
that certain indenture, dated February 11, 2010 by and among the Borrower, certain of its affiliates and
the purchasers party thereto from time to time.

                  (c)     Confirmation Order. The confirmation order (the “Confirmation Order”) in
respect of the Plan of Reorganization shall (i) have been entered by the United States Bankruptcy Court
for the Southern District of New York, White Plains Division (the “Bankruptcy Court”) and shall not
have been reversed, modified, amended, vacated or subject to any stay pending appeal, (ii) provide for
terms and conditions substantially similar to those provided in the Plan of Reorganization and otherwise
be reasonably satisfactory to the Administrative Agent and (iii) be in full force and effect. All appeals of
the Confirmation Order, and the Plan of Reorganization, shall have been dismissed or resolved in a
manner reasonably satisfactory to the Administrative Agent. No changes, modifications, amendments or
waivers shall have been made to the Confirmation Order since the entry thereof by the Bankruptcy Court
(other than those reasonably satisfactory to the Administrative Agent). Notwithstanding anything to the
contrary in the Plan of Reorganization or Confirmation Order, the Bankruptcy Court’s retention of
jurisdiction under the Plan of Reorganization and the Confirmation Order shall not govern the
enforcement of the First Out Credit Facilities or the related loan documents or any rights or remedies of
the parties related thereto or arising thereunder.

                (d)      Effective Date of Plan of Reorganization. The effective date of the Plan of
Reorganization shall occur no later than 180 days after the Petition Date. The Closing Date shall have
occurred on or prior to the date that is 180 days after the Petition Date.

                 (e)      Financial Statements. The Administrative Agent will have received, in form and
substance reasonably satisfactory to the Administrative Agent, (i) copies of audited consolidated financial
statements for the Borrower and its subsidiaries for the three fiscal years most recently ended before the
Closing Date (including, for the avoidance of doubt, the fiscal year ended December 31, 2012) and (ii)
projections prepared by management of balance sheets, income statements and cashflow statements of the
Borrower and its subsidiaries, which will be quarterly for the first year after the Closing Date and
annually thereafter for the term of the First Out Credit Facilities.

                 (f)     No Material Adverse Effect. (i) Since December 31, 2012, there shall not have
occurred any event or condition that has had or could be reasonably expected, either individually or in the
aggregate, to have a Material Adverse Effect. “Material Adverse Effect” means (A) a material adverse
change in, or a material adverse effect on, the operations, business, assets, properties, liabilities (actual or
contingent) or condition (financial or otherwise) of the Borrower and its subsidiaries, taken as a whole,
(B) a material adverse effect on the rights and remedies of the Administrative Agent or any Lender under
any Financing Documentation, or of the ability of any Loan Party to perform its obligations under any
Financing Documentation to which it is a party or (C) a material adverse effect upon the legality, validity,
binding effect or enforceability against any Loan Party of any Financing Documentation to which it is a
party, but in each case of the foregoing other than as a result of the commencement of the Borrower’s
chapter 11 proceeding, any events directly causing the filing of the Cases or any events which customarily
occur following the commencement of a reorganization proceeding under Chapter 11 of the Bankruptcy
Code.

                 (g)     Capital Structure. The Administrative Agent will be reasonably satisfied with the
terms and amounts of any intercompany loans among the Loan Parties. The Administrative Agent will be
satisfied with the flow of funds in connection with the closing. The Administrative Agent will be
reasonably satisfied with senior management of the Loan Parties.



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                 (h)     Information Required by Regulatory Authorities. The Loan Parties will have
provided the documentation and other information to the Lender that is required by regulatory authorities
under applicable “know your customer” and anti-money-laundering rules and regulations, including,
without limitation, the Patriot Act.

                 (i)      Representations and Warranties. All representations and warranties made by the
Loan Parties in the First Out Credit Facilities shall be true and correct in all material respects (unless
already qualified by materiality or material adverse effect in which case they shall be true and correct in
all respects) and the Administrative Agent shall not have become aware that any information previously
delivered is inaccurate or incomplete in any material respect.

                   (j)      No Default. No default or event of default under the First Out Credit Facilities
shall have occurred or be continuing after giving effect to the closing and funding of the First Out Credit
Facilities. Without giving effect to the applicability, if any, of Section 362 of the Bankruptcy Code,
immediately prior to closing of the First Out Credit Facilities, the Restructuring Support Agreement shall
be in full force and effect and shall not have been terminated and no default or event of default thereunder
(other than a default or event of default by Wells Fargo) shall have occurred or be continuing, in each
case in accordance with its terms. Furthermore, none of the Termination Events (as defined in the
Restructuring Support Agreement) set forth in Sections 4.1(a), 4.1(b), 4.1(c), 4.1(e), 4.1(f), 4.1(g), 4.1(h),
4.1(i), 4.1(j), 4.1(l), 4.1(m), 4.1(n), 4.1(o), 4.1(u) or 4.1(v) shall have occurred (and irrespective of
whether or not the occurrence of any of the foregoing has led to a termination of the Restructuring
Support Agreement). Immediately prior to closing the First Out Credit Facilities, no default or event of
default shall have occurred and be continuing under the Borrower’s debtor-in-possession credit facility.

                (k)     Business Plan. The Administrative Agent shall have received a post-
reorganization business plan of Holding and its subsidiaries satisfactory to the Administrative Agent.

                  (l)      Outstanding Indebtedness. Immediately following the restructuring transactions,
neither Holding, the Borrower nor any of their respective subsidiaries will have any Indebtedness (as
defined in the Financing Documentation) outstanding except for the loans under (i) the First Out Credit
Facilities and (ii) the Second Out Term Loan Facility and ordinary course Indebtedness to the extent
permitted under the Financing Documentation.

                 (m)     Second Out Term Loan Facility. The definitive documentation for the Second
Out term Loan Facility shall be in form and substance reasonably satisfactory to the Administrative Agent
(it being acknowledged and agreed that the terms set forth in the term sheet for the Second Out Term
Loan Facility attached as Annex 3 to the commitment letter dated as of February 17, 2013 (the
“Commitment Letter”), with respect to the Borrower’s debtor-in-possession credit facility (the “Second
Out Exit Term Sheet”), are satisfactory). The Second Out Term Loan Facility shall provide that, prior to
the payment in full in cash (other than unasserted indemnification and contingent obligations) of the First
Out Credit Facilities and the termination of the L/C Commitment, no payments of principal (whether
mandatory, optional, amortizing or others) shall be made under the Second Out Term Loan Facility. The
closing and funding of the Second Out Term Loan Facility shall have occurred or shall occur concurrently
with the closing of the First Out Term Loan Facility.

                  (n)     DIP Facility. The Borrower’s debtor-in-possession credit facility (the “DIP
Facility”) shall be in form and substance reasonably satisfactory to Wells Fargo Bank, N.A. (“Wells
Fargo”) and shall provide for the refinancing in full (in the form of roll-up term loans and letter of credit
facility under the DIP Facility) of all commitments and amounts outstanding (including any and all
principal, reimbursement obligations in respect of outstanding letters of credit (assuming drawn), fees,
commissions, premiums, expenses, indemnification amounts and interest accrued prior to, on and after the


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commencement of the Chapter 11 Cases (as defined below), including to the issuing lender) under the
Existing Credit Agreement (the loans and letter of credit facility under the DIP Facility used to refinance
in full all amounts outstanding under the Existing Credit Agreement in connection with the entry of the
Final Order (as defined below), the “Refinancing Loans”). It is understood that (A) the Refinancing Loans
shall be in an aggregate amount equal to the sum of (i) $49,625,000 plus (ii) the aggregate amount of all
letters of credit outstanding under the Existing Credit Agreement as of February 17, 2013 equal to
$9,516,267 plus (iii) the aggregate amount of all outstanding fees, letter of credit standby fees and
commissions, premiums, expenses, indemnification amounts and interest accrued prior to, on and after the
commencement of the Chapter 11 Cases under the Existing Credit Agreement and immediately prior to
the date when the Refinancing Loans become effective and (B) the indemnification obligations under the
Existing Credit Agreement will survive as obligations under the DIP Facility notwithstanding the
refinancing or termination of the facilities under the Existing Credit Agreement. The DIP Facility shall
provide that the Refinancing Loans shall be paid in full in cash if the conditions precedent set forth in this
Annex A are not satisfied or waived with the consent of the Administrative Agent.

                 (o)      Final Order. Not later than 40 days after the Interim Order Entry Date (as
defined below), the Bankruptcy Court shall have entered, upon motion in form and substance reasonably
satisfactory to Wells Fargo, a final order (the “Final Order”, and the date of entry of the Final Order being
hereinafter referred to as the “Final Order Entry Date”), in form and substance reasonably satisfactory to
Wells Fargo, which Final Order shall, among other things, authorize (i) the making of the Refinancing
Loans in full on the Final Order Entry Date and (ii) the Borrower using the Refinancing Loans on the
Final Order Entry Date to refinance in full all amounts outstanding under the Existing Credit Agreement,
which authorization shall be final and irrevocable in all respects and binding on all parties in interest in
the Chapter 11 Cases. Each of the foregoing shall have been consummated in a manner reasonably
satisfactory to Wells Fargo. The Final Order shall be in full force and effect and shall not have been
reversed, vacated, appealed, or made subject to a stay. No changes, modifications, amendments or
waivers shall have been made to the Final Order since the Final Order Entry Date (other than those
reasonably satisfactory to the Administrative Agent). The Refinancing Loans, the authorization under the
Final Order specified in clauses (i) and (ii) above and the consummation thereof shall not have been
reversed, vacated, appealed, or made subject to a stay, or otherwise objected to or challenged.

                  (p)     Interim Order. The Bankruptcy Court shall have entered, upon motion in form
and substance reasonably satisfactory to Wells Fargo, an interim order (the “Interim Order”, and the date
of entry of the Interim Order being hereinafter referred to as the “Interim Order Entry Date”), in form and
substance reasonably satisfactory to Wells Fargo, no later than five (5) calendar days after the Petition
Date (or such later date agreed to by Wells Fargo), which Interim Order shall authorize (i) the “new
money loans” under the Borrower’s debtor-in-possession credit facility and (ii) in consideration for the
consensual priming of the liens securing the Existing Credit Agreement by the liens securing the DIP
Facility, that Wells Fargo shall receive prior to the Final Order Entry Date current cash pay interest, fees
and commissions in respect of the Existing Credit Agreement at the non-default rate, a superpriority claim,
and superpriority replacement liens (in each case ranking junior only to the liens and claims in respect of
the DIP Facility) on the collateral securing the DIP Facility and the current payment of the fees and
expenses of counsel to Wells Fargo. The Interim Order shall not have been reversed, vacated, appealed,
or made subject to a stay. No changes, modifications, amendments or waivers shall have been made to
the Interim Order since the Interim Order Entry Date (other than those reasonably satisfactory to the
Administrative Agent). The authorization under the Interim Order specified in clauses (i) and (ii) above
and the granting and receipt by Wells Fargo of current cash pay interest, fees and commissions in respect
of the Existing Credit Agreement at the non-default rate, a superpriority claim, and superpriority
replacement liens (in each case ranking junior only to the liens and claims in respect of the DIP Facility)
on the collateral securing the DIP Facility and the current payment of the fees and expenses of counsel to



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Wells Fargo shall not have been reversed, vacated, appealed, or made subject to a stay, or otherwise
objected to or challenged.

                   (q)     Refinancing Loans. The Refinancing Loans shall (i) accrue interest at libor plus
5.0% per annum, and the libor rate shall have a floor of 3.0%; (ii) constitute a superpriority claim ranking
pari passu with the superpriority claim of all other loans under the DIP Facility and (iii) be secured by
first priority liens ranking pari passu with the liens securing all other loans under the DIP Facility.

                 (r)      Existing Credit Agreement Fees and Expenses. On or prior to the closing date of
the DIP Facility, all fees and expenses of Wells Fargo, and of Milbank, Tweed, Hadley & McCloy LLP
shall have been paid in full.

                 (s)      Certain Documentation. The following documentation shall be in form and
substance reasonably satisfactory to Wells Fargo: (i) the restructuring support agreement (the
“Restructuring Supporting Agreement”) entered into among the lenders under the DIP Facility in
connection with the reorganization of the Borrower and its affiliates pursuant to the chapter 11 cases of
the Borrower and its subsidiaries (the “Chapter 11 Cases”); (ii) the definitive loan documentation relating
to the DIP Facility (including a credit agreement and related security and closing documents, the term
sheet for the DIP Facility attached as Annex 1 to the Commitment Letter (the “DIP Term Sheet”) and the
Second Out Exit Term Sheet), it being acknowledged and agreed that the DIP Term Sheet and the Second
Out Exit Term Sheet are satisfactory; (iii) all of the “first day orders” and all related pleadings to be
entered at the time of commencement of the Chapter 11 Cases or shortly thereafter, including in respect of
amounts of critical vendor payments; and (iv) the Plan of Reorganization, the related disclosure statement
and the Confirmation Order, including any amendments, modifications or supplements made from time to
time thereto.

              (t)     Transaction Fees and Expenses. All fees and expenses of Wells Fargo, and of
Milbank, Tweed, Hadley & McCloy LLP, in connection with the transactions hereunder have been paid in
full.


All conditions precedent to the effectiveness of the Second Out Term Loan Facility are hereby
incorporated herein, mutatis mutandis, as additional conditions precedent to the effectiveness of the First
Out Credit Facilities and as so incorporated shall have been satisfied and have not been waived without
the consent of Wells Fargo.




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                                    Second Out Exit Term Sheet1
                                         February 17, 2013


Borrower:                                      The Reader’s Digest Association, Inc., a Delaware
                                               corporation (the “Borrower”).

Lenders:                                       The lenders in respect of the New Money Loans under
                                               the Borrower’s DIP Facility (the “Lenders”).

Administrative Agent:                          An entity designated by the Lenders in consultation with
                                               the Borrower (in such capacity, the “Administrative
                                               Agent”).

Facility:                                      Senior secured term loan credit facility (the “Second Out
                                               Term Loan Facility”) converted from the New Money
                                               Loans under the Borrower’s DIP Facility in an amount
                                               equal to the aggregate amount of the New Money Loans
                                               outstanding under the DIP Facility on the date of
                                               conversion.

Use of Proceeds:                               The Second Out Term Loan Facility will be used to
                                               refinance the New Money Loans outstanding under the
                                               DIP Facility.

Closing Date and Closing Conditions:           The Second Out Term Loan Facility shall close and
                                               become effective on the date (the “Closing Date”) of (i)
                                               the execution and delivery of the Financing
                                               Documentation (as defined below) by the Borrower, the
                                               Guarantors (as defined below), the Administrative Agent
                                               and the respective Lenders party thereto, (ii) the
                                               satisfaction of the conditions precedent to effectiveness
                                               of the Second Out Term Loan Facility specified herein
                                               (including, without limitation, the ones specified on
                                               Annex A) and in the Commitment Letter and (iii) the
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        Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such
        terms in the term sheet dated as of the date hereof for the senior secured priming debtor-in-
        possession credit facility for the Borrower attached to the Commitment Letter as Annex 1 (the
        “DIP Term Sheet”). As used herein, the term “Commitment Letter” shall mean the commitment
        letter dated February 17, 2013 by and among the Borrower, the Borrower’s affiliates party
        thereto, Wells Fargo Principal Lending, LLC, Goldentree Asset Management LP, Apollo
        Investment Management, L.P. and Empyrean Capital Partners, LP; and the term “Restructuring
        Support Agreement” shall mean that certain Restructuring Support Agreement dated February 17,
        2013 by and among the Borrower, the Borrower’s affiliates party thereto, Wells Fargo Principal
        Lending, LLC, Goldentree Asset Management LP, Apollo Investment Management, L.P. and
        Empyrean Capital Partners, LP.



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                                    effectiveness of a plan of reorganization (pursuant to a
                                    confirmation order that is reasonably satisfactory in form
                                    and substance to the Required Lenders) for the Borrower
                                    and the Guarantors, that is reasonably satisfactory in
                                    form and substance to the Required Lenders.

Availability:                       The Second Out Term Loan Facility will be available to
                                    the Borrower upon the Closing Date to refinance
                                    (without cash payment) the New Money Loans
                                    outstanding under the DIP Facility immediately prior to
                                    the Closing Date.

Amortization:                       None.

Documentation:                      The documentation for the Second Out Term Loan
                                    Facility (which shall be satisfactory in form and
                                    substance to the Required Lenders), the definitive terms
                                    of which shall be negotiated in good faith, will include,
                                    among other items, a credit agreement and guarantees
                                    (collectively, the “Financing Documentation”), which
                                    shall be based on the Existing Credit Agreement
                                    Documentation (as defined below) to the extent possible
                                    and will be modified fully, as appropriate, to reflect the
                                    terms set forth in this term sheet, the Commitment Letter,
                                    the First Out Credit Facilities and agency and other
                                    changes reasonably requested by the Required Lenders.

                                    “Existing Credit Agreement Documentation” shall mean
                                    the documentation relating to that certain Credit and
                                    Guarantee Agreement dated as of March 30, 2012 (as
                                    amended, the “Existing Credit Agreement”), among
                                    RDA Holding Co. (“Holding”), the Borrower, the
                                    lenders party thereto and Wells Fargo Bank, N.A., as
                                    administrative agent for the lenders.

Guarantors:                         Consistent with the Existing Credit Agreement and the
                                    DIP Facility, the obligations of the Borrower under the
                                    Second Out Term Loan Facility will be unconditionally
                                    guaranteed, on a joint and several basis, by Holding and
                                    each existing and subsequently acquired or formed direct
                                    and indirect domestic subsidiaries providing guarantees
                                    in connection with the Existing Credit Agreement and
                                    the Borrower’s DIP Facility (each a “Guarantor”; and
                                    such guarantee being referred to herein as a “Guarantee”).
                                    All Guarantees shall be guarantees of payment and not of
                                    collection. The Borrower and the Guarantors are herein
                                    referred to as the “Loan Parties” and, individually, as a
                                    “Loan Party.”



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Security:                           The Second Out Term Loan Facility shall be secured by
                                    a perfected first priority security interest in all of the
                                    present and future tangible and intangible assets of the
                                    Loan Parties (including, without limitation, accounts
                                    receivable, inventory, intellectual property, real property
                                    (whether owned or leased), 100% of the capital stock of
                                    the Borrower and the Guarantors and 65% (or, in the
                                    absence of material adverse tax consequences to the
                                    Borrower, 100%) of the capital stock of each first tier
                                    foreign subsidiary of the Borrower, except for those
                                    assets excluded from the collateral under the Existing
                                    Credit Agreement Documentation (the “Collateral”).

                                    On the Closing Date, the Borrower shall concurrently
                                    enter into senior secured “first out” credit facilities (the
                                    “First Out Credit Facilities”) converted from the
                                    Refinancing Loans under the DIP Facility subject to the
                                    terms set forth in the “First Out Exit Term Sheet”
                                    attached as Annex 2 to the Commitment Letter (the
                                    “First Out Exit Term Sheet”) and otherwise on terms and
                                    conditions reasonably satisfactory to the Required
                                    Lenders. The First Out Credit Facilities shall be secured
                                    by first priority security interest in the Collateral, pari
                                    passu with the liens securing the Second Out Term Loan
                                    Facility. All obligations in connection with the First Out
                                    Credit Facilities (other than unasserted indemnification
                                    and contingent obligations) shall be paid in full prior to
                                    any obligations under the Second Out Term Loan
                                    Facility on a “first out” basis on terms substantially
                                    similar to those set forth in the Existing Credit
                                    Agreement Documentation (for the avoidance of doubt,
                                    cash interest payments under the Second Out Term Loan
                                    Facility shall be permitted).

Final Maturity:                     September 30, 2015 (the “Maturity Date”).

Interest Rates and Fees:            As specified on Schedule I attached hereto.

Mandatory Prepayments:              The Second Out Term Loan Facility will be required to
                                    be prepaid, without premium or penalty (except LIBOR
                                    breakage costs), with:

                                    (a)        100% of the net cash proceeds from the
                                               incurrence of indebtedness (other than certain
                                               permitted indebtedness to be agreed) after the
                                               Closing Date by Holding or any of its
                                               subsidiaries; and




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                                    (b)        100% of the net cash proceeds of sales or other
                                               dispositions (including (a) by issuance or sale of
                                               stock of Holding or any of its subsidiaries, (b) as
                                               a result of casualty or condemnation, net of
                                               remediation or replacement costs, (c) any
                                               extraordinary receipts (to be mutually defined)
                                               and (d) licensing transactions) by Holding or
                                               any of its subsidiaries of any assets (except for
                                               sales of inventory in the ordinary course of
                                               business and certain other dispositions,
                                               thresholds and exceptions to be agreed on), in
                                               each case only to the extent such net cash
                                               proceeds are received by Holdings or any other
                                               Loan Party; provided that the Borrower and
                                               other Loan Parties shall be permitted to reinvest
                                               (or commit to reinvest) an aggregate amount for
                                               all such sales, casualty events, extraordinary
                                               receipts and licensing proceeds not exceeding
                                               $15 million within six months;

                                    provided that no such mandatory prepayments shall be
                                    made prior to the payment in full of the obligations
                                    (other than unasserted indemnification and contingent
                                    obligations) and the termination of the letter of credit
                                    commitment under the First Out Credit Facilities (but not
                                    including any refinancing thereof).

Optional Prepayments:               Loans under the Second Out Term Loan Facility may be
                                    prepaid from time to time, in whole or in part, at the
                                    option of the Borrower, upon notice and in minimum
                                    principal amounts and in multiples to be agreed upon,
                                    without premium or penalty (except LIBOR breakage
                                    costs and the applicable Early Termination Fee
                                    (referenced below)), provided that no such optional
                                    prepayments shall be made prior to the payment in full of
                                    the obligations (other than unasserted indemnification
                                    and contingent obligations) and the termination of the
                                    letter of credit commitment under the First Out Credit
                                    Facilities (but not including any refinancing thereof).
                                    Any optional prepayment of the Second Out Term Loan
                                    Facility will be applied to the remaining scheduled
                                    amortization payments as directed by the Borrower.

Representations and Warranties:     The Financing Documentation will contain
                                    representations and warranties substantially similar to the
                                    Existing Credit Agreement and such others as may be
                                    reasonably requested by the Required Lenders, but in no
                                    event more favorable to the Loan Parties than the
                                    equivalent terms under the First Out Credit Facilities.


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Affirmative Covenants:              The Financing Documentation will contain affirmative
                                    covenants substantially similar to the Existing Credit
                                    Agreement and such others as may be reasonably
                                    requested by the Required Lenders, but in no event more
                                    favorable to the Loan Parties than the equivalent terms
                                    under the First Out Credit Facilities.

Negative Covenants:                 The Financing Documentation will contain negative
                                    covenants substantially similar to the Existing Credit
                                    Agreement and such others as may be reasonably
                                    requested by the Required Lenders (in each case subject
                                    to exceptions, carveouts and thresholds to be mutually
                                    agreed), but in no event more favorable to the Loan
                                    Parties than the equivalent terms under the First Out
                                    Credit Facilities, including, but not limited to, the
                                    following:

                                      •        restriction on dividends, distributions, issuances
                                               of equity interests, redemptions and repurchases
                                               of equity interests;

                                      •        restriction on incurring addition first out or first
                                               lien secured indebtedness and limitation on
                                               incurring other indebtedness (with customary
                                               exceptions to be agreed; any additional second
                                               lien or unsecured indebtedness shall be on terms
                                               satisfactory to the Required Lenders; it being
                                               agreed that there will be a debt carveout for
                                               letters of credit up to $5 million and a
                                               corresponding lien carveout for the cash
                                               collateral for such letters of credit);

                                      •        limitation on capital expenditures of $10 million
                                               per 12-month period;

                                      •        restriction on (i) amending, supplementing or
                                               otherwise modifying the definitive
                                               documentation governing the First Out Credit
                                               Facilities in any manner materially adverse to
                                               the Lenders without the consent of the Required
                                               Lenders (it being agreed that any amendments,
                                               supplements or other modifications resulting in
                                               a change to maturity, an increase in interest rates,
                                               fees, principal or scheduled amortization
                                               payments, or any amendments, supplements or
                                               other modifications changing any payment
                                               priority or lien priority of the Second Out Term
                                               Loan Facility vis-à-vis the First Out Credit


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                                               Facilities shall be deemed to be materially
                                               adverse to the Lenders) and (ii) any
                                               prepayments of junior financing.

Financial Covenants:                The Financing Documentation will contain a “Second
                                    Out Leverage Ratio”, pursuant to which the Borrower
                                    shall not permit the ratio of total “second out” funded
                                    indebtedness to last twelve months EBITDA to exceed,
                                    as of the last day of any fiscal quarter of the Borrower, a
                                    ratio to be mutually agreed (which financial covenant
                                    shall be first tested as of December 31, 2013). The
                                    definition of “EBITDA”, and the related financial
                                    definitions, shall be substantially similar to the Existing
                                    Credit Agreement, with such changes as may be
                                    requested by the Required Lenders.

Events of Default:                  The Financing Documentation will contain events of
                                    default substantially similar to the Existing Credit
                                    Agreement and such others as may be requested by the
                                    Required Lenders.

Defaulting Lender Provisions,
Yield Protection and Increased
Costs:                              Customary for facilities of this type, including, without
                                    limitation, in respect of breakage or redeployment costs
                                    incurred in connection with prepayments, changes in
                                    capital adequacy and capital requirements or their
                                    interpretation, illegality, unavailability, reserves without
                                    proration or offset and payments free and clear of
                                    withholding or other taxes.

Assignments and Participations:     The Lenders will be permitted to make assignments in
                                    minimum amounts to be agreed. Participations will be
                                    permitted without the consent of the Borrower or the
                                    Administrative Agent.

                                    No assignment or participation may be made to natural
                                    persons, Holding or any of its subsidiaries.

Required Lenders:                   Lenders holding more than 50% of the outstanding
                                    principal amount of the loans under the Second Out
                                    Term Loan Facility (the “Required Lenders”).

Amendments and Waivers:             The Financing Documentation will contain provisions
                                    regarding amendments and waivers substantially similar
                                    to the Existing Credit Agreement with such changes as
                                    the Required Lenders may reasonably request.




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                                           Subject to Rule 408 of the Federal Rules of Evidence
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Indemnification:                    The Financing Documentation will contain provisions
                                    regarding indemnification substantially similar to the
                                    Existing Credit Agreement with such changes as the
                                    Required Lenders may reasonably request.

Expenses:                           The Loan Parties will reimburse the Lenders and
                                    Administrative Agent for all reasonable and documented
                                    out-of-pocket costs and expenses in connection with the
                                    syndication, negotiation, execution, delivery and
                                    administration of the Financing Documentation and any
                                    amendment or waiver with respect thereto (including,
                                    without limitation, reasonable and documented fees and
                                    expenses of counsel thereto, including any conflicts
                                    counsel, special counsel and local counsel retained) and
                                    any enforcement of remedies with respect thereto.

Governing Law and Forum:            New York.

Waiver of Jury Trial and
Punitive and Consequential
Damages:                            All parties to the Financing Documentation waive the
                                    right to trial by jury and the right to claim punitive or
                                    consequential damages.

Counsel for the Lenders:            Kirkland & Ellis LLP




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                                 SCHEDULE I
                              INTEREST AND FEES



Interest:                            Loans under the Second Out Term Loan Facility shall
                                     accrue interest at LIBO Rate plus 11.0% per annum, or
                                     Base Rate plus 10.0% per annum.

                                     As used herein:

                                     “LIBO Rate” has the meaning as defined in the Existing
                                     Credit Agreement but with a floor of 1.50%. “Base
                                     Rate” has the meaning as defined in the Existing Credit
                                     Agreement but with a floor of 2.50%.

Default Interest:                    Upon the occurrence and during the continuance of an
                                     Event of Default under the Financing Documentation,
                                     interest shall accrue on the outstanding amount of the
                                     obligations under the Financing Documentation and shall
                                     be payable on demand at 2.0% per annum above the then
                                     applicable rate.

Upfront Fee:                         2.0% of the aggregate principal amount of the New
                                     Money Loans converted into the Second Out Term Loan
                                     Facility.

Early Termination Fee:               In the event of any prepayment of the New Money Loan,
                                     such prepayment shall be subject to an early termination
                                     fee equal to (a) 2.0% of the aggregate principal amount
                                     of the New Money Loan prepaid, if such prepayment in
                                     made prior to the first anniversary of the Closing Date,
                                     (b) 1.0% of the aggregate principal amount of the New
                                     Money Loan prepaid, if such prepayment in made prior
                                     to the second anniversary of the Closing Date but on or
                                     after the first anniversary of the Closing Date, and (c)
                                     0.0%, if such prepayment in made on or after the third
                                     anniversary.

Rate and Fee Basis:                  All per annum rates shall be calculated on the basis of a
                                     year of 360 days for actual days elapsed, provided that
                                     computations of interest for Base Rate Loans when the
                                     Base Rate is determined by the prime rate shall be made
                                     on the basis of the number of actual days elapsed in a
                                     year of 365 or 366 days, as the case may be.




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                                                                                                  ANNEX A


             SUMMARY OF CONDITIONS PRECEDENT TO EFFECTIVENESS OF
                     THE SECOND OUT TERM LOAN FACILITY


                 Closing and the availability of the Second Out Term Loan Facility will be subject to the
satisfaction of conditions precedent usual and customary for facilities of this type including the following:

                  (a)     Financing Documentation and Customary Closing Documentation. (i) Financing
Documentation reflecting and consistent with the terms and conditions set forth herein and otherwise
reasonably satisfactory to the Borrower and the Lenders, will have been executed and delivered, (ii) the
Administrative Agent and the Required Lenders will have received such customary legal opinions
(including, without limitation, opinions of special counsel and local counsel as may be reasonably
requested by the Administrative Agent and the Required Lenders) which such opinions shall permit
reliance by permitted assigns of each of the Administrative Agent and the Lenders, documents and other
instruments as are customary for transactions of this type including, without limitation, a certificate of the
chief financial officer of Holding as to the solvency of each Loan Party after giving effect to each element
of the restructuring transactions, (iii) all documents, instruments, reports and policies required to perfect
or evidence the Administrative Agent’s and the Lenders’ first priority security interest in and liens on the
Collateral (including, without limitation, all certificates evidencing pledged capital stock or membership
or partnership interests, as applicable, with accompanying executed stock powers, all UCC financing
statements to be filed in the applicable government UCC filing offices, all intellectual property security
agreements to be filed with the United States Copyright Office or the United States Patent and Trademark
Office, as applicable, and all deposit account and securities account control agreements) will have been
executed and/or delivered and, to the extent applicable, be in proper form for filing (including UCC and
other lien searches, intellectual property searches, insurance policies, surveys, title reports and policies,
landlord waivers and access letters, appraisals and environmental reports), (iv) all governmental and third
party consents and all equityholder and board of directors (or comparable entity management body)
authorizations shall have been obtained and shall be in full force and effect, (v) there shall not be any
material pending or threatened litigation, bankruptcy or other proceeding, (vi) satisfactory review of all
organizational documentation of the Loan Parties and (vii) all fees and expenses due to the Lenders,
Administrative Agent and counsels to the Administrative Agent and the Lenders will have been paid.

                 (b)     Confirmation of Plan of Reorganization. The restructuring transactions shall be
consummated in accordance with the terms of a Chapter 11 plan of reorganization (the “Plan of
Reorganization”) prepared in accordance with the Restructuring Support Agreement and the exhibits
attached thereto and such Plan of Reorganization shall be in all respects reasonably satisfactory to the
Administrative Agent and the Required Lenders and all conditions precedent to the effectiveness of the
Plan of Reorganization (other than the funding of the Loans under the First Out Credit Facilities) shall
have been satisfied in the judgment of the Administrative Agent and the Required Lenders (or waived
with the prior written consent of the Administrative Agent and the Required Lenders), and the Plan of
Reorganization shall be substantially consummated (as defined in Section 1101 of the Bankruptcy Code),
and the effective date thereunder shall occur, concurrently with the effectiveness of the First Out Credit
Facilities and the Second Out Term Loan Facility. No changes, modifications, amendments or waivers
(other than those reasonably satisfactory to the Administrative Agent and the Required Lenders) shall
have been made to such Plan of Reorganization since the initial filing thereof with the Bankruptcy Court.

                 (c)     Confirmation Order. The confirmation order (the “Confirmation Order”) in
respect of the Plan of Reorganization shall (i) have been entered by the United States Bankruptcy Court


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for the Southern District of New York, White Plains Division (the “Bankruptcy Court”) and shall not
have been reversed, modified, amended, vacated or subject to any stay pending appeal, (ii) provide for
terms and conditions substantially similar to those provided in the Plan of Reorganization and otherwise
be reasonably satisfactory to the Administrative Agent and the Required Lenders and (iii) be in full force
and effect. All appeals of the Confirmation Order, and the Plan of Reorganization, shall have been
dismissed or resolved in a manner reasonably satisfactory to the Administrative Agent and the Required
Lenders. No changes, modifications, amendments or waivers shall have been made to the Confirmation
Order since the entry thereof by the Bankruptcy Court (other than those reasonably satisfactory to the
Administrative Agent and the Required Lenders). Notwithstanding anything to the contrary in the Plan of
Reorganization or Confirmation Order, the Bankruptcy Court’s retention of jurisdiction under the Plan of
Reorganization and the Confirmation Order shall not govern the enforcement of the Second Out Term
Loan Facility or the related loan documents or any rights or remedies of the parties related thereto or
arising thereunder.

                 (d)    Effective Date of Plan of Reorganization. The effective date of the Plan of
Reorganization shall occur no later than 180 days after the date on which the chapter 11 petitions are first
filed by the Borrower or its affiliates.

                  (e)       Financial Statements. The Administrative Agent and the Lenders will have
received, in form and substance reasonably satisfactory to the Administrative Agent and the Required
Lenders, (i) copies of audited consolidated financial statements for the Borrower and its subsidiaries for
the three fiscal years most recently ended before the Closing Date (including, for the avoidance of doubt,
the fiscal year ended December 31, 2012) and (ii) projections prepared by management of balance sheets,
income statements and cashflow statements of the Borrower and its subsidiaries, which will be quarterly
for the first year after the Closing Date and annually thereafter for the term of the Second Out Term Loan
Facility.

                 (f)     No Material Adverse Effect. (i) Since December 31, 2012, there shall not have
occurred any event or condition that has had or could be reasonably expected, either individually or in the
aggregate, to have a Material Adverse Effect. “Material Adverse Effect” means (A) a material adverse
change in, or a material adverse effect on, the operations, business, assets, properties, liabilities (actual or
contingent) or condition (financial or otherwise) of the Borrower and its subsidiaries, taken as a whole,
(B) a material adverse effect on the rights and remedies of the Administrative Agent or any Lender under
any Financing Documentation, or of the ability of any Loan Party to perform its obligations under any
Financing Documentation to which it is a party or (C) a material adverse effect upon the legality, validity,
binding effect or enforceability against any Loan Party of any Financing Documentation to which it is a
party, but in each case of the foregoing other than as a result of the commencement of the Borrower’s
chapter 11 proceeding, any events directly causing the filing of the Cases or any events which customarily
occur following the commencement of a reorganization proceeding under Chapter 11 of the Bankruptcy
Code.

                 (g)     Capital Structure. The Administrative Agent and the Required Lenders will be
reasonably satisfied with the terms and amounts of any intercompany loans among the Loan Parties and
the flow of funds in connection with the closing. The Administrative Agent and the Required Lenders will
be reasonably satisfied with senior management of the Loan Parties.

                 (h)     Information Required by Regulatory Authorities. The Loan Parties will have
provided the documentation and other information to the Lenders that is required by regulatory authorities
under applicable “know your customer” and anti-money-laundering rules and regulations, including,
without limitation, the Patriot Act.



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                  (i)      Representations and Warranties. All representations and warranties made by the
Loan Parties under the Second Out Term Loan Facility shall be true and correct in all material respects
(unless already qualified by materiality or material adverse effect in which case they shall be true and
correct in all respects) and the Administrative Agent and the Lenders shall not have become aware that
any information previously delivered is inaccurate or incomplete in any material respect.

                  (j)      No Default. No default or event of default under the Second Out Term Loan
Facility shall have occurred or be continuing after giving effect to the closing and funding of the Second
Out Term Loan Facility. Without giving effect to the applicablitliy, if any, of Section 362 of the
Bankruptcy Code, immediately prior to closing of the Second Out Term Loan Facility, the Restructuring
Support Agreement shall be in full force and effect and shall not have been terminated and no default or
event of default (unless as a result of a breach by the Lenders party thereto) thereunder shall have
occurred or be continuing. Furthermore, none of the Termination Events (as defined in the Restructuring
Support Agreement) set forth in Sections 4.1(a), 4.1(b), 4.1(c), 4.1(e), 4.1(f), 4.1(g), 4.1(h), 4.1(i), 4.1(j),
4.1(l), 4.1(m), 4.1(n), 4.1(o), 4.1(u) or 4.1(v) shall have occurred (and irrespective of whether or not the
occurrence of any of the foregoing has led to a termination of the Restructuring Support Agreement).
Immediately prior to closing the Second Out Term Loan Facility, no default or event of default shall have
occurred and be continuing under the Borrower’s DIP Facility.

                (k)     Business Plan. The Administrative Agent and the Lenders shall have received a
post-reorganization business plan of Holding and its subsidiaries satisfactory to the Administrative Agent
and the Required Lenders.

                  (l)      Outstanding Indebtedness. Immediately following the restructuring transactions,
neither Holding, the Borrower nor any of their respective subsidiaries will have any Indebtedness (as
defined in the Financing Documentation) outstanding except for the loans under (i) the First Out Credit
Facilities and (ii) the Second Out Term Loan Facility and ordinary course Indebtedness to the extent
permitted under the Financing Documentation.

                  (m)     First Out Credit Facilities. The definitive documentation for the First Out Credit
Facilities shall be in form and substance reasonably satisfactory to the Administrative Agent and the
Required Lenders (it being acknowledged and agreed that the terms set forth in the First Out Exit Term
Sheet are satisfactory). The closing and funding of the First Out Credit Facilities shall have occurred or
shall concurrently occur.

                 (n)    Fees and Expenses. All fees and expenses of the Lenders, the Administrative
Agent and of their respective advisors in connection with the transactions hereunder shall have been paid,
to the extent due.

                 (o)     Other Closing Conditions under the First Out Credit Facilities. Satisfaction of
the conditions precedent to the closing of First Out Credit Facilities (but excluding clause (d) on Annex A
to the First Out Exit Term Sheet) which conditions (to the extent the equivalents thereof are not included
on this Annex A) are hereby incorporated, mutatis mutandis, as additional conditions precedent to the
Second Out Term Loan Facility (as so incorporated shall have been satisfied and have not been waived
without the consent of the Required Lenders).




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                         Exhibit B to Restructuring Support Agreement

                                            Lender Joinder

                                          LENDER JOINDER

                        This Lender Joinder to the Restructuring Support Agreement, dated as of
February [ ], 2013, by and among RDA Holding Co., The Reader’s Digest Association, Inc. (the
“Company”), and certain of the Company’s subsidiaries and affiliates set forth on Schedule 1 of the
Support Agreement (as defined herein and annexed hereto on Annex I), the Consenting Lender signatory
thereto and the Consenting Secured Noteholders signatory thereto (the “Support Agreement), is executed
and delivered by [           ] (the “Joining Lender Party”) as of [__________], 2013. Each capitalized
term used herein but not otherwise defined shall have the meaning set forth in the Support Agreement.

                        1.       Agreement to be Bound. The Joining Lender Party hereby agrees to be
bound by all of the terms of the Support Agreement, attached to this Lender Joinder as Annex I (as the
same may be hereafter amended, restated or otherwise modified from time to time). The Joining Party
shall hereafter be deemed to be a “Consenting Secured Party” and a party for all purposes under the
Support Agreement.

                         2.       Representations and Warranties. With respect to the aggregate principal
amount of prepetition Secured Notes, Credit Agreement obligations and/or DIP Loans held by the Joining
Lender Party upon consummation of the sale, assignment, transfer, hypothecation or other disposition of
such prepetition claims, the Joining Lender Party hereby makes the representations and warranties of the
Consenting Secured Parties set forth in Section 6 of the Support Agreement to each of the other Parties in
the Support Agreement.

                        3.      Governing Law. This Lender Joinder shall be governed by and
construed in accordance with the internal laws of the State of New York, without regard to any conflicts
of law provisions which would require the application of the law of any other jurisdiction.

                                                *****

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          IN WITNESS WHEREOF, the Joining Lender Party has caused this Lender Joinder to be
   executed as of the date first written above.




                                       ______________________________________
                                       Entity Name of Joining Lender Party


                                       Authorized Signatory:

                                       By:     ____________________
                                               Name:
                                               Title:

                                               Principal Amount of
                                               Secured Notes $_______________

                                               Principal Amount of
                                               Credit Agreement obligations $_____________

                                               Principal Amount of
                                               DIP Loans $_____________

                                               Address: _____________________




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                                     Exhibit B

                    Debtors’ Prepetition Organizational Structure
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RDA U.S. ENTITIES                                                             RDA HOLDING CO.
                                                                                 Delaware


                                                                         THE READER'S DIGEST
                                                                          ASSOCIATION, INC.
                                                                              Delaware
                                                                                100%




                                                                                                                                                          READER'S DIGEST
ARDEE MUSIC PUBLISHING,    DIRECT ENTERTAINMENT         PEGASUS SALES, INC.                 PLEASANTVILLE MUSIC           RDA SUB CO.                       CHILDREN'S       READER'S DIGEST SALES AND
         INC.                MEDIA GROUP, INC.                                                PUBLISHING, INC.                                            PUBLISHING, INC.        SERVICES, INC.
                                  Delaware                  Delaware                                                         Iowa
       Delaware                                               100%                               Delaware                    100%                            Delaware                Delaware
        100%                        100%                                                           100%                                                                                100%
                                                                                                                                                               100%


                                                                                                                                                                               TASTE OF HOME MEDIA
                                                                                                                                                                                    GROUP, LLC
 W.A. PUBLICATIONS, LLC   READER'S DIGEST FINANCIAL      READER'S DIGEST                      READER'S DIGEST                              WRC MEDIA INC.                            Delaware
                               SERVICES, INC.         CONSUMER SERVICES, INC.               ENTERTAINMENT, INC.                                                                        100%
        Delaware                                                                                 Delaware                                    Delaware
         100%                     Delaware                  Delaware
                                    100%                     100%                                  100%                                        100%



                                                                                                                                             RDWR, Inc.                              RDCL, INC.
 R.D. MANUFACTURING                                                                           READER'S DIGEST                                 Delaware                               Delaware
     CORPORATION                                                                            LATINOAMERICA, S.A.                                100%                                    100%
       Delaware                                                                                  Delaware
        100%                                                                                       100%
                          REIMAN MEDIA GROUP, LLC         RD PUBLICATIONS, INC.
                                 Delaware                       Delaware                                             HAVEN HOME MEDIA, LLC         WEEKLY READER CUSTOM           RDA DIGITAL, LLC
                                  100%                            100%                                                     Delaware                   PUBLISHING, INC.               Delaware
REIMAN MANUFACTURING,                                                                            WAPLA, LLC                                              Delaware
          LLC                                                                                                                100%                                                      100%
                                                                                                  Delaware                                                 100%
       Delaware                                                                                    100%
        100%

                                                                                                                                          WORLD ALMANAC
                                                                                                                                        EDUCATION GROUP, INC.
    TASTE OF HOME            WORLD WIDE COUNTRY            HOME SERVICE                     RD LARGE EDITION, INC.                            Delaware
   PRODUCTIONS, INC.             TOURS, INC.             PUBLICATIONS, INC.                                                                     100%
                                                                                                  Delaware
       Delaware                   Delaware                   Delaware                               100%
        100%                       100%                        100%



A chart illustrating RDA's international corporate strucuture as of the Commencement Date is set forth on the following page.
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                                                                                                                   RDA
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                                                                                                                                         (US)                                                      unless otherwise indicated
                                               100%                99.89%
                       100%                                                                                                                                                    100%



                       W.A. Publications                                                                                                       RD Brasil LTDA           CARIB CONDOR           RD KIADO KFT
                                                                                                                                                                                                                     LIBRI E PIU SRL
                             LLC.             PegasusSales,Inc.                                                                                                          S.A. DE C.V.          (Hungary)                                     RD WS (Belgium)
                                                                                                                                                                                                                     (Italy)
                      (                                                                                                                                                    (Mexico)            (


          RD OY VALITUT                                                                                                     Direct Holdings
100%          PALAT                                      0.04%                                                              Intlernational BV
              Finland                                                                                                       ((Netherlands))
                                                             Pegasus Netherlands
             (FFFI200)                      0.07%                Services CV
                                                                  (FFNL396)
                                                                                                                                                RD Mexico S.A.          Corporativo RD
                                                                                                                                                                                              Grupo Editorial RD
                                                                                                                        99.99 %                 DE C.V.                 MEX S. DE R.L.DE
         RD Argentina SA                                                                                                                                                                      S. DE R.L.DE C.V
                                                                                                                                                (                       C.V.
 99%      (FDRDL6001)                                                                                                                                                                                                  Direct
                                                                                                     RD Book and                                                                                                       Holdings
                                                                                                     Home                                                                                                                                               RD ESS
                                                                                                                                                                                                                       Holland
                                                                                                     Entertainment                                                                                                                                      Netherlands
         Reader’s Digest
                                                                       UBV
                                                                                                     (India) (d)
                                                                                                                                                 Direct Holdings Asia
                                                                                                                                                 Pacific Pty Limited
                                                                                                                                                                                                          100%         (Netherlands)
                                 100%                             (Netherlands)
100%     AB (Aktiebolag)
          (FDRDAD480)
                                                                    FFNL390                                                       100%           (Australia)
                                                                                                                                                                                                           Direct            Direct
                                                                                                                       Direct Holdings           Shop Australlia      Direct                               Holdings          HoldingSwitze     Target Direct
                                                                                                                       Australia Pty Limited     Pty Limited          Holdings(N.Z.) Pty                   Entertainment     rland             (Germany))
           RD Children’s                                                                                                                         (Australia)                                               UK Ltd (UK        (Switzerland)
                                                                                                                       (Australia)                                    Limited (Australia
100%      Publishing LTD                                 100%
                UK
         (FDRDADBF562)                                                                              100%                       100%                 100%                              100%                99.97 %                  99.927             99.98 %
                                                                                                                                                                                                                                   %
                      SELECION DU RD,
                      S.A.                            1302791                                       RD German                                                                                                              RD VYBER
                                                                                                                               RD Przeglad SP.       PEGASUS                RD EOOD
                      France                        Alberta ULC                                     Holdings GmbH                                                                                  EDITURA RD SRL          SLOVENKSKO            RD VYBER S.R.O
                                                                                                                               Z.O.O                 REGIONAL LTD           (Bulgaria)
                                              (                                                     (Germany)                                                                                      (Romania) (b)           S.R.O.                (Czech Republic).
                                                                                                                               )(Poland)             (UK).                  ((A)
                                                                                                                                                                                                                           (Slovakia) (a)
                                                                                                                                                                                                                           (
                                                                                                                 100%
                                 100%                     100%
                                                                                                                                                                                          Legend
100%                SELECION DU RD                                                                   VERLAG DAS
                                                                                                                                                                                                              (a)   .073% owned by RD Kiado Korlatolt
                    ASSURANCES                     RD Association            VERLAG DAS                                      DAS BESTE AUS                                                                    (b)   .03% owned by RD Vyber s.r.o
                                                                                                     BESTE GmbH
    Reader’s Digest France                          Canada ULC.              BESTE GmbH                                      RD AG)
                                                                                                     (Germany)                                                                                                (c)   .25% owned by t individuals
       Asia Ltd                                )                             (Austria)                                       (Switzerland)
     (Hong Kong)                                                                                                                                                                                              (d)   1% owned by RDA Far East Ltd.
         (A)
                                                       25%                                                                                                                                                    (A) – Entities in Liquidation or
                           RD magazine Ltd 25%                        100%
100%                       (Canada)                                                                                                                                                                                       Dormant
    Reader’s Digest
    (Thailand) Ltd         (75% owned by RD                       RD APAC Holdco
                                                                                          Optimail/Direcktweb    Pegasus Medien
                                                                                                                 Produktions-Und                                     RD Deutschland
                                                                                                                                                                                                              ( 1 ) – Minority Shares held by
                                                                                          eservice GmbH
    ((Thailand)            Foundation of                      (                           (                      Vertriebsgesellscha                                H olding GmbH                                RD Asian Holdco Pty Ltd.
    (                                                                                                            ft
                           Canada)                                                                                                                                                                            Entities with LOI/Pending LOI
                                                                                   100%                                                                                   100%
   99.75 %                                                           90.00 %                                    90.00 %                                                                                                    Entities Sold
                                                                                                                                                                    Joint Stock Co.
 RD (Philippines)
                  RD Australia PTY
                                        RD Properties Ltd.        RD (East Asia) Ltd
                                                                                       RD Asia PTE Ltd.
                                                                                                                RDA Far East
                                                                                                                    Ltd
                                                                                                                                    RDASIAN Holdco                  Publishing Hse RD                                          Europe
 Inc. ( c)                                (Hong Kong)               (Hong Kong)                                                        PTY Ltd.
                        Ltd                                                              (Singapore)            (Hong Kong)                                         (FFRS450)
                                               (A)                     ( 1 ) (A)
                                                                                                                    (1 )
                                                                                                                                      (Australia)                                                                   France/Belgium‐Pending
                                                                                                                                                                                               100%
                                                                                                                                                                                                                            APAC Region
                              99.99 %                    99.99 %                                        99.99 %                                                                    LLC Direct
                                                                                                                                                                     90.00 %       Digest
                                                                                                                               100%                                                (451)(Russia)                Countries in Sale Negotiations
       RD (East                                       RD Global                                       RD China Direct
                        RD Malaysia SDN.                                                             Marketing Services                                   29%
                                                   Advertising Ltd
       Asia) Ltd         BHD (Malaysia)
                                                   (Hong Kong) (A)                                          Co.                                                     LLC Direct Digest      10%                             German Region
       (Taiwan)                                                                                       (Hong Kong) (A)                                               (Ukraine) (455)
                                                                                                                                RD (Shanghai )
                                                                RD Global                                                       Advertising Co.                          71%                                               Russian Region
                                                                                                  RD Guangzhou
                                                              Advertising Ltd                                                    Ltd (China)                                          LLC Publisher
                                                                 (Japan)
                                                                                                 Direct Mail Service
                                                                                                  Co. Ltd. (China)
                                                                                                                                                                LLC Publisher
                                                                                                                                                                Reader’s Digest       Reader’s Digest                      US Entities
                                                                                                                                                                (Ukraine) (A )        (Kazakhstan) (A )
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                                               Exhibit C

                                     Projected Financial Information




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                        FINANCIAL PROJECTIONS (UNAUDITED)
                       FOR THE FISCAL YEARS ENDED 2013 – 2015

        The Reader’s Digest Association, Inc. (“Reader’s Digest”) and certain of its affiliates
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the Bankruptcy Court for the Southern
District of New York on February 17, 2013 (the “Commencement Date”).

       The Debtors, other than Direct Entertainment Media Group, Inc. (collectively, the
“Reorganization Plan Debtors”) are soliciting votes with respect to the Proposed Joint Chapter
11 Plan of Reorganization of The Reader’s Digest Association, Inc. and Its Debtor Affiliates (as
may be amended from time to time, the “Reorganization Plan”) as set forth in the Disclosure
Statement for the Reorganization Plan (as may be amended from time to time, the “Disclosure
Statement”). All capitalized terms used by not defined herein have the meanings set forth in the
Disclosure Statement.

        Section 1129(a)(11) of the Bankruptcy Code requires that the bankruptcy court find that
confirmation is not likely to be followed by the liquidation, or the need for further financial
reorganization, of the debtor or any successor thereto, unless such liquidation or reorganization is
contemplated by the plan. Accordingly, in connection with the planning and development of the
Reorganization Plan, and for the purposes of determining whether the Reorganization Plan
satisfies this “feasibility” standard, the Reorganization Plan Debtors analyzed their ability, as
Reorganized Debtors, to satisfy their financial obligations while maintaining sufficient liquidity
and capital resources.

       Specifically, the Reorganization Plan Debtors developed and refined a bottom-up
business plan and prepared these financial projections for the fiscal years 2013 through 2015 (the
“Projection Period”). These projections are presented on a consolidated and segment basis for
the Reorganization Plan Debtors and their Affiliates (the “Company”). These projections
should be read in conjunction with the significant assumptions, qualifications and notes set forth
below.

        The Company does not, as a matter of course, publish its business plans and strategies,
projections, anticipated financial position or results of operations. Accordingly, the
Reorganization Plan Debtors do not intend to, and disclaim any obligation to, (1) furnish updated
business plans or projections to Holders of Claims or Interests after the Confirmation Date,
(2) include such information in documents, if any, required to be filed with the Securities and
Exchange Commission (the “SEC”) or (iii) otherwise make such information public consistent
with applicable law.

     THE PROJECTIONS HAVE BEEN PREPARED EXCLUSIVELY BY THE
REORGANIZATION PLAN DEBTORS. THESE PROJECTIONS, WHILE PRESENTED
WITH NUMERICAL SPECIFICITY, ARE NECESSARILY BASED ON A VARIETY OF
ESTIMATES AND ASSUMPTIONS WHICH, THOUGH CONSIDERED REASONABLE BY
MANAGEMENT AT THE TIME AND TO THE BEST OF THEIR KNOWLEDGE, MAY
NOT BE REALIZED, AND ARE INHERENTLY SUBJECT TO SIGNIFICANT BUSINESS,

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ECONOMIC AND COMPETITIVE UNCERTAINTIES AND CONTINGENCIES, MANY OF
WHICH ARE BEYOND THE REORGANIZATION PLAN DEBTORS’ CONTROL. THE
REORGANIZATION PLAN DEBTORS CAUTION THAT NO REPRESENTATIONS CAN
BE MADE AS TO THE REORGANIZED DEBTORS’ ABILITY TO ACHIEVE THE
PROJECTED RESULTS. SOME ASSUMPTIONS INEVITABLY WILL NOT
MATERIALIZE, AND EVENTS AND CIRCUMSTANCES OCCURRING SUBSEQUENT
TO THE DATE ON WHICH THESE PROJECTIONS WERE PREPARED MAY BE
DIFFERENT FROM THOSE ASSUMED OR MAY BE UNANTICIPATED, AND THUS
MAY AFFECT FINANCIAL RESULTS IN A MATERIAL AND POSSIBLY ADVERSE
MANNER. THE PROJECTIONS, THEREFORE, MAY NOT BE RELIED UPON AS A
GUARANTY OR OTHER ASSURANCE OF THE ACTUAL RESULTS THAT WILL
OCCUR.

        These projections should be read in conjunction with the assumptions, qualifications,
notes and explanations set forth, referenced or otherwise described in, without limitation:
(1) these projections; (2) the Disclosure Statement; (3) the Reorganization Plan and the Plan
Supplement; and (4) the historical consolidated financial statements (including any notes and
schedules thereto), other financial information and detailed discussion of the various risks and
other factors associated with the Company’s businesses and operations generally set forth under
the section entitled “Risk Factors” in Reader’s Digest’s Annual Report on Form 10-K for the
fiscal year ended December 31, 2011, and Reader’s Digest’s Quarterly Report on Form 10-Q for
the quarterly period ended September 30, 2012, copies of which can be obtained from the
Reorganization Plan Debtors’ investor relations website (http://phx.corporate-
ir.net/phoenix.zhtml?c=71092&p=irol-IRhome) or the SEC’s EDGAR system website
(http://www.sec.gov/edgar.shtml).

                   Important Accounting and Securities Law Disclosures

A.     Accounting Disclosure

        These projections do not reflect necessary or complete fresh-start reporting adjustments
that may be required to be made on the Effective Date. The Reorganization Plan Debtors will be
required to estimate the reorganization value of the Reorganized Debtors, the fair value of their
assets and their actual liabilities as of the Effective Date. Such determinations will be based
upon the fair values as of that date, which could be materially greater or less than the value
assumed in these projections. Any fresh-start reporting adjustments that may be required in
accordance with Statement of Position 90-7 – Financial Reporting by Entities in Reorganization
under the Bankruptcy Code, including any allocation of the Reorganization Plan Debtors’
reorganization value to the Reorganization Plan Debtors’ assets in accordance with the
procedures specified in Financial Accounting Standards Board Statement 141 – Business
Combinations, will be made when the Reorganization Plan Debtors exit chapter 11.

        These projections were not prepared with a view toward compliance with the guidelines
established by the American Institute of Certified Public Accountants, the practices recognized
to be in accordance with Generally Accepted Accounting Principles (“GAAP”) or the rules and
regulations of the SEC regarding projections. Furthermore, these projections have not been

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audited by independent accountants.

B.     Safe Harbor Statement Under The Private Securities Litigation Reform Act Of 1995

        These projections contain statements which constitute “forward-looking statements”
within the meaning of the Securities Act of 1933, as amended (the “Securities Act”) and the
Securities Exchange Act of 1934, as amended by the Private Securities Litigation Reform Act of
1995 (the “Exchange Act”). “Forward-looking statements” in these projections include the
intent, belief or current expectations of the Reorganization Plan Debtors and members of its
management team with respect to the timing of, completion of and scope of the current
restructuring, reorganization plan, strategic business plan, bank financing, and debt and equity
market conditions and the Reorganization Plan Debtors’ future liquidity, as well as the
assumptions upon which such statements are based.

        While the Reorganization Plan Debtors believe that the expectations are based on
reasonable assumptions within the bounds of their knowledge of their business and operations,
parties in interest are cautioned that any such forward-looking statements are not guarantees of
future performance, and involve risks and uncertainties, and that actual results may differ
materially from those contemplated by such forward-looking statements.

        Important factors currently known to management that could cause actual results to differ
materially from those contemplated by the forward-looking statements in these projections
include, without limitation: (1) further adverse developments with respect to the Company’s
liquidity position or operations of the Reorganization Plan Debtors’ businesses; (2) adverse
developments in the Reorganization Plan Debtors’ efforts to renegotiate their funding;
(3) adverse developments in the bank financing or public or private markets for debt or equity
securities; (4) adverse developments in the timing or results of the Reorganization Plan Debtors’
strategic business plan (including the timeline to emerge from chapter 11); (4) the ability of the
Reorganization Plan Debtors to retain and attract new clients and maintain favorable vendor
relationships; (5) the difficulty in controlling industry costs and the ability of the Reorganization
Plan Debtors to realize the anticipated general and administrative expense savings and overhead
reductions presently contemplated in their business plans; (6) the ability of the Reorganization
Plan Debtors to return their operations to profitability; (7) the level and nature of any
restructuring and other one-time charges; (8) the difficulty in estimating costs relating to exiting
certain markets and consolidating and closing certain operations; and/or (9) the possible negative
effects of a change in applicable legislation.

                                         Key Assumptions

        These projections were prepared by the Reorganization Plan Debtors in good faith based
on various assumptions and estimates believed to be reasonable at the time of preparation, but
which are subject to significant contingencies. These projections are also based upon forecasts
of certain key economic variables, such as changes in the competitive environment (including the
demand for Company’s products), the ability to achieve certain cost reductions and the ability to
stabilize and expand the Company’s consumer and advertising revenue bases. Accordingly,
because such assumptions, estimates and forecasts underlying these projections are inherently

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uncertain and subject to significant business, economic and competitive uncertainties (many of
which are beyond the Company’s control), actual results may vary, in some instances materially,
from those presented herein. These projections assume the Reorganization Plan will be
confirmed, consummated and implemented in accordance with its stated terms.

A.     General Assumptions

        1.     Methodology. These projections are based on the Reorganization Plan Debtors’
detailed projections for fiscal years 2013-2015 (the Reorganization Plan Debtors operate on a
December 31 fiscal year-end). Projections are developed on an operational rather than legal
entity basis.

        2. Emergence Date. These projections are further based on the assumption that the
Reorganization Plan Debtors will emerge from chapter 11 on or about July 31, 2013 – the
assumed “Effective Date” of the Reorganization Plan. If the Effective Date is significantly
delayed, additional expenses, including professional fees, may be incurred and operating results
may be negatively impacted. In addition, the Reorganization Plan Debtors believe that their
businesses will be adversely impacted as a result of being in a prolonged chapter 11 process,
particularly with respect to potential trade contraction, both domestically and internationally.

        3. Macroeconomic & Industry Environment. These projections assume there will
be no substantial near-term improvement in the global macroeconomic environment. These
projections also assume constant foreign currency exchange rates and stable commodity pricing
environments. These projections further assume a stabilization of the print media sector,
stabilization of customer bases, stabilization of response and payment rates in many of the
Reorganization Plan Debtors’ international markets (especially Europe) and an increasing
dependence on expanding the Company’s brands through digital platforms.

        4. Operations. These projections are aggregated from operating forecasts for the
Reorganized Debtors, which assume the Company maintains its global multi-brand media and
direct marketing strategy, with an increasing focus on the development of digital media
platforms. These projections incorporate the Company’s planned revenue and cost initiatives as
well as operational restructuring activities, and assume the wind-down and licensing of select
countries. These projections further assume the Company will be able to retain and attract the
employees required to execute its Business Plan. The Company continually reviews its
operations, the economic environment and the markets in which it competes, to evaluate the
potential future profitability of each of its product lines. The actual operations of the Company,
as well as the financial results from operations, could vary significantly from the assumptions
used to generate these projections as a result of, among other things, changes to the Company’s
future operations.

        5. Other Assumptions. These projections also assume that: (1) there will be no
material change in legislation or regulations, or the administration thereof, that will have an
unexpected effect on the operations of the Reorganization Plan Debtors; (2) there will be no
change in GAAP in the United States that will have a material effect on the reported financial
results of the Reorganization Plan Debtors; (3) the application of fresh-start reporting will not

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materially change the Reorganization Plan Debtors’ accounting procedures; and (4) there will be
no material contingent or unliquidated litigation or indemnity claims applicable to the
Reorganization Plan Debtors.

B.     Projected Income Statement

       Reader’s Digest North America

        1.      Revenues. Net revenues for North America, which includes the U.S. and
Canadian businesses, are forecasted to decline 3.8% from fiscal year 2013 to 2014 and 2.7%
through fiscal year 2015. The decreases are primarily driven by declines in print magazine
subscriptions and book and merchandise sales due to the attrition of legacy customers.
Advertising increases by 4% from 2013 to 2014, driven by growth in digital advertising offset by
decreases in print advertising. From 2014 to 2015, advertising increases 9% as growth continues
in digital and print advertising stabilizes. Digital advertising and Digital editions combined grow
47.6% and 39.1% in 2014 and 2015, respectively, due to changing customer preferences for
consuming media digitally and the movement of advertisers to more digital mediums.
Partnership and licensing revenues increase as more focus is placed on developing a pipeline to
fully exploit the equity of the North American brands.

           •   Subscription Revenue. The Company sells magazine subscriptions to its
               publications through direct-to-consumer solicitations and third-party marketing
               agents. The Company uses a variety of direct-to-consumer techniques to sell
               subscriptions including attached mail, direct mail, insert cards, website and e-mail
               solicitation. Reader’s Digest North America offers the US and Canadian editions
               of Reader’s Digest, as well as Taste of Home, The Family Handyman and 8
               enthusiast magazine titles in the US, and Best Health and Our Canada in Canada.
               Fiscal year 2013 net subscription revenues are forecasted to be approximately
               $206 million in North America. Subscription revenues are estimated to constitute
               approximately 48% of net revenues in 2013, and decrease during the period to
               44% by 2015 as legacy customers are either not replaced due to unprofitable
               circulation acquisition economics or replaced by those with lower rates. These
               losses are partially offset by gains in digital subscribers over the Projection
               Period.

           •   Advertising Revenue. Advertising rates and rate structures vary among
               publications and Internet properties and are based on, among other things, the
               circulation or audience of the particular property, the readership demographics,
               the scheduled frequency and the size and placement of the advertisement in the
               publication or website. Advertising revenue is influenced by a number of external
               factors, including the presence and relative positioning of competing publications,
               the amount and allocation of marketing expenditures by advertising clients and
               the extent to which customers elect to advertise using print and online media. The
               Company believes that it is less reliant on advertising than many of its peers. In
               the forecast for fiscal year 2013, net advertising revenue accounts for $86 million


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               or 20% of North American revenue. Gains in digital advertising revenue (+43%
               in 2014 and +26% in 2015) offset losses in print advertising revenue in 2014.

         •     Newsstand Revenue. The Company estimates approximately 9 million single
               copies of magazines will be sold through newsstands for the fiscal year 2013.
               Generally, the Company receives a percentage of the cover price of an individual
               magazine sold through the newsstand with the balance of the cover price retained
               by the magazine’s distributors, wholesalers and retailers. Newsstand revenues are
               estimated to generate 7-8% of North America’s revenues in these projections.

         •     Book and merchandise revenue. The Company historically derived significant
               revenues from a variety of non-magazine products marketed through sweepstakes
               offers, including single and series book sales, music, video and DVD products,
               primarily under the Reader’s Digest brand names. These products will no longer
               be marketed using sweepstakes, but through product-driven offers in our
               magazines, as well as using publicity through a number of channels including
               television, radio, internet and social media. In the Projection Period, this will
               create a more profitable and predictable business, with a loss of over 70% of the
               revenue from the Reader’s Digest direct mail business compared to 2012. The
               remaining books businesses are forecasted to decline 8-11% annually over the
               Projection Period, consistent with recent trends.

         •     Licensing / Partnerships. In addition, the Company derives revenue from a
               variety of royalty and license agreements. The Projection Period assumes that
               these revenues will grow from 2% of total revenues in 2013 to 4% of total
               revenues in 2015.

      2. Operating Expenses.

         •     Product Costs. The principal components of production costs are magazine paper,
               manufacturing costs such as paper for books, editorial, fulfillment and delivery
               (both through the mail and to retail outlets). The supply and prices of paper are
               subject to volatility and may be significantly affected by many factors, including
               market and economic conditions. Delivery costs are subject to local government
               post office price increases which, in the past, have been significant and difficult to
               forecast with any reasonable certainty. For the Projection Period, product costs
               decline from 42% to 38% of net revenues. The decline in costs relative to
               revenues are driven by revenue losses in lower margin businesses such as books
               and other merchandise coupled with growth in higher margin businesses such as
               partnerships, digital editions and digital advertising. Additionally, the Company
               is increasing unit profitability through higher print consumer and advertising
               pricing.

         •     Promotion Costs. Promotion costs are the costs incurred by the Company to
               retain or extend existing customers and to acquire new customers. These include
               the expenses associated with the production of solicitation materials, the

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               postage/delivery costs for such materials, the cost of inducements or other
               incentives offered to subscribers and the cost of promoting the Reorganization
               Plan Debtors’ products at retail. Promotion costs decline from 32% of net
               revenues to 28% in fiscal years 2013 through 2015. The decline in costs relative
               to revenues are driven by revenue losses in business lines with high promotional
               costs such as books and other merchandise coupled with growth in lower
               promotional costs businesses such as partnerships, digital editions and digital
               advertising. Additionally, the Company is moving away from the use of
               magazine agents, one of our largest promotional expenses, as well as increasing
               revenue through higher print consumer and advertising pricing without additional
               promotional expense.

       Corporate

      The overall corporate organization exists to support multiple businesses in a holding
company structure.

           1. Overhead Costs. Overhead includes support functions and infrastructure to
              support the operations of the Company. Principal components include
              management information systems, operations, procurement, executive
              management, human resources, finance and accounting, and pension income.
              Overhead costs remain relatively stable in these projections and include the
              benefit of facility leases to be renegotiated and anticipated lower outsourced MIS
              service provider costs.

           2. Other Operating Costs. These projections include other costs that are included in
              the Company’s operating profit. Other operating costs consist primarily of
              intangible asset amortization ($15.6 million in fiscal 2013, $27.2 in fiscal 2014
              and $8.9 million in fiscal 2015) as well as International management-to-legal
              reporting adjustments.

           3. Income Taxes. Income tax expense in these projections are derived from the
              Company’s latest tax forecast and assumed to represent cash taxes paid. The tax
              forecast assumes that the Debtors’ tax attributes will be severely restricted on the
              Effective Date due to the application of tax rules restricting the use of tax
              attributes following an ownership change.

       Reader’s Digest International

        The International Segment is comprised of the countries the Company is planning to
retain (“Retained Countries”) and countries that are planned to be wound-down or licensed
(“Non-retained Countries”).

       1. Projections for Retained Countries are based on the following assumptions:
          • Retention Rate. The Active Customer Base or “ACB” retention rates are
             projected to trend consistent with experience over the last 3 years. Generally,

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               customer retention rates range from the mid 40% annually to approximately 60%,
               with performance varying by region depending upon type of business in each
               country (e.g., direct debit as opposed to checks at post office).

           •   Revenue per Customer. The projections assume a modest increase in gross
               revenue per Books, Home and Entertainment customer based on expected
               improvements resulting from the Customer Centric and Affinity initiatives.
               While 2012 results show improvements in many countries, some of this uplift is
               an immediate result of Company’s increased focus on its most productive
               customers. As such, the projections reflect modest improvements in revenue per
               customer consistent with country trends.

           •   Revenue Reserve Rates. Assumed to remain consistent with historical levels.
               Reserve rates vary by region but tend to fall in the 20% to 30% of gross revenue
               range.

           •   Product Cost as a % of Net Revenue. The Company is working to discontinue
               unsuccessful / lower margin product programs. For the forecast the Company has
               assumed that product margins remain fairly stable.

           •   Inside List Promotion Cost as a % of Net Revenue. Projections assume that
               inside list “IL” Promotion Costs remain constant as a percent of revenue in most
               countries. While postage costs are anticipated to increase over time, this should
               be mitigated by reducing the levels of mailing intensity and pursuing the
               Customer Centric and Affinity programs, which are expected to improve response
               rates.

           •   Overhead. In countries with declining revenue trends, the Company intends to
               proactively reduce overhead by up to 5-7% per year, to maintain stable margins.

       2. Projections for Non-retained Countries assume that respective licensing transactions
          and wind-downs are completed before December 31, 2013. For the projected period
          between July 31, 2013 and December 31, 2013, the Company is expecting Non-
          retained Countries to generate total cash proceeds of $9.4 million net of wind-down
          costs.

       Royalties

       Represent royalties from countries previously licensed and anticipated to be licensed.
Projected royalties based on current signed deals (and expected volumes) as well as offer sheet
terms for prospective deals.

C.     Projected Consolidated Balance Sheet
       1. Current Assets. The Company’s significant current assets consist of accounts
receivable, cash, prepaid expenses and inventory. Accounts receivable consist primarily of
amounts due from customers and advertisers for subscriptions, advertising and non-magazine

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products and are net of allowances for returns and bad debts. Prepaid expenses consist primarily
of expenses of subsequent magazine subscription issues, prepaid agent commissions, prepaid
promotional expenses and other normal and customary prepaid expenses. Inventories consist of
raw materials, work in process and finished goods inventory (net of customary reserves)
primarily for the Company’s non-magazine products.

       2. Non-Current Assets. The Company’s significant non-current assets include
goodwill, intangible assets such as trademarks and customer lists, pension assets and long-term
deferred tax assets.

        3. Current Liabilities. The Company’s significant current liabilities consist of
accounts payable, accrued expenses, payroll liabilities and unearned revenue. Accounts payable
and accrued expenses consist primarily of trade payables and customary accruals, respectively.
Unearned revenue is recorded by the Company as a liability to reflect the amount of future
subscription revenues not yet earned nor fulfilled and is forecasted to drive significant
differences between net income and operating cash flow.

       4. Non-Current Liabilities. The Company’s significant non-current liabilities
include the non-current portion of unearned revenue and deferred income taxes and income tax
reserves as per Guidance for Documentation of Uncertain Tax Positions Under ASC 740-10.


D.     Post-Effective Date Capital Structure

        1.      New First Out Exit Term Loan. These projections assume the New First Out
Exit Term Loan accrues quarterly cash interest at the higher of the annual rate of (a) three-month
LIBOR or (b) 3.0% plus 600 basis points. The New First Out Exit Term Loan has mandatory
amortization of $2,500,000 per annum, payable quarterly, with the first payment due on
September 30, 2013. Subsequent payments shall be due on the last day of each of December,
March, June, and September thereafter, until September 30, 2015 (the maturity date), at which
time all outstanding principal and interest is due and payable.

       2.      New Second Out Exit Term Loan. These projections assume the New Second
Out Exit Term Loan accrues quarterly cash interest at the higher of the annual rate of (a) three-
month LIBOR or (b) 1.5% plus 1,100 basis points. The New Second Out Exit Term Loan does
not amortize prior to the assumed maturity date of September 30, 2015, at which time all
outstanding principal and interest is due and payable.

        3.     For illustrative purposes, the Reorganization Plan Debtors have assumed that all
debt maturities will be refinanced on substantially similar terms throughout the Projection
Period.




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E.         Consolidated Financial Projections

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                                                     Income Statement
                                                   Aug - Dec
                                                     2013       FY 2014         FY 2015
 INCOME STATEMENT

 Net Revenue                                            $408.9       $729.4        $695.0
 Product Costs                                          (162.9)      (292.3)       (272.9)
 Promotion Costs                                        (113.1)      (236.4)       (217.3)
 Total Overhead Costs                                     (62.6)     (124.0)       (120.8)
   Operating Profit                                      $70.3        $76.7         $83.9
 Other Income/(Expense)                                   (14.6)       (26.1)         (7.7)
 Interest Expense                                          (3.8)       (11.7)        (11.5)
 Income Taxes                                              (0.9)       (17.1)        (17.7)
   Net Income(1)                                         $50.9        $21.9         $47.0



                                                        Balance Sheet
                                                   Estimated                   Estimated
                                                      Pre                         Post
                                                 Consummation                Consummation
                                                     Jul-13        Adj.          Jul-13       FY 2013     FY 2014     FY 2015
 BALANCE SHEET

 ASSETS
 Current Assets:
  Cash and Equivalents(2)                                 92.7        (18.0)         74.8         128.0       130.0       142.2
  Total Other Current Assets                             284.3                      284.3         253.0       230.8       220.1
    Total Current Assets                               $377.0        ($18.0)       $359.1       $381.0       $360.8      $362.3
  Fixed Assets, Net                                       39.4                       39.4          36.5        31.2        25.9
  Goodwill and Other Intangible Assets                   419.7                      419.7         382.7       355.6       346.7
  Total Other Non-Current Assets                         219.7                      219.7         217.2       231.6       247.0
    Total Non-Current Assets                           $678.8          $0.0       $678.8        $636.4       $618.4      $619.5
 Total Assets                                         $1,055.8       ($18.0)     $1,037.9      $1,017.4      $979.3      $981.9

 LIABILITIES
 Current Liabilities:
  Unearned Revenue - Current                             196.2                     196.2          172.1       128.2        92.9
  Other Current Liabilities                              179.1                     179.1          186.1       174.9       169.7
    Total Current Liabilities                          $375.3         $0.0        $375.3         $358.3      $303.1      $262.6
  Long-Term Debt                                         104.1                     104.1          103.5       101.0        98.5
  Unearned Revenue                                        95.0                      95.0           95.0        95.0        95.0
  Liabilities Subject to Compromise                      498.6       (498.6)         0.0            0.0         0.0         0.0
  Other Non-Current Liabilities                          184.3                     184.3          178.2       175.1       173.0
    Total Non-Current Liabilities                      $882.0      ($498.6)       $383.4         $376.7      $371.1      $366.5
 Total Liabilities                                    $1,257.2     ($498.6)       $758.7         $735.0      $674.2      $629.1




(1) Before extraordinary/one-time non-cash items such as gains/losses from licensing and country wind-
downs.

(2) Includes short-term and long-term restricted cash, including cash from wind-down countries. The
Company has a minimum working capital cash requirement of $70 million including restricted and
reserved cash; this minimum is expected to decline as countries are licensed and/or wound down.


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                                                          Cash Flow Statement
                                                         Aug - Dec
                                                           2013        FY 2014       FY 2015
 CASH FLOW STATEMENT

 CASH FLOWS FROM OPERATING ACTIVITIES
 Net Income(1)                                                 50.9         21.9          47.0
 Adjustments:
  Depreciation and Amortization                                20.4         38.5          20.3
  Other Non-Cash Charges                                        1.2          1.9           0.8
    Total Non-Cash Items                                       21.6         40.4          21.1
 Changes in Assets and Liabilities:
  Unearned Revenues                                            (19.9)      (43.9)         (35.3)
  Other Assets and Liabilities                                   3.7        (7.9)         (12.1)
    Total Changes in Assets and Liabilities                    (16.2)      (51.8)         (47.4)
      Net Change in Cash from Operations                      $56.4        $10.5         $20.7

 CASH FLOWS FROM INVESTING ACTIVITIES
 Capital Expenditures                                           (2.5)       (6.1)          (6.0)
  Net Change in Cash from Investing Activities                ($2.5)       ($6.1)        ($6.0)

 CASH FLOWS FROM FINANCING ACTIVITIES
 Debt Borrowings (Payments)                                     (0.6)        (2.5)         (2.5)
  Net Change in Cash from Financing Activities                ($0.6)       ($2.5)        ($2.5)
 Effect of Foreign Currency Exchange Rate Fluctuations           0.0          0.1          (0.0)
  Net Change in Cash and Equivalents                          $53.3         $2.0         $12.2
  Cash & Equivalents, Beginning of Period(2)                   74.8        128.0         130.0
  Cash & Equivalents, End of Period(2)                       $128.0       $130.0        $142.2




(1) Before extraordinary/one-time non-cash items such as gains/losses from licensing and country wind-
downs.

(2) Includes short-term and long-term restricted cash, including cash from wind-down countries. The
Company has a minimum working capital cash requirement of $70 million including restricted and
reserved cash; this minimum is expected to decline as countries are licensed and/or wound down.



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F.      Segment Financial Projections

         Confidential – For discussion purposes only and subject to material change

Segment breakdown is presented here for information purposes and does not reflect the
Company’s reporting segments or legal entity structure. These projections reflect Company’s
current cost allocation methodology and are not reflective of projections if the respective
segments were managed on a stand-alone basis.

                                              Net Revenue
                                               Aug - Dec
 Net Revenue                                     2013          FY 2013        FY 2014        FY 2015
 North America                                     $210.3         $432.3         $416.4         $404.9
 Unallocated Corporate                                (3.4)          (7.9)          (7.9)          (7.9)
 International - Retained Countries                  159.3         350.8          319.5          295.8
 International - Non-Retained Countries               42.0         112.3             0.0            0.0
 Royalties                                             0.7            1.5            1.5            2.2
   Consolidated                                    $408.9         $888.9         $729.4         $695.0

                                               EBITDA
                                               Aug - Dec
 EBITDA(1)                                       2013          FY 2013        FY 2014        FY 2015
 North America                                       $50.0         $65.1          $79.1          $89.2
 Unallocated Corporate                               (12.6)         (33.2)         (28.4)         (28.9)
 International - Retained Countries(2)                20.4           12.5           14.2           12.8
 International - Non-Retained Countries                8.4            0.6            0.0            0.0
 Royalties                                             0.7            1.5            1.5            2.2
   Consolidated                                     $66.9          $46.4          $66.4          $75.3




(1) EBITDA metric is not used by Management for the purposes of measuring performance or as a proxy
for cash flow. EBITDA is shown here for illustrative purposes as one of the metrics used by the industry.
EBITDA used in calculation of covenants pursuant to currently contemplated exit financing, will be
calculated based on substantially same basis as presented herein.

(2) Includes International HQ costs.


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                                     Exhibit D

                                Liquidation Analysis
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                                          LIQUIDATION ANALYSIS

        RDA Holding Co. (“RDA”) and certain of its affiliates (collectively, the “Debtors”) each
filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the Bankruptcy Court for the Southern District of New York on
February 17, 2013 (the “Commencement Date”).

        The Debtors, other than Direct Entertainment Media Group, Inc. (collectively, the
“Reorganization Plan Debtors”) soliciting votes with respect to the Proposed Joint chapter 11
Plan of Reorganization of RDA Holding Co. and Its Debtor Affiliates (as may be amended from
time to time, the “Reorganization Plan”) as set forth in the Disclosure Statement for the
Reorganization Plan (as may be amended from time to time, the “Disclosure Statement”). All
capitalized terms used but not defined in this liquidation analysis have the meanings set forth in
the Disclosure Statement.

        A chapter 11 plan cannot be confirmed unless the bankruptcy court determines that the
plan is in the “best interests” of all holders of claims and interests that are impaired by the plan
and that have not accepted the plan. The “best interests” test requires a bankruptcy court to find
either that (1) all members of an impaired class of claims or interests have accepted the plan or
(2) the plan will provide a member who has not accepted the plan with a recovery of property of
a value, as of the effective date of the plan, that is not less than the amount that such holder
would recover if the debtor were liquidated under chapter 7 of the Bankruptcy Code on such date.
Accordingly, with the assistance of their advisors, Duff & Phelps, LLC, the Reorganization Plan
Debtors prepared this hypothetical liquidation analysis in connection with filing their Disclosure
Statement and Reorganization Plan to assist the Court make the findings required under
section 1129(a)(7) of the Bankruptcy Code to confirm the Reorganization Plan.

        This liquidation analysis indicates the estimated values that may be obtained from a
disposition of the Reorganization Plan Debtors’ assets under chapter 7 of the Bankruptcy Code
as an alternative to the continued operation of the Reorganization Plan Debtors’ businesses as
contemplated by the Reorganization Plan. Accordingly, the asset values discussed herein may be
different than amounts set forth in the Reorganization Plan.

  Neither the Reorganization Plan Debtors nor their advisors make any representation or
 warranty that the actual results of a liquidation of the Reorganization Plan Debtors’ assets
  would or would not approximate the assumptions represented herein, and actual results
                            could vary, in some cases materially.




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                                            General Assumptions

        The determination of the costs of, and proceeds generated from, a hypothetical chapter 7
liquidation of the Reorganization Plan Debtors’ assets is an uncertain process involving the
extensive use of estimates and the assumptions described herein and in the Disclosure Statement
(including exhibits, where applicable) which, although considered reasonable by the
Reorganization Plan Debtors and their advisors, are inherently subject to business, economic and
competitive uncertainties and contingencies beyond their control. Inevitably, certain assumptions
set forth herein would not materialize in an actual chapter 7 liquidation scenario, and certain
unanticipated events and circumstances could materialize, both of which would affect the
ultimate results in an actual chapter 7 liquidation. In light of the foregoing, it is important to
read and understand these “General Assumptions” and the “Specific Assumptions and Notes”
set forth below.

         This analysis is based on management's good faith assumptions believed to be reasonable
in light of the circumstances under which they are based. This analysis has not been examined or
reviewed by independent accountants in accordance with standards promulgated by the
American Institute of Certified Public Accountants. The estimates and assumptions, although
considered reasonable by management, are inherently subject to significant uncertainties and
contingencies beyond management’s control. Accordingly, there can be no assurance that the
results shown would be realized if the Reorganization Plan Debtors were liquidated, and actual
results in such case could vary materially from those presented.

        1. Liquidation Period. This liquidation analysis is predicated on the assumption that the
Reorganization Plan Debtors would commence chapter 7 liquidation on July 31, 2013 (the
“Liquidation Date”). Except as otherwise set forth herein, this analysis assumes that
substantially all of the Reorganization Plan Debtors’ U.S. assets will be liquidated over a 12-
month period by a chapter 7 trustee (the “Chapter 7 Trustee”) appointed on the Liquidation
Date. With respect to the U.S. businesses, this analysis contemplates the immediate shut down of
the Reorganization Plan Debtors’ U.S. operations on the Liquidation Date and a distressed
liquidation sale of tangible and intangible assets over a 30 to 60 day period for several reasons:

                •    Because the Reorganization Plan Debtors’ editorial, marketing and advertising
                     work force consists of highly trained specialized employees with unique skills
                     that are coveted by the Reorganization Plan Debtors’ competitors, these
                     employees could migrate to other employers.

                •    Approximately 45% of the Reorganization Plan Debtors’ revenue in the
                     United States is derived from the subscription sales, which would cease
                     immediately in liquidation. Existing customers could demand refunds for their
                     remaining magazine subscriptions. These circumstances could have an
                     immediate and devastating impact to the Reorganization Plan Debtors’ cash
                     flow.

                •    Approximately 20% of the Reorganization Plan Debtors’ revenue in the
                     United States is based on products sold directly to end-user consumers. These
                     are typically small dollar transactions which require solicitation for payment
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                     after merchandise has been delivered. Although historical collection rates for
                     these revenue sources are high, in liquidation it could be prohibitively
                     expensive to maintain the personnel to continue efforts to collect the amounts
                     outstanding from each customer.

                •    A significant portion of the Reorganization Plan Debtors’ assets are intangible,
                     being comprised of trademarks, customer lists, brand names and goodwill.
                     The value of these assets could diminish rapidly in a situation in which the
                     assets are no longer functioning as part of going concerns.

                •    Because most (if not all) of the Reorganization Plan Debtors share various
                     advertising, marketing, information technology, administrative and financial
                     services, it would be difficult to sell individual businesses as a going concern.

       2. Asset Value. Unless otherwise noted, this liquidation analysis is based on the balance
sheet of the Reorganization Plan Debtors as projected at the Liquidation Date, which is
consistent with the Reorganization Plan Debtors’ Business Plan.

        3. Claims Estimates. Much of the information regarding the Reorganization Plan
Debtors’ liabilities was derived from the Statements of Financial Affairs and Schedules filed
with the Bankruptcy Court on March 18, 2013 (the “Schedules”). In preparing this liquidation
analysis, the Reorganization Plan Debtors have estimated an amount of allowed claims for each
class based upon a review of the Reorganization Plan Debtors’ Schedules. Additional claims
were estimated to include certain post-petition obligations. The estimate of all allowed claims in
this liquidation analysis is based on the book value of those claims. No order or finding has been
entered or made by the Bankruptcy Court estimating or otherwise fixing the amount of Claims at
the projected amounts of allowed claims set forth in this liquidation analysis. The estimate of the
amount of allowed claims set forth in this liquidation analysis should not be relied upon for any
other purpose, including, without limitation, any determination of the value of any distribution to
be made on account of allowed claims under the Reorganization Plan. The actual amount of
allowed claims could be materially different from the amount of claims estimated in this
liquidation analysis.

        4. Liquidation Costs. Conversion of these chapter 11 Cases to cases under chapter 7 of
the Bankruptcy Code likely would result in additional costs to the estates, including, among other
things, compensation of the chapter 7 Trustee and retained counsel and professionals, asset
disposition expenses, litigations expenses and unpaid administrative expenses incurred during
the chapter 11 Cases that are allowed in the chapter 7 cases. Except as otherwise stated,
recoveries set forth herein are net of necessary liquidation expenses. If actual results were lower
than those shown, or if the assumptions used in formulating this analysis were not realized,
distribution to each member of each class of claims could be affected adversely.

       5. Non-Debtor Foreign Subsidiaries. This analysis assumes that foreign subsidiaries
would be forced to file for insolvency upon a chapter 7 filing of the Reorganization Plan Debtors.
Since the foreign subsidiaries rely significantly on global support activities provided by the
Reorganization Plan Debtors, the continued operations of the foreign subsidiaries as going
concerns is assumed to be difficult. The proceeds from the liquidation of the foreign subsidiaries

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was estimated by FTI Consultants, and includes the net proceeds from the sale of these entities,
as well as the settlement of certain intercompany obligations. The value of the foreign
subsidiaries represents the net proceeds that would be available to the Reorganization Plan
Debtors to satisfy claims upon a chapter 7 proceeding.

        6. Certain Exclusions and Assumptions. This liquidation analysis does not include
estimates for the tax consequences that may be triggered upon the liquidation and sale events of
assets in the manner described above. Such tax consequences may be material. In addition, this
liquidation analysis does not include recoveries resulting from any potential preference,
fraudulent transfer or other litigation or avoidance actions.




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                                       Specific Assumptions and Notes

        1. Note 1 – Cash

        As of the Liquidation Date, the Reorganization Plan Debtors are expected to have a U.S.
cash balance of $46.0 million. The expected cash amount includes assumed proceeds from sales
of certain foreign subsidiaries prior to the Liquidation Date, as well as assumes the non-payment
of certain success-based fees related to Chapter 11 advisors. Cash in foreign bank accounts is
included within the net proceeds of the assumed liquidation of the foreign subsidiaries. It is also
estimated that as of the Liquidation Date cash in the U.S. relating to outstanding checks, credit
card deposits, payroll and cash collateralized sweepstakes would be unavailable for distribution
to the creditors of the estate.

        2. Note 2 – Accounts Receivable

      The table below shows the composition and roll-forward of accounts receivable (“A/R”)
from December 31, 2012, to the estimated balance at the Liquidation Date:

 (USD in millions)                                  12/31/2012         change          7/31/2013
 Net Trade Product A/R                          $           12.9
 Net Direct Mail Product A/R                             10.8
 Net Advertising A/R                                     14.7
 Net Subscription A/R                                       1.4
 Net Newsstand A/R                                          3.5
 Net List Rental A/R                                        1.0
 Total A/R                                      $        44.3      $      (27.3)   $        17.0



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       All amounts above are net of reserves for bad debt and returns. Additionally, newsstand
receivables are net of retail display allowances, which would be deducted by the Reorganization
Plan Debtors’ national distributor prior to remitting funds to the Reorganization Plan Debtors.

        The Reorganization Plan Debtors anticipate that a Chapter 7 Trustee would receive a
different recovery rate for each type of receivable. It is estimated that the Reorganization Plan
Debtors would be able to collect on 75%-90% of their Trade A/R outstanding with a small
number of distributors, net of certain allowances for return liabilities. Direct Mail A/R
represents a large number of small amounts with individual customers for books and home
entertaining products. Collections are managed by a single third party, and recovery is assumed
to be 40%-60% net of fees paid to the third party for collection services. Subscription
receivables would be uncollectible due to uncertainty surrounding the Reorganization Plan
Debtors’ ability to serve any future issues of the magazines. Newsstand A/R is anticipated to
collect 75%-90% based on incremental charge backs from the Reorganization Plan Debtors’
national distributor for promotional programs and distribution charges. Advertising A/R is
anticipated to collect 70%-85% of the net receivable due, after adjustment for certain credits that
advertisers would apply to their amounts due. List rental is managed through a single third party,
and is expected to collect at 75%-90%. A blended recovery rate of 56%-70% was applied to the
estimated net A/R balance as of the Liquidation Date assuming a similar composition of A/R as
existed on December 31, 2012.

        3. Note 3 – Inventory

       The table below shows the composition and roll-forward of inventory from December 31,
2012, to the estimated balance at the Liquidation Date:

 (USD in millions)                                12/31/2012       change        7/31/2013
 Raw Materials                                $         0.0
 Work In Process                                        1.1
 Finished Goods                                        10.4
 Total Inventory                              $        11.5    $       5.6   $        17.1



        All amounts above are net of reserves for obsolescence and damages.

       The Reorganization Plan Debtors carry an immaterial amount of raw materials as all
production and printing operations are done by third parties.

       “Work In-Progress” primarily represents books and magazines which are currently in
production and have yet to be bound and completed and as such would likely yield no return in
value.

        The Reorganization Plan Debtors’ finished goods are comprised primarily of books,
music and other entertainment products. Based on historical liquidations by the Reorganization
Plan Debtors of excess inventory, finished goods are estimated to yield between 10%-30% of
cost, depending on the type of product, volume of product requiring disposal, and channel of
disposal. A blended recovery rate of 16%-25% was applied to the estimated net inventory
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balance as of the Liquidation Date assuming a similar composition of inventory as existed on
December 31, 2012.

        4. Note 4 – Prepaid Promotion and Other Current and Non-Current Assets

        The table below shows the composition and roll-forward of prepaid promotion and other
current assets from December 31, 2012, to the estimated balance at the Liquidation Date:

 (USD in millions)                                12/31/2012        change        7/31/2013
 Total Prepaid Promotion Expense              $           2.0   $       4.5   $         6.6



 (USD in millions)                                12/31/2012        change        7/31/2013
 Expense of Subsequent Issues                 $           8.7
 Prepaid Agent Commissions                             29.6
 Royalty Advances                                         1.1
 Prepaid Postage & Mailing                                0.9
 Other Net Receivables                                    1.2
 Other Prepaid Expenses                                   5.2
 Total Other Current Assets                   $        46.7     $      20.8   $        67.5



        Prepaid promotion expenses are amounts paid to produce insert cards and other branded
marketing materials for the purposes of soliciting the purchase of books, entertainment product
and magazine subscriptions. Expenses for subsequent issues relate to prepaid amounts for
magazine production, including editorial freelancers and printing costs for certain printers.
Prepaid agent commissions represents amounts prepaid to scriber agents for the solicitation of
subscription copies from consumers. None of these costs would be recoverable in a liquidation as
the services have already have been provided.

        Royalty advances represent future payments against future sales of licensed books and
other products. These payments represent minimum guarantees paid to licensors in return for the
right to sell product. These advances would likely be set-off against sales of product and as such
would not be recoverable in liquidation.

        Other prepaid expenses include postage deposits, prepaid insurance, advances, prepaid
rent and other miscellaneous assets. Most of this balance would be exhausted during the course
of the liquidation or offset against other liabilities. Certain postage deposits, receivables related
to the sale of digital products, and various miscellaneous receivables are expected to be
recoverable. On a blended basis, the Reorganization Plan Debtors anticipate a recovery of
approximately 3% against Other Current Assets.

       As of December 31, 2012 there was $0 net amount of deferred tax assets and tax
receivables. The estimated balance at the Liquidation Date is also $0.


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        Current deferred tax assets represent temporary differences between the treatment of
revenues and expenses in a book versus tax methodology, including timing differences for
depreciation, bad debt and revenue deferrals. Long-term deferred tax assets represent tax
attributes such as net operating losses. The Reorganization Plan Debtors had fully reserved these
amounts as of December 31, 2012 and in a liquidation scenario, the Reorganization Plan Debtors
expect no recovery from these assets. The Reorganization Plan Debtors also have a potential
federal tax refund of approximately $2 million related to the restatement of prior-year tax filings.
The IRS has taken exception with regard to the refund, and the Reorganization Plan Debtors
believe there is a low probability of ultimately receiving the refund.

        Other non-current assets represent various tax assets, capitalized software, and deferred
commission expenses, which the Reorganization Plan Debtors estimate would not be recoverable
in liquidation.

         5. Note 5 – Real and Personal Property Assets

     The table below shows the composition and roll-forward of fixed assets from
December 31, 2012, to the estimated balance at the Liquidation Date:

 (USD in millions)                                 12/31/2012         change           7/31/2013
 Land                                          $            1.2
 Buildings                                                  4.9
 Total Real Property                           $            6.1   $            -   $         6.1


 Leasehold Improvements                        $            7.8
 Computer Equipment                                         5.0
 Software                                               11.3
 Furniture & Fixtures                                       3.0
 Printing & Fulfillment                                     0.1
 Artwork                                                    0.8
 Construction In Progress                                   0.6
 Other                                                      0.0
 Total Personal Property                       $        28.6      $      (2.0)     $        26.6



         The above amounts represent the net book value of the various asset classes.

        Real property consists of one owned building in the state of Wisconsin. The
Reorganization Plan Debtors anticipate a recovery value in liquidation between $4.6 million and
$6.2 million, based on a recent broker appraisal of the property and the limited time to market
this property.

       As of the Liquidation Date, the net book value for personal property is projected to be
$26.6 million. Because of potential difficulty in liquidating construction in process and
leasehold improvement assets, the Reorganization Plan Debtors anticipate immaterial recovery

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value for these assets. The liquidation value of artwork was estimated by the Reorganization
Plan Debtors to be between 50%-55% of net book value. The remaining net book value for
personal property consisted of computer equipment and furniture and fixtures. The
Reorganization Plan Debtors project recovery percentages from the sales of these fixed assets
between 5%-25% depending on the nature of the asset. Based on these values, the
Reorganization Plan Debtors estimate that the overall recovery for personal property to be 4%-
6%.

        6. Note 6 – Pension Assets

       The table below shows the roll-forward of pension assets from December 31, 2012, to the
estimated balance at the Liquidation Date:

 (USD in millions)                                12/31/2012       change        7/31/2013
 Pension Asset                                $       118.9    $      12.9   $       131.8



       The Reorganization Plan Debtors estimate a net recovery value of approximately $10.0
million on the overfunded pension plan. In estimation of the recovery amount, the
Reorganization Plan Debtors took into consideration the following factors:

                 •    Severance costs that would be paid from plan assets;

                 •    Settlement of pension liability at potentially higher amount than measured
                      under applicable accounting guidelines;

                 •    Significant excise and corporate taxes due upon removal of assets from plan;

                 •    PBGC and other regulatory requirements that would delay timing of
                      recoverability; and

                 •    Additional fees for outside advisors and consultants.

        7. Note 7 – Goodwill and Intangible Assets

        As of the Liquidation Date, the Reorganization Plan Debtors had a net goodwill balance
of $243.5 million and a net intangible asset balance of $76.3 million. The Reorganization Plan
Debtors assume that the chapter 7 Trustee would terminate the operations of these assets and sell
the trademarks and customer lists to maximize value for the estates.

      The U.S. trade names were valued under a forced liquidation scenario and the
Reorganization Plan Debtors considered an income approach in estimating the value of the
Reorganization Plan Debtors’ U.S. trade names.

       The Reorganization Plan Debtors’ U.S. customer list was valued using both an income
and a market approach. The income approach estimated the list rental income an acquirer would
likely be able to achieve, while the market approach contemplated actual transactions for

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Reader’s Digest customer names and similar customer lists adjusted for a final sale premise as
well as the effects of the U.S. liquidation.

        The high value of the intangible assets assumes that in a forced liquidation an acquirer of
the trade names would likely also acquire the customer list to maximize value of both assets
upon a liquidation sale. The net value of the intangible assets is as follows:

 (USD in millions)                                    Low            Medium         High
 Total Intangible Assets                          $     27.8     $      39.1    $     50.4



        8. Note 8 – Investment in Foreign Subsidiaries

       As of the Liquidation Date, the Reorganization Plan Debtors are assumed to have a net
intercompany receivable balance of $70.3 million and a net investment in consolidated foreign
subsidiaries of $820.7 million. It is assumed that upon a chapter 7 filing of the Reorganization
Plan Debtors, the foreign subsidiaries would also be unable to operate as going concerns and
would require liquidation. The Reorganization Plan Debtors would anticipate recovering value
from the foreign subsidiary assets through two different realization streams:

        1)             Equity distributions by direct subsidiaries which, after fulfilling all outstanding
                       claims of creditors of the business, have excess cash for distribution; and

        2)             Settlement of outstanding trade intercompany liabilities and intercompany
                       loans due to the Reorganization Plan Debtors.

       Only 65% of the equity in the foreign subsidiaries is pledged as collateral for the secured
debt in the U.S. The following is the breakdown of the benefit to the Reorganization Plan
Debtors’ secured, priority and unsecured creditors:

 (USD in millions)                                    Low            Medium         High
 Equity Distribution to RDA Inc.                  $        5.4   $       5.8    $      6.2
 Intercompany Settlements                               23.9            25.9          27.8
 Total International                              $     29.3     $       31.7   $      34.0


 Value to Secured                          65%    $        3.5   $       3.8    $      4.0
 Value to Priority and Unsecured           35%             1.9           2.0           2.2
 Total Value                               100%   $        5.4   $       5.8    $      6.2



        9. Note 9 – Liquidation Costs

        Conversion of these chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code
likely would result in additional costs to the estates, including, without limitation:


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                •    Chapter 7 Trustee Fees – Liquidation expenses include Chapter 7 Trustee fees
                     of 3% of total liquidation proceeds, net of cash on hand.

                •    Wind-Down Expenses – For purposes of this liquidation analysis, wind-down
                     costs include expenses relating to the New York City, White Plains and
                     Milwaukee locations and estimated costs for 20 employees who would assist
                     the chapter 7 Trustee with the wind down of the estates. The Reorganization
                     Plan Debtors assume 30 to 60 days of rent, utilities and other administrative
                     costs, plus an additional five to six months of off-site cost for the remaining
                     employees to complete the wind down support (250 sq. ft. per employee at a
                     cost of $15.50 sq. ft. per month).

                •    Severance – Assumes a cash severance cost of $2.9 million. This analysis
                     assumes that severance for certain employees would be covered by excess
                     assets in the Reorganization Plan Debtors qualified pension plan to the extent
                     that they are members of the plan:

                         (USD in millions)                            Est. Cost
                         Total Severance                          $        20.0
                         Paid from Pension Plan                            17.1
                         Paid from Cash                           $         2.9

                •    Payroll – Estimated cost for 20 employees to assist with the collection of
                     receivables, the liquidation of inventory and general finance functions. High
                     end of the range assumes six months at an average cost of $8,333 per month
                     per employee. Low end of the range assumes eight months.

                •    Professional Fees – Estimated costs for financial and legal advisors to the
                     chapter 7 Trustee. High end of the range assumes six months at a cost of $0.50
                     million per month and six months at a cost of $0.25 million per month. Low
                     range assumes an additional $0.75 million of cost during the first three months.

                •    Real Estate Broker Fees – Real estate brokers will be required to liquidate the
                     Reorganization Plan Debtors’ property in Wisconsin. Estimated to be 5% of
                     the net proceeds from the sale of real property.

                •    Investment Banker Fees – A media investment banker will be required to sell
                     the Reorganization Plan Debtors’ intangible assets. Cost estimated to be 2%
                     of the net proceeds from these asset sales.

       10. Note 10 – Unencumbered Assets

        Certain of the amounts recovered for the liquidation of the Reorganization Plan Debtors’
assets have not been 100% pledged as collateral to either the DIP Lenders or the Prepetition
Lenders. The values of such unencumbered assets, detailed in Note 8, would be reduced by their
pro rata share of certain administrative expenses.

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       11. Note 11 – DIP Facility

        The Debtors obtained $45.0 million of new money from certain of the lenders under its
debtor-in-possession financing facility. Together with the outstanding obligations under the
Senior Credit Agreement (as defined herein), which will be rolled up in to the DIP Facility on the
Second Effective Date, the Debtors have a $105.0 million debtor-in-possession loan (the “DIP
Facility”). The DIP Facility is estimated to be fully drawn and has first priority for payment
from the liquidation of the Debtors’ assets. The DIP Facility is assumed to be fully repaid on the
Liquidation Date.

       12. Note 12 – Prepetition Secured Debt Obligations

        On March 30, 2012, Wells Fargo Bank, National Association, as administrative agent,
and Wells Fargo Principal Lending, LLC, as lender and issuing lender, provided the Debtors
with a $50.0 million secured term loan and an $11.0 million letter of credit facility (the “Senior
Credit Agreement”). The obligations under the Senior Credit Agreement are fully and
unconditionally guaranteed on a first-priority secured basis. As of the Commencement Date,
there was approximately $59.1 million outstanding under the secured term loan and letter of
credit facility, along with approximately $0.7 million of accrued interest and unused fees.

       On February 11, 2010, the Debtors issued $525.0 million in principal of senior notes (the
“Senior Notes”). The obligations under the Senior Notes are fully and unconditionally
guaranteed on a first-priority secured basis. As of the Commencement Date, the Debtors had
$464.4 million outstanding in respect of the Senior Notes, along with $11.6 million of accrued
and unpaid interest.

       13. Note 13 – Administrative Claims

        This analysis assumes that as of the Liquidation Date, the Reorganization Plan Debtors
would have approximately $70.0 million of post-petition accounts payable as a result of the
conversion to chapter 7 cases. Additionally, as of the Commencement Date the Reorganization
Plan Debtors had approximately $0.5 million of 503(b)(9) claims. This amount represents the
Reorganization Plan Debtors’ estimate of vendors who would be granted administrative expense
priority for goods received by the Reorganization Plan Debtors within 20 days of the
Commencement Date, net of any payments made to vendors in connection with trade agreements
entered into during these chapter 11 Cases. Unpaid chapter 11 professional fees are assumed to
be covered by the DIP Facility.

       14. Note 14 – Priority Claims

       As of the Commencement Date, the Reorganization Plan Debtors had approximately $0.1
million of unpaid prepetition severance amounts to employees that would qualify as priority
claims up to the $11,725 per employee limit. These amounts are not being covered by the
Reorganization Plan Debtors’ over funded pension plan.

       The Reorganization Plan Debtors also have deferred subscription liabilities for future
issues of the Reorganization Plan Debtors magazines and other prepaid products and services,

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which would be treated as consumer deposits under section 507(a)(7) of the Bankruptcy Code.
The estimated value of this liability as of the Liquidation Date is $236.4 million.

       15. Note 15 – Unsecured Loan

       As of the Commencement Date, the Reorganization Plan Debtors had outstanding
unsecured debt obligations in the aggregate principal and interest amounts of approximately
$10.1 million, including $0.1 million of interest.

       16. Note 16 – Unsecured Claims

       The following amounts represent unsecured claims that are subject to compromise:

           •    Accounts Payable – Trade payables due to the Reorganization Plan Debtors’
                vendors, excluding amounts in which the vendor has a possessory lien or a
                priority claim under section 503(b)(9) of the Bankruptcy Code.

           •    Accrued Expenses – Estimated expense which the Reorganization Plan Debtors
                expect to receive an invoice for or expenses incurred which do not flow through
                payables as well as refunds to customers who have requested refunds for
                subscriptions.

           •    Accrued Royalties – Amount due to third parties for licensed products.

           •    Post Retirement and Other Employee Benefit Plans – Accrued amounts for the
                Reorganization Plan Debtors’ Non-Qualified Retirement Plans and retiree medical
                plan. The Reorganization Plan Debtors have not contributed any assets towards
                these plans.

           •    Real Property Lease Rejections and Rejected Executory Contracts – Estimated
                amount of lease rejection claims and contract rejection damages.

           •    Unsecured Tax Liabilities – Contingent tax liabilities at the federal, state and
                international level. These amounts represent GAAP reserves for potential claims
                against tax positions.

           •    Sweepstakes Claims – Claims for previously awarded sweepstakes winners which
                would require funding in a chapter 7 conversion.

           •    Prepetition Secured Lender Deficiency Claim – Deficiency claim for insufficient
                assets to pay pre-petition lender secured claim.

        In the event of liquidation, the aggregate amount of general unsecured claims will likely
increase significantly. For example, employees likely will file claims for wages, pensions and
other benefits, some of which will be entitled to priority. Landlords may file large claims for
both unsecured and priority amounts. The resulting increase in both general unsecured and
priority claims will decrease percentage recoveries to holders of general unsecured claims.

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                                     Exhibit E

                    Proposed Stockholders Agreement Term Sheet
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